         Case 8-20-08049-ast          Doc 67      Filed 03/02/23       Entered 03/02/23 17:31:14




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
    In re:
                                                                       Chapter 11
    ORION HEALTHCORP, INC. et al.,1

                           Debtors.                                    Case No. 18-71748 (AST)
    HOWARD M. EHRENBERG, IN HIS CAPACITY
    AS LIQUIDATING TRUSTEE OF ORION
    HEALTHCORP, INC., ET AL.,

                           Plaintiff,                                  Adv. Proc. No. 20-08049 (AST)
    v.

    ARVIND WALIA; NIKNIM MANAGEMENT INC.,

                           Defendants.


              DEFENDANTS’ AFFIDAVIT IN OPPOSITION TO PLAINTIFF’S
                      MOTION FOR SUMMARY JUDGMENT

STATE OF NEW YORK                 )
                                  )        ss.:
COUNTY OF NASSAU                  )

                 Arvind Walia, being duly sworn, deposes and says:

                 1.       I am one of the defendants herein and sole officer, director, and shareholder

of my co-defendant, Niknim Management Inc. (collectively, “Defendants”).

                 2.       I make this affidavit in opposition to Plaintiff’s motion for summary

judgment.

                 3.       The facts stated herein are of my own personal knowledge. If called upon

as a witness to any facts set forth herein, I could and would competently testify thereto.



1
 The debtors in these chapter 11 cases are: Orion Healthcorp, Inc.; Constellation Healthcare Technologies, Inc.;
NEMS Acquisition, LLC; Northeast Medical Solutions, LLC; NEMS West Virginia, LLC; Physicians Practice Plus
Holdings, LLC; Physicians Practice Plus, LLC; Medical Billing Services, Inc.; Rand Medical Billing, Inc.; RMI
Physician Services Corporation; Western Skies Practice Management, Inc.; Integrated Physician Solutions, Inc.;
NYNM Acquisition, LLC; Northstar FHA, LLC; Northstar First Health, LLC; Vachette Business Services, Ltd.;
Phoenix Health, LLC; MDRX Medical Billing, LLC; VEGA Medical Professionals, LLC; Allegiance Consulting
Associates, LLC; Allegiance Billing & Consulting, LLC; and New York Network Management, LLC.
      Case 8-20-08049-ast       Doc 67     Filed 03/02/23      Entered 03/02/23 17:31:14




                              PROCEDURAL BACKGROUND

               4.     On March 16, 2018, each of the above-captioned Debtors except New York

Network Management, LLC (“NYNM”) filed a voluntary petition for relief with the United States

Bankruptcy Court for the Eastern District of New York (the “Bankruptcy Court”) under chapter

11 of the Bankruptcy Code. NYNM filed its voluntary petition on July 5, 2018. The Debtors’ cases

were jointly administered for administrative purposes only.

               5.     On February 26, 2019, the Honorable Alan S. Trust, Chief United States

Bankruptcy Judge for the Eastern District of New York, entered an order [Docket No. 701]

confirming the Debtors’ Third Amended Joint Plan of Liquidation (the “Plan”).

               6.     The Plan provides, among other things, for the formation of a Liquidating

Trust and the appointment of a Liquidating Trustee to oversee distributions to holders of “Allowed

Claims” and “Allowed Interests” and to pursue retained “Causes of Action of the Debtors’

Estates”. The Effective Date occurred on March 1, 2019.

               7.     The Plan provides that the Liquidating Trustee shall have the authority and

responsibility to, among other things, receive, manage, invest, supervise, and protect the

“Liquidating Trust Assets”, including causes of action.

               8.     Plaintiff is the Liquidating Trustee under the Liquidating Trust Agreement

by and among Orion HealthCorp, Inc. (“Orion”), Constellation Healthcare Technologies, Inc.

(“Constellation Healthcare”) and their co-debtor affiliates.

               9.     Niknim is a corporation formed under the laws of the State of New York

with its principal address at 27 Kettlepond Road, Jericho, New York.

               10.    Plaintiff filed the complaint (the “Complaint”) in this action on March 13,

2020. [Dkt. No. 1].



                                               -2-
      Case 8-20-08049-ast        Doc 67     Filed 03/02/23    Entered 03/02/23 17:31:14




               11.     The Complaint seeks to recover alleged intentional and constructively

fraudulent transfers under applicable provisions of the Bankruptcy Code and New York Debtor

and Creditor Law (“NYDCL”).

               12.     On May 21, 2021, the parties filed the Stipulation and Order re: Filing of

First Amended Complaint; And Entering of Scheduling Order [Dkt. No. 19], which was entered

by the Court on May 26, 2021. [Dkt. No. 20].

               13.     On May 28, 2021, Plaintiff filed its First Amended Complaint for

Avoidance and Recovery of (1) Fraudulent Transfers; (2) Preferential Transfers; (3) Recovery of

Avoided Transfers, and (4) Objection to Claim No. 10067 Pursuant to 11U.S.C. §§502, 544, 547,

548, and 550. [Dkt. No. 22].

               14.     On June 9, 2021, Defendants filed their Answer to First Amended

Complaint and Affirmative Defenses. [Dkt. No. 23].

               15.     On September 21, 2021, the parties filed the Stipulation Requesting

Amendment to Case Management and Discovery Plan [Dkt. No. 26], which was entered by the

Court on October 5, 2021. [Dkt. No. 27].

               16.     On December 30, 2021, fact discovery closed.

               17.     The parties participated in mediation but did not reach a resolution. [Dkt.

No. 41].

               18.     Expert discovery closed on October 10, 2022. [Dkt. No. 41].

               19.     Pursuant to 7056-1(a), Plaintiff requested the Court’s permission to file a

motion for summary judgment or summary adjudication. [Dkt. No. 45]. At the pre-trial conference,

the Court heard and granted Plaintiff’s request.

               20.     At the pre-trial conference, Defendants requested the Court’s permission to

file a cross motion for summary judgment and the Court heard and granted such request.
                                                   -3-
      Case 8-20-08049-ast          Doc 67   Filed 03/02/23    Entered 03/02/23 17:31:14




                                   FACTUAL ALLEGATIONS

                21.   In or about 2015 and earlier, I was the majority owner and Chief Executive

Officer of Porteck Corporation (“Porteck”).

                22.   In or about March 2015, the Debtor, Physicians Practice Plus, LLC

(“Physicians Practice”), acquired the assets of Porteck pursuant to an asset purchase agreement

made and entered into as of March 2015 (the “Porteck Asset Purchase Agreement”). A copy of

the Porteck Asset Purchase Agreement is annexed hereto as Exhibit “A”.

                23.   In or about June 2017, Physicians Healthcare Network Management

Solutions LLC (“Physicians Healthcare”), a non-debtor, acquired my membership interests in

Objectech Holdings, LLC pursuant to a Membership Interests Purchase Agreement made and

entered into as of June 2017 (the “Objectech Membership Purchase Agreement”). A copy of

the Objectech Membership Purchase Agreement is annexed hereto as Exhibit “B”.

The Transfers

                24.   On or about June 23, 2017, within one (1) year prior to the commencement

of the bankruptcy cases, Constellation Healthcare made two payments to Niknim; one for

$1,500,000 and another for $20,000 (collectively, the “One-Year Transfers”), representing the

Closing Payment pursuant to the terms of the Objectech Membership Purchase Agreement.

                25.   On or about April 15, 2016, within two (2) years prior to the commencement

of the bankruptcy cases, Constellation Healthcare and/or Orion paid Niknim $2,500,000 (the

“Two-Year Transfer”) (collectively, the One-Year Transfers and the Two-Year Transfer are

referred to as the “Transfers”).

                26.   Plaintiff has produced no evidence as to the identity of the transferor of the

Two-Year Transfer; he merely alleges funds were transferred from the Debtors’ counsel’s IOLA

account, into which Constellation Healthcare and/or Orion made deposits.
                                               -4-
      Case 8-20-08049-ast         Doc 67      Filed 03/02/23     Entered 03/02/23 17:31:14




First Claim for Relief

                27.      Plaintiff alleges the Transfers are avoidable as intentionally fraudulent

transfers pursuant to section 548(a)(1)(A) of the Bankruptcy Code and NYDCL section 276.

Second Claim for Relief

                28.      Plaintiff alleges that the Transfers were avoidable as constructively

fraudulent pursuant to section 548(a)(1)(B) of the Bankruptcy Code and the NYDCL.

Third Claim for Relief

                29.      Plaintiff alleges that the One-Year Transfers were preferential, avoidable

under section 547(b) of the Bankruptcy Code.

Fourth Claim for Relief

                30.      Plaintiff alleges that because Defendants are the initial, immediate, or

mediate transferees of the Transfers, Plaintiff may recover for the benefit of the estate the property

transferred or the value of such property from (a) the initial transferee of each transfer or the entity

for whose benefit each transfer was made or (b) any immediate or mediate transferee of such initial

transferee pursuant to section 550(a) of the Bankruptcy Code and NYDCL.

Fifth Claim for Relief

                31.      Finally, Plaintiff seeks to (i) strike my proof of claim because it was not

filed with evidentiary support and is contradicted by the Debtors’ books and records, or

alternatively, (ii) disallow the claim pursuant to section 502(d) of the Bankruptcy Code unless and

until I pay to the Plaintiff an amount equal to each preferential or fraudulent transfer that is avoided

including pre- and post-judgment interest on the avoided amount.

                                  SUMMARY OF ARGUMENT

                32.      Plaintiff seeks summary judgment on his First, Second, and Fourth Claims

for Relief.
                                                  -5-
      Case 8-20-08049-ast        Doc 67     Filed 03/02/23     Entered 03/02/23 17:31:14




                 33.   Plaintiff’s First and Second Claims for Relief (for fraudulent conveyance)

are predicated upon both section 548 of the Bankruptcy Code and the NYDCL. Plaintiff has

invoked the NYDCL based upon section 544(b)(1) of the Bankruptcy Code. I have cross-moved

to dismiss the claims based upon section 544(b)(1) of the Bankruptcy Code because Plaintiff’s

First Amended Complaint fails to allege the existence of any so-called “triggering creditor.”

                 34.   Plaintiff has failed to sustain its burden to obtain summary judgment on his

First and Second Claims for Relief because he has failed to demonstrate the absence of any genuine

issue of material fact. As to the Fourth Claim for Relief, it is not disputed that Niknim was the

initial transferee of both Transfers. While Plaintiff’s claims against me are premised upon piercing

the corporate veil of Niknim, Plaintiff has failed to sustain his burden to obtain summary judgment

on such claim.

                                      THE OPPOSITION

The Two-Year Transfer

                 35.   Plaintiff makes much of the fact that Parmar characterized Porteck as a

“joke”. However, the statement is taken out of context and its meaning is ordained by Plaintiff

without any evidentiary support. Regardless, the statement is irrelevant.

                 36.   Parmar’s comment was made to the broker I had obtained to represent

Porteck. It was a manifestation of Parmar’s (appropriate) attempt to negotiate with the broker a

lesser price for Porteck’s assets than I was asking. I previously testified in this litigation that

Parmar misstated the purchase price to the broker because Parmar thought “he could get a better

deal for us.” Parmar made the comment on December 1, 2014, three months prior to the March

2015 execution of the Porteck Asset Purchase Agreement and almost one and one-half years before

the Two-Year Transfer of April 15, 2016. Regardless, only Parmar, whose testimonial evidence



                                                -6-
      Case 8-20-08049-ast         Doc 67     Filed 03/02/23      Entered 03/02/23 17:31:14




Plaintiff has not obtained, knows exactly what he meant. Here, Plaintiff’s argument is nothing

more than a self-serving guess, which is wrong.

                  37.   Parmar and I ultimately agreed that the value of Porteck’s assets was

approximately five times its 2014 EBITDA of $2.2 million, or $11 million. (The stated purchase

price was $10.8 million.) Having bought and sold many companies during my career, I know that

a purchase price based upon this multiple of EBITDA is not unusual. The inference Plaintiff draws

from Parmar’s comment - that the purchase price exceeded the reasonable value of the assets, is a

bridge too far.

                  38.   Plaintiff also makes much of the fact that Porteck, as seller under the

Porteck Asset Purchase Agreement, received $10.8 million, although the Porteck Asset Purchase

Agreement provides for a purchase price of $12.8 million. At the time, Parmar asked that the

purchase price be increased by $2 million to fund related deal fees because he wanted to pay the

fees out of the proceeds of sale instead of paying them as a separate expense. He wanted the

purchase price to reflect the total cost of the transaction. I did not believe there was anything

unusual about this.

                  39.   Plaintiff notes that according to the IOLA Account, $3 million of the

purchase price was paid to First United Health (“FUH”), a Parmar controlled entity, and he

assumes that it was inappropriate, though he offers no evidence of that fact. And he assumes that

I had knowledge at the time that it was inappropriate. I had no such knowledge. Nor was I ever

privy to information regarding the IOLA Account. I had no knowledge of any disbursement of

closing proceeds other than with respect to the payments made to Porteck. Indeed, I did not learn

until this litigation that funds were paid to FUH. Here too, the inference Plaintiff draws - that I was

complicit in a fraudulent transaction - is a bridge too far.



                                                  -7-
      Case 8-20-08049-ast         Doc 67    Filed 03/02/23     Entered 03/02/23 17:31:14




                40.    Plaintiff’s arguments directed at the Porteck Asset Purchase Agreement are

a red herring. The price of Porteck’s assets under the Porteck Asset Purchase Agreement is

irrelevant because, importantly, Plaintiff is not challenging the price or the Porteck Asset Purchase

Agreement itself as a fraudulent conveyance; he is challenging only the Two-Year Transfer, which

was a deferred payment made pursuant to the Porteck Asset Purchase Agreement a year after it

was executed.

                41.    Pursuant to Article 3 of the Porteck Asset Purchase Agreement, Porteck, as

seller, made certain representations and warranties. Pursuant to Article 4, the selling shareholders

also made certain representations and warranties. Pursuant to Article 7, Porteck and the selling

shareholders jointly and severally agreed to indemnify and hold harmless Physicians Practice and

certain of its affiliates against claims arising from breaches of, among other things, such

representations and warranties.

                42.    Section 1.6(e) of the Porteck Asset Purchase Agreement, which

incorporated a funding mechanism to secure the performance by the selling shareholders of their

indemnification obligation, provides:

                       “For the purpose of partially securing Seller’s obligations pursuant,
                       and without limiting Seller’s obligations thereunder, the amount of
                       two million five hundred thousand Dollars ($2,500,000) in cash (the
                       “Escrow Amount”) shall be delivered by Buyers [sic] at the Closing
                       to the Escrow Agent by wire transfer of immediately available funds
                       to an account (the “Escrow Account”) to be designated and
                       administered by the Escrow Agent pursuant to an escrow agreement
                       substantially in the form of Exhibit A (the “Escrow Agreement”),
                       which Escrow Agreement shall provide, among other things, that
                       any amounts remaining in the Escrow Account shall be released to
                       Seller twelve (12) months after the Closing, to the extent not subject
                       to any claims made prior to that time. Seller and Buyer agree that
                       for all Tax purposes, any amounts in the Escrow Account released
                       to the Seller pursuant to this Section 2.7 [sic] shall be treated as
                       additional purchase price, unless otherwise required by applicable
                       Law. The Escrow Payment Working Capital Deficiency [sic].”

                                                -8-
      Case 8-20-08049-ast        Doc 67      Filed 03/02/23     Entered 03/02/23 17:31:14




               43.     The stated purpose of the escrow arrangement was to protect the rights of

Physicians Practice, as purchaser under the Porteck Asset Purchase Agreement, to receive $2.5

million, to the extent such funds were required to indemnify Physicians Practice. But as a practical

matter, the arrangement was not necessary to protect Physicians Practice because it simply

withheld payment of the $2.5 million. The arrangement provided more meaningful benefit to the

sellers because it would have secured their rights to obtain such funds in the future to the extent

they were not required to fund their indemnity obligation. No indemnity claims arose entitling the

purchaser to any such funds, and I therefore asked that the sellers be paid the entire amount.

Constellation Healthcare and/or Orion paid Niknim $2,500,000; i.e., the Two-Year Transfer.

               44.     Plaintiff argues that the failure of the Debtors to create the escrow compels

the conclusion that Porteck was not entitled to the deferred payment and that the Two-Year

Transfer was a fraudulent conveyance. However, as a feature that would have served to enhance

the sellers’ rights to receive the deferred payment, Porteck’s failure to enforce the provision at

closing was an oversight that was averse to its interests alone. I did not learn until this litigation

that the escrow was not created, and I never claimed that funds were otherwise set aside to fund

the deferred payment. As an officer of Orion and Constellation Healthcare, I was confident that

the deferred payment would be made if required. In any event, the absence of the escrow does not

militate in favor of the conclusion that the payment was not due or that it was a fraudulent

conveyance.

               45.     Plaintiff’s statement that at December 31, 2015, the Debtors’ books did not

reflect an antecedent debt of $2.5 million owed to the sellers of Porteck and their books evidence

no satisfaction of an antecedent debt or increase in net assets as a result of making the Two-Year

Transfer is of no moment. I had nothing to do with maintaining the Debtors’ books and records.

More importantly, Plaintiff has submitted no evidence that either of such entries would have been
                                                 -9-
      Case 8-20-08049-ast         Doc 67     Filed 03/02/23       Entered 03/02/23 17:31:14




appropriate under the circumstances. These are just facts from which Plaintiff draws an illogical

inference.

               46.     Plaintiff points to Parmar’s email to me saying that “I am willing to give

you 3.5MM in return for you to allow me to structure it properly internally which requires I close

the file with a 2M payment.” The $3.5 million related to a discussion I had been having with

Parmar regarding the $2.5 million owed as a deferred payment under the Porteck Asset Purchase

Agreement, plus $1 million that the purchaser owed Porteck because it had collected that amount

of accounts receivable, which were not sold under the Porteck Asset Purchase Agreement.

Plaintiff’s interpretation of the email is a self-serving misinterpretation that does not support a

grant of summary judgment.

               47.     Plaintiff mentions that during my tenure as an officer of Orion and

Constellation Healthcare, the latter purportedly acquired MDRX Medical Billing, LLC

(“MDRX”) and its businesses for $28 million on February 10, 2016, and that MDRX was a sham

transaction. Here again, from this single fact, Plaintiff would have this Court draw the inference

that I participated with Parmar in this transaction. In fact, despite my status as an officer of Orion

and Constellation Healthcare, I had nothing to do with it.

The One Year Transfers

               48.     Payment of $1,520,000 to Niknim under the Objectech Membership

Purchase Agreement represented the One Year Transfers.

               49.     Section 1.1 of the Objectech Membership Purchase Agreement provides that:

                        “On the Closing Date and subject to the terms and conditions set forth
                       in this Agreement, [Walia] will sell, assign, and transfer to [Physicians
                       Healthcare], and [Physicians Healthcare ] will purchase and acquire,
                       all of the Interests, free and clear of all Liens, for and in consideration
                       of (A) (1) the sum of those amounts actually paid to one or more of the
                       Selling Parties and Selling Member Representative (i) as Closing
                       Payment, (ii) any Earn-Out payments, and (iii) in respect of the

                                                 -10-
      Case 8-20-08049-ast       Doc 67     Filed 03/02/23     Entered 03/02/23 17:31:14




                      adjustment of the Company’s working capital in accordance with
                      Section 1.5, less (B) any Required Repayments paid in accordance with
                      Section 1.6 (collectively, the “Purchase Price”).”

               50.    Section 1.2 of the Objectech Membership Purchase Agreement provides that

the Closing Payment of $1,520,000 (the “Closing Payment”) shall be paid at the closing.

               51.    Objectech owned AllRad Direct, LLC (“AllRad”). AllRad’s property

consisted of certain software that was advantageous to the Debtors. It provides state of the art

technology to ensure that patients, providers, and payers have complete access and insight into

every aspect of the diagnosis, treatment, and follow-up for each patient. The data base was

designed to facilitate population wellness management solutions of by consolidating and storing

clinical assessments, diagnostic laboratory and imaging results, prescribed treatment regimens and

care plans and their clinical outcomes for each patient. More detailed descriptions of the software

are annexed hereto as Exhibits “C” and “D”.

               52.    Constellation Healthcare was a medical billing company that had acquired

New York Network Management, LLC (“NYNM”) an IPA company. NYNM needed a major

technology overhaul by replacing its existing network management system from Evicore ($1M per

year recurring cost) and building custom automation including integration with PARCS

(Constellation Healthcare’s billing system).

               53.    ALLRad software is a network management system that had the following

advantages.

                      •   It had most of the network management features needed for
                          NYNM.
                      •   The technology was the same as the PARCS system.
                      •   The AllRad team was very familiar with PARCS system as they
                          were from the same company.
                      •   The operational efficiency and cost saving for replacing existing
                          software with ALLRad software once adapted by NYNM would
                          be over $3M a year.

                                               -11-
      Case 8-20-08049-ast        Doc 67     Filed 03/02/23     Entered 03/02/23 17:31:14




                       •   The enhancement and cost to the adaption of ALLRad software
                           for NYNM was considerably low since the existing
                           Constellation Healthcare technology team was familiar with the
                           software and it had the same technology as PARCS.

               54.     As mentioned, Constellation Healthcare paid Niknim $1,520,000

representing the Closing Payment pursuant to the terms of the Objectech Membership Purchase

Agreement.

               55.     The amount of the consideration paid under the Objectech Membership

Purchase Agreement was the result a bilateral negotiation and represents the exercise of the parties’

respective business judgment, in good faith. Plaintiff has produced no evidence that the Debtors

received less than reasonably equivalent value; he offers only a negative inference from self-

serving speculation.

               56.     The Debtors’ counsel prepared the draft of the Objectech Membership

Purchase Agreement. At the time they prepared it they were not familiar with Objectech or its

assets and both Parmar and I treated it as a working template to memorialize the transaction.

Plaintiff attempts to paint the transaction as fraudulent by observing that the various schedules

referenced in the Objectech Membership Purchase Agreement were never completed or attached,

no revenue projections, working capital, balance sheets or statement of assets and liabilities

referenced therein were attached, the Orion board of directors’ resolution approving the sale was

never obtained, and the Due Diligence report was never finalized.

               57.     As a company, Objectech did nothing, had no revenue, and had no assets

other than very valuable software that Objectech had developed through a substantial capital

investment. Consequently, the various schedules, projections, and other financial information to

which Plaintiff refers had no relevance to the transaction at hand and Plaintiff’s conclusion that

the absence of such documents means the transaction was fraudulent is baseless. Throughout the

                                                -12-
      Case 8-20-08049-ast        Doc 67      Filed 03/02/23     Entered 03/02/23 17:31:14




negotiations, I responded to all requests for information relating to the software, its value, and its

utility to the Debtors and I believe the Debtors had become fully satisfied with such information

at the time the transaction closed. I also assumed the Orion board of directors had approved the

sale and was unaware that it had not.

               58.     Here as well, Plaintiff’s inference - that the transaction was somehow

fraudulent, or that I was complicit in perpetrating some fraud - is a bridge too far. Nor do any of

Plaintiff’s alleged facts support the conclusion that Parmar himself was acting with any kind of

fraudulent intent sufficient to sustain Plaintiff’s burden for obtaining summary judgment.

               59.     Plaintiff’s statement that the Debtors’ books and records do not evidence an

antecedent debt owed under the Objectech Membership Purchase Agreement and that after the

One-Year Transfer, the Debtors’ books and records do not evidence the satisfaction of such debt

or an increase in net assets through the acquisition is another red herring. No such entry would

have been made by the Debtors because Physicians Healthcare, a non-debtor, was the counter-party

to the Objectech Membership Purchase Agreement, so any such entry would have been recordable

in its books and records. In any event, Plaintiff has not submitted any evidence that there actually

was an antecedent debt (of Physicians Healthcare) created under the Objectech Membership

Purchase Agreement. In fact, there was none because the execution and closing under the

Objectech Membership Purchase Agreement occurred simultaneously.

               60.     Plaintiff has argued that the Debtors did not receive reasonably equivalent

value because the buyer under the Objectech Membership Purchase Agreement was Physicians

Healthcare, a non-debtor entity, and Constellation Healthcare, a debtor, paid the purchase price.

               61.     I do not know the identity of the members of Physicians Healthcare.

Physicians Healthcare purports to be a Delaware limited liability company in the Objectech

Membership Purchase Agreement. It was typical in the ordinary course of the Debtors’ businesses
                                                -13-
      Case 8-20-08049-ast        Doc 67      Filed 03/02/23     Entered 03/02/23 17:31:14




to create (and own the equity of) an entity for the special purpose of making an acquisition, and I

believe that such was the case with respect to the Objectech Membership Purchase Agreement.

               62.     Regardless, the assets of Objectech were delivered to Orion, one of the

Debtors, at the closing and I, as the President and Chief Executive Officer of the Orion, presided

over the development and integration of the software for the exclusive benefit of the Debtors. I

believe that the value of this benefit was reasonably equivalent to the amount paid in exchange for

it under the Objectech Membership Purchase Agreement. The Plaintiff has not submitted any

evidence to the contrary.

               63.     Plaintiff has presented no competent evidence that either of the Transfers

was made with actual intent to hinder, delay, or defraud a creditor. Neither the Porteck Asset

Purchase Agreement nor the Objectech Membership Purchase Agreement manifests any false

statement, misrepresentation, or backdating. Grossing up the purchase price under the Porteck

Asset Purchase Agreement to include related transaction fees was neither a false statement nor a

misrepresentation. Plaintiff has merely drawn conclusions by inferring them from facts that are

insufficient to support the respective inferences. Plaintiff’s statement that I was “complicit” in any

of Parmar’s schemes is a figment of his imagination.

               64.     Plaintiff argues that I failed to produce evidence in the form of certain tax

records, and infers the failure is evidence that I had something to hide. Plaintiff requested copies

of certain tax returns filed by Objectech. As Plaintiff is aware, such returns were not produced

because they do not exist. As mentioned, Objectech did nothing, had no revenue, and had no assets

other than valuable software. Having no revenue to report, it filed no tax return.

Claims Under NYDCL 273-a




                                                -14-
      Case 8-20-08049-ast         Doc 67      Filed 03/02/23      Entered 03/02/23 17:31:14




                65.     As already mentioned, Defendants have cross-moved for partial summary

judgment dismissing Plaintiff’s claims asserted under NYDCL 273-a based upon Plaintiff’s failure

to plead that there existed so-called “triggering creditors.”

                66.     Assuming, however, the claim under NYDCL 273-a is viable, in order to

succeed under this section, I understand that Plaintiff has the burden of proving the transferor’s

receipt of less than fair equivalent value in the exchange. Plaintiff argues that he meets this burden

because in New York, fair equivalent value also requires good faith and a transaction between

insiders lacks good faith. Therefore, according to Plaintiff, the Transfers are per se avoidable as a

matter of law. However, as discussed in the memorandum of law in opposition to Plaintiff’s

motion, this is a misstatement of New York law. Insider status alone does not render a transfer

fraudulent. Plaintiff must still prove the transferor’s receipt of less than fair equivalent value in the

exchange.

Judgment Against Walia

                67.     Plaintiff alleges that “As Defendants are the initial, immediate or mediate

transferee of the Transfers, Plaintiff is entitled to receive for the Estate the proceeds or value of

the Transfers under 11 U.S.C. § 550 of the Bankruptcy Code and NY Debt & Cred L.” See First

Amended Complaint at paragraph 43.

                68.     Niknim is the initial transferee of the Transfers. Plaintiff alleges that

                        there existed a unity of interest in ownership between Defendant,
                        Walia and Defendant, Niknim such that the individuality and
                        separateness between them ceased and that Defendant, Niknim is
                        the alter ego of Defendant, Walia in that, among other things: (a)
                        Defendant Walia controlled, dominated, managed and operated
                        Defendant Niknim as his alter ego; (b) Defendant Walia makes all
                        decisions pertaining to Defendant Niknim; (c) there has been a
                        failure to comply with or observe the formalities of corporate
                        formation and/or operation; (d) Defendant Niknim was inadequately
                        capitalized; and (e) that the individuality of said entity should be
                        disregarded pursuant to the doctrine of piercing the corporate veil.
                                                 -15-
      Case 8-20-08049-ast         Doc 67     Filed 03/02/23      Entered 03/02/23 17:31:14




See First Amended Complaint at paragraph 4.

               69.     My status as an initial transferee depends upon Plaintiff proving that

Niknim is my alter ego. I understand that in New York, in order to state a claim for alter-ego

liability, plaintiff is generally required to allege “complete domination of the corporation in respect

to the transaction attacked” and “that such domination was used to commit a fraud or wrong against

the plaintiff which resulted in plaintiff's injury.” Plaintiff has offered no evidence to support such

allegations and I submit there is none.

               70.     As to my status as an immediate or mediate transferee of the Transfers,

Plaintiff has made no allegation with respect to any transfer by Niknim. Regardless, assuming I

was a transferee of Niknim, my liability would be shielded under section 550(b)(1) because I took

for value, in good faith, and without knowledge of the voidability of the Transfers.

                                          CONCLUSION

               71.     In view of the foregoing, Defendants respectfully submit that Plaintiff has

failed to sustain his burden for obtaining summary judgment and therefore, the motion must be

denied.

Dated: New York, New York
       February 14, 2023

                                                         /s/ Arvind Walia
                                                             Arvind Walia

State of Texas
County of Harris

On the 17th day of February, in the year 2023, before me, the undersigned, personally appeared
Arvind Walia personally known to me or proved to me on the basis of satisfactory evidence to be
the individual whose name is subscribed to the within instrument and acknowledged to me that he
executed the same in his capacity, and that by his signature on the instrument, the individual
executed the instrument.

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     Case 8-20-08049-ast    Doc 67    Filed 03/02/23     Entered 03/02/23 17:31:14




Ana Laura Salazar Uribe
Document Notarized Using a Live Audio-Video Connection

Ana Laura Salazar Uribe
Electronic Notary Public
State of Texas
Notary ID: 13175026
Commission Exp: Oct 11, 20267




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Case 8-20-08049-ast   Doc 67   Filed 03/02/23   Entered 03/02/23 17:31:14




              EXHIBIT A
       Case 8-20-08049-ast    Doc 67     Filed 03/02/23   Entered 03/02/23 17:31:14

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                             ASSET PURCHASE AGREEMENT

                                made and entered into as of

                                       March [ ], 2015

                                       by and among

                         PHYSICANS PRACTICE PLUS LLC,

                               PORTECK CORPORATION

                                            AND

                               THE SHAREHOLDERS OF

                               PORTECK CORPORATION




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        Case 8-20-08049-ast                 Doc 67         Filed 03/02/23            Entered 03/02/23 17:31:14

                                                                                                                 AWNK003318




ARTICLE 1 SALE AND PURCHASE OF SHARES.................................................................... 1
 Section 1.1     Purchase of Assets. ............................................................................................ 1
 Section 1.2     Excluded Assets................................................................................................. 3
 Notwithstanding anything to the contrary herein, Seller will retain and not transfer, and Buyer
 will not purchase or acquire, the following assets (collectively, the “Excluded Assets”): ....... 3
 Section 1.3     Assumption of Liabilities. ................................................................................. 4
 Section 1.4     Excluded Liabilities. .......................................................................................... 4
 Section 1.5     Consent of Third Parties. ................................................................................... 4
 Section 1.6     Purchase Price and Payment for Assets. ............................................................ 5
 Section 1.7     Post-Closing Payment. ...................................................................................... 7
 Section 1.8     Allocation. ....................................................................................................... 13
 Section 1.9     Passage of Title and Risk of Loss. ................................................................... 13

ARTICLE 2 CLOSING ................................................................................................................ 13
 Section 2.1 Closing. ............................................................................................................ 13
 Section 2.2 Closing Deliverables........................................................................................ 13

ARTICLE 3 REPRESENTATIONS AND WARRANTIES REGARDING THE SELLER....... 16
 Section 3.1  Organization; Authority; Due Execution. ........................................................ 16
 Section 3.2  Subsidiaries and Equity Investments. .............................................................. 17
 Section 3.3  Consents; No Violation. .................................................................................. 17
 Section 3.4  Indebtedness. ................................................................................................... 18
 Section 3.5  Capitalization. .................................................................................................. 18
 Section 3.6  Litigation. ........................................................................................................ 19
 Section 3.7  Assets; Personal Property. ............................................................................... 19
 Section 3.8  Real Property. .................................................................................................. 20
 Section 3.9  List, etc. ........................................................................................................... 20
 Section 3.10 Tax Matters. ..................................................................................................... 20
 Section 3.11 Employees. ...................................................................................................... 23
 Section 3.12 Employee Benefits. .......................................................................................... 23
 Section 3.13 Intellectual Property. ....................................................................................... 25
 Section 3.14 Financial Statements; Accounts Receivable. ................................................... 27
 Section 3.15 Absence of Certain Changes............................................................................ 28
 Section 3.16 Bank Accounts. ................................................................................................ 30
 Section 3.17 Compliance With Law. .................................................................................... 30
 Section 3.18 Environmental Matters. ................................................................................... 31
 Section 3.19 Contracts and Commitments. .......................................................................... 31
 Section 3.20 Insurance. ......................................................................................................... 34
 Section 3.21 Affiliate Transactions. ..................................................................................... 35
 Section 3.22 Distributors, Suppliers and Customers. ........................................................... 35
 Section 3.23 Products Liability and Warranty Liability. ...................................................... 36
 Section 3.24 Absence of Certain Business Practices. ........................................................... 36
 Section 3.25 Records. ........................................................................................................... 36
 Section 3.26 Disclosure. ....................................................................................................... 36
 Section 3.27 Brokers and Finders. ........................................................................................ 37

{00718038.DOCX;1 }
                                                                   i
        Case 8-20-08049-ast                    Doc 67          Filed 03/02/23              Entered 03/02/23 17:31:14

                                                                                                                          AWNK003319



   Section 3.28           Inventory.......................................................................................................... 37
   Section 3.29           Privacy. ............................................................................................................ 37
   Section 3.30           HIPAA Compliance......................................................................................... 37
   Section 3.31           False Claims Act Compliance. ........................................................................ 37

ARTICLE 4 REPRESENTATIONS AND WARRANTIES OF THE SELLING
SHAREHOLDERS ....................................................................................................................... 38
  Section 4.1 Ownership of Shares........................................................................................ 38
  Section 4.2 Authority.......................................................................................................... 38
  Section 4.3 Litigation. ........................................................................................................ 38
  Section 4.4 Brokers and Finders. ........................................................................................ 38
  Section 4.5 Equity Investments. ......................................................................................... 39

ARTICLE 5 REPRESENTATIONS AND WARRANTIES OF BUYER ................................... 39
 Section 5.1 Organization; Authority; Due Execution. ........................................................ 39
 Section 5.2 Consents; No Violation. .................................................................................. 39
 Section 5.3 Litigation. ........................................................................................................ 40
 Section 5.4 Compliance with Law. ..................................................................................... 40
 Section 5.5 Brokers and Finders. ........................................................................................ 40
 Section 5.6 Funds. .............................................................................................................. 40
 Section 5.7 Ownership........................................................................................................ 40

ARTICLE 6 CERTAIN COVENANTS AND AGREEMENTS OF THE SELLING PARTIES
AND BUYER ............................................................................................................................... 40
 Section 6.1   Expenses and Finder’s Fees. ............................................................................ 40
 Section 6.2   Public Announcements. ................................................................................... 41
 Section 6.3   Management Incentives. .................................................................................. 41
 Section 6.4   PARCS Software. ............................................................................................ 41
 Section 6.5   Non-Competition, Non-Solicitation and Non-Disclosure. .............................. 42
 Section 6.6   INTENTIONALLY DELETED. ..................................................................... 44
 Section 6.7   Porteck India. ................................................................................................... 44
 Section 6.8   Further Assurances. ......................................................................................... 44
 Section 6.9   Proceedings...................................................................................................... 45
 Section 6.10 Use of Business Name. .................................................................................... 45
 Section 6.11 Tax Returns; Liability for Transfer Taxes and Fees. ....................................... 45
 Section 6.12 Insurance. ......................................................................................................... 45
 Section 6.13 Transition. ........................................................................................................ 46
 Section 6.14 Assignment of Cash. ........................................................................................ 46
 Section 6.15 Seller’s Existence. ........................................................................................... 46
 Section 6.16 Mail.................................................................................................................. 46
 Section 6.17 Access to Information...................................................................................... 46
 Section 6.18 Certain Employees. .......................................................................................... 46
 Section 6.19 Employee Payments. ....................................................................................... 47
 Section 6.20 Conduct of the Buyer Post-Closing. ................................................................ 47
 Section 6.21 AHMS.............................................................................................................. 47

ARTICLE 7 INDEMNIFICATION .............................................................................................. 48

{00718038.DOCX;1 }
                                                                       ii
        Case 8-20-08049-ast                  Doc 67         Filed 03/02/23             Entered 03/02/23 17:31:14

                                                                                                                    AWNK003320



   Section 7.1           Indemnification................................................................................................ 48

ARTICLE 8 DEFINITIONS ......................................................................................................... 52
 Section 8.1  Definitions. ...................................................................................................... 52

ARTICLE 9 MISCELLANEOUS ................................................................................................ 65
 Section 9.1  Waiver. ............................................................................................................ 65
 Section 9.2  Notices. ............................................................................................................ 66
 Section 9.3  Governing Law; Consent to Jurisdiction and Waiver of Jury Trial. ............... 66
 Section 9.4  Counterparts..................................................................................................... 67
 Section 9.5  Headings. ......................................................................................................... 67
 Section 9.6  Entire Agreement. ............................................................................................ 67
 Section 9.7  Amendment and Modification. ........................................................................ 67
 Section 9.8  Binding Effect; Benefits. ................................................................................. 68
 Section 9.9  Joint Drafting. .................................................................................................. 68
 Section 9.10 Severability. ..................................................................................................... 68
 Section 9.11 Interpretation. .................................................................................................. 68
 Section 9.12 Assignability. ................................................................................................... 69
 Section 9.13 Specific Performance. ...................................................................................... 69
 Section 9.14 Selling Shareholder Representative. ................................................................ 69




{00718038.DOCX;1 }
                                                                   iii
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

                                                                                     AWNK003321




                ASSET PURCHASE AGREEMENT (herein, together with the Schedules and
Exhibits attached hereto, referred to as this “Agreement”), dated as of March [ ], 2015 (the
“Closing Date”), by and among Arvind Walia (“Walia”), an individual residing at 3 Farmwood
Lane, Upper Brookville, New York 11545 The JANAMINDER VIRK IRREVOCABLE
TRUST, THE ARVIND WALIA IRREVOCABLE TRUST (each of the foregoing, including
Walia, a “Selling Shareholder”, and collectively the “Selling Shareholders;”), Porteck
Corporation, a New York corporation (the “Seller;” each of the Selling Shareholders and the
Seller are individually a “Selling Party”, and collectively, the “Selling Parties”), Walia as the
representative for the Selling Shareholders (the “Selling Shareholder Representative”) and
Physicans Practice Plus LLC, a Delaware limited liability company (“Buyer”). Capitalized terms
used in this Agreement without definition shall have the meanings ascribed to such terms in
Article 8.

                                                WITNESSETH:

                WHEREAS, the Selling Shareholders own all of the issued and outstanding shares
of capital stock of the Seller (the “Shares”); and

               WHEREAS, Buyer wishes to purchase from Seller, and Seller wishes to sell,
assign and transfer to Buyer, substantially all of Seller’s assets and properties held in connection
with, necessary for, or material to the Business, and Buyer has agreed to assume and discharge
the Assumed Liabilities (as defined below) in full as and when they become due,

                NOW, THEREFORE, in consideration of the mutual covenants, agreements,
representations and warranties herein contained, and upon the terms and subject to the conditions
hereinafter set forth, the Parties hereto hereby agree as follows:

                                                  ARTICLE 1

                                  SALE AND PURCHASE OF SHARES

                 Section 1.1 Purchase of Assets. Subject to the terms and conditions hereof, at
Closing Seller will sell, transfer, assign and deliver to Buyer, and Buyer will purchase from
Seller, all right, title and interest of Seller in and to the properties, assets and rights of every
nature as the same may exist on the Closing Date, whether real, personal, tangible, intangible or
otherwise and whether now existing or acquired prior to the Closing (other than the Excluded
Assets), wherever located (collectively, the “Assets”) other than the Excluded Assets, including
the following:

                       (a)     all of Seller’s rights relating to prepaid expenses, prepayments,
security deposits and similar items made by or on behalf of Seller (“Prepayments”);

                        (b)    the property and equipment listed in Schedule 1.1(b), and all other
machinery, equipment, furnishings, inventory, supplies, vehicles, tools, dies, molds and parts and
similar property including, without limitation, computers, telephone equipment, cell phones,
furniture, office supplies and other items, devices and supplies used by any Employee in
connection with the performance of services on behalf of the Business;


{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   1
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

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                        (c)     all rights of Seller to the PARCS Software, the Source Code and
the other Intellectual Property, tangible embodiments thereof and rights thereunder or in respect
thereof relating to or used or held for use in connection with the Business (including rights and
remedies in respect of infringements) (together with all Intellectual Property rights included in
the other clauses of this Section 1.1, the “Intellectual Property Assets”);

                        (d)    all rights of Seller under the Contracts listed on Schedule 1.1(d)
(collectively, the “Assigned Contracts”), including rights to receive payment, goods or services
and to assert claims, including indemnification claims (if any), and take other actions;

                       (e)     copies or the original forms of all records, files and lists relating to
customers, suppliers and Assigned Contracts, all data and information regarding customers of the
Business within the possession or control of the Seller, including without limitation all customer
purchase orders and the Seller’s invoices related thereto and all of the Seller’s purchase orders
and the suppliers’ invoices related thereto, and all other Books and Records (whether copies or
originals are provided shall be in the sole discretion of Seller), provided that if the Books and
Records are not in original form, Seller shall make available to Buyer the original form of the
Books and Records, as reasonably required by Buyer;

                        (f)      all rights of Seller under Governmental Approvals and Permits
(including Environmental Permits) including pending applications therefor or renewals thereof,
to the extent their transfer is permitted by law;

                      (g)   all right, title and interest of Seller in and to the telephone and fax
numbers set forth on Schedule 1.1(g), to the extent such numbers are assignable by the Seller;

                       (h)   all right, title and interest of Seller in and to the domain names and
websites set forth on Schedule 1.1(h), including the right to use email addresses at such domain
names or otherwise using Porteck.com.

                      (i)      all rights of Seller under or pursuant to all warranties,
representations and guarantees (i) made by suppliers in connection with products or services
furnished to the Business or (ii) otherwise pertaining to the Business or affecting the Assets;

                       (j)         Seller’s right and interest to the name “Porteck Corporation” and
any derivation thereof;

                      (k)     All business relationships and goodwill in connection with the
Business as a going concern, including all goodwill associated with the Intellectual Property
Assets;

                        (l)   insurance benefits, including rights and proceeds, arising from or
relating to the Assets or Assumed Liabilities prior to Closing; and

                          (m)      the Deposits

                      Subject to the terms and conditions hereof, at the Closing, the Assets shall
be transferred to Buyer free and clear of all liabilities, obligations and Liens excepting only


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       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

                                                                                    AWNK003323



Assumed Liabilities and Permitted Liens, by Seller executing and delivering to Buyer the Bill of
Sale.

                 Section 1.2       Excluded Assets.

Notwithstanding anything to the contrary herein, Seller will retain and not transfer, and Buyer
will not purchase or acquire, the following assets (collectively, the “Excluded Assets”):

                        (a)    accounts receivable, notes receivable and other receivables,
including those listed in Schedule 1.2(a), notes, bonds and other evidences of indebtedness of,
and rights to receive payments from, any Person (the “Accounts Receivable”), together with any
rights and interests in checks and wire transfers which are in transit as of or following the
Closing or any amounts credited to any bank accounts on or after the Closing on account of an
Accounts Receivable, together with any unbilled accrued revenue;

                          (b)      the assets listed on Schedule 1.2;

                        (c)     (i) Seller’s Certificate of incorporation, Seller’s by-laws,
qualifications to conduct business as a foreign corporation, arrangements with registered agents
relating to foreign qualifications, taxpayer and other identification numbers, seals, minute books,
stock transfer books, and other documents relating to the organization, maintenance, and
existence of Seller as a corporation, and (ii) the rights of Selling Parties under this Agreement or
any Seller Document;

                          (d)      any and all rebates with respect to workmen’s compensation
insurance;

                       (e)    refunds of Taxes attributable to Seller with respect to all periods
prior to Closing, excluding with respect to Transfer Taxes arising out of the transfer of Assets to
Buyer;

                       (f)    all rights of Seller to claims, demands, lawsuits and judgments
with respect to the Business or the ownership, use or value of any Asset;

                          (g)       the Financial Records; and

                       (h)    all Contracts and instruments relating to Seller’s Indebtedness
other than the Permitted Indebtedness.

                         (i)     all brokerage accounts and securities accounts and securities
entitlements, together with any rights and interests in checks and wire transfers which are in
transit as of or following the Closing or any amounts credited to any bank accounts on or after
the Closing which are not on account of Accounts Receivable, and all public or marketable
securities, all rights and interests in and to any bank accounts of Seller; provided, however that
with respect to any accounts that the Seller has with JP Morgan Chase, the Seller shall cause
such accounts to be assigned and transferred to the Buyer and assist the Buyer in having such
persons as Buyer selects be named authorized signatories on such accounts, and following the
transfer of such accounts, Buyer shall transfer to the Seller any monies rightfully belonging to


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       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

                                                                                    AWNK003324



Seller that were in such accounts for the period ending February 28, 2015 (Accounts Receivable
less Accounts Payable) and in connection therewith the Buyer and Seller shall cause
reconciliations of such accounts at 90, 180 and 270 days following the Closing Date.



                 Section 1.3       Assumption of Liabilities.

                        (a)    Subject to the terms and conditions hereof, at Closing Buyer shall
assume and agree to pay and discharge when due the following liabilities relating to the Assets
and existing at or arising on or after the Closing Date (collectively, the “Assumed Liabilities”):

                                     (i)     liabilities, obligations and commitments relating
exclusively to the Permitted Indebtedness (defined in Section 8.1);

                                     (ii)   liabilities, obligations and commitments arising out
of the Assigned Contracts following the Closing Date; and

                                       (iii) liabilities, obligations and commitments relating to
any rent or other amount payable, together with other liabilities, obligations and commitments
under the Seller Leases arising after the Closing Date as well as any liabilities, obligations and
commitments under the Seller Leases whether arising before or after the Closing Lease with
respect to the condition of the Seller Leased Property.

                      (b)    At Closing, Buyer shall assume the Assumed Liabilities (other than
the Assigned Contracts and Seller Leases which will be assumed in accordance with Section
2.2(b) by executing and delivering to Seller the Assumption Agreement substantially in the form
annexed hereto as Exhibit 1.3(b) (the “Assumption Agreement”).

                 Section 1.4 Excluded Liabilities. Notwithstanding anything to the contrary
herein, Buyer shall not assume any liabilities, obligations or commitments of Seller (including
any liabilities, obligations or commitments of Seller relating to or arising out of the operation of
the Business, the employment of the Employees or the ownership (or leasing of), operation or
use of the Assets prior to the Closing), including any Proceeding with respect to the operation of
the Business, the employment of the Employees or the ownership (or leasing of), operation or
use of the Assets prior to the Closing, other than the Assumed Liabilities (the “Excluded
Liabilities”). The Excluded Liabilities include, but are not limited to, the Specific Excluded
Liabilities and the items set forth on Schedule 1.4.

                Section 1.5 Consent of Third Parties. Notwithstanding anything to the
contrary herein, this Agreement shall not constitute an agreement to assign or transfer any
interest in any Governmental Approval, Permit or Assigned Contract or any claim or right
arising thereunder if such assignment or transfer without the consent or approval of a third party
would constitute a breach thereof or affect adversely the rights of Buyer thereunder, and any
such transfer or assignment shall be made subject to such consent or approval being obtained. In
the event any such consent or approval is not obtained prior to the Closing, Buyer and Seller
shall continue to use commercially reasonable efforts to obtain any such consent or approval
after the Closing, and Seller will cooperate with Buyer in lawful and commercially reasonable


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       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

                                                                                     AWNK003325



arrangements to provide that Buyer shall receive the interest of Seller in the benefits under any
such Governmental Approval, Permit or Assigned Contract, including to the extent commercially
reasonable, performance by Seller, as agent, provided that Buyer shall undertake to pay or satisfy
the corresponding liabilities for the enjoyment of such benefit to the extent Buyer would have
been responsible therefor if such consent or approval had been obtained. Seller shall pay and
discharge, and shall indemnify and hold Buyer harmless from and against, before and after the
Closing (a) any and all out-of-pocket costs of seeking any such Governmental Approval and
Permit and (b) any fees charged by any third party with respect to seeking any such Assigned
Contract consent. Nothing in this Section 1.5 shall be deemed a waiver by Buyer of its right to
receive prior to the Closing an effective assignment of all of the Assets nor shall this Section 1.5
be deemed to constitute an agreement to exclude from the Assets any assets described under
Section 1.1. The parties hereby agree that the Seller shall have 60 days from the date hereof to
obtain the consent of the landlord with respect to the Seller Leased Property.

                 Section 1.6       Purchase Price and Payment for Assets.

                        (a)     The purchase price for the Assets consists of the following (i)
$12,800,000 (the “Closing Consideration”), of which sum (1) $12,300,000 will be paid by
Buyer to Seller (the “Closing Payment”), (2) $500,000 will be deemed paid by Buyer’s causing
the cancellation of the Seller’s obligation to Constellation Health Technology Inc. pursuant to
that certain Promissory Note (the “Bridge Note”) dated February 9, 2015, and (ii) the Post-
Closing Payment payable pursuant to Section 1.7 (collectively, the “Purchase Price”).

                      (b)     Payment of Purchase Price. At the Closing, Buyer shall deliver to
Seller the Closing Payment in immediately available funds by wire transfer to an account or
accounts designated by Seller to Buyer in writing no later than three Business Days prior to the
Closing.

                          (c)      Discharge of Debt and Liabilities.

                                         (i)     At or before the Closing, the Selling Parties shall
pay and discharge all debts, liabilities and obligations of the Seller (including, without limitation,
any liabilities in respect of any Indebtedness, Payables and Transaction Expenses as well as any
accounts payable and accrued expenses that have been incurred in the Ordinary Course of
Business consistent with past practices); provided, however the Seller shall not be required to
discharge and pay Permitted Indebtedness and the Bridge Note and Assumed Liabilities. The
Parties agree that if there is a dispute after the Closing and prior to March 31, 2016 as to whether
a particular debt, liability or obligation is, on the one hand an Excluded Liability or another debt,
liability or obligation of the Seller or on the other hand is an Assumed Liability or another debt,
liability or obligation of the Buyer, the Buyer’s accountants shall determine to what extent each
Party is responsible for such debt, liability or obligation, and such accountants’ determination
shall be final and binding on the Parties; provided however if a disputed debt, liability or
obligation is for an amount in excess of $50,000, then the dispute may be referred thereafter for
decision to a Neutral Firm that will agree to act as Arbiter. If: (i) Buyer and the Seller are unable
to agree on the selection of an Arbiter within fifteen (15) days, then each of Buyer, on the one
hand, and the Seller, on the other hand, shall select one Neutral Firm and those two Neutral
Firms together shall appoint a Neutral Firm as Arbiter hereunder, and such appointment shall be


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       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

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conclusive and binding on all of the Parties; or (ii) if any Party does not select a Neutral Firm
within ten (10) days of written demand therefor by the other Party, then the Neutral Firm
selected by the other Party shall act as the Arbiter. The Seller and Buyer shall each be entitled to
present one written statement of position with respect to the matters in dispute within twenty (20)
days of the engagement of the Arbiter (with copies to be provided concurrently to the other
Party) and, no later than the tenth (10th) day following receipt thereof, one rebuttal statement
with respect to the statement of position delivered by the other Party (which shall be provided
concurrently to the other Party). As soon as practicable, but no later than forty-five (45) days
after its acceptance of its appointment as Arbiter, the Arbiter shall determine, based solely on the
written statements by Buyer and the Seller, and not by independent review, the relative
responsibility of the Parties for such particular debt, liability or obligation and shall render a
written report as to the determination. The Arbiter shall have exclusive jurisdiction over, and
resort to the Arbiter as provided in this Section 1.7(k) shall be the sole recourse and remedy of
the Parties against one another with respect to, any such disputes; and the Arbiter’s
determination shall (absent mathematical error) be conclusive and binding on all of the Parties
and shall be enforceable in a court of law. The fees of the Arbiter shall be borne equally by the
Parties.

                                        (ii)     Except as provided below, at or before the Closing,
the Seller shall cause all security interests, encumbrances and other Liens (other than Permitted
Liens) on or relating to any of the properties, assets and rights of the Seller, at the Selling Parties’
sole cost and expense, to be released, extinguished and discharged in full, and shall deliver to
Buyer instruments and Uniform Commercial Code (“UCC”) termination statements, releasing,
extinguishing and discharging all such security interests, encumbrances, mortgages and other
Liens (other than Permitted Liens), all in form and substance satisfactory to Buyer. In the event
Buyer elects to proceed with the Closing prior to its receipt of all such documentation,
instruments and UCC termination statements, the Selling Parties shall nevertheless obtain and
deliver to Buyer all instruments and UCC termination statements, and obtain the release,
extinguishment and discharge of all Liens contemplated to be released by this Section 1.6(c)(ii).
The Parties agree that if the Liens held by Wachovia (the “Wachovia Liens”) have not been
extinguished prior to the Closing, they shall proceed with the Closing and Seller shall obtain and
deliver subsequent to the Closing documentation, instruments and UCC termination statements
with respect to the Wachovia Liens.

                       (d)    The Business. The business activities, operations and affairs of the
Seller as currently being conducted, including without limitation, the provision of medical billing
and collection services, business process outsourcing, and the creation and management of
software related to medical billing and collection services, is herein called the “Business”.

                       (e)     For the purpose of partially securing Seller’s obligations pursuant,
and without limiting Seller’s obligations thereunder, the amount of two million five hundred
thousand Dollars ($2,500,000) in cash (the “Escrow Amount”) shall be delivered by Buyers at
the Closing to the Escrow Agent by wire transfer of immediately available funds to an account
(the “Escrow Account”) to be designated and administered by the Escrow Agent pursuant to an
escrow agreement substantially in the form of Exhibit A (the “Escrow Agreement”), which
Escrow Agreement shall provide, among other things, that any amounts remaining in the Escrow
Account shall be released to Seller twelve (12) months after the Closing, to the extent not subject


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       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

                                                                                    AWNK003327



to any claims made prior to that time. Seller and Buyer agree that for all Tax purposes, any
amounts in the Escrow Account released to the Seller pursuant to this Section 2.7 shall be treated
as additional purchase price, unless otherwise required by applicable Law. The Escrow Payment
Working Capital Deficiency



                 Section 1.7       Post-Closing Payment.

                        (a)    General. Buyer shall pay the Seller following the Closing in
accordance with this Section certain additional sums (the “Post-Closing Payment”) an amount
(the “Earn-Out Payment”) based upon the Earn-Out Factor (as defined below) and Buyer’s
revenue and EBITDA during the Designated Period or Second Designated Period as applicable
(provided, however the Earn-Out Payment shall be reduced, if necessary, so that aggregate
amount of the Closing Consideration, the Post-Closing Payment and the amount payable
pursuant to Section 6.3 shall not exceed $25,000,000 (and if at the time the Earn-Out Payment
would ordinarily be paidThe Escrow, together with the Earn-Out Payment, the “Post-Closing
Conditional Payment”), which are subject to reduction pursuant to Section 1.7(d) provided,
however that the Post Closing Conditional Payment shall, if Buyer’s EBITDA for the
Designated Period is less than $2,000,000, be reduced by (I) 5.4 multiplied by (II) an amount
equal to $2,000,000 minus Buyer’s EBITDA for the Designated Period; provided, further,
however the Post-Closing Payment is not payable if Porteck India or the Selling Parties are in
material breach of their obligations under the Option Agreement (as determined by arbitration in
accordance with Section 9.3(c)) on the first anniversary of the Closing Date and, if Buyer’s
EBITDA for the Designated Period is $2,000,000 or less, on the second anniversary of the
Closing Date, and any Post-Closing Payment will be deferred until such determination if a notice
seeking arbitration is commenced within 13 months following the Closing Date; and provided
further, however Buyer may set off against the Post-Closing Payment any amounts owing to
Buyer pursuant to Section 7.1(a) if a claim therefor is brought by a Buyer Indemnified Person in
accordance with Section 7.1(e). The “Earn-Out Factor” equals, if Buyer’s EBITDA for the
Designated Period is more than $2,000,000, (i) (A) Buyer’s EBITDA for the Designated Period
less (B) $2,000,000 multiplied by (ii) 2.7, and if Buyer’s EBITDA for the Designated Period is
$2,000,000 or less, (i) (A) Buyer’s EBITDA for the Second Designated Period less (B)
$2,300,000 multiplied by (ii) 2.7 . The “Designated Period” means the twelve consecutive
calendar months commencing with the first calendar month beginning after the Closing Date.
The “Second Designated Period” means the twelve consecutive calendar months commencing
with the thirteenth calendar month beginning after the Closing Date. “EBITDA” means net
income before deduction of interest, taxes, depreciation and amortization and with such
adjustments, if any, to which the Buyer and Seller may agree in writing.

                       (b)     Earn-Out based on Revenue. Buyer shall pay the Seller, subject to
reduction pursuant to Section 1.7(d), an amount equal to the Earn-Out Factor if the Buyer’s
revenue for the Designated Period (if the Earn-Out Factor is based on the Designated Period) or
the Second Designated Period (if the Earn-Out Factor is based on the Second Designated Period)
is at least $13,000,000; provided, however if the Buyer’s revenue for the Designated Period or
Second Designated Period, as applicable, is at least $11,000,000 but less than $13,000,000, then
Buyer shall pay the Seller an amount equal to the Earn-Out Factor multiplied by a fraction, the


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       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

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numerator of which is the Buyer’s revenue for the Designated Period or Second Designated
Period, as applicable, and the denominator of which is $13,000,000. No amount shall be
payable pursuant to this Section 1.7(b) if the Buyer’s revenue for the Designated Period or
Second Designated Period, as applicable, is less than $11,000,000. Revenue shall be calculated
on an accrual basis in accordance with GAAP, with a deduction for a reasonable estimate of bad
debt.

                 By way of an example if the Buyer’s EBITDA for the Designated Period is
                 $3,000,000, then the Earn-Out Factor would be $2,700,000 (i.e. ($3,000,000 -
                 $2,000,000) x 2.7), and then if the revenues were $13,500,000 for the Designated
                 Period, the Seller would be entitled to $2,700,000 under Section 1.7(b), but if the
                 revenues were $12,000,000 the Seller would be entitled to
                 $2,492,307.69 . . $2,700,000 x ($12,000,000
                   $13,000,000 under                 .     . If the revenues were only $10,000,000,
                 the Seller would receive nothing under Section 1.7(b).

                 If instead of EBITDA for the Designated Period of $3,000,000 the Buyer’s
                 EBITDA is only $2,200,000, then the Earn-Out Factor would be $540,000 (i.e.
                 ($2,200,000 - $2,000,000) x 2.7), and then if the revenues were $13,500,000 for
                 the Designated Period, the Seller would be entitled to $540,000 under Section
                 1.7(b), but if the revenues were $12,000,000 the Seller would be entitled to
                 $498,461.54 . . $540,000 x ($12,000,000
                    $13,000,000 under               .     . If the revenues were only $10,000,000,
                 the Seller would receive nothing under Section 1.7(b).

                        (c)    Earn-Out based on EBITDA. Buyer shall pay the Seller, subject to
reduction pursuant to Section 1.7(d), an amount equal to the Earn-Out Factor if the Buyer’s
EBITDA for the Designated Period (if the Earn-Out Factor is based on the Designated Period) or
the Second Designated Period (if the Earn-Out Factor is based on the Second Designated Period)
is at least $2,750,000; provided, however if the Buyer’s EBITDA for the Designated Period or
Second Designated Period, as applicable, is at least $2,400,000 but less than $2,750,000, then
Buyer shall pay the Seller an amount equal to the Earn-Out Factor multiplied by a fraction, the
numerator of which is the Buyer’s EBITDA for the Designated Period or Second Designated
Period, as applicable, and the denominator of which is $2,750,000. No amount shall be payable
pursuant to this Section 1.7(c) if the Buyer’s EBITDA for the Designated Period or Second
Designated Period, as applicable, is less than $2,400,000.

                 By way of an example if the Buyer’s EBITDA for the Designated Period is
                 $3,000,000, then the Earn-Out Factor would be $2,700,000 (i.e. ($3,000,000 -
                 $2,000,000) x 2.7), and as a result since the EBITDA was at least $2,750,00, the
                 Seller would be entitled to $2,700,000 under Section 1.7(c).

                 However if the Buyer’s EBITDA for the Designated Period is $2,500,000, then
                 the Earn-out Factor would be $1,350,000 (i.e. ($2,500,000 - $2,000,000) x 2.7),
                 and as a result since the EBITDA was at least $2,400,000, the Seller would be
                 entitled to $1,178,181.82 . . $1,350,000 x ($2,4000,000
                   $2,750,000 under               .    .


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       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

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                 If the EBITDA for the Designated Period were only $2,200,000, the Seller would
                 receive nothing under Section 1.7(c) because there is no payout under this
                 provision if EBITDA is less than $2,400,000.

                        (d)    Reductions to Post-Closing Payments. Any Post-Closing
Conditional Payment shall be reduced by an amount equal to the Top Client Loss and any Post-
Closing Payment shall be reduced by an amount equal to (i) the Bad A/R Amount plus (ii) the
Expected Working Capital Deficiency. The “Bad A/R Amount” means (i) $0.00 if the Closing
Accounts Receivable Collections is at least 80% of the Closing Accounts Receivables and (ii) if
the Closing Accounts Receivable Collections is less than 80% of the Closing Accounts
Receivables, then the amount of the Closing Accounts Receivables less the Closing Accounts
Receivable Collections. “Top Client Loss” means $ 0.00 unless before the end of the Designated
Period one or more of the Top Clients ceases to be a Current Customer, in which case Top Client
Loss means the amount by which $11,000,000 exceeded the average annual revenue during the
Adjusted Designated Period. The “Adjusted Designated Period” means (i) if the Section 1.7
Notice is not delivered, the Designated Period and (ii) if the Section 1.7 Notice is delivered, the
Designated Period and the Second Designated Period. The “Expected Working Capital
Deficiency” is the amount, if any, by which the Expected Working Capital exceeds
$____________. The “Expected Working Capital” is the amount of working capital the Buyer
needed to have on hand as of the Closing Date in order to operate the Business as in effect at
such date in the Ordinary Course of Business, which amount shall be reasonably determined by
the Buyer following the Closing. Once the Buyer determines the Expected Working Capital, the
Buyer shall deliver to the Seller a notice setting forth the amount of the Expected Working
Capital and the amount of the Expected Working Capital Deficiency, if any. The Selling Parties
shall have seven days from its receipt of such notice to pay Buyer the amount of the Expected
Working Capital Deficiency (the “Deficiency Amount”) and if it is not received by Buyer,
interest will accrue on the Expected Working Capital Deficiency at the rate of ten percent (10%)
per annum from the date of the notice until the date of the payment of the Post-Closing Payment
at which time the accrued interest will be deducted from the Post-Closing Payment; if Buyer
receives from Seller the Deficiency Amount, Buyer will repay Seller the Deficiency Amount at
the same time it pays the Post-Closing Payment.

                       (e)     Preparation of Preliminary Statement. Within 60 days following
the end of the Designated Period, Buyer will prepare, or cause to be prepared, and deliver to the
Seller a Preliminary Statement (the “Preliminary Statement”) setting forth the revenues and
EBITDA of the Buyer for the Designated Period, prepared in accordance with GAAP; provided,
however that the Seller has the option exercisable by delivering written notice (the “Section 1.7
Notice”) to Buyer at least 60 days prior to the end of the Designated Period to require Buyer also
to calculate revenues for the Second Designated Period, in which case Buyer will not prepare, or
cause to be prepared, a Preliminary Statement within 60 days following the end of the
Designated Period, but instead Buyer will prepare, or cause to be prepared, within 60 days
following the end of the Second Designated Period a Preliminary Statement setting forth (i) the
revenues for the Designated Period and the Second Designated Period, prepared in accordance
with GAAP and (ii) EBITDA of the Buyer for the Designated Period, prepared in accordance
with GAAP. The Preliminary Statement shall be accompanied by a letter from the Buyer’s
accountants which states that the Preliminary Statement was prepared in accordance with this
Agreement.


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       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

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                        (f)     Review of Preliminary Statement. Promptly after the preparation
of the Preliminary Statement, Buyer shall deliver it to the Seller. The Seller and any independent
accountant selected by the Seller may review the Preliminary Statement and may make inquiry
of Buyer and its representatives. Buyer will make available to the Seller and such independent
accountant, as reasonably requested by the Seller, all books and records of the Buyer required to
assess the Preliminary Statement. The Preliminary Statement shall be binding and conclusive
upon, and deemed accepted by, the Seller, unless the Seller shall have notified Buyer in writing
of any objections thereto, consistent with the provisions of this Section 1.7, within forty five (45)
days after the delivery thereof. The written notice delivered by the Seller to Buyer under this
Section 1.7(f) shall specify in reasonable detail each specific item on the Preliminary Statement
that the Seller disputes and a summary of the reasons for such dispute. Any portion of the
Preliminary Statement not so disputed by the Seller shall be deemed final and conclusive.

                        (g)     Disputes. If a dispute between Buyer and the Seller relating to the
Preliminary Statement that cannot be resolved by Buyer and the Seller within thirty (30) days
after receipt by Buyer of the notice referred to in Section 1.7(f), the Seller may engage an
nationally recognized accounting firm to prepare if a dispute relates to the statement the revenues
and EBITDA of the Buyer for the Designated Period, an audited statement of the revenues and
EBITDA of the Buyer for the Designated Period, prepared in accordance with GAAP (any such
statement, a “Reply Statement”). The Preliminary Statement shall be binding except to the
extent there is a Material Difference between the Preliminary Statement and the Reply
Statement, in which case Buyer and the Seller shall try to resolve the dispute with respect to the
portion where a Material Difference exists. “Material Difference” means a difference between
the Preliminary Statement and the Reply Statement of at least 5% with respect to revenues for
the Designated Period or either 5% or $150,000 with respect to EBITDA of the Buyer for the
Designated Period. If a dispute with respect to the portion where a Material Difference exists
cannot be resolved by Buyer and the Seller within thirty (30) days after receipt by Buyer of the
Reply Statement, the dispute with respect to such portion shall be referred thereafter for decision
to a mutually agreeable independent nationally recognized accounting firm who has not then
provided services to any Party in the past two (2) years (a “Neutral Firm”) that will agree to act
as Arbiter (the “Arbiter”). If: (i) Buyer and the Seller are unable to agree on the selection of an
Arbiter within fifteen (15) days of the conclusion of the period described above, then each of
Buyer, on the one hand, and the Seller, on the other hand, shall select one Neutral Firm and those
two Neutral Firms together shall appoint a Neutral Firm as Arbiter hereunder, and such
appointment shall be conclusive and binding on all of the Parties; or (ii) if any Party does not
select a Neutral Firm within ten (10) days of written demand therefor by the other Party, then the
Neutral Firm selected by the other Party shall act as the Arbiter. The Seller and Buyer shall each
be entitled to present one written statement of position with respect to the matters in dispute
(which shall not include factual or expert affidavits, reports or submissions) within twenty (20)
days of the engagement of the Arbiter (with copies to be provided concurrently to the other
Party) and, no later than the tenth (10th) day following receipt thereof, one rebuttal statement
(which shall not include factual or expert affidavits, reports or submissions) with respect to the
statement of position delivered by the other Party (which shall be provided concurrently to the
other Party). As soon as practicable, but no later than forty-five (45) days after its acceptance of
its appointment as Arbiter, the Arbiter shall determine, based solely on the written statements by
Buyer and the Seller, and not by independent review, only those items in dispute on the
Preliminary Statement and shall render a written report as to the resolution of each dispute and


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       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

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the resulting calculation of the Final Statement. In making its determination, the Arbiter shall
elect the position of either Buyer, on the one hand, or the Seller, on the other hand, with respect
to the calculation of each item of disagreement and may not impose an alternative resolution
with respect thereto. The Arbiter shall have exclusive jurisdiction over, and resort to the Arbiter
as provided in this Section 1.7(g) shall be the sole recourse and remedy of the Parties against one
another with respect to, any disputes arising out of or relating to the Preliminary Statement and
the Final Statement; and the Arbiter’s determination shall (absent mathematical error) be
conclusive and binding on all of the Parties and shall be enforceable in a court of law. The fees
of the Arbiter shall be borne equally by the Parties.

                         (h)     Final Statement. The Preliminary Statement shall become final
and binding upon the Parties upon the earliest of: (i) the failure by the Seller to object thereto
within the period permitted under, and otherwise in material accordance with the requirements
of, Section 1.7(f); (ii) the written agreement between Buyer and the Seller with respect thereto;
and (iii) the decision by the Arbiter with respect to disputes under Section 1.7(g). The
Preliminary Statement, as deemed to be agreed pursuant to clause (i) above, or as adjusted
pursuant to the written agreement of Buyer and the Seller hereto or as determined by the Arbiter,
when final and binding, is referred to herein as the “Final Statement.”

                      (i)     Post-Closing Adjustment to the Purchase Price. As soon as
practicable (but not more than five (5) Business Days) after the determination of the Final
Statement, Buyer shall pay to Seller the Post-Closing Payment. Such amount shall be paid to the
Selling Shareholders in immediately available funds.

                       (j)     Preparation of Accounts Receivable Statement. Within 330 days
following the Closing, Seller will prepare, or cause to be prepared, and deliver to the Buyer a
Preliminary Accounts Receivable Statement (the “Preliminary A/R Statement”) setting forth
the amount the Seller collected during the 270 day period commencing on the first day after the
Closing Date with respect to the Closing Accounts Receivables (the “Closing Accounts
Receivable Collections”). The Preliminary A/R Statement shall be accompanied by a letter
from the Seller’s accountants which states that the Preliminary A/R Statement was prepared in
accordance with this Agreement. The Buyer and any accountant selected by the Buyer may
review the Preliminary A/R Statement and may make inquiry of Seller and its representatives.
Seller will make available to the Buyer and such accountant, as reasonably requested by the
Buyer, all books and records of the Seller required to assess the Preliminary A/R Statement. The
Preliminary A/R Statement shall be binding and conclusive upon, and deemed accepted by, the
Buyer, unless the Buyer shall have notified Seller in writing of any objections thereto, consistent
with the provisions of this Section 1.7, within thirty (30) days after the delivery thereof. The
written notice delivered by the Buyer to Seller under this Section 1.7(j) shall specify in
reasonable detail each specific item on the Preliminary A/R Statement that the Buyer disputes
and a summary of the reasons for such dispute. Any portion of the Preliminary A/R Statement
not so disputed by the Buyer shall be deemed final and conclusive.

                       (k)      Disputes. If a dispute between Buyer and the Seller relating to the
Preliminary A/R Statement that cannot be resolved by Buyer and the Seller within thirty (30)
days after receipt by Seller of the notice referred to in Section 1.7(j), the Buyer may engage a
nationally recognized accounting firm to prepare a statement of the amount the Seller collected


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       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

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during the 270 day period commencing on the first day after the Closing Date with respect to the
Closing Accounts Receivables (any such statement, a “Reply A/R Statement”). The
Preliminary A/R Statement shall be binding except to the extent there is a Material A/R
Difference between the Preliminary A/R Statement and the Reply A/R Statement, in which case
Buyer and the Seller shall try to resolve the dispute with respect to the portion where a Material
A/R Difference exists. “Material A/R Difference” means a difference between the
Preliminary A/R Statement and the Reply A/R Statement of at least 5%. If a dispute with respect
to the portion where a Material A/R Difference exists cannot be resolved by Buyer and the Seller
within thirty (30) days after receipt by Seller of the Reply A/R Statement, the dispute with
respect to such portion shall be referred thereafter for decision to a Neutral Firm that will agree
to act as Arbiter. If: (i) Buyer and the Seller are unable to agree on the selection of an Arbiter
within fifteen (15) days of the conclusion of the period described above, then each of Buyer, on
the one hand, and the Seller, on the other hand, shall select one Neutral Firm and those two
Neutral Firms together shall appoint a Neutral Firm as Arbiter hereunder, and such appointment
shall be conclusive and binding on all of the Parties; or (ii) if any Party does not select a Neutral
Firm within ten (10) days of written demand therefor by the other Party, then the Neutral Firm
selected by the other Party shall act as the Arbiter. The Seller and Buyer shall each be entitled to
present one written statement of position with respect to the matters in dispute (which shall not
include factual or expert affidavits, reports or submissions) within twenty (20) days of the
engagement of the Arbiter (with copies to be provided concurrently to the other Party) and, no
later than the tenth (10th) day following receipt thereof, one rebuttal statement (which shall not
include factual or expert affidavits, reports or submissions) with respect to the statement of
position delivered by the other Party (which shall be provided concurrently to the other Party).
As soon as practicable, but no later than forty-five (45) days after its acceptance of its
appointment as Arbiter, the Arbiter shall determine, based solely on the written statements by
Buyer and the Seller, and not by independent review, only those items in dispute on the
Preliminary A/R Statement and shall render a written report as to the resolution of each dispute
and the resulting calculation of the Final A/R Statement. In making its determination, the Arbiter
shall elect the position of either Buyer, on the one hand, or the Seller, on the other hand, with
respect to the calculation of each item of disagreement and may not impose an alternative
resolution with respect thereto. The Arbiter shall have exclusive jurisdiction over, and resort to
the Arbiter as provided in this Section 1.7(k) shall be the sole recourse and remedy of the Parties
against one another with respect to, any disputes arising out of or relating to the Preliminary A/R
Statement and the Final A/R Statement; and the Arbiter’s determination shall (absent
mathematical error) be conclusive and binding on all of the Parties and shall be enforceable in a
court of law. The fees of the Arbiter shall be borne equally by the Parties.

                        (l)     Final A/R Statement. The Preliminary A/R Statement shall
become final and binding upon the Parties upon the earliest of: (i) the failure by the Buyer to
object thereto within the period permitted under, and otherwise in material accordance with the
requirements of, Section 1.7(j); (ii) the written agreement between Buyer and the Seller with
respect thereto; and (iii) the decision by the Arbiter with respect to disputes under Section
1.7(k). The Preliminary A/R Statement, as deemed to be agreed pursuant to clause (i) above, or
as adjusted pursuant to the written agreement of Buyer and the Seller hereto or as determined by
the Arbiter, when final and binding, is referred to herein as the “Final A/R Statement.”




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       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

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               Section 1.8 Allocation. The Parties agree to allocate the Purchase Price, the
Assumed Liabilities and other relevant items among the Assets in accordance with the allocation
schedule annexed hereto as Schedule 1.8. In connection with the foregoing, the Parties shall
cooperate with each other and provide such information as any of them shall reasonably request.
The Parties will each report the federal, state and local and other Tax consequences of the
purchase and sale contemplated hereby (including the filing of Internal Revenue Service Form
8594) in a manner consistent with such allocation schedules.

                Section 1.9 Passage of Title and Risk of Loss. Legal title, equitable title and
risk of loss with respect to the property and rights to be transferred hereunder shall not pass to
Buyer until the property or right is transferred at the Closing hereunder; provided, however, that
if any loss of any of the Assets occurs prior to the transfer of the property or right, Buyer shall be
entitled to the proceeds of any insurance payable with respect to the loss of such Assets.

                                                  ARTICLE 2

                                                   CLOSING

                Section 2.1 Closing. The closing of the transactions provided for herein (the
“Closing”) will take place at the offices of Robinson Brog Leinwand Greene Genovese & Gluck
P.C. at the address set forth in Section 9.2(b) hereof on the Closing Date. All proceedings to be
taken and all documents to be executed and delivered by the Parties at the Closing shall be
deemed to have been taken, executed and delivered simultaneously and no proceedings shall be
deemed taken nor any documents executed or delivered until all have been taken, executed and
delivered. Closing shall be deemed effective as of 11:59 pm on the Closing Date.
Notwithstanding the foregoing (i) the Selling Parties may deliver all of the Seller Documents
required hereunder to Buyer’s counsel on or before the Closing Date (to hold and deliver in
escrow according to the Selling Parties’ instructions), and (ii) Buyer may deliver all of the Buyer
Documents required hereunder to the Seller’s counsel on or before the Closing Date (to hold and
deliver in escrow according to the Buyer’s instructions).

                 Section 2.2       Closing Deliverables.

                          (a)      At the Closing, the Selling Parties will deliver to Buyer:

                                       (i)     the Bill of Sale substantially in the form attached
hereto as Exhibit 2.2(a)(i) (the “Bill of Sale”), executed and dated the Closing Date, with respect
to the Assets, in each case dated as of the date that is one day prior to the Closing Date;

                                    (ii)    Employment Agreements, duly executed by the Key
Employees, in the forms attached hereto as Exhibit 2.2(a)(ii) (the “Employment Agreements”);

                                     (iii) a guarantee from each of the Selling Shareholders
and Arvind’s wife, in the form attached hereto as Exhibit 2.2(a)(iii), and dated as of the Closing
Date;




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       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

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                                      (iv)    an assignment and assumption of all Assigned
Contracts (other than the Seller Leases) substantially in the form attached hereto as Exhibit
2.2(a)(iv) (the “Assignment of Contracts”) executed by the Seller and dated the Closing Date;

                                      (v)     an assignment and assumption of all copyrights
substantially in the form attached hereto as Exhibit 2.2(a)(v) (the “Assignment of Copyrights”)
executed by the Seller and dated the Closing Date;

                                     (vi)    an assignment of all domain names substantially in
the form attached hereto as Exhibit 2.2(a)(vi) (the “Assignment of Domain Names”) executed
by the Seller and dated the Closing Date;

                                      (vii) a trademark assignment substantially in the form
attached hereto as Exhibit 2.2(a)(vii) (the “Trademark Assignment”) executed by the Seller
and dated the Closing Date;

                                       (viii) an assignment and assumption of Intellectual
Property substantially in the form attached hereto as Exhibit 2.2(a)(viii) (the “Assignment of
Intellectual Property”) executed by the Seller and dated the Closing Date;

                                     (ix)      an assignment of any other agreements and
instruments constituting Assets substantially in the form attached hereto as Exhibit 2.2(a)(ix)
(the “General Assignment”) executed by the Seller and dated the Closing Date;

                                            (x)      the Assumption Agreement executed by the Seller
and dated the Closing Date;

                                     (xi)   with respect to the Seller Leases, an assignment of
such Seller Leases executed by Seller and dated the Closing Date (the “Lease Assignment”),
accompanied by the landlord’s consent and estoppel executed by the landlord for the Seller
Leased Property (the “Landlord”) and dated the Closing Date (the “Landlord Estoppel”), in
the form and substance acceptable to Landlord, if any, as Exhibit 2.2(a)(xi)

                                       (xii) a certificate of good standing of the Seller certified
as of a then recent date by the Secretary of State of the jurisdiction of such entity’s incorporation;

                                       (xiii) certified copies of the resolutions duly adopted by
the board of directors of the Seller and the shareholders of the Seller authorizing the execution,
delivery and performance of this Agreement and each of the other Seller Documents executed by
the Seller and the consummation of all transactions contemplated hereby and thereby;

                                         (xiv) a certificate of the secretary or other appropriate
officer of the Seller certifying as to the incumbency of the officer(s) of the Seller executing this
Agreement and the other Seller Documents, including specimen signatures;

                                      (xv) pay-off letter(s) in form and substance reasonably
satisfactory to Buyer evidencing the amount required to discharge at Closing all Indebtedness



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       Case 8-20-08049-ast            Doc 67        Filed 03/02/23   Entered 03/02/23 17:31:14

                                                                                          AWNK003335



(other than Permitted Indebtedness and the Bridge Note) and accomplish the release of all Liens
related thereto;

                                      (xvi) general releases releasing the Seller executed by
each of the Selling Shareholders in form and substance as Exhibit 2.2.(a)(xvii), provided,
however that such release shall not release any claim, loss or obligation of the Selling
Shareholders arising under (i) this Agreement or any agreement delivered pursuant to this
Agreement, or (ii) any obligations provided by law or under the Seller’s governance documents
with respect to the indemnification of such Selling Shareholders

                                        (xvii) consent from Arvind’s wife in which she consents
to the transactions, represents that she has no equity or right to acquire equity issued or issuable
by the Seller and releases the Seller;

                                        (xviii) Option Agreement providing Buyer or its designee
with the right to acquire all of the stock or substantially all of the assets of Porteck India (the
“Option Agreement”) executed by Porteck India and each of the Selling Shareholders in form
and substance as Exhibit 2.2.(a)(xviii);

                                        (xix) certificates of insurance for the Buyer Insurance
Policies required under Section 6.11(c), certifying that such Buyer Insurance Policies are in full
force and effect as of the date specified on the certificates;

                                      (xx) copies of UCC-3 termination statements
extinguishing all Liens, other than Permitted Liens, on the Assets;

                                            (xxi)    evidence of the termination of all Specified
Employees;

                                     (xxii) copies or originals of all Books and
Records;evidence of payment of the Buyer Transaction Expenses in accordance with the
instructions provided by Buyer to Seller;

                                      (xxiii) a list of all checks issued by the Seller that have not
been debited from the Seller’s bank account prior to the Closing; andsuch other instruments and
documents of any Selling Party, in form and substance reasonably acceptable to Buyer, as may
be reasonably necessary to effect the Closing.

                          (b)      At the Closing, Buyer will:

                                            (i)      deliver to Seller in accordance with Section 1.6 the
Closing Payment;

                                   (ii)  deliver to each Key Employee duly executed
counterpart of the Employment Agreement for such Key Employee;




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       Case 8-20-08049-ast            Doc 67        Filed 03/02/23   Entered 03/02/23 17:31:14

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                                       (iii) deliver to the Seller a guarantee from Orion
Healthcorp Inc., which indirectly owns all of the equity of Buyer, in the form attached hereto as
Exhibit 2.2(b)(iii), and dated as of the Closing Date;

                                            (iv)     the Assignments of Contracts executed by the
Buyer and dated the Closing Date;

                                            (v)      the Assignments of Copyright executed by the
Buyer and dated the Closing Date;

                                    (vi)             the Assignments of Intellectual Property executed
by the Buyer and dated the Closing Date;

                                            (vii)    the Assumption Agreement executed by the Buyer
and dated the Closing Date;

                                            (viii) the Lease Assignment and Landlord Estoppal
executed by Buyer;

                                    (ix)   deliver to the Seller such other instruments and
documents, in form and substance reasonably acceptable to the Seller, as may be reasonably
necessary to effect the Closing;

                                    (x)     certified copies of the resolutions duly adopted by
the Manager of the Buyer authorizing the execution, delivery and performance of this Agreement
and each of the other Buyer Documents executed by the Buyer and the consummation of all
transactions contemplated hereby and thereby.

                                                    ARTICLE 3

            REPRESENTATIONS AND WARRANTIES REGARDING THE SELLER

                 The Seller hereby represents and warrants to Buyer that:

                 Section 3.1       Organization; Authority; Due Execution.

                        (a)     The Seller is a corporation duly organized, validly existing and in
good standing under the laws of its jurisdiction of organization and has all requisite corporate
power and authority to own, lease and operate its properties and assets, and to carry on its
business as presently conducted and in the places such properties are now owned, leased or
operated and is qualified to do business and is in good standing as a foreign corporation in each
jurisdiction where the ownership or operation of its properties or conduct of its business requires
such qualification except where the failure to be so qualified or in good standing would not have
a Material Adverse Effect. The Seller has provided to Buyer a complete and correct copy of its
certificate of incorporation and bylaws as amended to date. Such certificate of incorporation and
bylaws so delivered are in full force and effect. Schedule 3.1(a) hereto contains a correct and
complete list of each jurisdiction where the Seller is qualified or licensed to do business. The
Seller does not do any business under any name other than the name set forth in the certificate of


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       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

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incorporation. The Seller has provided to Buyer complete and accurate copies of the minutes of
all meetings of the shareholders of the Seller, the board of directors of the Seller and the
committees thereof. The minute books and other similar records of the Seller contain accurate
summaries of all actions taken at any meetings of the shareholders of the Seller, the board of
directors of the Seller and the committees thereof, and include all written consents executed in
lieu of the holding of any such meeting. Schedule 3.1(a) hereto lists all directors and executive
officers of the Seller.

                        (b)      The Seller has all requisite corporate power and authority to enter
into this Agreement, to perform its obligations hereunder and to consummate the transactions
contemplated hereby. The execution, delivery and performance by the Seller of this Agreement
and the other Seller Documents executed and delivered by the Seller and the consummation by
the Seller of the transactions contemplated hereby and thereby, have been duly and validly
adopted and approved by the board of directors of the Seller and no other corporate proceedings
on the part of the Seller or its shareholders are necessary with respect to any such matter. This
Agreement and the other Seller Documents to which the Seller is a party have been duly
executed and delivered by the Seller and constitute the valid, binding and enforceable obligation
of the Seller, subject to the effects of bankruptcy, insolvency, fraudulent conveyance,
reorganization, moratorium and other similar Laws relating to or affecting creditors’ rights
generally and rules of law governing specific performance, injunctive relief and other equitable
remedies.

                 Section 3.2 Subsidiaries and Equity Investments. Other than Porteck India the
Seller does not have and has never had a Subsidiary. Other than Porteck India the Seller does
not have any interest, direct or indirect, or any commitment to purchase any interest, direct or
indirect, in, or the power to vote the equity interest of, any other corporation, limited liability
company, partnership, joint venture or other business enterprise or entity (other than with respect
to any marketable securities included in current assets). None of the Business has been
conducted through any direct or indirect Subsidiary or any direct or indirect Affiliate of the
Seller or any Selling Shareholder other than Porteck India pursuant to the agreement dated as of
December 29, 2004 as extended by an undated agreement by and between Porteck India and the
Seller; the Selling Parties do not engage in any business with Porteck India other than pursuant to
such agreement.

                 Section 3.3       Consents; No Violation.

                         (a)    Except as set forth on Schedule 3.3(a) hereto, no notices, reports
or other filings are required to be made with, nor are any consents, registrations, approvals,
permits or authorizations required to be obtained by, the Seller from any Governmental Entity or
Person (i) in connection with the execution and delivery of this Agreement or any of the other
Seller Documents by the Seller and the consummation by the Seller of the transactions
contemplated hereby and thereby, or (ii) the absence of which could (A) prevent, delay or impair
the Seller’s ability to consummate the transactions contemplated by this Agreement or any other
Seller Document, or (B) impair the ability of Buyer following consummation of the transactions
contemplated hereby to conduct the Business.




{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   17
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

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                        (b)     Assuming all required Consents as listed on Schedule 3.3(a) are
obtained, except as set forth on Schedule 3.3(b) hereto, the execution, delivery and performance
of this Agreement and the other Seller Documents do not, and the consummation of the
transactions contemplated hereby and thereby will not, constitute or result in (i) with or without
notice or the passage of time, or both, a breach or violation of, or a default under, the Seller’s
certificate of incorporation or bylaws or other governing documents, (ii) with or without notice
or the passage of time, or both, a breach of, or violation of or a conflict with, or a default under,
or the termination of, or the acceleration under, any Contract, debt, obligation, governmental or
non-governmental permit or license to which the Seller is a party or to or by which it or any of
the Business is subject or bound, (iii) the creation or imposition of any Lien upon the Business,
the Seller or any of the Assets, or (iv) the violation of any Law, order, judgment, decree or award
of any court, Governmental Entity or arbitrator to or by which any Selling Shareholder, the
Seller, or the Business is subject or bound.

                 Section 3.4 Indebtedness. Except as set forth on Schedule 3.4, (i) the Seller
does not have any outstanding Indebtedness and is not a party to any Contract providing for the
creation, incurrence or assumption thereof and (ii) no Liens exist upon the Business, the Seller or
any of its assets. On the date hereof the amount outstanding on the Permitted Indebtedness is
$600,000.00. As of the time of the Closing, the Selling Parties have paid and discharged all
debts, liabilities and obligations of the Seller (including, without limitation, any liabilities in
respect of any Indebtedness, Payables and Transaction Expenses as well as any accounts payable
and accrued expenses that have been incurred in the Ordinary Course of Business consistent with
past practices) other than the Permitted Indebtedness and the Bridge Note and the Assumed
Liabilities.

                 Section 3.5       Capitalization.

                        (a)   As of the Closing Date, the authorized capital stock of the Seller
consists of 200 shares of common stock of which each Selling Shareholder holds the issued and
outstanding Shares set forth by such Selling Shareholder’s name on Schedule 3.5(a), all of
which Shares are validly issued, fully paid and non-assessable. No shares of capital stock of the
Seller have been issued other than the Shares and the Selling Shareholders are the sole record
and beneficial owners of all of the issued and outstanding shares of capital stock of the Seller.
Except as set forth in Schedule 3.5(a) hereto, the Seller does not have outstanding any bonds,
debentures, notes or other obligations which provide the holders of which with the right to vote
(or which are convertible into or exercisable for securities having the right to vote) with the
shareholders or equity holders of the Seller.

                          (b)    Except as set forth in Schedule 3.5(b) hereto, the Seller does not
have any (i) issued or outstanding subscription, warrant, option, convertible security or other
right (contingent or otherwise) to purchase or acquire any shares of its capital stock or other
equity interest, (ii) obligation (contingent or otherwise) to issue any subscription, warrant,
option, convertible security or other such right, or to issue or distribute to holders of any shares
of capital stock or other equity interest of the Seller any evidences of indebtedness or assets of
the Seller, (iii) obligation (contingent or otherwise) to purchase, redeem or otherwise acquire any
shares of its capital stock or other equity interest or to pay any dividend or to make any other



{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   18
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

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distribution in respect thereof, or (iv) outstanding or authorized stock or equity appreciation
rights, phantom stock, phantom equity or similar rights or obligations.

                         (c)      Except as set forth in Schedule 3.5(c) hereto, there is no
agreement, written or oral, between or among the Seller and any holder(s) of securities of the
Seller, relating to the sale or transfer (including agreements relating to rights of first refusal, co-
sale rights or “drag along” rights), registration under the Securities Act of 1933, as amended, or
voting of the capital stock or equity interests of the Seller.

                Section 3.6 Litigation. Except as set forth in Schedule 3.6 hereto, to the best
of Seller’s knowledge, there is no civil, criminal or administrative suit, action, proceeding,
investigation, review or inquiry pending or, to the Selling Parties’ Knowledge, threatened against
or affecting the Seller or any of its properties or rights, nor is there any judgment, decree,
injunction, rule or order of any Governmental Entity or arbitrator outstanding, against or
affecting the Seller or any of its properties or rights (the foregoing collectively referred to as
“Proceedings”). None of the Proceedings is reasonably likely, either individually or in the
aggregate, to have a Material Adverse Effect or to prevent, impair or materially delay the ability
of the Seller to consummate the transactions contemplated by this Agreement and the other
Seller Documents. To the Selling Parties’ Knowledge, there is no meritorious basis for any such
civil, criminal or administrative suit, action or other Proceeding against Seller.

                 Section 3.7       Assets; Personal Property.

                        (a)     (i) On the date hereof, except as set forth on Schedule 3.7(a) Seller
has good and valid title to and otherwise has the right to use pursuant to a valid and enforceable
lease, license or similar contractual arrangement, all of the Assets free and clear of any Liens
other than Permitted Liens.

                        (b)      Except as set forth on Schedule 3.7(b), the Assets, together with
the assets available to Buyer pursuant to the other Seller Documents and the Specific Employees,
constitute all the assets, tangible and intangible, and all the employees used for the Business as
currently conducted. To the Selling Parties’ Knowledge, there are no facts or conditions affecting
any material Assets which would reasonably be expected, individually or in the aggregate, to
interfere with the current use, occupancy or operation of such Assets. (i) Seller has conducted
the Business only through Seller and not through any other divisions or any direct or indirect
subsidiary or any Affiliate and (ii) no part of the Business is operated by Seller through any
entity other than Seller.

                        (c)      Set forth on Schedule 3.7(c) hereto is a true and complete list of all
tangible personal property owned or leased or licensed by the Seller (the “Personal Property”),
except for items having a value of less than $10,000, which do not, in the aggregate, have a total
market value of more than $50,000, and sets forth with respect to all such listed items, all leases
and licenses related thereto. The Seller has good and marketable title to, or holds by valid and
existing lease or license, all of the Personal Property, except with respect to assets disposed of in
the Ordinary Course of Business, free and clear of all Liens, except for Permitted Liens and
except for Liens securing the Seller’s Indebtedness to People’s United Bank, Atlantic Health,
LLC, Itria Ventures LLC and Swift Financial Corporation, that will be released at the Closing.


{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   19
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

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                       (d)     The Personal Property together with any Seller Leased Property is
adequate and sufficient for the conduct of the Business as conducted before and at the Closing.
Except as set forth on Schedule 3.7(c) hereto, to the Selling Parties’ Knowledge, each item of
Personal Property is free from material defects and is in safe and good operating condition and
repair (subject to normal wear and tear). To the Selling Parties’ Knowledge, the Personal
Property has been maintained by the Seller in all material respects in accordance with normal
industry practice and is suitable for the purposes for which it presently is used.

                Section 3.8 Real Property. The Seller does not own, and has not at any time
owned, any real property. Schedule 3.8 hereto sets forth a complete and correct list of all real
property leased, subleased, licensed, operated or occupied by the Seller (collectively the “Seller
Leased Property”), the location thereof, and the leases, licenses or other agreements pursuant to
which the Seller leases, subleases, licenses, operates or occupies the Seller Leased Property
(collectively, the “Seller Leases”). Except as set forth in Schedule 3.8 hereto, neither the Seller,
nor, to the Selling Parties’ Knowledge, any other party is in default under any of the Seller
Leases (nor, to the Selling Parties’ Knowledge, does there exist any condition which, upon the
passage of time or the giving of notice or both, would cause a default thereunder during the term
of such Seller Lease). Except as set forth in Schedule 3.8 hereto, no Seller Leased Property is
occupied by a party other than the Seller, and, to the Selling Parties’ Knowledge, no party has
not granted any party other than the Seller a right to occupy such property during the term of
such Seller Lease. The Seller has not assigned, leased, subleased or granted to any Person any
rights in any Seller Lease. Other than the Seller Leases, there are no other agreements or
arrangements whatsoever relating to the Seller’s use or occupancy of any of the Seller Leased
Property. The Seller has not transferred, mortgaged or assigned any interest in any of the Seller
Leases. To the Selling Parties’ Knowledge, (i) there is no pending or threatened condemnation or
similar Proceeding affecting any Seller Leased Property or any portion thereof, (ii) each Seller
Leased Property is supplied with utilities and other services sufficient to operate the Business
conducted at such Seller Leased Property, and (iii) neither the operations of the Seller or the
Business on the Seller Leased Property, or the Seller Leased Property, violate in any material
manner any applicable building code, zoning requirement, or classification or statute relating to
the particular property or such operations. The Seller Leased Property is, to the Selling Parties’
Knowledge, in good operating condition and repair and is adequate and sufficient for the conduct
of the Business conducted as it is presently conducted at such Seller Leased Property.

                Section 3.9 List, etc. The Seller has not sold, assigned, leased or licensed or
transferred to any Person any list of past, present or prospective customers, suppliers or licensees
of the Business. No Person (other than the Seller) is entitled to use any such list.

                 Section 3.10 Tax Matters.

                        (a)    The Seller has timely filed all Tax Returns required to be filed by
the Seller in the manner provided by Law. All such Tax Returns are true, correct and complete in
all material respects. The Seller has timely paid all Taxes due, whether or not shown as being
due on any Tax Returns. All Taxes that the Seller is or was required by Law to collect or
withhold have been duly withheld or collected, and paid to the proper Tax authority. Except as
has been disclosed on Schedule 3.10(a) hereto:



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       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

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                                      (i)     No claim for unpaid Taxes has become a Lien of
any kind against the property of the Seller or is being asserted against the Seller, except for Liens
for Taxes not yet due and payable.

                                      (ii)    No audit, examination, investigation, deficiency or
refund litigation or other Proceeding in respect of Taxes of the Seller is pending (or to the Selling
Parties’ Knowledge, threatened or being conducted by a Tax authority), and neither the Seller
nor any Selling Shareholder has received notice of the commencement of any audit that is
ongoing, examination, deficiency litigation or other Proceeding with respect to any such Taxes.

                                      (iii) No material issues have been raised in any notice
received by the Seller or any Selling Shareholder from any Tax authority in connection with the
examination of any of the Tax Returns filed by the Seller.

                                    (iv)   No extension or waiver of the statute of limitations
on the assessment of any Taxes has been granted to the Seller and is currently in effect.

                                         (v)     The Seller is not a party to or bound by any Tax
allocation or sharing agreement. The Seller (A) has not been a member of an affiliated group
within the meaning of Code Section 1504(a) or any similar group under state, local or foreign
law filing a consolidated federal income Tax Return; (B) does not have any liability for the
Taxes of any Person under Treasury Regulation Section 1.1502-6 (or any similar provision of
state, local, or foreign law), as a transferee or successor, by contract, or otherwise; and (C) is not
a party to, bound by, nor has any obligation under, or potential liability with regards to, any Tax
sharing arrangement, Tax indemnification agreement or similar contract or arrangement.

                                        (vi)   The Seller has never entered into or been a party to
(A) a transaction subject to registration pursuant to Code Section 6111 as a “reportable
transaction” within the meaning of Code Section 6111(b)(2) or as a “tax shelter” as defined in
former Code Sections 6111(c) or (d), (B) a transaction subject to the list requirements of Code
Section 6112, (C) a tax shelter within the meaning of Code Section 6662(d), or (D) a “listed
transaction” as set forth in written guidance or a notice issued by the Internal Revenue Service
(the “IRS”). None of the Seller’s Tax Returns contained or were required to contain a disclosure
statement under Sections 6011 or 6662 of the Code (or any predecessor statute) or any similar
provision of state, local or foreign Law.

                                      (vii) No power of attorney has been granted by or with
respect to the Seller which remains in effect with respect to any matter relating to Taxes.

                                     (viii) The Seller is not a party to any agreement, plan,
contract or arrangement that would result, separately or in the aggregate, in the payment of any
“excess parachute payments” within the meaning of Section 280G of the Code.

                                         (ix)    The Seller does not have any deferred intercompany
gain or loss arising as a result of a deferred intercompany transaction within the meaning of
Treasury Regulation Section 1.1502-13 (or similar provision under state, local or foreign law) or
any excess loss accounts within the meaning of Treasury Regulation Section 1.1502-19.



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       Case 8-20-08049-ast            Doc 67       Filed 03/02/23     Entered 03/02/23 17:31:14

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                                      (x)     The Seller is not and has never been a United States
real property holding corporation (as that term is defined in Section 897(c)(2) of the Code)
during the applicable period specified in Section 897(c)(1)(ii) of the Code.

                                            (xi)     The Seller is not and has never been subject to a
Tax ruling that has continuing effect.

                                        (xii) The Seller will not be required to include any item
of income in, or exclude any item of deduction from, taxable income for any taxable period (or
portion thereof) ending on or after the Closing Date as a result of any: (A) adjustment under
either Section 481(a) or 482 of the Code (or an analogous provision of state, local or foreign law)
by reason of a change in accounting method or otherwise; (B) “closing agreement” as described
in Code section 7121 (or any corresponding or similar provision of state, local or foreign income
Tax law) executed on or prior to the Closing Date; (C) intercompany transaction or excess loss
account described in Treasury Regulations under Code Section 1502 (or any corresponding or
similar provision of state, local or foreign income Tax law); (D) installment sale or open
transaction disposition made on or prior to the Closing Date; or (E) prepaid amount received on
or prior to the Closing Date.

                                        (xiii) The net operating losses, if any, of the Seller are not
limited under Section 382 of the Code and any excess credits, net capital losses, and foreign tax
credits of the Seller are not limited under Section 383 of the Code.

                                      (xiv) No claim has ever been made by an authority in a
jurisdiction where the Seller does not file Tax Returns that the Seller is or may be subject to
taxation by that jurisdiction.

                                      (xv) All “non-qualified deferred compensation plans” (as
such term is defined under section 409A(d)(1) of the Code and the guidance issued thereunder)
of the Seller under which the Seller makes, is obligated to make or promises to make any
payments or other awards (each, a “409A Plan”) (A) meet and have met the requirements of
Code Sections 409A(a)(2), (3), and (4) of the Code, and (B) are, and at all times were, operated
in accordance with such requirements, are operated in good faith compliance with the transitional
relief and all guidance and regulations provided by the Internal Revenue Service under section
409A of the Code, and (C) no 409A Plan has been funded by an off-shore arrangement described
in Section 409A(b)(1) of the Code.

                                        (xvi) The Seller does not own any interest in any entity
that is treated as a “disregarded entity” for federal tax purposes.

                       (b)     The Seller has not distributed stock of another entity, or had its
stock distributed by another entity, in a transaction that was purported or intended to be
governed, in whole or in part, by Section 355 or 361 of the Code.

                        (c)    The Seller has been a validly electing S corporation within the
meaning of Code Sections 1361 and 1362, and any corresponding provision(s) of state or local
law for each jurisdiction in which it is required to file Tax Returns since its incorporation. There
are no facts that would permit the Internal Revenue Service to revoke such election. The Seller


{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   22
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

                                                                                    AWNK003343



has not, since the date of its incorporation, acquired assets from another corporation in a
transaction in which the Seller’s tax basis in such acquired assets was determined, in whole or in
part, by reference to the Tax basis of such assets in the hands of the transferor.

                       (d)   The Seller has delivered to Buyer correct and complete copies of
all Tax Returns, examination reports, and statements of deficiencies filed by, assessed against, or
agreed to by the Seller.

                Section 3.11 Employees. Schedule 3.11 hereto sets forth the name, current
annual compensation rate (including bonus and commissions), title, current base salary rate,
accrued bonus, accrued sick leave, accrued vacation benefits and accrued severance pay of each
Employee of the Seller other than those who ceased to be employees or consultants prior to
January 1, 2015. Schedule 3.11 hereto further lists all such Employees, as well as agents and
independent contractors, covered by an employment non-competition, non-solicitation,
consulting or severance agreement with the Seller, and the Seller has provided to Buyer current
and complete copies of each such agreement, as well as copies of any confidentiality or other
agreement covering any proprietary Intellectual Property applicable to any such Person.
Schedule 3.11 hereto further lists the Seller’s policies and practices concerning Reimbursable
Expenses, and the amounts of Reimbursable Expenses that have been submitted to the Seller but
have not been reimbursed as of the Closing Date. The Seller is not a party to nor otherwise
bound by any collective bargaining agreement, contract or other agreement or understanding
with a labor union or labor organization, nor is the Seller the subject of any Proceeding asserting
that it has committed an unfair labor practice or seeking to compel the Seller to bargain with any
labor union or labor organization, nor is there pending or, to the Selling Parties’ Knowledge,
threatened, any labor strike, dispute, walkout, work stoppage, slowdown or lockout involving the
Seller. To the best of its knowledge, the Seller is in compliance in all material respects with all
applicable Laws respecting employment and employment practices, independent contractor
arrangements, terms and conditions of employment and wages and hours and occupational safety
and health. Except as disclosed in Schedule 3.11 hereto, there is no action, suit or legal,
administrative, arbitration, grievance or other Proceeding pending or, to the Selling Parties’
Knowledge, threatened and, to Selling Parties’ Knowledge, there is no investigation pending or
threatened against the Seller relating to the Seller’s employment practices or any of the
applicable Laws described in this Section 3.11. Except as set forth on Schedule 3.11, the Selling
Parties have not received any notice, and, to the Selling Parties’ Knowledge, have no reason to
believe, that any Employee of the Seller (other than those who ceased to be employees or
consultants prior to January 1, 2015) intends or is considering terminating his employment with
the Seller before the Closing or does not intend to accept employment with Buyer on the Closing
Date or if he intends to accept employment with Buyer is considering terminating his
employment with Buyer thereafter.

                 Section 3.12 Employee Benefits.

                         (a)     A copy of each bonus, deferred compensation, pension, retirement,
profit-sharing, thrift, savings, employee stock ownership, stock bonus, stock purchase, restricted
stock, stock option, employment, retention, deal-sharing, termination, severance, exit, change of
control, compensation, medical, health or other welfare plan, agreement, policy or arrangement
that covers Employees, directors or former directors of the Seller (the “Compensation and


{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   23
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

                                                                                    AWNK003344



Benefit Plans”) has been provided to Buyer prior to the Closing Date. For each Compensation
and Benefit Plan, copies of the following documents (to the extent applicable) have also been
provided to Buyer prior to the Closing Date: (i) any amendments since the last restatement of
such plan; (ii) any trust agreement or other funding agreement; (iii) the most recent Form 5500
annual report, including all attachments; (iv) the most recent annual actuarial valuation report;
and (v) the most recent IRS determination letter, and any outstanding request for such a letter.
The Compensation and Benefit Plans existing as of the Closing Date are listed on Schedule
3.12(a) hereto, and any “change of control” or similar provisions therein which will be affected
by the transactions contemplated hereby are specifically identified in such Schedule.

                          (b)    To the best of Seller’s knowledge, all of the Compensation and
Benefit Plans are in compliance in all material respects with all applicable Laws including but
not limited to the Code, the Employee Retirement Income Security Act of 1974, as amended
(“ERISA”), the Health Insurance Portability and Accountability Act of 1996 (“HIPAA”) and the
Family and Medical Leave Act. Each Compensation and Benefit Plan that is an “employee
pension benefit plan” within the meaning of Section 3(2) of ERISA (a “Pension Plan”), that is
intended to be qualified under Section 401(a) of the Code and is not a standardized prototype
plan has received a favorable determination letter from the IRS, has applied for such letter in a
timely fashion, or has a remaining period of time within which to apply for such a letter, and it is
not aware of any circumstances likely to result in revocation of any such favorable determination
letter, the refusal to issue such a favorable determination letter or any material costs under the
IRS’s Employee Plans Compliance Resolution System. There are no pending or, to the Selling
Parties’ Knowledge, threatened claims or litigation relating to any of the Compensation and
Benefit Plans. The Seller has not engaged in a transaction with respect to any Compensation and
Benefit Plan that, assuming the taxable period of such transaction expired as of the Closing Date,
would subject it to fiduciary liability payment of additional benefits or a material tax or penalty
imposed pursuant to either Section 4975 of the Code or Section 502 of ERISA.

                       (c)    As of the Closing Date, except as set forth on Schedule 3.12(c)
hereto, the Seller does not maintain or contribute to an employee pension benefit plan subject to
Title IV of ERISA or Section 412 of the Code.

                       (d)     Except as set forth on Schedule 3.12(d) hereto, the Seller does not
have any obligations for retiree health and life benefits under any Compensation and Benefit
Plan. The Seller may amend or terminate any such plan under the terms of such plan at any time
without incurring any material liability thereunder. Except as set forth on Schedule 3.12(d)
hereto, the Seller does not have any obligation to provide group continuation coverage to former
employees or their dependents as required by Section 600 et seq. of ERISA and Section 4980B
of the Code.

                        (e)     Except as set forth on Schedule 3.12(e) hereto, neither the
execution of this Agreement by the Seller or the Selling Shareholders nor the consummation of
the transactions contemplated by this Agreement will (i) entitle any Employees of the Seller to
severance pay, (ii) accelerate the time of payment or vesting or trigger any payment of
compensation or benefits or forgiveness of indebtedness under, increase the amount payable or
trigger any other material obligation pursuant to, any of the Compensation and Benefit Plans,
(iii) obligate Buyer to assume any of the Compensation and Benefit Plans or to extend an offer of


{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   24
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

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employment to any current employees, or (iv) result in any breach or violation of, or a default
under, any of the Compensation and Benefit Plans.

                        (f)    Except as set forth on Schedule 3.12(f) hereto, all annual reports
required to be filed under any Laws applicable to the Compensation and Benefits Plans have
been timely filed with the respective Governmental Entity with which such reports are required
to be filed, including, without limitation Form 5500 and Form 11-K.

                       (g)    To the Selling Parties’ Knowledge, all Compensation and Benefit
Plans covering current or former non-U.S. employees or consultants or former employees or
consultants of the Seller comply in all material respects with applicable Laws. The Seller does
not have any material unfunded liabilities with respect to any Compensation and Benefit Plan
that covers such employees or consultants.

                       (h)     The Seller (x) does not participate, maintain or contribute to, or
have any liability or obligation under or with respect to, any single or multi-employer
Compensation and Benefit Plan governed by or subject to Title IV of ERISA (whether by reason
of being a member of an affiliated group of companies, one of which maintains such a plan, or
otherwise), and (y) has not participated, maintained, contributed or incurred any liability or
obligation with respect to any such plan.

                 Section 3.13 Intellectual Property.

                        (a)     Schedule 3.13(a) hereto sets forth all of the Intellectual Property
owned, in whole or in part, including jointly with others, by the Seller (collectively, the “Owned
Intellectual Property”) including, without limitation a complete and accurate list of all United
States and foreign (i) patents and patent applications; (ii) Trademark registrations and
applications and material unregistered Trademarks; and (iii) copyright registrations and
applications, indicating for each, the applicable jurisdiction, registration number (or application
number) and date issued (or date filed). Schedule 3.13(a) hereto lists all actions that must be
taken by Buyer within one hundred eighty (180) days from the Closing Date, including the
payment of any registration, maintenance, renewal fees, annuity fees and taxes or the filing of
any documents, applications or certificates for the purposes of maintaining, perfecting or
preserving or renewing any Intellectual Property of the Seller. Schedule 3.13(a) separately lists
all Owned Intellectual Property that is owned in part or jointly owned with any other Person.

                          (b)      License Agreements.

                                         (i)     Schedule 3.13(b)(i) hereto sets forth a complete and
accurate list of all license, service or similar agreements (written or oral) granting to the Seller
any material right to use or practice any rights under any Intellectual Property (other than off-
the-shelf software that is subject to “shrink-wrap” or similar license and is commercially
available and is not a material component of any product or service marketed, distributed or
commercially exploited by the Seller) (collectively, the “License Agreements”).

                                        (ii)    The Seller has not licensed Software or granted
other rights in to use or practice any rights under any Owned Intellectual Property.



{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   25
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

                                                                                    AWNK003346



                                      (iii) No Person has received from the Seller, or has the
right to use, any Owned Intellectual Property.

                                        (iv)    Except as set forth on Schedule 3.13(b)(iv) hereto,
there is no outstanding or, to the Selling Parties’ Knowledge, threatened dispute or disagreement
with respect to any License Agreement. Except as set forth in Schedule 3.13(b)(iv) hereto, the
Seller is not in breach of, nor has failed to perform under, any of the License Agreements.

                         (c)     Ownership; Sufficiency of Intellectual Property Assets. The Seller
owns or possesses adequate licenses or other rights to use and practice, free and clear of all Liens
(other than Permitted Liens), rights, claims and interests of any Governmental Entity, orders and
arbitration awards, and without payment of any kind to any Person, all of the Owned Intellectual
Property. Except as set forth in Schedule 3.13(c)(i) hereto, each current and former officer,
employee, agent, developer, consultant and contractor who (a) has had or has access to any
Owned Intellectual Property has executed a confidentiality and nondisclosure agreement that
protects the confidentiality of the trade secrets of the Owned Intellectual Property; and (b)
contributed to or participated in the creation and/or development of the Owned Intellectual
Property either: (i) is a party to a “work made for hire” agreement under which the Seller is
deemed to be the original owner/author of all right, title and interest in the Intellectual Property
created or developed by such Person; or (ii) has executed an assignment or an agreement to
assign in favor of the Seller of all such Person’s right, title and interest in the Intellectual
Property, and any such agreement is suitable to vest sole and exclusive right, title and interest in
and to all inventions, creations, developments, and works (including, without limitation,
intellectual property rights contained therein) in the Seller. The Seller is not engaged in the
wrongful use of any confidential information or trade secrets or patentable inventions of any
Employee of the Seller or any other person, firm or entity and to Seller’s Knowledge no such
Employee, person, firm or entity, has alleged that the Seller is engaged in such wrongful use or
that the Seller does not own the Owned Intellectual Property. Except as set forth in Schedule
3.13(c)(ii) hereto, the Owned Intellectual Property identified in Schedule 3.13(a) hereto,
together with the Seller’s unregistered copyrights, if any, and rights under the licenses granted to
the Seller under the License Agreements, if any, constitute all the material Intellectual Property
rights used in the operation of the Business, other than “shrink wrap” software licenses, and, to
the Selling Parties’ Knowledge, are all the Intellectual Property rights necessary to operate the
Business after the Closing Date in substantially the same manner as the Business has been
operated by the Seller.

                       (d)     No Infringement. To Selling Parties’ Knowledge, none of the
products or services manufactured, distributed, marketed, sold, licensed or performed by the
Seller, nor any of the Owned Intellectual Property used in the conduct of the Business, infringe
upon, violate or constitute the unauthorized use of any rights owned or controlled by any Person,
including any Intellectual Property or proprietary rights (including, without limitation, patents,
design patents, Trademarks, common law marks, domain names, trade dress, industrial property
and copyrights) of any Person.

                      (e)    No Pending or Threatened Infringement Claims. Except as set
forth on Schedule 3.13(e) hereto, there has been pending no litigation and no notice or other
claim has been received by the Seller (i) alleging that the Seller has engaged in any activity or


{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   26
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

                                                                                    AWNK003347



conduct that infringes upon, violates or constitutes the unauthorized use of any of the Intellectual
Property or proprietary rights of any Person, or (ii) challenging the ownership, use, validity or
enforceability of any Owned Intellectual Property, or the Intellectual Property exclusively
licensed by or to the Seller. The Seller has not received any writing requesting, inquiring or
demanding the licensing of any other Person’s Intellectual Property or proprietary rights.

                       (f)    No Infringement by Third Parties. To Selling Parties’ Knowledge,
no third party is misappropriating, infringing, diluting or violating any Owned Intellectual
Property or Intellectual Property exclusively licensed to the Seller, and no such claims have been
brought against any Person by the Seller.

                        (g)    Schedule 3.13(g) hereto sets forth a list of all websites of the
Business or of or maintained by the Seller (the “Websites”). With respect to such Websites,
except as set forth on Schedule 3.13(g) hereto, the Seller (i) itself or through contractors,
operates and manages each Website, (ii) has the right to modify each Website, and to make links
and hyperlinks therefrom to other internet sites, and (iii) owns or possesses the perpetual, world-
wide, royalty-free, fully assignable right to operate each Website as presently conducted or
contemplated to be conducted, including, without limitation, the fully assignable right to operate
such Website with its current host on its current server as presently operated or contemplated to
be operated and to use, enhance, and create derivative works of or from and maintain all source
code and other Intellectual Property and proprietary rights necessary to operate, develop, modify,
make derivative works of or from, support and maintain each website. Without limiting the
foregoing, except as set forth on Schedule 3.13(g) hereto, the Seller owns or possesses the
perpetual, world-wide royalty free, fully assignable right to use, display, perform, publish,
disseminate, transmit and distribute the content and other information displayed, published,
performed, disseminated, transmitted or distributed on or through each Website, and to
disseminate, transmit, distribute, market, sell or license the information, products, and services
disseminated, transmitted, marketed, sold or licensed on or through each Website.

                 Section 3.14 Financial Statements; Accounts Receivable.

                 (a)     Annexed hereto as Schedule 3.14(a) are the (i) unaudited financial
statements of the Seller as at and for the twelve month periods ended December 31, 2014, 2013
and 2012, together with a report thereon by Sellers’ accountants (collectively, the “Annual
Financial Statements”), and (ii) unaudited internal interim financial statements of the Seller as
at and for the one-month periods ended January 31, 2015, December 31, 2014, November 31,
2014 and October 31, 2014 (the “Interim Financial Statements”), including in each of
clauses (i), and (ii), balance sheets and a statement of income and retained earnings and a
statement of cash flows (the Annual Financial Statements and the Interim Financial Statements,
collectively the “Financial Statements”). Except as set forth therein or in Schedule 3.14(a)
hereto, the Annual Financial Statements have been prepared in all material respects in
accordance with the Statements on Standards for Accounting and Review Services issued by the
American Institute of Certified Public Accountants throughout the periods indicated and present
fairly, in all material respects, the financial condition of the Business as at the twelve month
period ended December 31, 2014, 2013 and 2012, as the case may be. The Interim Financial
Statements have been prepared in all material respects on a basis consistent with the Annual
Financial Statements, except that the Interim Financial Statements do not contain notes and other


{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   27
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23    Entered 03/02/23 17:31:14

                                                                                          AWNK003348



presentation items required by GAAP, may be subject to normal audit or year-end adjustments
and have not been audited, reviewed, compiled, or otherwise tested by the Company’s
independent auditor. The balance sheets included in the Interim Financial Statements present
fairly, in all material respects, the financial condition of the Business as at the end of the one-
month periods ended January 31, 2015, December 31, 2014, November 31, 2014 and October 31,
2014. The statement of income and retained earnings and the statement of cash flows included
in the Interim Financial Statements present fairly in all material respects the results of operations
and cash flows of the Business for the one-month periods ended January 31, 2015, December 31,
2014, November 31, 2014 and October 31, 2014.

                 (b)     Accounts Receivable. Schedule 3.14(b) sets forth the accounts receivables
listings of the Seller as of 11:59 PM on the date immediately prior to the Closing Date (the
“Closing Accounts Receivable”). Except as set forth therein or in Schedule 3.14(b), all of the
Closing Accounts Receivable were the result of bona fide transactions in the ordinary course of
business. Except as set forth therein or in Schedule 3.14(b) hereto, the Company has not
received written notice from any obligor of any material accounts receivable that such obligor is
refusing to pay or contesting payment of which has not been resolved prior to the Closing Date,
other than in the Ordinary Course of Business under any Contract with any obligor of any
accounts receivable.

                 Section 3.15 Absence of Certain Changes.

                       (a)     Except as expressly contemplated by this Agreement or set forth
on Schedule 3.15(a) hereto, since December 31, 2014, (x) the Seller has conducted the Business
only in, and has not engaged in any transaction other than according to, the Ordinary Course of
Business, (y) the Seller has not entered into any Contracts that are materially less favorable to the
Seller than Contracts entered into, consistent with past custom and practice, and (z) there has not
occurred:

                                            (i)      any Material Adverse Effect;

                                      (ii)   any damage, destruction or other casualty loss with
respect to any material asset or property owned, leased or otherwise used by the Seller, whether
or not covered by insurance;

                                      (iii) any declaration, setting aside or payment of any
dividend or other distribution (whether in cash, stock or property) in respect of the Seller’s
capital stock, or any repurchase, redemption or other reacquisition of any shares of capital stock
or other securities of the Seller;

                                            (iv)     any change in the Seller’s accounting principles,
practices or methods;

                                    (v)      any change in any Tax election or any settlement or
compromise of any Tax claim or liability; or

                                         (vi)   any agreement or commitment to take any of the
actions referred to in clauses (iii) through (v) above.


{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   28
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

                                                                                    AWNK003349



                    (b)     Without limiting the foregoing provisions of Section 3.15(a), since
December 31, 2014, except the Bridge Note and as set forth in Schedule 3.15(b) hereto, the
Seller has not:

                                      (i)     incurred any obligation or liability, absolute,
accrued, contingent or otherwise, whether due or to become due, except current liabilities for
trade or business obligations incurred in the Ordinary Course of Business, none of which are,
individually or in the aggregate, material;

                                      (ii)     mortgaged, pledged or subjected to any Lien (other
than Permitted Liens), any of the rights, assets or property, tangible or intangible of the Seller;

                                       (iii) sold, transferred, leased to others or otherwise
disposed of any assets, properties or rights of the Seller, except for inventory sold, supplies
consumed, and minor amounts of obsolete equipment replaced, in each case in the Ordinary
Course of Business;

                                       (iv)   encountered any labor union organizing activity,
had any actual or, to Selling Parties’ Knowledge, threatened employee strike, work stoppage,
slow down or lockout, or, to Selling Parties’ Knowledge, had any adverse change in its relations
with its Employees, customers, distributors or suppliers or any governmental regulatory authority
or self regulatory authority;

                                       (v)     transferred or granted any rights under, or entered
into any settlement regarding the breach or infringement of, any license, copyright, Trademark,
patent, or other Intellectual Property of the Seller, or modified any existing rights with respect
thereto;

                                     (vi)    made any change in excess of 5% in the rate of
compensation, commission, bonus or other direct or indirect remuneration payable, or has paid or
agreed or orally promised to pay, conditionally or otherwise, any bonus, extra compensation,
pension or severance or vacation pay, to any Employee, salesman, representative or agent of the
Seller;

                                     (vii) instituted, settled or agreed to settle any litigation,
action or Proceeding before any court or governmental body;

                                       (viii) received any notice or information from any
distributor, salesman, representative, vendor, supplier, customer or group of customers, that it
(they) intend(s) to cease doing business with the Seller, including, without limitation, any notices
of material change in revenues, costs or method of distribution;

                                        (ix)   made any purchase commitments in excess of the
normal, ordinary and usual requirements of the Business or at any price materially in excess of
the current market price or upon terms and conditions more onerous than those that are usual and
customary in the trade or made any change in its selling, pricing, advertising or personnel
practices inconsistent with its prior or prudent business practices;



{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   29
       Case 8-20-08049-ast            Doc 67        Filed 03/02/23   Entered 03/02/23 17:31:14

                                                                                      AWNK003350



                                      (x)    taken any action to accelerate any payment of or
taken any action to adversely change the terms of, any accounts receivable of the Seller nor delay
the payment of, or taken any action to adversely change the terms of, the accounts payable of the
Seller;

                                      (xi)   entered into any transaction, contract or
commitment other than in the Ordinary Course of Business, or paid or agreed to pay any
brokerage, finder’s fee, or other compensation in connection with, or incurred any severance pay
obligation by reason of, this Agreement or the transactions contemplated hereby;

                                            (xii)    amended any Compensation and Benefit Plans; or

                                    (xiii) entered into any agreement or made any
commitment to take any of the types of actions described in any of clauses (i) through (xii) of
this Section 3.15(b).

               Section 3.16 Bank Accounts. Schedule 3.16 hereto sets forth a list of all bank
and savings accounts, securities accounts, certificates of deposit and safe deposit boxes of the
Seller and those persons authorized to sign thereon as of the date of this Agreement.

                 Section 3.17 Compliance With Law.

                        (a)     To the best of Seller’s Knowledge, except as set forth in Schedule
3.17(a) hereto, the Business has not been, and is not being, conducted in violation of any law,
ordinance, regulation, treaty, judgment, order (whether temporary, preliminary or permanent),
decree, arbitration award, license or permit of any Governmental Entity (each a “Law” and
collectively, “Laws”), except for violations or possible violations that, individually or in the
aggregate, are not material or are not reasonably likely to prevent, materially delay, materially
burden or materially impair the Seller’s ability to consummate the transactions contemplated by
this Agreement or materially impair the ability of Buyer, following the Closing, to conduct the
Business in any jurisdiction in which it is now being conducted in the manner in which it is now
being conducted. No action, demand, requirement, or review by any Governmental Entity with
respect to the Seller or affecting any of its properties or assets is pending or, to the Selling
Parties’ Knowledge, threatened, nor has any Governmental Entity indicated to the Seller an
intention to conduct the same or that an investigation of the Seller is being conducted. To the
Selling Parties’ Knowledge, no material change is required in its processes, properties or
procedures in connection with any such Laws, and it has not received any notice or
communication of any material noncompliance with any such Laws that has not been cured as of
the Closing Date.

                        (b)     Except as set forth on Schedule 3.17(b) hereto, the Seller has in
effect all material approvals, authorizations, certificates, filings, franchises, licenses, notices and
permits of or with all Governmental Entities (collectively, “Permits”) necessary to own, lease or
operate the properties and other assets of the Seller or to carry on, the Business. All such Permits
are set forth on Schedule 3.17(b) hereto. There has occurred no default under, or violation of,
any such Permit, and each such Permit is in full force and effect. The execution, delivery and
performance of this Agreement, and the consummation of the transactions contemplated by this



{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   30
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

                                                                                       AWNK003351



Agreement will not result in a violation of or default under and will not cause the revocation or
cancellation of any such Permit. The Seller has not received any communication that, and to the
Selling Parties’ Knowledge there are no facts which have, or reasonably should have, led it or
them to believe that, any of the Permits are not currently in good standing.

                        (c)     To the best of the Seller’s knowledge, the Seller has kept all
required records and has filed with Governmental Entities all required notices, supplemental
applications and annual or other reports required for the operation of the Business. To the Selling
Parties’ Knowledge, neither the ownership nor use of the assets or properties of the Seller, nor
the conduct, production or operations of the Business, conflicts with the rights of any Person.
Neither the ownership nor use of the assets or properties of the Seller, nor the conduct,
production or operations of the Business violates, or, with or without notice or the passage of
time, or both, will violate, conflict with or result in a default, right to accelerate or loss of rights
under, any terms or provisions of the certificate of incorporation or by-laws or other governing
documents of the Seller, or any Permit, Contract, or commitment to which the Seller is a party.

                 Section 3.18 Environmental Matters. Except as disclosed in Schedule 3.18
hereto, to the best of Seller’s knowledge: (i) the Seller has complied in all material respects with
all applicable Environmental Laws; (ii) the Seller has no material liability under any
Environmental Law for any Hazardous Substance disposal or contamination on the properties
currently leased or operated by the Seller; (iii) the Seller has no material liability under any
Environmental Law for any Hazardous Substance disposal or contamination on the properties
formerly owned or operated by the Seller; (iv) the Seller has no liability under any
Environmental Law for any Hazardous Substance disposal or contamination on any property
owned or operated by any other Person; (v) the Seller is not in violation of and has no liability
under any Environmental Law for any release or threat of release of any Hazardous Substance;
(vi) the Seller to its knowledge has not received any written notice, demand, letter, claim or
request for information alleging that it may be in violation of or liable under any Environmental
Law; (vii) the Seller to its knowledge is not subject to any orders, decrees, injunctions or other
arrangements with any Governmental Entity or an indemnitor of any third party indemnitee for
any liability under any Environmental Law or relating to Hazardous Substances; (viii) to the
Selling Parties’ Knowledge, there are no circumstances or conditions involving the Seller that
could reasonably be expected to result in any material claims, liability, investigations, costs or
restrictions on the use, or transfer of any of the Seller Leased Properties pursuant to any
Environmental Law; (ix) to the Selling Parties’ Knowledge, none of the Seller Leased Properties
contains any underground storage tanks, asbestos-containing material, lead-based paint, or
polychlorinated biphenyls in violation of any Environmental Law or that would reasonably be
expected to result in liability to the Seller under any Environmental Law; and (x) the Seller has
not engaged in any activities involving the generation, use, handling or disposal of any
Hazardous Substances in violation of any Environmental Law or that would reasonably be
expected to result in any material liability under any Environmental Law. Except as disclosed in
Schedule 3.18 hereto, there have been no environmental investigations, studies, audits, tests,
reviews or other analyses conducted by or for the Seller, or of which the Seller has knowledge,
relating to any Seller Leased Properties or facility now or previously owned or leased by the
Seller that have not been delivered to Buyer.

                 Section 3.19 Contracts and Commitments.


{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   31
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

                                                                                     AWNK003352



                      (a)     Schedule 3.19(a) hereto contains a true and complete list of all of
the following Contracts and documents to which the Seller is bound or which pertain to any of
the Business (together with all other Contracts required to be listed on a Schedule to this
Agreement and/or delivered to Buyer, collectively, the “Material Contracts”):

                                      (i)    service, management, consulting or similar types of
Contracts involving receipts in excess of $25,000 over the term of any such Contract;

                                      (ii)    sales, maintenance, supply, purchase, distribution,
dealer, and distributor Contracts involving receipts in excess of $25,000 over the term of any
such Contract;

                                      (iii) sale, maintenance, supply, purchase, distribution,
dealer, and distributor Contracts involving payments in excess of $25,000 over the term of any
such Contract;

                                      (iv)   Government Contracts and Government Bids (as
used herein, “Government Contract” means any Contract that (x) is between the Seller and a
U.S. or other Governmental Entity or (y) is entered into by the Seller as a subcontractor (at any
tier) in connection with a Contract between another Person and a U.S. or other Governmental
Entity. As used herein, “Government Bid” means any offer by the Seller to sell goods or to
provide services prior to the Closing Date which, if accepted, would result in a Government
Contract);

                                        (v)     covenants not to compete or other covenants (x)
limiting or restricting the development, manufacture, marketing, distribution or sale of any of the
products or services of the Seller or any future line extension of such products or services into
other forms, or (y) limiting or restricting the ability of the Seller to enter into any market or line
of business or to compete with any other Person, or any other covenant restricting or prohibiting
the Seller from transacting business or dealing in any manner with any other Person;

                                       (vi)  Contracts with any Affiliate of the Seller or with
any director, officer, shareholder or Employee of the Seller;

                                    (vii) advertising Contracts requiring expenditures or fees
in excess of $25,000 in any twelve-month period after the Closing Date;

                                       (viii) management, employment, service, consulting,
retention, severance or other similar type of Contract whereby the Seller is provided with
services;

                                        (ix)   License Agreements and other Contracts relating in
whole or in part to the Intellectual Property of the Seller (including any License Agreement or
other Contract under which the Seller is the licensee or licensor of any such Intellectual Property,
but excluding any License Agreement or other Contracts related to “shrink wrapped” Software);

                                      (x)     internet or website related agreements relating to
the Business (including, without limitation, all interactive service, portal, web site management,


{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   32
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

                                                                                    AWNK003353



hosting, server, content licensing, advertising, branding, and link or hyperlink agreements) and
development agreements;

                                      (xi)    Seller Leases and other leases, subleases or licenses
under which the Seller holds any leasehold or other interest or right to the use of any real
property, or pursuant to which the Seller has assigned, leased, subleased or granted to any Person
any rights therein;

                                     (xii) mortgage, pledge, security agreement, deed of trust,
loan agreement, credit agreement, indenture, conditional sale or title retention agreement,
equipment financing obligation or other instrument or agreement granting a Lien (other than a
Permitted Lien) upon any of the properties or assets of the Seller;

                                    (xiii) Contracts regarding the release, transportation or
disposal of Hazardous Substances, or the clean-up, abatement or other action relating to
Hazardous Substances or Environmental Laws;

                                       (xiv) Contracts establishing or creating any partnership,
joint venture, limited liability company, limited liability partnership or similar entity;

                                      (xv) Contracts to make any capital expenditures or
capital additions or improvements with commitments in excess of $10,000 in any twelve-month
period after the Closing Date or in excess of $50,000 in the aggregate over the term of any such
Contract;

                                      (xvi) Contracts relating to the storage or warehousing of
any inventory or products of the Seller, or relating to the charter or purchase of transportation or
shipping services;

                                     (xvii) guarantees or other Contracts in respect of any
Indebtedness of any Person other than with respect to the deposit of third party checks;

                                        (xviii) Contracts providing for the indemnification of any
current or former director, officer or Employee of the Seller (other than such provisions as are set
forth in the certificate of incorporation, by-laws or similar charter documents of the Seller);

                                       (xix) any agreements, arrangements or commitments by
or relating to the Seller under which the Seller indemnifies any other Person or is required to
carry insurance for the benefit of any other Person (other than credit agreements, leases, supply
agreements and other Contracts otherwise scheduled as Material Contracts);

                                       (xx) all other Contracts, commitments and purchase
orders (other than short-term purchase orders for supplies and services and sales orders of
inventory, for cash), in each case: other than those (A) made in the Ordinary Course of Business
on customary terms and conditions and consistent with past practices, and (B) involving
payments or receipts by the Seller of less than $25,000 in any single case or series of related
orders; and



{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   33
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

                                                                                    AWNK003354



                                    (xxi) any other Contracts to which the Seller is a party or
by which any of them or any of the Business is bound that is material to the Business or the
Seller.

                        (b)     Each Material Contract that requires or may require the consent or
waiver of a third party prior to consummation of the transactions contemplated by this
Agreement in order to avoid a material breach or violation of, or default under, such Material
Contract is identified and marked by an asterisk on Schedule 3.19(a) hereto. Each Material
Contract is a valid and binding obligation of the Seller, in full force and effect and enforceable in
accordance with its terms, subject to the effects of bankruptcy, insolvency, fraudulent
conveyance, reorganization, moratorium and other similar Laws relating to or affecting creditors’
rights generally and general principles of equity.

                         (c)    Except as set forth on Schedule 3.19(c), the Seller is not and to the
Selling Parties’ Knowledge, no other party to any Material Contract, is in violation of or in
default under any Material Contract, nor, to the Selling Parties’ Knowledge, has any event
occurred or circumstance or condition exist, that (with or without notice or lapse of time or both)
would reasonably be expected to (i) result in a violation of or default under any Material
Contract, (ii) give any party the right to cancel or terminate or modify any Material Contract, or
(iii) give any party to any Material Contract the right to seek material damages or other remedies.
Except as set forth in Schedule 3.19(c) hereto, there have been no oral or written modifications
of, or amendments or waivers with respect to, any of the terms of any of the Material Contracts.
Except for any consents required thereunder which are properly so indicated on Schedule
3.19(a) hereto, each Material Contract will be unaffected by the sale of or other transfer of the
Assets and the transactions contemplated by this Agreement and the other Seller Documents, and
following the Closing, Seller will be entitled to the full benefits thereof.

                 Section 3.20 Insurance.Schedule 3.20(a) hereto sets forth: (i) the policies of
insurance presently in force covering the Seller including, without limitation, those covering
public and product liability, personnel, properties, buildings, machinery, equipment, furniture,
fixtures and operations, specifying with respect to each such policy, the name of the insurer, type
of coverage, term of policy, limits of liability and annual premium; (ii) the Seller’s premiums
and losses by year, by type of coverage, since January 1, 2010 based on information received
from the Seller’s insurance carrier(s); (iii) all outstanding insurance claims by the Seller for
damage to or loss of property or income which have been referred to insurers or which the Seller
believes to be covered by commercial insurance and (iv) general comprehensive liability policies
carried by the Seller since January 1, 2010, including excess liability policies. The Seller has
heretofore delivered to Buyer complete and correct copies of the policies and agreements set
forth on Schedule 3.20(a) hereto.The insurance policies set forth on Schedule 3.20(a) hereto are
in full force and effect, all premiums with respect thereto covering all periods up to and
including the date of the Closing have been or will be paid prior to Closing, and no notice of
cancellation or termination has been received with respect to any such policy. Such policies are
sufficient for compliance with all requirements of applicable Law and all Contracts relating to
the Seller, are, to Selling Parties’ Knowledge, valid, outstanding and enforceable policies,
provide (in the Selling Parties’ opinion) adequate insurance coverage for the assets and
operations of the Business, will remain in full force and effect through the respective dates set
forth on Schedule 3.20(a) hereto without the payment of additional premiums, and will not in


{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   34
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

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any way be affected by, or terminate or lapse by reason of, the transactions contemplated by this
Agreement. Schedule 3.20(b) hereto identifies all risks which have been designated as being
self-insured.

                 Section 3.21 Affiliate Transactions.

                        (a)   Except as set forth in Schedule 3.21(a) hereto, the Seller has not
purchased goods or services from, or sold goods or services to, or otherwise engaged in any
transaction with, any Person (i) that is a Shareholder or Affiliate of the Seller, or (ii) of which
more than 10% of its voting equity is owned directly or indirectly by one or more Shareholders
or members of their immediate families (or trusts established by or for the benefit of any
Shareholder or family member) or Affiliates of the Seller. All such transactions were entered into
in the Ordinary Course of Business and on terms and conditions that are no less favorable to the
Seller than would be obtained in a comparable arm’s length transaction with a Person that is not
an Affiliate of the Seller.

                        (b)    Except as set forth in Schedule 3.21(b) hereto, no shareholder,
Employee, officer, director or agent of the Seller has any interest in any property, real or
personal, tangible or intangible, used in or pertaining to the Business.

                 Section 3.22 Distributors, Suppliers and Customers.

                        (a)     Set forth in Schedule 3.22(a) hereto is a list of names and
addresses of the ten (10) largest suppliers (measured by dollar volume of purchases) of the Seller
and the percentage of the business which each such supplier represented during the twelve (12)
month period ended December 31, 2014. Set forth in Schedule 3.22(a) hereto is a list of names
and addresses of the ten (10) largest customers (measured by dollar volume of purchases) and all
other customers that accounted for more than $100,000 in revenue of the Seller and the
percentage of the business which each such customer represented during the twelve (12) month
period ended December 31, 2014. Except as set forth on Schedule 3.22 (a), the Selling Parties
have not received any notice, and, to the Selling Parties’ Knowledge, there is no reason to
believe, that (u) any customer has expressed any concern about the Seller’s performance of its
services or the cost of such services, (v) any customer has ceased, or will cease (either before or
after the Closing), to use the products or services of the Seller, (w) any customer has materially
reduced or will materially reduce (either before or after the Closing), the use of products or
services of the Seller, (x) any customer intends or is considering reevaluating the use of the
Seller’s products or services, either before or after the Closing, (y) the Seller is at risk of any of
its customers not renewing its agreement or arrangement with the Seller, or reducing the services
or products it obtains from the Seller, on account of performance, prices or otherwise or (z) the
Seller is performing all of its contractual obligations to each of its customers as required and in
accordance with such customer’s expectations and in no case is the Seller more than 10% below
the expected performance standards. To the Selling Parties’ Knowledge, no unfilled customer
order or commitment obligating the Seller to perform services will result in a loss to the Seller
upon completion of performance.




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       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

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                        (b)     To the best of Selling Parties’ Knowledge, the relationships of the
Seller with its distributors, suppliers, customers, and licensors or sublicensors of rights with
respect to Intellectual Property are reasonably good commercial working relationships.

                Section 3.23 Products Liability and Warranty Liability. Except as set forth in
Schedule 3.23 hereto, the Seller does not provide any product warranties with respect to the
products or services sold by the Seller, other than with respect to title thereto. Except as set forth
in Schedule 3.23 hereto, the Seller has not received any written complaints of any damages to
any Person relating to the products or services of the Seller with respect to which the Seller has
any liability. The Selling Parties do not know of any facts that indicate the Seller has any
material liability for warranty claims or returns with respect to any of its products or services.
Schedule 3.23 hereto sets forth a description of all product or service warranty claims in excess
of $10,000 per such warranty claim, with respect to products and services of the Seller since
January 1, 2012.

                  Section 3.24 Absence of Certain Business Practices. Neither the Seller nor any
officer, Employee or agent of the Seller, nor any other person or entity acting on its behalf, has,
directly or indirectly, given or agreed to give any gift or similar benefit to any client, customer,
governmental employee or other person or entity who is or may be in a position to help or hinder
the business of the Seller (or assist the Seller in connection with any actual or proposed
transaction) which (a) might subject the Seller to any damage or penalty in any civil, criminal or
governmental litigation or Proceeding, (b) if not given in the past, might have had an adverse
effect on the assets, properties, business or operations of the Seller, or (c) if not continued in the
future, might adversely affect the Seller’s assets, operations or prospects or which might subject
the Seller to suit or penalty in any private or governmental litigation or Proceeding. There are no
situations with respect to the Seller which involved or involves (i) the use of any corporate funds
for unlawful contributions, gifts, entertainment or other unlawful expenses related to political
activity, (ii) the making of any direct or indirect unlawful payments to government officials or
others from corporate funds or the establishment or maintenance of any unlawful or unrecorded
funds, (iii) the receipt of any illegal discounts or rebates or any other violation of antitrust laws
or (iv) any investigation by any Government Entity.

                Section 3.25 Records. The Books and Records are, and at all times were,
prepared in the Ordinary Course of Business and appropriately reflect the operations and
transactions of the Seller in all material respects, and there has been no transaction involving the
Seller which properly should have been set forth therein and which has not been accurately so set
forth.

                Section 3.26 Disclosure. No representations or warranties by the Selling Parties
in this Agreement, including the Schedules and Exhibits hereto, and no statement contained in
any document, certificates, or other writing furnished or to be furnished by the Seller or the
Selling Parties to Buyer pursuant to the provisions hereof, contains or will contain any untrue
statement of material fact or omits or intentionally will omit to state any material fact necessary,
in order to make the statements herein or therein in light of the circumstances under which they
are made, not misleading.




{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   36
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

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                Section 3.27 Brokers and Finders. Except for the fees set forth on Schedule
4.4, which are the sole responsibility of the Selling Shareholders, none of the Selling Parties nor
any of their respective officers, directors, trustees or employees has employed any broker or
finder or incurred any liability for any brokerage fees, commissions or finders’ fees in
connection with the transactions contemplated by this Agreement.

                 Section 3.28 Inventory. The Seller does not maintain any inventory.

                 Section 3.29 Privacy. The Seller, to the best of its knowledge, is not in breach
of any contractual or regulatory obligation to secure or otherwise safeguard Personal Data it
receives in connection with the operation of the business of the Seller and the Websites. The
Seller has at all times taken commercially reasonable measures to ensure that all Personal Data is
protected against loss and unauthorized access, use, modification, disclosure or other misuse,
and, except as set forth in Schedule 3.29, there has been no unauthorized access to or other
misuse of such data. The Seller has made all notifications to customers or individuals required to
be made by the Seller by any Privacy and Security Laws arising out of or relating to any event of
access to or acquisition of any Personal Data by an unauthorized Person, including third parties
and Employees of the Seller acting outside of the scope of their authority or authorization in a
manner which is otherwise unlawful. True and correct copies of all applicable current internal
and customer or user-facing privacy policies of the Seller (“Seller Privacy Policies ”) have been
provided to Buyer. To the best of Seller’s knowledge, the Seller has complied with all Privacy
and Security Laws in connection with the operation of the business of the Seller and the
Websites. To the best of Seller’s knowledge, no Personal Data disclosures, representations or
covenants made or contained in any Seller Privacy Policy to any customer have been inaccurate
or in violation of any Privacy and Security Laws. There is no complaint to or audit, Proceeding,
investigation (formal or informal) or claim currently pending against, the Seller by (i) any
Person, or (ii) any Governmental Entity, with respect to the collection, use or disclosure of
Personal Data. The negotiation, execution and consummation of the transactions contemplated
by this Agreement, and any disclosure and/or transfer of information in connection therewith,
will not breach or otherwise cause any violation of any Privacy Policy or Privacy and Security
Laws.

               Section 3.30 HIPAA Compliance. The Seller is in compliance in all material
respects with the Health Insurance Portability and Accountability Act of 1996, P.L. 104-191, as
amended by P.L. 111-5 Division A, Title XIII HITECH, and the related regulations contained in
45 C.F.R. Parts 160 and 164, (collectively, the “Privacy and Security Regulations”) and 45
C.F.R. Parts 160 and 162 (collectively, the “Transaction Regulations”) with regard to its
business operations. To the Selling Parties’ Knowledge of the Seller, the Seller has not received
any complaints or other notices from any source of any failures to meet the requirements of the
Privacy and Security Regulations or Transaction Regulations.

                Section 3.31 False Claims Act Compliance. To the Selling Parties’ Knowledge,
the Seller has not presented, or caused to be presented, a false or fraudulent claim for payment to
any governmental health insurance program or other third party payer. To the Selling Parties’
Knowledge, the Seller has not violated any federal or state laws governing the submission of
claims for payment to governmental and/or non-governmental payers, including, without
limitation, the statutes codified at 18 U.S.C. § 1347 and 31 U.S.C. § 3729.


{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   37
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

                                                                                     AWNK003358



                                                  ARTICLE 4

      REPRESENTATIONS AND WARRANTIES OF THE SELLING SHAREHOLDERS

                 Each Selling Shareholder hereby severally represents and warrants to Buyer:

              Section 4.1 Ownership of Shares. Such Selling Shareholder is the legal and
beneficial owner of the Shares set forth by such Selling Shareholder’s name on Schedule 3.5(a).

                Section 4.2 Authority. Such Selling Shareholder has the legal power, right and
authority to enter into and perform this Agreement and each other Seller Document to which it is
a party, and to perform each of its obligations hereunder and thereunder. The execution, delivery
and performance of this Agreement and the other Seller Documents to be executed by the Seller
and the consummation by the Seller of the transactions contemplated hereby and thereby have
been duly and validly authorized and no other corporate proceedings on the part of the Seller or
its shareholders are necessary with respect to any such matter. This Agreement and the other
Seller Documents to which such Selling Shareholder is a party have been duly executed and
delivered by such Selling Shareholder, and such Agreement and such Seller Documents
constitute a valid and binding obligation of such Selling Shareholder, enforceable in accordance
with their terms subject to the effects of bankruptcy, insolvency, fraudulent conveyance,
reorganization, moratorium and other similar Laws relating to or affecting creditors’ rights
generally and general principles of equity. The execution, delivery and performance of this
Agreement and such Seller Documents by such Selling Shareholder (a) except as set forth on
Schedule 3.3(b) hereof, require no action by or in respect of, or filing with, or consent of, any
Governmental Entity or any other Person and (b) do not contravene, or constitute a default under,
any provision of applicable Law or of any Material Contract, judgment, injunction, order, decree
or any other instrument binding upon such Selling Shareholder.

                Section 4.3 Litigation. Except as set forth on Schedule 4.3, to the best of
Seller’s knowledge, there is no civil, criminal or administrative suit, action, proceeding,
investigation, review or inquiry pending against such Selling Shareholder, or, to such Selling
Shareholder’s Knowledge, threatened against or affecting such Selling Shareholder or any of his
properties or rights, nor is there any judgment, decree, injunction, rule or order of any
Governmental Entity or arbitrator outstanding against or affecting such Selling Shareholder or
any of such Selling Shareholder’s properties or rights, except such that are not, individually or in
the aggregate, reasonably likely to prevent, materially delay or materially impair (a) such Selling
Shareholder’s ability to consummate the transactions contemplated by this Agreement, (b)
Buyer’s ability to acquire ownership of the Assets, free and clear of all Liens, or (c) the ability of
Buyer, following the Closing, to conduct the Business.

                Section 4.4 Brokers and Finders. Except for the fees set forth on Schedule
4.4, which are the sole responsibility of the Selling Shareholders, none of the Selling Parties nor
any of their respective officers, directors, trustees or employees has employed any broker or
finder or incurred any liability for any brokerage fees, commissions or finders’ fees in
connection with the transactions contemplated by this Agreement.




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       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

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                 Section 4.5 Equity Investments. Except as set forth on Schedule 4.5, such
Selling Shareholder does not have any interest, direct or indirect, or any commitment to purchase
any interest, direct or indirect, in, or the power to vote the equity interest of, any corporation,
limited liability company, partnership, joint venture or other business enterprise or entity (other
than with respect to any marketable securities and the Shares).

                                                  ARTICLE 5

                      REPRESENTATIONS AND WARRANTIES OF BUYER

                 Buyer hereby represents and warrants to the Selling Shareholders that:

                 Section 5.1       Organization; Authority; Due Execution.

                         (a)    Buyer is a limited liability company duly organized, validly
existing and in good standing under the laws of its jurisdiction of organization and has all
requisite limited liability company power and authority to own, lease and operate its properties
and assets and to carry on its business as presently conducted and in the places such properties
are now owned, leased or operated and is qualified to do business and is in good standing as a
foreign limited liability company in each jurisdiction where the ownership or operation of its
properties or conduct of its business requires such qualification, except where the failure to be so
qualified or in good standing, when taken together with all other such failures, will not prevent,
materially delay or materially impair Buyer’s ability to consummate the transactions
contemplated by this Agreement.

                        (b)    Buyer has all requisite limited liability company power and
authority to enter into this Agreement and each agreement, document and instrument to be
executed or delivered by it in connection with this Agreement (collectively, the “Buyer
Documents”), to perform its obligations hereunder and thereunder, and to consummate the
transactions contemplated hereby and thereby. The execution, delivery and performance of this
Agreement and the other Buyer Documents to be executed by Buyer and the consummation by
Buyer of the transactions contemplated hereby and thereby have been duly and validly
authorized and no other limited liability company proceedings on the part of Buyer or its
members are necessary with respect to any such matter. This Agreement and the other Buyer
Documents to be executed by Buyer have been duly executed and delivered by Buyer and
constitute the valid, binding and enforceable obligations of to be executed by Buyer, subject to
the effects of bankruptcy, insolvency, fraudulent conveyance, reorganization, moratorium and
other similar Laws relating to or affecting creditors’ rights generally and general principles of
equity.

                 Section 5.2       Consents; No Violation.

                       (a)     No notices, reports or other filings are required to be made with,
nor are any consents, registrations, approvals, permits or authorizations required to be obtained
by Buyer from any Governmental Entity or any other Person in connection with the execution
and delivery of this Agreement or the other Buyer Documents to be executed by Buyer and the
consummation by Buyer of the transactions contemplated hereby and thereby except those that



{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   39
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

                                                                                     AWNK003360



the failure to make or obtain will not, individually or in the aggregate, prevent, materially delay
or materially impair Buyer’s ability to consummate the transactions contemplated by this
Agreement.

                        (b)    The execution, delivery and performance of this Agreement and
the other Buyer Documents do not, and the consummation of the transactions contemplated
hereby and thereby will not, constitute or result in: (i) (with or without notice, lapse of time or
both) a breach or violation of, or a default under, Buyer’s certificate of formation or operating
agreement or other governing documents, or (ii) (with or without notice, lapse of time or both) a
breach or violation or a conflict with, or a default under, or the termination of, or the acceleration
under, any Contract, debt, obligation, governmental or non-governmental permit or license to
which Buyer is a party or to or by which it is subject or bound; except, in the case of clause (ii)
of this Section 5.2(b), for any violation, default or acceleration, that, individually or in the
aggregate, will not prevent, materially delay or materially impair Buyer’s ability to consummate
the transactions contemplated by this Agreement.

                Section 5.3 Litigation. There is no civil, criminal or administrative suit, action,
proceeding, investigation, review or inquiry pending or, to Buyer’s knowledge, threatened
against or affecting Buyer or any of its properties or rights, nor is there any judgment, decree,
injunction, rule or order of any Governmental Entity or arbitrator outstanding against or affecting
Buyer or any of its properties or rights such that will not, individually or in the aggregate,
prevent, materially delay or materially impair Buyer’s ability to consummate the transactions
contemplated by this Agreement.

               Section 5.4 Compliance with Law. Buyer is not in violation of any Law,
except for violations or possible violations that, individually or in the aggregate, will not prevent,
materially delay or materially impair Buyer’s ability to consummate the transactions
contemplated by this Agreement.

               Section 5.5 Brokers and Finders. Except for the fees set forth on Schedule
5.5, which are the sole responsibility of Buyer, Buyer has not employed any broker or finder or
incurred any liability for any brokerage fees, commissions or finders’ fees in connection with the
transactions contemplated by this Agreement.

               Section 5.6 Funds. The Buyer has access to, and will have available on the
Closing Date, funds sufficient to pay the Closing Consideration.

              Section 5.7 Ownership. All of Buyer’s equity is owned by Physicans Practice
Plus Holdings LLC, and all of the equity of Physicans Practice Plus Holdings LLC is owned by
Orion Healthcorp Inc.

                                                  ARTICLE 6

                      CERTAIN COVENANTS AND AGREEMENTS OF THE
                              SELLING PARTIES AND BUYER

              Section 6.1 Expenses and Finder’s Fees. Except as provided in Sections 3.27,
4.4 and 5.5 concerning brokers and finders’ fees and in Article 7 and except for the Transaction


{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   40
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

                                                                                    AWNK003361



Expenses, whether or not the Closing is consummated, all costs and expenses incurred in
connection with this Agreement and the transactions contemplated by this Agreement shall be
paid by the Party incurring such expense; provided, however that in the event this Agreement is
consummated the Selling Parties shall pay all of the costs incurred by the Seller (other than the
Buyer Transaction Expenses); and provided, further, however that Seller shall pay the Buyer
Transaction Expenses, which Buyer Transaction Expenses shall be paid by Seller at the Closing
and evidence delivered to Buyer in accordance with Section 2.2(a)(xxiv); and provided, further,
that in the event this Agreement is not consummated solely due to the material breach of the
Selling Parties herein, then the Seller shall pay all of the Buyer Transaction Expenses, not to
exceed one hundred thousand ($100,000) dollars.

                Section 6.2 Public Announcements. The Parties agree that no public release,
announcement or any other disclosure to the public concerning any of the transactions
contemplated hereby shall be made or issued by any Party without the prior written consent of
Buyer and the Seller (which consent shall not be unreasonably withheld or delayed), except to
the extent such release, announcement or disclosure may be required by applicable law, in which
case the Party required to make the release, announcement or disclosure shall allow Buyer or the
Seller, as the case may be, reasonable time to comment on such release, announcement or
disclosure in advance of such issuance or disclosure. Notwithstanding the foregoing, subsequent
to the Closing, Buyer may independently disclose the consummation of the transactions provided
for herein without obtaining the prior consent of the Seller, provided that such disclosure shall
not include the price paid by Buyer in connection therewith.

                Section 6.3 Management Incentives. Following the Closing, Buyer shall
implement a $1,000,000 bonus pool for Melodie Kraljev with the bonus to be due and payable if
the following conditions have been met: (i) Walai is still employed by Buyer on the day
immediately prior to the second anniversary of the Closing Date and (ii) the achievement within
two years of the Closing Date of certain objectives: (A) the substantial completion of the
implementation of PARCS Software for all clients of Constellation Health Technologies Inc. and
its subsidiaries (the “Constellation Group”) and (B) the substantial completion of the transition
to Porteck India of the offshore services currently provided to the Constellation Group by
GeBBS Healthcare Solutions.

                 Section 6.4 PARCS Software. Within 60 days from the Closing Date, the
Selling Parties shall deliver to the Buyer, on a computer supplied by the Buyer, to be held at a
location determined by the Buyer in its sole and absolute discretion, a copy of the Source Code
for the PARCS Software together with the files, programs, notes and other materials that the Selling
Parties used to generate such Source Code. The Selling Parties shall delete all such files, programs,
notes and other materials from any computers in the control of the Selling Parties Such Source Code
shall be true and complete and without defect of any kind. Such Source Code shall be deemed to
be Intellectual Property Assets and shall be Owned Intellectual Property. The Selling Parties
shall sign an acknowledgement that they have assigned the Source Code pursuant to this
Agreement, they have no right title or interest in any of the Source Code and that, following the
delivery of the computer, neither they nor, to the Seller's Knowledge, any other person has a
copy of the Source Code or the means to create a copy of the Source Code, which
acknowledgement shall reaffirm the representations and warranties contained in Section 3.13
with respect to the Source Code).


{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   41
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

                                                                                       AWNK003362



                 Section 6.5       Non-Competition, Non-Solicitation and Non-Disclosure.

                       (a)     Non-Competition. Each Selling Party agrees that it shall not, and it
shall take all commercially reasonable efforts to cause its Affiliates to not, whether or not for
compensation, directly or indirectly, individually or as an officer, director, shareholder, trustee,
employee, consultant, advisor, partner, proprietor or otherwise, for a period commencing on the
Closing Date and ending 24 months after the Closing Date (the “Restricted Period”), participate
or engage in or provide any services to, or have any direct or indirect interest in, any business
which is engaged in whole or in part in (i) the provision of medical billing and collection
services in the Maryland, District of Columbia, Delaware, Pennsylvania, Ohio, New Jersey, New
York, Connecticut, Massachusetts, Rhode Island, Vermont, New Hampshire or Maine
(collectively, the “Territory”) and/or (ii) business process outsourcing anywhere in the world;
provided, however, that nothing in this Agreement shall preclude a Selling Party from
purchasing or owning up to five percent (5%) of the outstanding capital stock of a company
which has a class of securities registered under Section 12 of the Securities Act of 1934, as
amended, or trading on a national securities exchange or quoted in an over-the-counter market.

                         (b)     Non-Solicitation. Each Selling Party agrees that during the
Restricted Period it shall not, and it shall cause its Affiliates to not, either directly or indirectly,
for itself or any third party, (1) solicit or induce or cause the soliciting or inducement of any sales
or services in the Business to, and shall not make any sales to or provide any services in the
Business to, any Person that was a customer or client of the Seller during the 12 month period
ending on the Closing Date, (2) employ or otherwise engage, or offer to employ or otherwise
engage, any Specified Employee or any person who is then an employee, consultant or agent of
the Buyer or (3) interfere with or harm the contractual or business relationships with any vendor,
supplier, customer, client, licensor, licensee or independent contractor of the Buyer. In addition,
each Selling Party agrees that it shall not, and, for a period of five (5) years following the
Closing Date, it shall cause its directors, officers and shareholders and their Affiliates to not,
defame the Buyer, its services, or its members, managers, subsidiaries, employees, officers or
agents.

                         (c)     Non-Disclosure. Each Selling Party agrees that it shall not, and it
shall take all efforts to cause its Affiliates to not, use for itself or others, or publish, disclose or
otherwise reveal or divulge, any Confidential Information (as such term is defined below);
provided, that subsequent to the fifth anniversary of the Closing Date, such restriction shall apply
only if such use or disclosure is materially adverse to the Buyer. Each Selling Party shall, and
shall take all commercially reasonable efforts to cause its Affiliates to, (1) maintain all
Confidential Information in the strictest confidence and keep the same secret using at least the
same degree of care as it uses for its personal confidential information, (2) retain all Confidential
Information in trust in a fiduciary capacity for the sole and absolute benefit of the Buyer, and (3)
refrain from using or allowing to be used any Confidential Information for its own benefit or for
the benefit of any third party, provided, however, that in the event disclosure of Confidential
Information is requested (i) by a Governmental Authority under color of law or applicable
regulation, (ii) pursuant to subpoena or other compulsory process, or (iii) otherwise as may be
required by law, each such Selling Party to the extent lawfully possible will give the Buyer at
least five (5) days prior written notice before its disclosure and will provide the Buyer with
copies of any responsive materials. For purposes of this Agreement, “Confidential


{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   42
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

                                                                                    AWNK003363



Information” shall mean non-public information concerning the financial data, strategic
business plans, product development (or other proprietary product data), customer lists, customer
information, costs, pricing, materials, supplies, venders, products, services, information relating
to governmental relations, discoveries, practices, processes, methods, marketing plans,
Intellectual Property and other material non-public, proprietary and confidential information of
the Buyer or relating to the Business, that, in any case, is not otherwise generally available to the
public and has not been disclosed by the Buyer to others not subject to confidentiality
agreements. Confidential Information does not include information (other than information
assigned to Buyer pursuant to this Agreement) that (i) is already known to a Selling Party on a
non-confidential basis at the time of disclosure to such Selling Party, (ii) becomes known to a
Selling Party from a source other than the Buyer; provided, that, such source has not entered into
a confidentiality agreement with the Seller or the Buyer with respect to such information or
obtained the information from an entity or person who is a party to a confidentiality agreement
with the Seller or the Buyer, and without a breach of this Agreement or without a breach of duty
owed by any other person or entity to the Seller or Buyer, (iii) is proven by competent evidence
by a Selling Party that it was independently conceived or discovered by such Selling Party
without reference to or use of the Confidential Information, or (iv) has become publicly known
and made generally available through no wrongful act of a Selling Party.

                       (d)     Enforcement. If any Selling Party commits a breach, or threatens to
commit a breach, of any of the provisions of Section 6.5(a)-(c), (such person committing or
threatening to commit a breach, the “Breaching Party”), then the Buyer shall have the following
rights and remedies, each of which shall be independent of the others and shall be severally
enforceable, and all of such rights and remedies shall be in addition to, and not in lieu of, any
other rights and remedies available to the Buyer under law or in equity:

                                       (i)     The right and remedy to have such provisions of
this Section specifically enforced by any court having equity jurisdiction, it being acknowledged
and agreed that any such breach or threatened breach will cause irreparable injury to the Buyer
and that money damages will not provide an adequate remedy at law; and in connection
therewith the right to obtain, without notice to such Breaching Party and without the need to
post any bond, a temporary restraining order, an injunction and any other equitable relief. Such
right of injunctive relief shall be cumulative and in addition to whatever other remedies the
Buyer may have at law or in equity, including the right of the Buyer to recover from such
Breaching Party as set forth in Section 6.5(d)(ii) below; and.

                                       (ii)   The right and remedy to require such Breaching
Party to account for and pay over to the Buyer all compensation, profits, monies, accruals,
increments or other benefits (collectively “Benefits”) derived or received by it as the result of
any transactions constituting a breach of any of the provisions of Section 6.5(a)-(c), and each
Breaching Party hereby agrees to account for and pay over such Benefits to the Buyer.

                       (e)     Severability. The provisions of this Article are severable, and if
any provision or any part of any provision of this Article is found to be invalid or unenforceable,
the balance of that provision and the other provisions hereof shall be given full force and effect
and remain fully valid and enforceable.



{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   43
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

                                                                                    AWNK003364



                        (f)     Blue-Penciling. If any one, or any part, of the covenants contained
in this Section is held to be unenforceable because of the duration of such provision or the area
covered thereby, the Parties agree that the court making such determination shall have the power
to reduce the duration and/or area of such provision and, in its reduced form, said provision shall
then be enforceable.

                        (g)     Venue. The Parties hereto intend to and hereby confer jurisdiction
to enforce the covenants contained in this Article upon the courts of any state or other
jurisdiction within the geographical scope of such covenants in which such breach has occurred.
In the event that the courts of any one or more of such states or other jurisdictions shall hold such
covenants wholly unenforceable by reason of the breadth of such scope or otherwise, it is the
intention of the Parties hereto that such determination not bar or in any way affect in the courts
of any other states or other jurisdictions within the geographical scope of such covenants the
Buyer’s right or the Selling Parties’ right, as applicable, to the relief for breaches of such
covenants in such other states, the above covenants as they relate.

                        (h)    Exclusivity. The Parties hereby acknowledge and agree that the
restrictions contained in Sections 6.9 (a)-(c) and, in the case of Walia, in his Employment
Agreement, are intended to be the exclusive restrictions on the Selling Parties with respect to the
subject matters contained therein and are in lieu of any other restrictions imposed by law or in
equity.

                        (i)    Termination. Notwithstanding the foregoing, in the event it is
determined by arbitration in accordance with Section 9.3(c) that the Buyer defaulted under its
obligations under this Agreement, and failed to cure such default in the applicable cure period, if
any, then the restrictive covenants given herein by Selling Parties under this Section 6.5 shall be
null and void ab initio.

                 Section 6.6        INTENTIONALLY DELETED.

               Section 6.7 Porteck India. The Selling Parties shall use their best efforts to
cause Porteck India to comply with its obligations under the Option Agreement and shall keep
Buyer informed of Porteck India’s operations and business and shall promptly notify Buyer of
any developments or changes with respect to Porteck India, its assets and/or its business.

                 Section 6.8 Further Assurances. Following the Closing Date, (i) each Selling
Party, shall, from time to time, execute and deliver such additional instruments, documents,
conveyances or assurances and take such other actions as shall be necessary, or otherwise
reasonably requested by Buyer, to confirm and assure the rights and obligations provided for in
this Agreement and in the Seller Documents and render effective the consummation of the
transactions contemplated hereby and thereby and (ii) the Buyer shall, from time to time, execute
and deliver such additional instruments, documents, conveyances or assurances and take such
other actions as shall be necessary, or otherwise reasonably requested by Seller, to confirm and
assure the rights and obligations provided for in this Agreement and in the Seller Documents and
render effective the consummation of the transactions contemplated hereby and thereby.




{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   44
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

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               Section 6.9 Proceedings. The Selling Parties shall be responsible for the fees
and expenses of all Proceedings set forth on Schedule 3.6 and all additional Proceedings whether
or not commenced after the date hereof which are based upon or arise from any act, transaction,
circumstance, sale or providing of works, material, product or services, state of facts or other
condition which occurred or existed before the Closing Date.

                 Section 6.10 Use of Business Name. Seller shall no later than the Closing Date
change its name to a name approved by Buyer (which approval shall not be unreasonably
withheld or delayed) and thereafter, the Seller Parties will not, and will not permit any Affiliate
to directly or indirectly, use or do business, or assist any third party in using or doing business,
under the names and marks “Porteck” (or any other name confusingly similar to such name and
mark) and will not use any e-mail address containing such name; provided, however that Porteck
India may continue to use its name so long as no party to the Option Agreement (excluding the
Buyer) is in breach thereof.

                 Section 6.11 Tax Returns; Liability for Transfer Taxes and Fees.

                        (a)     All sales (including, without limitation, bulk sales), use, value
added, documentary, stamp, gross receipts, registration, transfer, conveyance, excise, recording,
license and other similar Taxes and fees (“Transfer Taxes”) arising out the transfer of the
Assets to Buyer shall be borne by Buyer. Subject to Section 7.2(i), Buyer shall prepare and
timely file all Tax Returns required to be filed in respect of such Transfer Taxes, provided that
Seller shall be permitted to prepare, on a timely basis, any such Tax Returns that are the primary
responsibility of Seller under applicable Law. Each party’s preparation of any such Tax Returns
shall be subject to the other party’s approval, which approval shall not be unreasonably withheld
or delayed. All Tax Returns in respect of such Transfer Taxes shall be prepared in a manner not
inconsistent with Schedule 1.8.

                       (b)      Each party (the “Providing Party”) will provide the other party
promptly upon request with certificates of exemption or other similar documents pertaining to
the exemption or potential exemption from Transfer Taxes arising from of the sale of all or a
portion of the Assets pursuant to the transactions contemplated hereby, to the extent the
Providing Party is entitled to, pursuant to applicable law, issue such certificates and similar
documents.

                        (c)    The Selling Parties will prepare and timely file all Tax Returns to
be filed with respect to the Seller for 2014 and 2015 and will provide the Buyer copies of all
such Tax Returns promptly after such Tax Returns are filled.

                 Section 6.12 Insurance.

                       (a)    Schedule 6.12 sets forth certificates for all insurance policies
(including fidelity bonds and other similar instruments) currently in effect, relating to the Assets
or the Business (the “Insurance Policies”).

                       (b)     Seller has delivered to Buyer (i) copies of all of the Insurance
Policies (as amended) in effect at the time of the Closing and (ii) a certificate of insurance for the
Insurance Policies, certifying that such Insurance Policies are in full force and effect as of the


{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   45
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

                                                                                    AWNK003366



date specified on the certificate (such date to be prior to the Closing Date, but no more than 10
days prior to the Closing Date). Seller shall maintain the Insurance Policies in full force and
effect through December 31, 2015

                 Section 6.13 Transition.

                        (a)       For a reasonable period following the Closing, the Selling Parties
shall use their best efforts, at no cost to the Selling Parties, to encourage Seller's customers,
clients, suppliers, and other business associates to maintain the same business relationships with
Buyer after the Closing as they maintained with Seller prior to the Closing. The Selling Parties
will refer to Buyer all customer inquiries relating to the businesses of Seller. The Selling Parties
agree to use their best efforts to take such actions as may be necessary to entitle Buyer to use
Seller’s telephone numbers identified on Schedule 1.1(g).

                       (b)    Seller shall not commence any Proceeding against any Person
(other than the Buyer); provided, however that Seller may maintain Proceedings set forth on
Schedule 3.6 and may bring counterclaims in connection with Proceedings in which Seller is a
defendant; provided, further however that Seller may commence Proceedings to collect Closing
Accounts Receivable with the prior written consent of Buyer, which consent will not be
unreasonably denied, delayed or conditioned.

                Section 6.14 Assignment of Cash. Buyer agrees to promptly turn over to Seller
any funds it receives after the Closing in connection with the operation of the Business before the
Closing. Seller agrees to promptly turn over to Buyer any funds it receives after the Closing in
connection with the operation of the Business following the Closing.

                Section 6.15 Seller’s Existence. Until the Seller has satisfied its obligations
pursuant to this Agreement, Seller shall continue to validly exist as a corporation, in good
standing under the laws of the State of New York, and Seller shall take all necessary action,
including the payment of any filing and other fees to maintain such existence.

                Section 6.16 Mail. The Selling Parties agree to forward to Buyer any mail or e-
mails received by them after the Closing that relate to the Assets, the Assumed Liabilities or the
operation of the Business after the Closing or otherwise properly relates to the Buyer and not the
Selling Parties. Buyer agrees to forward to Seller any mail or e-mails received by the Buyer after
the Closing that relate to the Excluded Assets or the Excluded Liabilities or otherwise properly
relates to the Seller and not the Buyer.

                Section 6.17 Access to Information. To the extent that Seller provides Buyer
with the original form of the Books and Records under Section 1.1(e) of this Agreement, for a
period of seven years, commencing on the Closing Date, Seller shall, upon written notice to
Buyer setting forth a commercially reasonable purpose, be entitled to inspect and make copies of,
at Seller’s expense, such original Books and Records.

                 Section 6.18 Certain Employees. As of the Closing, the Seller will assign to
Buyer the contract for employment of the employees or consultants of the Seller set forth on
Schedule 6.18 (the “Specified Employees”). The Seller will use all reasonable efforts to
facilitate the transfer of the Specified Employees to Buyer, and will waive, or cause to be


{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   46
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

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waived, any non-competition, non-solicitation or non-disclosure or similar obligations any such
Specified Employee granted to or for the benefit of the Seller or any Seller Affiliate or any other
agreement, arrangement or provision that would restrict the activities in which such Specified
Employees could engage in connection with their employment by the Buyer.

                 Section 6.19 Employee Payments. Seller will retain all obligations and
liabilities (other than the vacation pay obligations and liabilities which are covered by the next
sentence) arising prior to the Closing Date that it may have with respect to any employee
employed in the conduct of the Business including any obligation to provide severance pay or
other termination benefits, if any, arising from Seller’s termination of their employment and to
the extent that any Specified Employee received deferred compensation, including bonuses, in
2014 or has been told that such Employee will receive deferred compensation, including
bonuses, in 2015, the amount of such deferred compensation, including bonuses, multiplied by a
fraction, the numerator of which is the number of calendar days in 2015 before the Closing Date
and the denominator of which is 365. Seller will deliver to the Buyer on or before Closing a
schedule (the “Vacation Pay Schedule”) setting forth the vacation pay payable to each of the
Specified Employees and Buyer will be responsible for and will discharge all obligations to
make the vacation pay payments to the Specified Employees in accordance with the Vacation
Pay Schedule (the “Buyer’s Vacation Pay Obligations”) and in exchange the Buyer will reduce
the Post-Closing Payment by the amount of all payments made by the Buyer pursuant to this
sentence; the Seller will retain all other obligations and liabilities arising prior to the Closing
Date that it may have to provide vacation pay with respect to any employee employed in the
conduct of the Business. Seller will be responsible for and discharge any and all obligations, to
its employees under the Worker Adjustment and Retraining Notification Act (“WARN”), if any.

                Section 6.20 Conduct of the Buyer Post-Closing. Until the Buyer has satisfied
its obligations pursuant to Section 1.7 in full, Buyer will not (i) be sold to an unaffiliated third
party (whether by means of an asset sale, the sale of a majority of its equity in one or a series of
related transactions) other than to an Affiliate of Buyer or (ii) merge the Company into or with
any other entity other than to an Affiliate of Buyer, each, a “Material Event”. If a Material
Event occurs, then any and all Post-Closing Payments shall then be payable, when due, pursuant
to Section 1.3, as if the EBITDA and Revenues, for any relevant Designated Period, were
annualized for the period commencing on the first day following the Closing Date and ending on
the date of the Material Event; provided, however, that a restructuring, reorganization, sale of
assets, or other similar transaction that does not materially impact the operations of the Business
or the Buyer, or an initial public offering of any parent of the Buyer, shall not be deemed a
Material Event for purposes of this Section 6.20.

              Section 6.21 AHMS. The Parties agree that if any of the AHMS Contracts is
terminated by AHMS because the assignment of such AHMS Contract by Seller to Buyer
breached such AHMS Contract, then the Seller Parties shall pay the Buyer an amount equal to
20% of the Seller’s revenue in 2014 attributable to such AHMS Contract multiplied by 5.4.




{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   47
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

                                                                                     AWNK003368



                                                  ARTICLE 7

                                            INDEMNIFICATION

                 Section 7.1       Indemnification.

                         (a)     Indemnification by the Selling Parties. Subject to the limits set
forth in this Article 7, from and after the Closing, (1) the Selling Parties jointly and severally
agree to indemnify, defend and hold Buyer and its Affiliates and their respective officers,
directors, managers, members, shareholders, employees, agents and representatives (the “Buyer
Indemnified Persons”) harmless from and in respect of Losses that they may incur or suffer
arising out or by reason of, in connection with or due to (i) any breach of any representation or
warranty of the Seller contained in this Agreement or any other Seller Document, (ii) any breach
of any covenant or agreement of the Seller contained in this Agreement or any other Seller
Document, (iii) any of the Excluded Assets or Excluded Liabilities, (iv) any and all claims of
third parties with whom the Seller or its agents have had discussions with respect to the
disposition of the Seller or its Business in connection with or arising out of such discussions, (v)
the operation of the Business prior to the Closing Date or the ownership, operation or use of the
Assets prior to the Closing Date and any and all debts, liabilities and obligations of, and any and
all violation of laws, rules, regulations, codes or orders by the Seller, direct or indirect, fixed,
contingent, legal, statutory, contractual or otherwise, which exist at or as of the Closing Date or
which arise after the Closing Date to the extent based upon or arising from any act, transaction,
circumstance, sale or providing of works, material, product or services, state of facts or other
condition which occurred or existed, before the Closing Date, whether or not then known, due or
payable, (vi) any and all claims relating to the matters set forth on Schedule 3.6 or any other
civil, criminal or administrative suit, action, proceeding, investigation or other Proceeding to the
extent based upon or arising from any act, transaction, circumstance, sale or providing of works,
material, product or services, state of facts or other condition which occurred or existed, before
the Closing Date, whether or not then known, due or payable, or with respect to the operation of
the Business prior to Closing, the employment of the Employees prior to Closing or the
ownership (or leasing of), operation or use of the Assets prior to the Closing, (vii) any and all
claims relating to the ownership of the PARCS Software, the Source Code and the other Owned
Intellectual Property, including, without limitation, that such Owned Intellectual Property does
infringe upon, violate or constitute the unauthorized use of any of the Intellectual Property or
proprietary rights of any Person or that any Person is entitled to use the PARCS Software, the
Source Code and the other Owned Intellectual Property, (viii) any and all Taxes of any Seller
Party whether or not relating to or arising out of the Business; (ix) any and all Pre-Closing Taxes
of Seller; (x) any and all Benefit Liabilities of Seller (except to the extent of Buyer’s Vacation
Pay Obligations); (xi) environmental matters (including Losses relating to any remediation for
environmental matters disclosed in Schedule 3.18), (xii) with respect to services provided by
Seller before the Closing (A) any claim based on a warranty with respect to services rendered
before the Closing and (B) any warranties issued before Closing relating to such services
(whether expressed or implied by operation of Law); (xiii) [intentionally omitted]; (xiv) the
Seller having failed to duly qualify or obtain a license to do business in all of the jurisdictions in
which the nature of the Seller’s activities required such qualification or licensing; (xv) any
Losses or other amounts (including with respect to disability and unemployment) with respect to
Employees of Seller (other than to the extent arising out of their employment by Buyer) and/or


{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   48
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

                                                                                       AWNK003369



any or all claims relating the Wachovia Lien and the failure to have it extinguished prior to the
Closing (the “Joint Indemnification”) and (2) each Selling Shareholder severally and not jointly
agrees to indemnify, defend and hold the Buyer Indemnified Persons harmless from and in
respect of Losses that they may incur or suffer arising out or by reason of, in connection with or
due to (i) any breach of any representation or warranty of such Selling Shareholder contained in
this Agreement or any other Seller Document, (ii) any breach of any covenant or agreement of
such Selling Shareholder contained in this Agreement or any other Seller Document (the
“Several Indemnification”).

                         (b)     Indemnification by Buyer. Subject to the limits set forth in this
Article 7, from and after the Closing, Buyer agrees to indemnify, defend and hold the Selling
Parties, and their respective agents and representatives (the “Seller Indemnified Persons”)
harmless from and in respect of any and all Losses that they may incur or suffer arising out of or
by reason of or in connection with or due to (i) any breach of any representation or warranty of
Buyer set forth in this Agreement or any other Buyer Document, or (ii) the failure to perform any
of the covenants or agreements of Buyer set forth in this Agreement, including, without
limitation, payment of the Post-Closing Payment and the Buyer’s Vacation Pay Obligations, or
any other Buyer Document, including the Employment Agreements; (iii) the Assumed
Liabilities; (iv) any failure of Buyer to comply with applicable bulk sales laws (in consideration
of which indemnification obligation Seller hereby waives compliance by Buyer with any
applicable bulk sales laws); or (v) the operation of the Business following the Closing Date or
the ownership, operation or use of the Assets following the Closing Date, except, in the case of
clause (v), to the extent such Losses result from or arise out of the Excluded Liabilities or
constitute Losses for which any Seller Party is required to indemnify Buyer Indemnitees under
Section 7.1(a).

                          (c)      Certain Limitations. Anything in this Article 7 to the contrary
notwithstanding:

                                      (i)     neither the Buyer Indemnified Persons, on the one
hand, nor Seller Indemnified Persons, on the other hand, shall be entitled to recover pursuant to
Section 7.1(a) or 7.1(b), as the case may be, in respect of breaches of representations and
warranties (other than the representations and warranties set forth in Sections 3.1
[Organization; Authority; Due Execution], 3.5 [Capitalization], 3.7 [Assets; Personal
Property], 3.10 [Tax Matters], 4.1 [Ownership of Shares] and 4.2 [Authority], and Buyer’s
representations and warranties set forth in Section 5.1(b) [Organization; Authority; Due
Execution] (all such representations and warranties being herein called “Specified
Representations”) from the respective other Party hereunder for any Losses) except to the
extent that the aggregate amount of any such Losses indemnifiable hereunder exceeds $100,000
(the “Basket”), at which point, either the Buyer Indemnified Persons or the Seller Indemnified
Persons, as the case may be, will be obligated to indemnify the Party seeking indemnification for
all such Losses in excess of the Basket, subject to the other clauses of this Section 7.1(c);

                                      (ii)    the Buyer Indemnified Persons shall not be entitled
to recover from any Selling Party for breaches of representations and warranties of the Seller or
such Selling Party (other than with respect to the representations in Section 3.13 with respect to



{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   49
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

                                                                                     AWNK003370



the PARCS Software) in an aggregate amount in excess of Four Million Dollars ($4,000,000)
(the “Cap”);

                                      (iii) the Seller Indemnified Persons shall not be entitled
to recover for breaches of representations and warranties of Buyer in an aggregate amount in
excess of the Cap;

                                           (iv)   none of the foregoing limitations on indemnification
in clauses (i), (ii) and (iii) of this Section 7.1(c) shall apply to a breach of any Specified
Representation or to any claim based on fraud or intentional misrepresentation;

                                       (v)     solely for purposes of calculating the amount of
Losses incurred arising out of or relating to any breach of a representation, warranty, covenant or
agreement (and not for purposes of determining whether or not such a breach has occurred) any
reference to “Material Adverse Effect” or any other materiality qualifications in such
representation, warranty, covenant or agreement shall be disregarded; and

                                       (vi)   the amount which an Indemnifying Party is required
to pay to, for or on behalf of any Indemnified Party pursuant to this Article 7 shall be adjusted
(including, retroactively) by any insurance proceeds and any indemnity, contribution, or other
similar payment actually recovered by or on behalf of such Indemnified Party in reduction of the
related indemnifiable loss (the “Indemnifiable Loss”). Amounts required to be paid, as so
reduced, are hereinafter sometimes called an “Indemnity Payment.” If an Indemnified Party
shall have received or shall have had paid on its behalf an Indemnity Payment in respect of an
Indemnifiable Loss and shall subsequently receive insurance proceeds or other payment in
respect of such Indemnifiable Loss, then the Indemnified Party shall pay to the Indemnifying
Party the amount of such insurance proceeds or other payment or, if lesser, the amount of the
Indemnity Payment. To the extent that any Indemnified Party is entitled to indemnification
pursuant to this Article 7, the Indemnifying Party shall be entitled to exercise, and shall be
subrogated to, any rights and remedies (including rights of indemnity, rights of contribution and
other rights of recovery) that any Indemnified Party may have to insurance policies or similar
contracts with respect to which such Indemnified Party is a beneficiary. The Indemnified Party
shall take such actions as the Indemnifying Party may reasonably request for the purpose of
enabling the Indemnifying Party to perfect or exercise the right of subrogation of the
Indemnifying Party under this Section 7.1(c)(vii).

                        (d)     Survival. The representations, warranties and covenants of the
Parties contained in this Agreement, any other Seller Document or Buyer Document, as the case
may be, or in any instrument delivered pursuant hereto or thereto will survive the Closing and
will remain in full force and effect thereafter, except that the representations and warranties of
the Parties shall expire eighteen (18) months following the Closing; provided, that: (i) such
representations and warranties shall survive beyond such period with respect to any breach
thereof if written notice thereof shall have been duly given within such period and (ii) the
representations and warranties set forth in Sections 3.10 [Tax Matters], 3.12 [Employee
Benefits] and 3.18 [Environmental Matters] shall survive the Closing until one (1) month
following the lapse of the applicable statute of limitations. None of foregoing limitations on
survival shall apply in the case of fraud, intentional misconduct or intentional misrepresentation.


{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   50
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

                                                                                    AWNK003371



                          (e)      Notice and Opportunity to Defend. The following shall apply:

                                        (i)    If there occurs an event (a “Covered Proceeding”)
which a Party asserts is an indemnifiable event pursuant to Section 7.1(a) or 7.1(b), the Party or
Parties seeking indemnification (the “Indemnified Party”) shall notify the other Party or Parties
obligated to provide indemnification (the “Indemnifying Party”) promptly. If such event
involves any claim or the commencement of any action or proceeding by a third person, the
Indemnified Party shall give such Indemnifying Party prompt written notice of such claim or the
commencement of such action or proceeding; provided, however, that the failure to provide
prompt notice as provided herein will relieve the Indemnifying Party of its obligations hereunder
only to the extent that such failure prejudices the Indemnifying Party hereunder. In case any such
action shall be brought against any Indemnified Party and after such Indemnified Party has
notified the Indemnifying Party of the commencement thereof, the Indemnifying Party shall be
entitled to assume the defense thereof, with counsel reasonably selected by the Indemnifying
Party and reasonably approved by the Indemnified Party after notice from the Indemnifying
Party to the Indemnified Party. The Indemnifying Party and the Indemnified Party agree to
cooperate fully with each other and their respective counsel in connection with the defense,
negotiation or settlement of any such action or asserted liability.

                                        (ii)   If the Indemnifying Party agrees to assume the
defense of a Covered Proceeding, the Indemnified Party shall have the right to participate at its
own expense in the defense of such action or asserted liability. If the Indemnifying Party is
otherwise entitled to control the settlement of a Covered Proceeding (subject to the requirements
and limitations of this Section 7.1), the Indemnifying Party will be entitled to control such
settlement only if (A) the terms of such settlement require no more than the payment of money
(for example, such settlement does not require the Indemnified Party to admit any wrongdoing or
take or refrain from taking any action), (B) the full amount of such monetary settlement is fully
paid by the Indemnifying Party, and (C) the Indemnified Party receives as part of such settlement
a legally binding and enforceable unconditional satisfaction and release of all claimed liabilities
or obligations in form and substance reasonably satisfactory to the Indemnified Party.

                                       (iii) Notwithstanding any provision of this Agreement to
the contrary, the Party or Parties who would otherwise be the Indemnifying Party (in this
subsection the “First Party”) shall not be entitled to assume or direct the defense or settlement
of any Covered Proceeding with respect to the Party or Parties who would otherwise be the
Indemnified Party (in this subsection the “Other Party”) if the aggregate amount of Losses
which will or could reasonably result from such Covered Proceedings to the Other Party,
together with the maximum aggregate amount which could reasonably result from all other
unresolved Covered Proceedings for which the First Party is liable hereunder, exceeds an amount
equal to the Cap, after deducting all Losses for which the Party has, has had or could reasonably
be anticipated to indemnify the Other Party by reason of this Article 7, whether in respect of
such Covered Proceeding and/or the events or circumstances giving rise thereto and/or in respect
of all other claims and/or indemnification obligations. In such event, the Other Party shall be
entitled to control the defense and settlement of any such Covered Proceeding, and, without
limiting the provisions of Section 7.1 hereof, the First Party shall be liable for all Losses in
connection thereunder.



{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   51
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

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                   (f)      Purchase Price Adjustment. The Parties hereby agree that any
payment made pursuant to this Article 7 shall result in a corresponding adjustment to the
Purchase Price.

                                                  ARTICLE 8

                                                DEFINITIONS

               Section 8.1 Definitions. For purposes of this Agreement, the following terms
used in this Agreement shall have the meanings ascribed to them below:

                 “409A Plan” has the meaning ascribed to such term in Section 3.10(a)(xv).

                 “Accounts Receivable” has the meaning ascribed to such term in Section 1.2(a).

                  “Adjusted Designated Period” has the meaning ascribed to such term in Section
1.7(d).

                “Affiliate” of any Person means another Person that directly or indirectly,
through one or more intermediaries, controls, is controlled by, or is under common control with,
such first Person.

                 “Agreement” has the meaning ascribed to such term in the Preamble.

                  “AHMS” means Atlantic Health Management Solutions, LLC.

            “AHMS Contract” means any contract assigned by AHMS to the Seller in
December 2013.

              “Annual Financial Statements” has the meaning ascribed to such term in
Section 3.14(a).

                 “Arbiter” has the meaning ascribed to such term in Section 1.1.

                  “Assets” has the meaning ascribed to such term in Section 1.7(g).

                  “Assigned Contracts” has the meaning ascribed to such term in Section 1.1(d).

                  “Assignment of Contracts” has the meaning ascribed to such term in Section
2.2(a)(iv).

                  “Assignment of Copyrights” has the meaning ascribed to such term in Section
2.2(a)(v).

               “Assignment of Domain Names” has the meaning ascribed to such term in
Section 2.2(a)(vi).

               “Assignment of Intellectual Property” has the meaning ascribed to such term in
Section 2.2(a)(viii).


{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   52
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

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                  “Assumed Liabilities” has the meaning ascribed to such term in Section 1.3(a).

                  “Assumption Agreement” has the meaning ascribed to such term in Section
1.3(b).

                   “Bad A/R Amount” has the meaning ascribed to such term in Section 1.7(d).

                  “Basket” has the meaning ascribed to such term in Section 7.1(c)(i).

               “Benefit Liabilities” means liabilities, obligations, commitments, costs and
expenses, including reasonable fees and disbursements of attorneys and other advisors, including
any such expenses incurred in connection with the enforcement of any applicable provision of
this Agreement relating to the Employees other than liabilities arising out of such Employees’
employment with Buyer from and after the Closing, former employees or consultants of Seller or
Seller Benefit Plans, including as to the payment of wages and the provision of employment
benefits to any Employee.


                 “Benefits” has the meaning ascribed to such term in Section 6.5(d)(ii).

                  “Bill of Sale” has the meaning ascribed to such term in Section 2.2(a)(i).

                “Books and Records” means all operating data and records of the Seller which
are necessary to or used or useful in the operation of the Business, wherever located, including
all books of account, ledgers, general, financial, accounting, tax, warranty, shipping records,
invoices, management letters from accountants, purchase and sales records and information,
customers’ records, records pertaining to customer requirements, equipment maintenance and
warranty information, customer and prospect lists, correspondence, catalogues, promotion
materials, customer contacts, customer invoices, customer returns and vendor product
information, credit and collection records, and all other files, records, literature and other
documents of the Seller, whether in written, electronic or other form.

                 “Breaching Party” has the meaning ascribed to such term in Section 6.5(d).

                 “Bridge Note” has the meaning ascribed to such term in Section 1.6(a).

                 “Business” has the meaning ascribed to such term in Section 1.6(d).

               “Business Day” means any day other than a Saturday, a Sunday or a day on
which commercial banking institutions in New York, New York are authorized or obligated by
law or executive order to be closed.

                 “Buyer” has the meaning ascribed to such term in the Preamble.

                 “Buyer Documents” has the meaning ascribed to such term in Section 5.1(b).

                 “Buyer Indemnified Persons” has the meaning ascribed to such term in Section
7.1(a).


{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   53
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

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                “Buyer Transaction Expenses” means the sum of the fees and expenses of third
parties (such as accountants, lawyers, consultants or other outside advisors) incurred by Buyer
arising or resulting from the transactions contemplated by this Agreement, which remain
outstanding immediately prior to the Closing, which fees and expenses amount to $2,800,000.

                  “Buyer’s Vacation Pay Obligations” has the meaning ascribed to such term in
Section 6.19.

                  “Cap” has the meaning ascribed to such term in Section 7.1(c)(ii).

                 “Closing” has the meaning ascribed to such term in Section 2.1.

                 “Closing Accounts Receivable” has the meaning given to such term in Section
3.14(b).

               “Closing Accounts Receivable Collections” has the meaning ascribed to such
term in Section 1.7(j).

                  “Closing Consideration” has the meaning ascribed to such term in Section
1.6(a).

                  “Closing Date” has the meaning ascribed to such term in the Preamble.

                  “Closing Payment” has the meaning ascribed to such term in Section 1.6(a).

                “Code” means the Internal Revenue Code of 1986, as amended. All citations to
the Code or to the regulations promulgated thereunder shall include any amendments or any
substitute or successor provisions thereto.

              “Compensation and Benefits Plans” has the meaning ascribed to such term in
Section 3.12(a).

                 “Confidential Information” has the meaning ascribed to such term in Section
6.5(c).

                “Consent” means any consent, approval, authorization, waiver, permit, grant,
franchise, concession, agreement, license, exemption or order of, registration, certificate,
declaration or filing with, or report or notice to, any Person, including but not limited to any
Governmental Entity.

                  “Constellation Group” has the meaning ascribed to such term in Section 6.3.

               “Contracts” or “Contract” means all contracts, agreements, leases, licenses,
franchises, purchase orders, sale, license or service orders, instruments, commitments,
arrangements and understandings (in each case, whether written or oral and including all
amendments thereto) to which the Seller is a party or by which the Seller is bound or under
which the Seller or the Business has any rights or is entitled to any benefits but excluding
therefrom any licenses for “shrink-wrapped-off-the-shelf software”.


{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   54
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

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                 “Covered Proceeding” has the meaning ascribed to such term in Section
7.1(e)(i).

                “Current Customer” means a Top Client unless such Top Client (x) has ceased,
or indicated that it intends to cease, to use the products or services of the Seller before the
Closing or Buyer on or after the Closing, (y) has reduced by at least 50% on an annual basis or
indicated it will reduce by at least 50% on an annual basis the collective use of products or
services of the Seller before the Closing and Buyer after the Closing or (z) has indicated that it
will not pay for a majority (measured by dollar amount) of the products or services that the Seller
or Buyer has provided (other than products and services for which it has already paid).

                 “Deficiency Amount” has the meaning ascribed to such term in Section 1.7(d).

                “Deposits” means prepayments, advances, security deposits and similar items
made to or for the benefit of Seller.

                  “Designated Period” has the meaning ascribed to such term in Section 1.7(a).

                  “Earn-Out Factor” has the meaning ascribed to such term in Section 1.7(a).

                  “Earn-Out Payment” has the meaning ascribed to such term in Section 1.7(a).

                 “EBITDA” has the meaning ascribed to such term in Section 1.7(a).

               “Employees” mean current and former employees and consultants of the Seller,
including leased and temporary employees, involved in whole or in part in the Business.

                  “Employment Agreements” has the meaning ascribed to such term in Section
2.2(a)(iii).

               “Environmental Law” means any Law, permit, authorization, policy, opinion,
common law or agency requirement applicable to the Seller relating to: (i) the protection,
investigation or restoration of the environment, health and safety, or natural resources or
exposure to any harmful or hazardous material, (ii) the handling, use, presence, disposal, release
or threatened release of any chemical substance or waste water, or (iii) noise, odor, wetlands,
pollution, contamination or any injury or threat of injury to persons or property, including,
without limitation, the Comprehensive Environmental Response, Compensation and Liability
Act of 1980, as amended, the Resource Conservation and Recovery Act, the Occupational and
Safety and Health Act (solely to the extent related to Hazardous Substances), Clean Water Act
and the Oil Pollution Act.

              “Environmental Permit” means any permit, license, authorization or consent
required pursuant to applicable Environmental Laws.

                  “ERISA” has the meaning ascribed to such term in Section 3.12(b).

                 “Escrow Account” has the meaning set forth in Section 1.6.



{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   55
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

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                 “Escrow Agreement” has the meaning set forth in Section 1.6.

                 “Escrow Amount” has the meaning set forth in Section 1.6.

                 “Excluded Assets” has the meaning ascribed to such term in Section 1.2.

                  “Excluded Liabilities” has the meaning ascribed to such term in Section 1.4.

                  “Expected Working Capital” has the meaning ascribed to such term in Section
1.7(d).

               “Expected Working Capital Deficiency” has the meaning ascribed to such term
in Section 1.7(d).

                   “Final A/R Statement” has the meaning ascribed to such term in Section 1.7(l).

                  “Final Statement” has the meaning ascribed to such term in Section 1.7(h).

                “Financial Records” means the financial, Tax and accounting records (in any
form), including books of original entry, such as general ledgers and trial balances covering any
accounting period ending through the Closing Date relating directly or indirectly to the Business,
the Assets or the Employees

                 “Financial Statements” has the meaning ascribed to such term in Section
3.14(a).

                 “First Party” has the meaning ascribed to such term in Section 7.1(e)(iii).

                  “GAAP” means U.S. generally accepted accounting principles as in effect from
time to time.

                 “General Assignment” has the meaning ascribed to such term in Section
2.2(a)(ix).

                  “Governmental Approval” means any Consent of, with or to any Governmental
Entity.

                  “Government Bid” has the meaning ascribed to such term in Section
3.19(a)(iv).

                 “Government Contract” has the meaning ascribed to such term in Section
3.19(a)(iv).

                “Governmental Entity” means (i) any supranational, federal, state, local,
municipal, foreign or other government; (ii) any governmental or quasi-governmental entity of
any nature (including any governmental agency, branch, department, official or entity and any
court or other tribunal); or (iii) any body, authority or agency exercising or entitled to exercise




{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   56
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

                                                                                      AWNK003377



any administrative, executive, judicial, legislative, police, regulatory or taxing authority,
including any arbitral tribunal.

               “Hazardous Discharge” means the use, management, handling, transport,
treatment, generation, storage, spill, escape, seepage, leakage, spillage, emission, release,
discharge, remediation or clean-up of any Hazardous Substance on or about any of the Seller
Leased Property or caused by the Seller.

               “Hazardous Substance” means any substance that is: (i) listed, classified or
regulated in any concentration pursuant to any Environmental Law, (ii) any petroleum product or
by-product, asbestos-containing material, lead-containing paint or plumbing, polychlorinated
biphenyls, radioactive materials or radon, or (iii) any other substance which may be the subject
of regulatory action by any Governmental Entity pursuant to any Environmental Law.

                 “HIPAA” has the meaning ascribed to such term in Section 3.12(b).

                  “Indebtedness” means, without duplication, and in each case whether fixed,
contingent or otherwise, and to the extent existing or accrued or required to be accrued at or as of
the Closing, (i) any indebtedness for borrowed money or issued in substitution for or exchange of
indebtedness for borrowed money, (ii) any indebtedness evidenced by any note, bond, debenture
or other debt security, including “overdraft”, (iii) all indebtedness for the deferred purchase price
of property or a business represented by a note, or earnout or contingent purchase payment
obligation, (iv) all indebtedness created or arising under any conditional sale or other title
retention agreement with respect to property acquired (even though the rights and remedies of
the seller or lender under such agreement in the event of default are limited to repossession or
sale of such property), (v) all indebtedness secured by a purchase money mortgage or other Lien
to secure all or part of the purchase price of the property subject to such mortgage or Lien, (vi)
all obligations under leases which shall have been or must be, in accordance with GAAP,
recorded as capital leases, (vii) any credit extended in the nature of banker’s acceptances or
letters of credit, (viii) any obligations (including, but not limited to, interest, fees, penalties and
other expenses) under any interest rate swap agreements or instruments, (ix) all interest, fees and
other expenses owed with respect to the indebtedness referred to above, and (x) all indebtedness
and liabilities referred to above which is directly or indirectly guaranteed, and, with respect to (i)
to (x) above, all premiums, penalties, charges, fees, expenses and other amounts that are or
would be due (including with respect to early termination) in connection with the payment and
satisfaction in full of such obligations.

                 “Indemnifiable Loss” has the meaning ascribed to such term in Section
7.1(c)(vi).

                  “Indemnified Party” has the meaning ascribed to such term in Section 7.1(e)(i).

                 “Indemnifying Party” has the meaning ascribed to such term in Section
7.1(e)(i).

                 “Indemnity Payment” has the meaning ascribed to such term in Section
7.1(c)(vi).



{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   57
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

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                 “Insurance Policies” has the meaning ascribed to such term in Section 6.12.

                 “Intellectual Property” means any know-how, proprietary rights or other
intellectual property, including without limitation, trade secrets, inventions, formulae, processes,
patents (including all reissues, divisions, continuations and extensions thereof), patent
applications, Trademarks, Trademark registrations, Trademark applications, service marks,
service mark registrations, service mark applications, copyrights, copyright registrations,
copyright applications, web sites and home pages, uniform resource locators, domain names all
rights to, and all intellectual property used or necessary to, create, publish, modify or maintain,
any website or home page, customer and vendor information, lists and data bases, customer files,
customer lists, mailing and subscription lists, supplier lists, information not known to the general
public, literary works, whether or not copyrightable, ideas, concepts, designs, drawings,
discoveries, product and service developments, inventions, improvements, processes, logos,
software, source codes and materials, object codes and materials, algorithms, techniques,
technology, technical information, research material, prototypes and models.

                 “Intellectual Property Assets” has the meaning ascribed to such term in Section
1.1(c).

               “Interim Financial Statements” has the meaning ascribed to such term in
Section 3.14(a).

                 “IRS” has the meaning ascribed to such term in Section 3.10(a)(vi).

                 “Joint Indemnification” has the meaning ascribed to such term in Section 7.1(a).

          “Key Employees” mean ARVIND WALIA, MELODIE KRALJEV, ALON
BARAM and Matt Malone.

                 “Landlord” has the meaning ascribed to such term in Section 2.2(a)(xi).

                  “Landlord Estoppel” has the meaning ascribed to such term in Section
2.2(a)(xi).

                  “Law” or “Laws” has the meaning ascribed to such term in Section 3.17(a).

                 “Lease Assignment” has the meaning ascribed to such term in Section
2.2(a)(xi)).

                  “License Agreements” has the meaning ascribed to such term in Section
3.13(b)(i).

                “Liens” means with respect to any property or asset, all liens, mortgages,
pledges, security interests, conditional sales agreements, purchase options, rights of first refusal
or other encumbrance of like nature in respect of such property or asset.

               “Losses” means any and all losses, damages, costs, deficiency and reasonable
expenses (including reasonable fees and expenses of counsel incident to any of the foregoing, or


{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   58
        Case 8-20-08049-ast           Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

                                                                                     AWNK003379



incurred in investigating or attempting to avoid the same or to oppose the imposition thereof, or
in enforcing any of the obligations of any Indemnifying Party).

                “Material Adverse Effect” means any change or effect (or any development that
is reasonably likely to result in any change or effect) that (i) is materially adverse to the assets,
business, financial condition, or results of operations of the Seller, or (ii) would materially and
adversely impair the ability of the Seller to consummate the transactions contemplated by this
Agreement; provided however, that “Material Adverse Effect” does not include material adverse
changes or effects on the assets, business, financial condition or results of operations of the
Seller resulting from: (i) changes in general economic or political conditions but which do not
affect the Seller disproportionately, (ii) changes generally affecting the industries in which the
Seller operates or (iii) changes in applicable law, rules, regulations.

                 “Material A/R Difference” has the meaning ascribed to such term in Section
1.7(k).

                  “Material Contracts” has the meaning ascribed to such term in Section 3.19(a).

                 “Material Difference” has the meaning ascribed to such term in Section 1.7(g).

                 “Material Event” has the meaning ascribed to such term in Section 6.20.

                  “Neutral Firm” has the meaning ascribed to such term in Section 1.7(g).

                 “Option Agreement” has the meaning ascribed to such term in Section
2.2(a)(xi).

                “Ordinary Course of Business” means the ordinary course of business of the
Seller consistent with past custom and practice (including with respect to frequency and amount).

                 “Other Party” has the meaning ascribed to such term in Section 7.1(e)(iii).

              “Owned Intellectual Property” has the meaning ascribed to such term in
Section 3.13(a).

               “PARCS Software” means the Seller’s proprietary software commonly referred
to as Porteck Accounts Receivable & Billing Collections System (PARCS SOFTWARE).

                 “Parties” means the parties to this Agreement and “Party” means any one of
them.

               “Payables” means all accounts payable, accrued expenses and other amounts
payable of the Seller, in each case whether fixed, contingent or otherwise, and to the extent
existing or accrued or required to be accrued at or as of the Closing Date, determined in
accordance with GAAP; provided, however that the Seller shall obtain bills from each of its
accountants and attorneys as of the business day immediately prior to the Closing Date each of
which shall be paid prior to or at the Closing.



{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   59
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

                                                                                    AWNK003380



                  “Pension Plan” has the meaning ascribed to such term in Section 3.12(b).

                 “Permits” has the meaning ascribed to such term in Section 3.17(b).

              “Permitted Indebtedness” means the Seller’s obligations pursuant to the
Promissory Note in the original principal amount of $600,000 issued by the Seller to P.C.
Advantage, Inc.

                 “Permitted Liens” means: (i) inchoate Liens for current taxes not yet due and
payable, (ii) minor Liens that have arisen in the Ordinary Course of Business (including
mechanics’, workmen’s’, landlords’, warehousemen’s, bailees’, licensor’s and other statutory
liens (or other liens arising by operation of law) incurred in the Ordinary Course of Business for
amounts not in default or being contested in good faith, and deposits or pledges to secure
obligations under workmen’s compensation or similar laws), which in each case or in the
aggregate, are not substantial in amount, do not materially detract from the value of the assets
subject thereto or materially impair the operations of the Seller and (iii) liens granted in
connection with Permitted Indebtedness.

              “Person” means an individual, corporation, partnership, limited liability
company, trust or unincorporated organization or a Governmental Entity, or any other entity.

                 “Personal Data” shall mean any and all information (including without limitation
(a) first and last name; (b) home address; (c) internet protocol address; (d) email address;
(e) geographic location; (f) health or diet information; (g) information about family members;
(h) political beliefs; (i) group memberships; (j) social security number or other personal
identification number; (k) account numbers; and (l) salary or other employment information) to
the extent any such information, alone or in combination with other information processed by the
Seller or its Subsidiaries, identifies or is associated with an identified natural person.

                 “Personal Property” has the meaning ascribed to such term in Section 3.7(c).

              “Porteck India” means Porteck India Infoservices Private Limited, a company
incorporated under the Companies Act, 1956 (India)

                 “Post-Closing Payment” has the meaning ascribed to such term in Section
1.7(a).

                  “Post-Closing Conditional Payment” has the meaning ascribed to such term in
Section 1.7(a).

               “Pre-Closing Tax Period” means the taxable period (including all prior taxable
years or periods) ending on the day before the Closing Date.

                “Pre-Closing Taxes” means any Taxes relating to or arising out of the Business,
or any of the Assets (i) for any taxable period ending on or before the Closing Date or (ii) that (in
the case of any taxable period that begins on or before the Closing Date and ends after the
Closing Date) are apportioned to the period of such taxable period that ends on the Closing Date



{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   60
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

                                                                                    AWNK003381



(such apportionment being computed on a per diem basis in the case of any property (or similar
taxes) and computed based on the closing of the books method in any other case).

                  “Preliminary A/R Statement” has the meaning ascribed to such term in Section
1.7(j).

                  “Preliminary Statements” has the meaning ascribed to such term in Section
1.7(e).

                 “Prepayments” has the meaning ascribed to such term in Section 1.1(a).

                “Privacy and Security Laws ” shall mean Laws regarding collecting, accessing,
using, disclosing, electronically transmitting, securing, sharing, transferring and storing Personal
Data including federal, state or foreign laws or regulations regarding (i) data privacy and
information security, (ii) data breach notification (as applicable), (iii) unfair or deceptive
practices and (iv) trespass, computer crime and other Laws governing unauthorized access to or
use of electronic data

                 “Privacy and Security Regulations” has the meaning ascribed to such term in
Section 3.30.

                  “Proceedings” has the meaning ascribed to such term in Section 3.6.

                 “Providing Party” has the meaning ascribed to such term in Section 6.11.

                  “Purchase Price” has the meaning ascribed to such term in Section 1.6(a).

                “Reimbursable Expenses” mean any and all expenses, including those related to
automobiles, telephones, memberships, travel and entertainment, of the Seller’s directors,
officers, employees and consultants, that the Seller is obligated to reimburse or are of the type
that the Seller has generally reimbursed.

                   “Reply A/R Statement” has the meaning ascribed to such term in Section
1.7(k).

                  “Reply Statement” has the meaning ascribed to such term in Section 1.7(g).

                  “Restricted Period” has the meaning ascribed to such term in Section 6.5(a).

                 “Second Designated Period” has the meaning ascribed to such term in Section
1.7(a).

                  “Section 1.7 Notice” has the meaning ascribed to such term in Section 1.7(e).

                  “Seller” has the meaning ascribed to such term in the Preamble.

               “Seller Benefit Plans” means each written or oral employee benefit plan, scheme,
program, policy, arrangement and contract (including, but not limited to, any “employee benefit
plan,” as defined in Section 3(3) of ERISA, whether or not subject to ERISA, and any bonus,


{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   61
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

                                                                                    AWNK003382



deferred compensation, stock bonus, stock purchase, restricted stock, stock option or other
equity-based arrangement, and any employment, termination, retention, bonus, change in control
or severance plan, program, policy, arrangement or contract) for the benefit of any current or
former officer, employee or director of the Seller.

                “Seller Documents” means this Agreement and each other agreement, document
or instrument to be executed or delivered by the Seller, the Selling Shareholder Representative or
any Selling Shareholder pursuant to this Agreement.

                 “Seller Indemnified Persons” has the meaning ascribed to such term in Section
7.1(b).

                 “Seller Leased Property” has the meaning ascribed to such term in Section 3.8.

                 “Seller Leases” has the meaning ascribed to such term in Section 3.8.

                 “Seller Privacy Policies” has the meaning ascribed to such term in Section 3.29

                  “Selling Party” or “Selling Parties” has the meaning ascribed to such term in
the Preamble.

               “Selling Parties’ Knowledge” means Walai has no actual knowledge, after
reasonable inquiry and investigation, of any fact or matter that leads him, or reasonably should
have led him, to believe the applicable representation and warranty is or was not true.

               “Selling Shareholder” or “Selling Shareholders” has the meaning ascribed to
such term in the Preamble.

                 “Selling Shareholder Representative” has the meaning ascribed to such term in
the Preamble.

               “Selling Shareholder Representative Expenses” has the meaning ascribed to
such term in Section 9.14(f).

                  “Several Indemnification” has the meaning ascribed to such term in Section
7.1(a).

                  “Shares” has the meaning ascribed to such term in the Preamble.

                “Software” means any and all (i) computer programs, including any and all
software implementations of algorithms, models and methodologies, whether in source code or
object code, (ii) databases and compilations, including any and all data and collections of data,
whether machine readable or otherwise, (iii) descriptions, testing scripts, schematics, flow-charts
and other work product used to design, plan, organize and develop any of the foregoing, and (iv)
all documentation, including user manuals, training materials and functional specifications or
similar documentation, relating to any of the foregoing.




{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   62
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

                                                                                       AWNK003383



                 “Source Code” means the complete human-readable source code corresponding to
the most current version of the PARCS Software that Seller is selling to Buyer pursuant to this
Agreement, together with all documentation, comments, keys and passwords necessary for the Buyer
to compile, install and run the PARCS Software.

                  “Specific Excluded Liabilities” means any and all of the following debts,
liabilities, claims and obligations, whether fixed, contingent or otherwise, in each case to the
extent existing or accrued or required to be accrued at or as of the Closing, or made, asserted or
arising after the Closing but based upon or arising from any act, transaction, circumstance, sale
or providing of goods or services, state of facts or other condition which occurred or existed on
or prior to the Closing, whether or not then known, due or payable:

                                       (i)     any claims, liabilities or obligations against or of
the Seller under or arising out of any actual or claimed stock option, stock purchase, equity-
based incentive, profit-sharing or similar plan(s), program(s), agreement(s) or arrangement(s)
and/or under any and all qualified or non-qualified stock options, grants or awards and/or any
other agreement, arrangement or understanding to make a payment to any director, officer or
employee in connection with the sale of the Assets or any transaction contemplated by this
Agreement;

                                         (ii)    any and all claims, liabilities and obligations against
or of the Seller by, of or to any of its present or former direct or indirect shareholders, including
any arising out of any action by the Seller in connection with any of the transactions
contemplated by this Agreement;

                                       (iii) any and all claims, liabilities and obligations in
respect of brokerage or finder’s fees payable by the Seller and all investment banking, legal,
accounting and other consulting or similar costs and expenses incurred by the Seller in
connection with the negotiation, execution and/or consummation of this Agreement and/or any
of the transactions contemplated hereby;

                                      (iv)    any and all Transaction Expenses, Indebtedness of
the Seller and Payables and any and all other liabilities and obligations of the Seller to the
Selling Shareholders or any Affiliate(s) of any Selling Shareholder (whether current or long-
term);

                                       (v)      any and all claims, liabilities and obligations against
or of the Seller as a guarantor, co-obligor or surety of or with any other Person, (other than the
Seller), or arising by reason of the Seller being an Affiliate of any Selling Shareholder or against
or of any Affiliate of any Selling Shareholder;

                                       (vi)     any and all claims, liabilities and obligations for or
in respect of any and all foreign, federal, state and local Taxes of or imposed on the Seller or
with respect to any of the income or activities thereof allocable to any Pre-Closing Tax Period;




{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   63
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

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                                       (vii) any and all claims, liabilities and obligations against
or of the Seller with respect to any Compensation and Benefits Plans arising out of any events
occurring, or circumstances or state of facts existing, on or prior to the Closing Date; or

                                        (viii) any and all claims, liabilities and obligations against
or of the Seller based on or arising from the presence of any Hazardous Substance on any of the
Seller Leased Property, or any Hazardous Discharge on or prior to the Closing Date, and/or the
failure to obtain any license or permit required in connection with any Hazardous Substance or
Hazardous Discharge or the retention, disposal, treatment or use thereof, and/or arising out of
any, in each case, based on or arising from any act, transaction, state of facts or other condition
which occurred or existed on or before the Closing Date, on, from, involving or by any of the
Seller Leased Property, or the Seller, or any of its Affiliates, and/or any demand of any
government agency or authority or other person or entity prior to, on or after the Closing Date
which is based upon or in any way related to any discharge of any Hazardous Substance, the
presence, use, disposal or treatment of a Hazardous Substance, and/or noncompliance with any
Environmental Law on or prior to the Closing Date, on, from, involving or by any of the Seller
Leased Property, the Seller or any of its Affiliates.

                  “Specified Employees” has the meaning ascribed to such term in Section 6.18.

                  “Specified Representations” has the meaning ascribed to such term in Section
7.1(c)(i).

                 “Subsidiary” or “Subsidiaries” of any Person means another Person, an amount
of the voting securities, other voting rights or voting partnership interests of which is sufficient to
elect at least a majority of its board of directors or other governing body (or, if there are no such
voting interests, fifty percent (50%) or more of any class or series of capital stock or other
partnership, joint venture, membership or other equity interest of which) is owned directly or
indirectly by such first Person.

                “Tax” or “Taxes” means all taxes, including (i) all federal, state, local, provincial
or foreign income or franchise taxes; (ii) all gross receipts, ad valorem, value-added, goods and
services, excise, real property, personal property, sales, use, transfer, withholding, employment,
unemployment, insurance, social security, business license, business organization, environmental
(including Taxes under Code section 59A), workers compensation, profits, license, lease,
service, service use, severance, stamp, occupation, windfall profits, customs, duties, franchise,
net worth, commercial profits and other taxes imposed by any Governmental Entity; (iii) any
interest, penalties, assessments or additions to tax resulting from, attributable to or incurred in
connection with any items listed in clauses (i) or (ii) of this paragraph; and (iv) any liability in
respect of any items described in clauses (i), (ii) and/or (iii) payable by reason of contract,
assumption, transferee liability, operation of law or Treasury Regulations section 1.1502-6(a) (or
any predecessor or successor thereof or any similar provision under law or otherwise).

                 “Tax Contest” means an audit, claim, dispute or controversy relating to Taxes.




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        Case 8-20-08049-ast           Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

                                                                                    AWNK003385



               “Tax Return” means any return, declaration, report, statement or information
return required to be filed with any Governmental Entity with respect to Taxes, including all
required Schedules and other attachments thereto, and any amendments thereof.

                 “Territory” has the meaning ascribed to such term in Section 6.5(a).

                 “Top Client Loss” has the meaning ascribed to such term in Section 1.7(d).

              “Top Clients” mean DIG(Doshi), SMS/800, Doctor United, Atlantic Imaging and
Precision Imaging of New York.

                  “Trademark Assignment” has the meaning ascribed to such term in Section
2.2(a)(vii).

                 “Trademarks” means all trademarks and service marks (whether registered or
unregistered), trade names and designs, together with all goodwill related to the foregoing owned
by or licensed to the Seller.

                “Transaction Expenses” means the sum of the fees and expenses of third parties
(such as accountants, lawyers, consultants or other outside advisors) incurred by the Seller
arising or resulting from the transactions contemplated by this Agreement, which remain
outstanding as of the Closing Date.

                 “Transaction Regulations” has the meaning ascribed to such term in Section
3.30.

                   “Transfer Taxes” has the meaning ascribed to such term in Section 6.11.

                  “UCC” has the meaning ascribed to such term in Section 1.6(c)(ii).

                  “Vacation Pay Schedule” has the meaning ascribed to such term in Section
6.19.

                  “Wachovia Liens” has the meaning ascribed to such term in Section 1.6(c).

                 “Walai” has the meaning ascribed to such term in the Preamble.

                 “WARN” has the meaning ascribed to such term in Section 6.19.

                  “Websites” has the meaning ascribed to such term in Section 3.13(g).

                                                  ARTICLE 9

                                             MISCELLANEOUS

                Section 9.1 Waiver. Any failure of any of the Selling Parties to comply with
any of their obligations or agreements herein contained may be waived only in writing by Buyer.
Any failure of Buyer to comply with any of its obligations or agreements herein contained may



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       Case 8-20-08049-ast            Doc 67       Filed 03/02/23      Entered 03/02/23 17:31:14

                                                                                         AWNK003386



be waived only in writing by the Seller. No waiver granted hereunder shall be deemed a waiver
of any subsequent breach or default of the same or similar nature.

                Section 9.2 Notices. All notices and other communications hereunder shall be
in writing and shall be deemed to have been given if delivered personally or by overnight
courier, or certified, registered or express mail, postage prepaid. Any such notice shall be
deemed given when so delivered personally or two business day after deposit with an overnight
courier, or if mailed, five business days after the date of deposit in the United States mails, as
follows:

If to Selling Parties, then to:     Arvind Walai
                                   27 Kettlepond Rd
                                   Jericho, New York 11753

                          with a copy (which shall not constitute notice) to:

                                                               Steven Landy & Associates, PLLC
                                                               270 Madison Avenue, Suite 1400
                                                               New York, New York 10016
                                                               Attn: Steven Landy, Esq.

If to Buyer, then to:                                         Physicans Practice Plus LLC
                                                              c/o Robinson Brog Leinwand
                                                              Greene Genovese & Gluck P.C.
                                                                875 Third Avenue
                                                                New York, NY 10022

with a copy (which shall not constitute notice) to:            Robinson Brog Leinwand
                                                               Greene Genovese & Gluck P.C.
                                                               875 Third Avenue New York NY, 10022
                                                               Attention: A. Mitchell Greene, Esq.

or to such other address as any such Party may designate in writing in accordance with this
Section 9.2. In this Section, “notice” includes any demand or request permitted or required under
this Agreement. Any notice given hereunder may be given on behalf of any Party by its counsel
or other authorized representatives.

                 Section 9.3       Governing Law; Consent to Jurisdiction and Waiver of Jury Trial.

                       (a)     This Agreement shall be governed by and construed in accordance
with the internal substantive laws, and not the choice of law rules, of the State of New York.

                       (b)     Subject to Section 1.7(g) and except for matters for which the
Parties have agreed pursuant to this Agreement to submit to arbitration in accordance with
Section 9.3(c), each of the Parties irrevocably submits to the exclusive jurisdiction of the United
States District Court for the Southern District of New York located in New York County, State
of New York, or if such court does not have jurisdiction, the state courts of the State of New


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       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

                                                                                    AWNK003387



York located in New York County for the purposes of any suit, action or other proceeding
arising out of this Agreement or any transaction contemplated hereby. Each of the Parties hereto
irrevocably and fully waives the defense of an inconvenient forum to the maintenance of such
suit, action or proceeding. Each of the Parties further agrees that service of any process,
summons, notice or document to such Party’s respective address listed above in one of the
manners set forth in Section 9.2 hereof shall be deemed in every respect effective service of
process in any such suit, action or proceeding; provided that with respect to this Section 9.3(b)
only, any such notice solely sent in accordance with Section 9.2 shall be deemed given only if
and when actually received by the other Party. Nothing herein shall affect the right of any Person
to serve process in any other manner permitted by Law. Each of the Parties hereto irrevocably
and unconditionally waives any objection to the laying of venue of any action, suit or proceeding
arising out of this Agreement or the transactions contemplated hereby in either of the courts
named in this subsection and hereby further irrevocably and unconditionally waives and agrees
not to plead or claim in any such court that any such action, suit or proceeding brought in any
such court has been brought in an inconvenient forum. The Parties hereto hereby irrevocably and
unconditionally waive trial by jury in any legal action or proceeding relating to this Agreement
or any other agreement entered into in connection therewith and for any counterclaim with
respect thereto. Notwithstanding the preceding, the Parties may subsequently agree in writing
that any such proceeding may be brought and maintained in any other court sitting in the United
States that has jurisdiction.

                        (c)     The Parties hereby agree that to the extent that any provision
hereto provides for arbitration that they shall to submit such matter to binding arbitration in
accordance with the rules of the American Arbitration Association. Such arbitration shall be
held in New York City. Buyer and Seller shall each select one arbitrator and the two such
selected arbitrators shall select a third arbitrator.

                Section 9.4 Counterparts. This Agreement may be executed in two (2) or more
counterparts, each of which shall be deemed an original but all of which together shall constitute
one and the same instrument. Execution and delivery of this Agreement by delivery of a
facsimile or electronically recorded copy in .pdf file format bearing a copy of the signature of a
Party shall constitute a valid and binding execution and delivery of this Agreement by such
Party. Such copies shall constitute enforceable original documents.

               Section 9.5 Headings. The section headings contained in this Agreement are
for reference purposes only and shall not affect in any way the meaning or interpretation of this
Agreement.

                Section 9.6 Entire Agreement. This Agreement, including the Exhibits and
Schedules hereto and the documents referred to herein, embodies the entire agreement and
understanding of the Parties hereto in respect of the subject matter contained herein. This
Agreement supersedes all prior agreements and understandings between the Parties with respect
to the subject matter hereof other than the Confidentiality Agreement.

              Section 9.7 Amendment and Modification. This Agreement may be amended
or modified only by written agreement of the Seller and Buyer.



{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   67
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

                                                                                    AWNK003388



                Section 9.8 Binding Effect; Benefits. This Agreement shall inure to the benefit
of and be binding upon the Parties hereto and their respective successors and permitted assigns;
nothing in this Agreement, express or implied, is intended to confer on any Person other than the
Parties and their respective successors and permitted assigns (and, to the extent provided in
Section 7.1, the other Buyer Indemnified Parties and Seller Indemnified Parties) any rights,
remedies, obligations or liabilities under or by reason of this Agreement.

                Section 9.9 Joint Drafting. The Parties have participated jointly in the
negotiation and drafting of this Agreement. In the event an ambiguity or question of intent or
interpretation arises, this Agreement shall be construed as if drafted jointly by the Parties and no
presumption or burden of proof shall arise favoring or disfavoring any Party by virtue of the
authorship of any of the provisions of this Agreement.

               Section 9.10 Severability. Whenever possible, each provision of this
Agreement shall be interpreted in such manner as to be effective and valid under applicable Law,
but if any provision of this Agreement is held to be prohibited by or invalid under applicable
Law, such provision shall be ineffective only to the extent of such prohibition or invalidity,
without invalidating the remainder of such provision or the remaining provisions of this
Agreement. Upon such determination that any term or other provision is invalid, illegal or
incapable of being enforced, the Parties hereto shall negotiate in good faith to modify this
Agreement so as to effect the original intent of the Parties as closely as possible to the fullest
extent permitted by applicable Law in an acceptable manner to the end that the transactions
contemplated hereby are fulfilled to the extent possible.

                Section 9.11 Interpretation. When a reference is made in this Agreement to an
Article, Section, Schedule or Exhibit, such reference will be to an Article or Section of, or a
Schedule or Exhibit to, this Agreement unless otherwise indicated. Whenever the words
“include,” “includes” or “including” are used in this Agreement, they will be deemed to be
followed by the words “without limitation.” The words “hereof,” “herein” and “hereunder” and
words of similar import when used in this Agreement will refer to this Agreement as a whole and
not to any particular provision of this Agreement. All terms used herein with initial capital letters
have the meanings ascribed to them herein and all terms defined in this Agreement will have
such defined meanings when used in any certificate or other document made or delivered
pursuant hereto unless otherwise defined therein. The definitions contained in this Agreement are
applicable to the singular as well as the plural forms of such terms and to the masculine as well
as to the feminine and neuter genders of such term. Unless otherwise indicated, any agreement,
instrument or statute defined or referred to herein, or in any agreement or instrument that is
referred to herein, means such agreement, instrument or statute as from time to time amended,
modified or supplemented, including (in the case of agreements or instruments) by waiver or
consent and (in the case of statutes) by succession of comparable successor statutes and
references to all attachments thereto and instruments incorporated therein. References to a
Person are also to its permitted successors and assigns. When a reference is made in this
Agreement to any of the Selling Parties providing, disclosing or making available any document,
writing or other material to Buyer, such document, writing or other material has been placed in
and remains in the data room labeled Porteck hosted Dropbox and such document, writing or
other material shall not be removed from without Buyer’s and Seller’s consent.



{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   68
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

                                                                                    AWNK003389



                 Section 9.12 Assignability. This Agreement shall not be assignable by any
Party hereto without the prior written consent of the other Parties, provided that Buyer (i) may
grant a security interest in its rights under this Agreement to its lenders as security for Buyer’s
obligations to such lenders (and such lenders may exercise their rights and remedies with respect
to such security interest), (ii) may assign its rights under the Agreement to any Affiliate of Buyer
(provided that in the reasonable assessment of Buyer, such assignee has the financial capacity to
perform all of the Buyer’s obligations under this Agreement) and (iii) may assign its rights to
indemnity, in whole or in part, to any Person that acquires an interest in Buyer or a material
portion of its assets or the Business. Notwithstanding any assignment by Buyer described in
clause (ii) of the proviso in the previous sentence of this Section, Buyer shall remain liable under
this Agreement jointly and severally with the assignee.

               Section 9.13 Specific Performance. The Parties agree that irreparable damage
would occur in the event that any of the provisions of this Agreement were not performed in
accordance with their specific terms or were otherwise breached. It is accordingly agreed that
each Party shall be entitled to an injunction or injunctions to prevent breaches of this Agreement
(without any obligation of such Party to post any bond or other surety in connection therewith)
and to enforce specifically the terms and provisions of this Agreement in addition to any other
remedy to which such Party may be entitled at law or in equity.

                 Section 9.14 Selling Shareholder Representative.

                       (a)     In order to administer the transactions contemplated by this
Agreement, including the calculations set forth in Article I hereof, and the Exhibits and
schedules hereto, the Selling Shareholders hereby designate and appoint Walai as their
representative for purposes of this Agreement and the Exhibits and as attorney-in-fact and agent
for and on behalf of each Selling Shareholder (in such capacity, the “Selling Shareholder
Representative”) in connection with and to facilitate the consummation of the transactions
contemplated hereby, which shall include the power and authority.

                         (b)    The Selling Shareholders hereby authorize the Selling Shareholder
Representative to represent them, and their successors, with respect to the following matters: (i)
to enforce and protect the rights and interests of the Selling Shareholders arising out of or under
or in any manner relating to this Agreement and each other agreement, document, instrument or
certificate referred to herein or therein or the transactions provided for herein or therein
(including in connection with any and all claims for indemnification brought under Section
7.1(b) hereof, including the defense or settlement of any claims) and to take any and all actions
which the Selling Shareholder Representative believes are necessary or appropriate under this
Agreement for and on behalf of the Selling Shareholders, (ii) to make, execute, acknowledge,
deliver and receive all such other agreements, guarantees, orders, receipts, endorsements,
notices, requests, instructions, certificates, stock powers, letters and other writings, and, in
general, to do any and all things and to take any and all action that the Selling Shareholder
Representative, in its sole and absolute discretion, may consider necessary or proper or
convenient in connection with or to carry out the transactions contemplated by this Agreement
and all other agreements, documents or instruments referred to herein or therein or executed in
connection herewith and therewith, (iii) to execute and deliver such waivers and consents in
connection with this Agreement and the consummation of the transactions contemplated hereby


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       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

                                                                                    AWNK003390



as the Selling Shareholder Representative, in his sole discretion, may deem necessary or
desirable and (iv) to cause the delivery of all documents to be delivered to Buyer pursuant to
Section 2.2. The Selling Shareholder Representative shall send copies of notices it receives to
the applicable Selling Shareholder.

                         (c)    In the event that Walai or any substitute Selling Shareholder
Representative dies, becomes unable to perform his responsibilities as Selling Shareholder
Representative or resigns from such position, the Selling Shareholders having an aggregate
percentage of greater than 50% of the Shares (or if after the Closing, who had immediately prior
to the Closing an aggregate percentage of greater than 50% of the Shares) shall select another
representative to fill such vacancy and such substituted Selling Shareholder Representative shall
be deemed to be the Selling Shareholder Representative for all purposes of this Agreement.

                        (d)     All decisions and actions by the Selling Shareholder
Representative, including without limitation any agreement between the Selling Shareholder
Representative and Buyer relating to indemnification obligations of Buyer under Section 7.1(b),
including the defense or settlement of any claims and the making of payments with respect
hereto, shall be binding upon all of the Selling Shareholders, and no Selling Shareholder shall
have the right to object, dissent, protest or otherwise contest the same. The Selling Shareholder
Representative shall incur no liability to the Selling Shareholders with respect to any action taken
or suffered by the Selling Shareholder Representative in reliance upon any notice, direction,
instruction, consent, statement or other documents believed by him to be genuinely and duly
authorized, nor for any other action or inaction with respect to the indemnification obligations of
Buyer under Section 7.1(b), including the defense or settlement of any claims and the making of
payments with respect thereto, except to the extent resulting from the Selling Shareholder
Representative’s own willful misconduct or gross negligence. The Selling Shareholder
Representative may, in all questions arising under this Agreement and the Exhibits, rely on the
advice of counsel, and for anything done, omitted or suffered in good faith by the Selling
Shareholder Representative shall not be liable to the Selling Shareholders.

                       (e)     The Buyer and the Seller shall be able to rely conclusively on the
instructions and decisions of the Selling Shareholder Representative with respect to the
indemnification obligations of the Buyer under Section 7.1(b), including the defense or
settlement of any claims or the making of payments with respect thereto, or as to any other
actions required or permitted to be taken by the Selling Shareholder Representative hereunder,
and no Party hereunder shall have any cause of action against the Buyer and the Seller to the
extent they have relied upon the instructions or decisions of the Selling Shareholder
Representative.

                       (f)    The Selling Shareholders acknowledge and agree that the Selling
Shareholder Representative may incur reasonable costs and expenses on behalf of the Selling
Shareholders (“Selling Shareholder Representative Expenses”). Each Selling Shareholder
agrees to pay the Selling Shareholder Representative, promptly upon demand by the Selling
Shareholder Representative therefor, its portion of any Selling Shareholder Representative
Expenses.




{00718038.DOCX;1 }{00718038.DOCX;1 }{00718038.DOCX;1 }   70
       Case 8-20-08049-ast            Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14

                                                                                    AWNK003391



                       (g)   The Selling Shareholder Representative shall have the authority to
represent any Selling Shareholder with respect to the indemnification obligations of the Selling
Shareholders under Section 7.1(a) of this Agreement.

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Case 8-20-08049-ast   Doc 67   Filed 03/02/23   Entered 03/02/23 17:31:14

                                                                AWNK003392
Case 8-20-08049-ast   Doc 67   Filed 03/02/23   Entered 03/02/23 17:31:14




              EXHIBIT B
       Case 8-20-08049-ast   Doc 67    Filed 03/02/23    Entered 03/02/23 17:31:14




                     MEMBERSHIP INTERESTS PURCHASE AGREEMENT

                               made and entered into as of

                                      June [_], 2017

                                      by and among

       PHYSICIANS HEALTHCARE NETWORK MANAGEMENT SOLUTIONS, LLC

                             OBJECTTECH HOLDINGS, LLC

                                [______Arvind Walia_],




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       Case 8-20-08049-ast           Doc 67    Filed 03/02/23    Entered 03/02/23 17:31:14




                 MEMBERSHIP INTERESTS PURCHASE AGREEMENT, dated as of June [__],
2017 (the “Effective Date”) (herein, together with the Schedules and Exhibits attached hereto,
referred to as this “Agreement”), is by and among [_Arvind Walia______], an individual residing
at [__27 Kettlepond rd Jericho NY 11753_____] (“Member 1”), Member 1is sometimes referred
to individually as a “Selling Member” and collectively as the “Selling Members”), Objecttech
Holdings, LLC., a New York limited liability company (“Company”) (each of the Selling
Members and the Company are sometimes referred to individually as a “Selling Party” and
collectively as the “Selling Parties”), Member 1, as the representative for the Selling Members
(the “Selling Member Representative”), and Physicians Healthcare Network Management
Solutions LLC (“Buyer;” each of Buyer, the Company, the Selling Members, and the Selling
Member Representative is sometimes referred to individually as a “Party” and collective as the
“Parties”). Capitalized terms used in this Agreement without definition shall have the meanings
ascribed to such terms in Section 8.1.

                                          WITNESSETH:

             WHEREAS, the Selling Members own all of the issued and outstanding
membership interest of the Company (the “Interests”); and

               WHEREAS, the Selling Members wish to sell, and Buyer wishes to purchase, the
Interests upon the terms of this Agreement;

                NOW, THEREFORE, in consideration of the mutual covenants, agreements,
representations and warranties herein contained, and upon the terms and subject to the conditions
hereinafter set forth, the Parties hereto hereby agree as follows:

                                              ARTICLE 1

                               SALE AND PURCHASE OF INTERESTS

                 Section 1.1 Sale of Interests; Purchase Price. On the Closing Date and subject
 to the terms and conditions set forth in this Agreement, the Selling Members will sell, assign, and
 transfer to Buyer, and Buyer will purchase and acquire, all of the Interests, free and clear of all
 Liens, for and in consideration of (A) (1) the sum of those amounts actually paid to one or more
 of the Selling Parties and Selling Member Representative (i) as Closing Payment, (ii) any Earn-
 Out payments, and (iii) in respect of the adjustment of the Company’s working capital in
 accordance with Section 1.5, less (B) any Required Repayments paid in accordance with Section
 1.6 (collectively, the “Purchase Price”).

                     Section 1.2   Closing Payment. The Closing Payment shall be paid as follows:

                       (a)    Initial Determination of Closing Payment. The Closing Payment
shall be $1,520,000, (the “Closing Payment”).



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       Case 8-20-08049-ast           Doc 67   Filed 03/02/23   Entered 03/02/23 17:31:14




                     (b)   Payment of Closing Payment. The Closing Payment will be paid to
the Selling Members in immediately available funds by wire transfer to accounts designated by
the Selling Member Representative in writing to Buyer at or prior to the Closing.

                     Section 1.3   Earn-Out Payments.

                       (a)    Period 1 Earn-Out. In addition to the Closing Payment, the Selling
Members shall receive an additional payment (a “Period 1 Earn-Out Payment”) equal to (i)
$325,000, if during the period of time between the Closing Date and the end of the sixth full
calendar month after the Closing Date (the “First Earn-Out Period”), the Company’s Net Profits
were greater than or equal to twelve percent (12%) of the Company’s Net Revenue during the
same period, or (ii) otherwise, $0. By way of example, if during the First Earn-Out Period the
Company’s Net Revenues are $100 and during the same period the Company’s Net Profits are at
least $12, then the Selling Members shall receive the Period 1 Earn-Out Payment, as set forth
herein. If however the Company’s Net Profits during the First Earn-Out Period were less than $12,
the Selling Members will receive no Period 1 Earn-Out Payment.

                        (b)    Period 2 Earn-Out. In addition to the Closing payment and the
Period 1 Earn-Out Payment (if any), the Selling Members shall receive an additional payment (a
“Period 2 Earn-Out Payment,” and together with the Period 1 Earn-Out Payment, the “Earn-
Out Payments,” and each individually, an “Earn-Out Payment”) equal to (i) $325,000, if
between the period of time between the date of the closing payment and twelve full calendar
months after the Closing Date (the “Second Earn-Out Period”), the Company’s Net Profits are
greater or equal to fifteen percent (15%) of the Company’s Net Revenue during the same period,
or (ii) otherwise, $0. By way of example, if during the Second Earn-Out Period the Company’s
Net Revenues are $100 and during the same period the Company’s Net Profits are at least $15,
then the Selling Members shall receive the Period 2 Earn-Out Payment, as set forth herein. If
however the Company’s Net Profits during the Second Earn-Out Period were less than $15, the
Selling Members will receive no Period 2 Earn-Out Payment.

                        (c)     No later than seventy five (75) days following the end of the First
Earn-Out Period, the Buyer will prepare and deliver to the Selling Member Representative a copy
of the Company’s consolidated income statement for First Earn-Out Period, together with a
calculation of the Company’s Net Revenue and Net Profit for the First Earn-Out Period, and the
Period 1 Earn-Out Payment (the "Period 1 Earn-Out Calculation"). No later than seventy five
(75) days following the end of the Second Earn-Out Period, the Buyer will prepare and deliver to
the Selling Member Representative a copy of the Company’s consolidated income statement for
Second Earn-Out Period, together with a calculation of the Company’s Net Revenue and Net Profit
for the Second Earn-Out Period, and the Period 2 Earn-Out Payment (the "Period 2 Earn-Out
Calculation"). In each case, the Buyer will make available to the Selling Member Representative
at the Buyer's offices, or via electronic means, if possible, and upon reasonable notice, all of the
relevant books and records maintained by the Company relating to the Company’s business in
order for the Selling Member Representative to review and confirm the Period 1 Earn-Out
Calculation and the Period 2 Earn-Out Calculation.

                   (d)     Possible reduction to Period 2 Earn-Out. As at the date of this
Agreement, the amount of $200,000 is owing to Orion Healthcorp, Inc by Elite Imaging. Orion
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                                                   2
       Case 8-20-08049-ast       Doc 67      Filed 03/02/23     Entered 03/02/23 17:31:14




undertakes a best endeavors approach to try and collect this amount including filing a legal claim.
To the extent that some or all this amount is not recovered from Elite Imaging, the Selling Members
agree that the uncollected amount will be deducted from the Period 2 Earn-Out payment. Any
third-party costs and expenses including but not limited to legal costs and fees will be taken into
account to determining what, if any, deduction needs to be made from the Period 2 Earn-Out. For
example, if legal costs and expenses total $10,000 and the amount of $150,000 is collected from
Elite Imaging, then the sum of $60,000 will be held back from any Period 2 Earn-Out.

                       (e)     Dispute Resolution. In the event that the Selling Member
Representative does not agree with the Period 1 Earn-Out Calculation or the Period 2 Earn-Out
Calculation, the Selling Member Representative and the Buyer shall resolve their disputes in
accordance with the procedures set forth in Section 1.5(c)-(e), including the applicable time frames
for notices, with appropriate adjustments to reflect the fact that the subject of the dispute is the
subject of Section 1.3(a)-(c) and not Section 1.5(a)-(b).

                         (f)   Payment of Earn-Out Payments. No later than three (3) Business
Days following the determination of the final Period 1 Earn-Out Payment or Period 2 Earn-Out
Payment, as applicable (whether because Selling Member Representative does not provide a timely
Objection Notice or because of the final determination by the Independent Auditor), the Buyer
shall deliver to the Selling Member Representative, or designee or assignee thereof, in immediately
available funds by wire transfer to an account designated by the Selling Member Representative,
or designee or assignee thereof, in writing to Buyer at or prior to the date of such payment, the
applicable Earn-Out Payment pursuant to the terms of this Agreement, and the Selling Member
Representative shall distribute such payment amounts to the Selling Members in amounts as
determined by the Selling Members; provided.

                        (g)      The Selling Members and the Selling Member Representative
acknowledge and agree that after the Closing the Buyer shall be entitled to operate the Company
in any manner that it determines, in its sole discretion, to be appropriate, subject only to its
obligation of good faith. Notwithstanding the foregoing, the Buyer acknowledges that the ability
of the Selling Members to earn the Earn-Out Payments is a material inducement to enter into this
Agreement and consummate the transactions contemplated hereby and the Buyer and its Affiliates,
as applicable, hereby agree to use commercially reasonable efforts to try to achieve results that
would result in the making of the Earn-Out Payments. In furtherance of the foregoing, the Buyer
agrees that at any time prior to the expiration of all deadlines to earn the related Earn-Out Payments
(i) it will not knowingly take any action or fail to take any action with the intent to frustrate the
achievement of an Earn-Out Payment, (ii) it will carry on the Company and the Business as a going
concern and with a view to profit and shall not cause or permit the Company to (a) carry out any
act or make any omission where the primary purpose is or would be to reduce or defer income or
profits of the Company; or (b) enter into any agreement or arrangement other than on arms' length
terms, (iii) it will not present a petition for or pass any resolution for the winding-up of the
Company, or (iv) appoint a receiver, administrative receiver or administrator over the whole or
any part of the assets of the Company. If the Buyer is in breach of any of these provisions and the
Selling Member Representative has not consented in writing to such breach, then the Net Profits
for the relevant Earn-Out Year shall be adjusted as if the breach had not occurred for the purposes
of ascertaining the Earn-Out Payments.

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       Case 8-20-08049-ast           Doc 67    Filed 03/02/23     Entered 03/02/23 17:31:14




                     Section 1.4   Discharge of Debt and Liabilities; Maintenance of Working Capital.

                        (a)     Discharge of Debt and Liabilities. At or before the Closing, the
Company shall pay and discharge all debts, liabilities and obligations of the Company (including,
without limitation, any liabilities in respect of any Indebtedness, Payables (except any Qualified
Accounts Payable included in the calculation of Closing Working Capital) and Transaction
Expenses then due and payable. “Qualified Accounts Payable” means accounts payable and
accrued expenses that have been incurred in the Ordinary Course of Business; provided, however,
that no account payable shall be a Qualified Accounts Payable if such account payable is due on
or before the Closing, or if on the Closing Date such account payable is more than twenty nine
(29) days old, or if such account payable if paid in the Ordinary Course of Business would have
been paid prior to Closing, or if such account payable is for professional fees or for charges of
vendors, or if the terms of such account payable provides that payment shall be made within less
than thirty (30) days from the date of its issuance or if the terms of such account payable provides
that payment shall be made within less than thirty (30) days from the date of its receipt. For the
avoidance of doubt, all accounts payable including payroll and liabilities incurred prior to Effective
Date shall be the Selling Parties’ responsibility; provided that the Selling Parties shall (i) cause all
accounts receivable for services rendered prior to Effective Date to be utilized prior to the Effective
Date to satisfy such payables and (ii) cause any surplus to be distributed prior to the Effective Date
to the Selling Members.

                       (b)     Release of All Liens. At or before the Closing, the Company shall
cause all security interests, encumbrances and other Liens (other than Permitted Liens) on or
relating to any of the properties, assets and rights of the Company, at the Selling Members’ sole
cost and expense, to be released, extinguished and discharged in full, and shall deliver to Buyer
instruments and Uniform Commercial Code (“UCC”) termination statements, releasing,
extinguishing and discharging all such security interests, encumbrances, mortgages and other
Liens (other than Permitted Liens), all in form and substance satisfactory to Buyer. In the event
Buyer elects to proceed with the Closing prior to its receipt of all such documentation, instruments
and UCC termination statements, the Selling Members shall nevertheless obtain and deliver to
Buyer all instruments and UCC termination statements, and obtain the release, extinguishment and
discharge of all Liens contemplated to be released by this Section 1.4(b) promptly after the
Closing.

                       (c)      Maintenance of Minimum Working Capital. The Selling Members
shall cause the Company         to take all necessary action to ensure that at the time of the Closing,
and after the discharge of all debts, liabilities and obligations of the Company pursuant to Section
1.4(a) and the payment of any and all distributions to the Selling Members, the Company shall
have Closing Working Capital in an amount of not less than One Dollar ($1.00) (the “Minimum
Working Capital”).

                     Section 1.5   Post-Closing Working Capital Adjustment; Accounts Receivable.

                         (a)  Post-Closing Working Capital Adjustment. If the Closing Working
Capital is less than the Minimum Working Capital, the Selling Members shall make, in accordance
with Section 7.3, a payment equal to the amount by which the Closing Working Capital is less
than the Minimum Working Capital within three (3) Business Days of the final determination of
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                                                    4
       Case 8-20-08049-ast       Doc 67      Filed 03/02/23     Entered 03/02/23 17:31:14




the Closing Working Capital by wire transfer of immediately available funds of the Selling
Members to an account designated by Buyer. If the Minimum Working Capital is less than the
Closing Working Capital, then Buyer shall pay to the Selling Members an additional amount equal
to the amount by which the Minimum Working Capital is less than the Closing Working Capital,
which shall be paid to the Selling Member Representative by Buyer within three (3) Business Days
of the final determination thereof by wire transfer of immediately available funds of the Company
to an account designated by the Selling Member Representative, or designee or assignee thereof;
provided, however, if the Company is unable to make such payments in full, Buyer shall fund the
Company for such purpose, or shall make any shortfall payments directly to the Selling Member
Representative, all of which shall be done within the aforesaid three (3) Business Days. “Closing
Working Capital” shall mean, as of the Closing Date, and on a consolidated basis, the sum of
cash and cash equivalents (including marketable securities and short term investments, but
excluding accounts receivables of the Company set forth on Schedule 1.5(f)), expenses pre-paid
by the Company (including, but not limited to insurance premiums and rents), amounts the
Company deposited with suppliers, vendors and landlords, and unbilled fees for work completed
(i) which is not set forth on Schedule 1.5(f) and (ii) that can be reasonably expected to be converted
into cash within one year, less the sum of Payables, checks issued by the Company that have not
been debited from the Company’s bank account, amounts pre-paid to the Company, and amounts
deposited with the Company, each as of the Closing, Payables received after the Closing for the
period prior to the Closing and all outstanding Reimbursable Expenses that were incurred prior to
the Closing regardless of whether they were submitted to the Company prior to the Closing.

                       (b)      Delivery of Closing Balance Sheet and Closing Date Calculation.
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No later than the sixtieth (60 ) day following the Closing, Buyer shall prepare and deliver to the
Selling Member Representative, (i) a consolidated balance sheet of the Company as of the
Effective Date, prepared in a manner consistent with the Financial Statements (the “Closing
Balance Sheet”), and (ii) a written calculation of the Closing Working Capital (the “Closing Date
Calculation”), as determined by reference to the relevant provisions of this Agreement and, as
applicable, the Closing Balance Sheet.

                       (c)     Objection Notices. On or prior to the 60th day after the Selling
Member Representative’s receipt of the Closing Date Calculation and the Closing Balance Sheet,
the Selling Member Representative may give Buyer a written notice stating in reasonable detail
the Selling Member Representative’s objections (an “Objection Notice”) to the Closing Date
Calculation and/or the Closing Balance Sheet. Buyer shall permit the Selling Member
Representative and its representatives to have reasonable access to the books, records and other
documents (including work papers) pertaining to or used in connection with preparation of the
Closing Date Calculation and the Closing Balance Sheet. Any determination expressly set forth
in the Closing Date Calculation or on the Closing Balance Sheet which is not objected to in an
Objection Notice shall be deemed final and binding upon the Selling Member Representative upon
delivery of such Objection Notice, unless same is affected by a disputed portion of such
determination. Except to the extent the Selling Member Representative makes an objection to a
determination set forth in the Closing Date Calculation or on the Closing Balance Sheet pursuant
to an Objection Notice delivered to Buyer within such 60-day period, the Closing Date Calculation
and Closing Balance Sheet will be deemed conclusive and binding upon the Parties.


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                                                  5
       Case 8-20-08049-ast       Doc 67     Filed 03/02/23     Entered 03/02/23 17:31:14




                         (d)    Disputed Items. If the Selling Member Representative gives a
timely Objection Notice as described in Section 1.5(c) above, then Buyer and the Selling Member
Representative will negotiate in good faith to resolve their disputes regarding the Closing Date
Calculation and the Closing Balance Sheet on or prior to the 30th day after the delivery of the
Objection Notice (or such longer period as Buyer and the Selling Member Representative shall
agree) (such period of time being hereinafter referred to as the “Resolution Period”). If, at or
before the end of the Resolution Period, the Selling Member Representative and Buyer resolve
such disputes and objections, then the calculations so agreed to by the Selling Member
Representative and Buyer shall be deemed to be utilized in any Closing Date Calculation and the
Closing Balance Sheet, as applicable. If, at the end of the Resolution Period, the Selling Member
Representative and Buyer have not resolved their disputes regarding the calculations set forth in a
Closing Date Calculation or the Closing Balance Sheet, then such disputes (each a “Disputed
Item”, and collectively, the “Disputed Items”) shall, within five (5) Business Days after the
expiration of the Resolution Period, be submitted to the Independent Auditor for final
determination. The Independent Auditor shall only have the authority to resolve matters expressly
submitted to it for resolution. In resolving any Disputed Item, the Independent Auditor may not
assign a value to any Disputed Item greater than the greatest value for such Disputed Item claimed
by either party or less than the smallest value for such Disputed Item claimed by either party. The
Independent Auditor’s resolution of any disputes hereunder shall be made within sixty (60)
calendar days of the submission of such disputes thereto, or as soon as reasonably practicable
thereafter, and shall be set forth in a written statement delivered to the Selling Member
Representative and Buyer. The Closing Date Calculation and the Closing Balance Sheet as
determined by the Independent Auditor will be conclusive and binding upon the Parties and will
constitute the Closing Date Calculation and the Closing Balance Sheet for all purposes of this
Section 1.5.

                       (e)     Responsibility for costs and expenses. If all disputes regarding the
disputed calculations are resolved in favor of the Selling Members, then Buyer shall pay the costs
and expenses of the Independent Auditor. If all disputes regarding the disputed calculations are
resolved in favor of Buyer, then Selling Members jointly and severally shall pay the costs and
expenses of the Independent Auditor. If the disputes regarding the disputed calculations are
resolved in part in favor of the Selling Members and in part in favor of Buyer, then the costs and
expenses of the Independent Auditor shall be shared by the Selling Member Representative and
Buyer equally.

                       (f)     Closing Accounts Receivable. Schedule 1.5(f) sets forth
outstanding accounts receivable, as of a date specified thereon, arising from the Selling Members’
ownership and operation of the Company prior to the Effective Date or otherwise resulting from
services rendered or goods sold by the Company prior to the Effective Date, which schedule the
Selling Member Representative may update from time to time during the period ending nine
months after the date hereof (as amended, the “Closing Accounts Receivable”). Monies received
by the Company subsequent to the Closing Date arising from the Closing Accounts Receivable
shall be held by the Company for the benefit of the Selling Members. The Buyer shall cause the
Company to use good faith bona fide efforts to collect such Closing Accounts Receivable,
including, upon request by the Selling Member Representative, litigation; provided, however, that
the Selling Members shall be responsible for the fees and expenses of such litigation; and provided,
further however that that the Selling Member Representative and Buyer shall mutually agree on
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                                                 6
       Case 8-20-08049-ast           Doc 67     Filed 03/02/23     Entered 03/02/23 17:31:14




how to handle the Closing Accounts Receivables of current clients and no litigation shall be
commenced with respect to such Closing Accounts Receivables without such mutual agreement.
On or before the fifteenth 15th day following each of the first three quarterly anniversaries of the
Closing Date (or the first Business Day thereafter), the Buyer shall cause the Company to submit
a report to the Selling Member Representative outlining all of the monies received by the Company
related to the Closing Accounts Receivable in such immediately preceding quarterly period,
together with all statements and supporting documentation related thereto. Selling Member
Representative shall promptly review such report and notify the Buyer if it is in agreement and if
Selling Member Representative is in agreement, Buyer shall pay, in immediately available funds
by wire transfer to an account designated by the Selling Member Representative such monies set
forth in the report. In the event the Selling Member Representative or the Buyer, as applicable,
disputes the amounts and calculations set forth in the Company’s report(s), the Selling Member
Representative and the Buyer shall resolve their disputes in good faith promptly and in any case
within thirty (30) days from the Buyer’s receipt or the Selling Member Representative’s receipt,
as applicable, of the report in accordance with the procedures set forth in Section 1.5(c)-(e) (with
appropriate adjustments to reflect the fact that the subject of the dispute is the subject of Section
1.5(f) and not Section 1.5(a)-(b)) and jointly determine the amount of the monies that were
received in such quarterly period related to the Closing Accounts Receivable and thereafter Buyer
shall pay such amount in immediately available funds by wire transfer to such account.

                            (i)    Buyer shall cause the Company to, and the Company shall,
use commercially reasonable good faith efforts to collect the Closing Accounts Receivable.

                                               ARTICLE 2

                                                CLOSING

                 Section 2.1 Closing. The closing of the transactions provided for herein (the
 “Closing”) will take place on the date hereof at the offices of the Buyer’s counsel at the address
 set forth in Section 9.2 hereof (the “Closing Date”) and be effective as of the Effective Date.
 Except as otherwise provided herein, all proceedings to be taken and all documents to be executed
 and delivered by the Parties at the Closing shall be deemed to have been taken, executed and
 delivered simultaneously and no proceedings shall be deemed taken nor any documents executed
 or delivered until all have been taken, executed and delivered. Notwithstanding the foregoing (i)
 the Selling Parties may deliver any or all of the Seller Documents required hereunder to Buyer’s
 counsel on or before the Closing Date (to hold and deliver in escrow according to the Selling
 Member Representative’s written instructions), and (ii) Buyer may deliver any or all of the Buyer
 Documents required hereunder to the Company’s counsel on or before the Closing Date (to hold
 and deliver in escrow according to the Buyer’s written instructions).

                     Section 2.2   Closing Deliverables.

                           (a)     At the Closing, the Selling Parties will deliver to Buyer:

                            (i)   a certificate of good standing of the Company certified as of
a then recent date by the New York Secretary of State and each other jurisdiction where the


{00863216.DOCX;2 }
                                                     7
       Case 8-20-08049-ast       Doc 67     Filed 03/02/23    Entered 03/02/23 17:31:14




operation of the Business requires the Company to be qualified to do business the failure of which
would have a Material Adverse Effect;

                               (ii)   pay-off letter(s) in form and substance reasonably
satisfactory to Buyer evidencing the amount required to discharge at Closing all Indebtedness and
accomplish the release of all Liens related thereto;

                            (iii) a general release releasing the Company executed by the
Selling Members in form and substance as Exhibit 2.2.(a)(iv);

                          (iv)  the limited liability company or corporate records of the
Company regarding member, manager, shareholder or director meetings, if any;

                            (v)   a list of all checks issued by the Company that have not been
debited from the Company’s bank accounts prior to the Closing;

                             (vi)   accountant compiled consolidated financial statements of
the Company for the years ended December 31, 2015, and December 31, 2016, for and for the
periods ended March 31, 2017 and May 31, 2017, provided, however that the financial statements
for the period ended May 31, 2017 shall be provided to Buyer no later than June 30, 2017;

                             (vii) copies of the resolutions duly adopted by the manager of the
Company authorizing the execution, delivery and performance of this Agreement and each of the
other Seller Documents executed by the Company and the consummation of all transactions
described in this Agreement and thereby;

                             (viii) a certificate of the secretary or other appropriate officer of
the Company certifying as to the incumbency of the officer(s) of the Company executing this
Agreement and the other Seller Documents, including specimen signatures, the Company’s
operating agreement and charter document;

                               (ix)   copies of UCC-3 termination statements extinguishing all
Liens, other than permitted liens;

                             (x)   resignations of all managers or managing members or
directors of members of the Company; and

                            (xi)    such other instruments and documents of any Selling Party,
in form and substance reasonably acceptable to Buyer, as Buyer and its counsel may reasonably
request.

                       (b)     At the Closing, Buyer will:

                             (i)   deliver to each Selling Member in accordance with Section
1.2 the amount of the Closing Payment payable to such Selling Member as provided in Section
1.2;


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                                                 8
       Case 8-20-08049-ast           Doc 67    Filed 03/02/23    Entered 03/02/23 17:31:14




                               (ii) deliver to the Selling Member Representative such other
instruments and documents, in form and substance reasonably acceptable to the Selling Member
Representative, as the Selling Member Representative and its counsel may reasonably request;

                              (iii) deliver to the Selling Member Representative a certificate of
good standing of Buyer certified as of a then recent date by the Secretary of State of the jurisdiction
of such entity’s formation;

                             (iv)    deliver to the Selling Member Representative copies of the
resolutions duly adopted by the manager of the Buyer authorizing the execution, delivery and
performance of this Agreement and each of the other Buyer Documents executed by the Buyer and
the consummation of all transactions described in this Agreement and thereby; and

                             (v)     deliver to the Selling Member Representative a certificate of
the secretary or other appropriate officer of the Buyer certifying as to the incumbency of the
officer(s) of the Buyer executing this Agreement and the other Buyer Documents, including
specimen signatures.

                                              ARTICLE 3

          REPRESENTATIONS AND WARRANTIES REGARDING THE COMPANY

                 Each Selling Member hereby represents and warrants to the Buyer as follows.

                     Section 3.1   Organization; Authority; Due Execution.

                          (a)    The Company is a limited liability company duly organized,
subsisting and in good standing under the laws of the State of New York and has all requisite
limited liability company power and authority to own, lease and operate its properties and assets,
and to carry on the Business as presently conducted as and in the places such properties are now
owned, leased or operated and is qualified to do business and is in good standing as a foreign
limited liability company in each jurisdiction where the ownership or operation of its properties or
conduct of its business requires such qualification except where the failure to be so qualified or in
good standing would not have a Material Adverse Effect. Selling Member Representative has
provided, or caused to be provided, to Buyer a true and correct copy of its articles of organization
and operating agreement as amended to date. Such articles of organization and operating
agreement so delivered are in full force and effect. Schedule 3.1(a) hereto contains a true and
correct list of each jurisdiction where the Company is qualified or licensed to do business. Selling
Member Representative has provided, or caused to be provided, to Buyer true and correct copies
of the minutes, if any, of all meetings of the members of the Company, the manager(s) of the
Company and the committees thereof. The Books and Records contain true and correct, in all
material respects, summaries of all actions taken at any member meetings, manager meetings, and
include all written consents executed in lieu of the holding of any such meeting. Schedule 3.1(a)
hereto lists all the officers and managers of the Company.

                 Section 3.2 Subsidiaries and Equity Investments. Schedule 3.2 hereto lists the
 Company’s Subsidiaries. Except as set forth on Schedule 3.2 hereto, the Company does not have
 any interest, direct or indirect, or any commitment to purchase any interest, direct or indirect, in,
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                                                    9
       Case 8-20-08049-ast           Doc 67    Filed 03/02/23    Entered 03/02/23 17:31:14




 or the power to vote the equity interest of, any other corporation, limited liability company,
 partnership, joint venture or other business enterprise or entity (other than with respect to any
 marketable securities included in current assets). Except as set forth on Schedule 3.2 hereto, none
 of the Business has been conducted through any direct or indirect Subsidiary or any direct or
 indirect Affiliate of the Company or the Selling Parties. Each Subsidiary of the Company is an
 entity duly formed, organized, or incorporated and subsisting and in good standing under the laws
 of the state of its formation, organization or incorporation, as applicable, and has all requisite
 limited liability company or corporate, as applicable, power and authority to own, lease and
 operate its properties and assets, and to carry on the Business as presently conducted as and in the
 places such properties are now owned, leased or operated and is qualified to do business and is in
 good standing as a foreign limited liability company or corporation, as applicable, in each
 jurisdiction where the ownership or operation of its properties or conduct of its business requires
 such qualification except where the failure to be so qualified or in good standing would not have
 a Material Adverse Effect. Selling Member Representative has provided, or caused to be
 provided, to Buyer a true and correct copy of each such Subsidiary’s articles of organization and
 operating agreement or certificate of incorporation and bylaws, as the case may be, as amended
 to date. Such articles of organization and operating agreement or certificate of incorporation and
 bylaws, as the case may be, so delivered are in full force and effect. Schedule 3.2 hereto contains
 a true and correct list of each jurisdiction where any Subsidiary of the Company is qualified or
 licensed to do business. Selling Member Representative has provided, or caused to be provided,
 to Buyer true and correct copies of the minutes, if any, of all meetings of the members or
 shareholders of each Subsidiary of the Company, the manager(s) or director(s) of each Subsidiary
 of the Company and the committees thereof. The Books and Records contain true and correct, in
 all material respects, summaries of all actions taken at any member meetings, manager meetings,
 shareholder meetings or directors and include all written consents executed in lieu of the holding
 of any such meeting. Schedule 3.2 hereto lists all the officers and managers or directors of the
 Subsidiaries of the Company.

                     Section 3.3   Consents; No Violation.

                        (a)    Except as set forth on Schedule 3.3(a) hereto, no notices, reports or
other filings are required to be made with, nor are any consents, registrations, approvals, permits
or authorizations required to be obtained by the Company from any Governmental Entity or Person
(i) in connection with the execution and delivery of this Agreement or any of the other Seller
Documents by any Selling Party and the consummation by the Selling Parties of the transactions
described in this Agreement and thereby, or (ii) the absence of which would prevent, delay or
impair of the ability of the Selling Members to consummate the transactions described in this
Agreement or any other Seller Document, or impair in any material respect the ability of Buyer
following consummation of the transactions described in this Agreement to conduct the Business
in the Ordinary Course of the Business.

                        (b)     Assuming all Consents listed on Schedule 3.3(a) are obtained,
except as set forth on Schedule 3.3(b) hereto, the execution, delivery and performance of this
Agreement and the other Seller Documents by any Selling Party does not, and the consummation
of the transactions described in this Agreement and thereby will not, constitute or result in (i) with
or without the giving of notice or the passage of time, or both, a breach or violation of, or a default
under, the certificate of incorporation, bylaws, articles of organization or operating agreement or
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                                                   10
       Case 8-20-08049-ast           Doc 67     Filed 03/02/23    Entered 03/02/23 17:31:14




other governing documents of the Company, (ii) with or without the giving of notice or the passage
of time, or both, a breach of, or violation of or a conflict with, or a default under, or the termination
of, or the acceleration under, any Material Contract, debt, obligation, governmental or non-
governmental permit or license to which the Company is a party or to or by which the Company
or any of the Business is subject or bound, the result of which will have a Material Adverse Effect,
(iii) the creation or imposition of any Lien upon the Business, the Company or any of the Interests
that will not be discharged at the Closing, or (iv) the violation of any Law, order, judgment, decree
or award of any court, Governmental Entity or arbitrator to or by which a Selling Party or the
Business is subject or bound the result of which will have a Material Adverse Effect.

                 Section 3.4 Indebtedness. Except as set forth on Schedule 3.4, the Company
 does not have any outstanding Indebtedness and is not a party to any Material Contract providing
 for the creation, incurrence or assumption thereof.

                     Section 3.5   Capitalization.

                        (a)   As of the date hereof, except as set forth on Schedule 3.5, all of the
membership interests in the Company are owned by Member 1 and Member 2, which interests are
set forth on Schedule 3.5. As of the date hereof all of the equity interests in the Company’s
Subsidiaries, if any, are owned by the Company.

                        (b)     The Company has not any (i) issued or outstanding subscription,
warrant, option, convertible security or other right (contingent or otherwise) to purchase or acquire
any interest, (ii) obligation (contingent or otherwise) to issue any subscription, warrant, option,
convertible security or other such right, or to issue or distribute to holders of any equity interest of
the Company any evidences of indebtedness or assets of the Company, or (iii) obligation
(contingent or otherwise) to purchase, redeem or otherwise acquire any equity interest or to pay
any distribution or to make any other distribution in respect thereof.

                      (c)     There is no agreement, written or oral, between or among the
Company and any holder(s) of securities of the Company, relating to the sale or transfer (including
agreements relating to rights of first refusal, co-sale rights or “drag along” rights), registration
under the Securities Act of 1933, as amended, or voting of the interests of the Company.

                 Section 3.6 Litigation. The Order in the form annexed hereto on Schedule 3.6
 has not been amended or modified. Except as set forth in Schedule 3.6 hereto, there is no pending
 civil, criminal or administrative suit, action, proceeding, or to the Selling Parties’ Knowledge,
 investigation, review or inquiry, and, to the Selling Parties’ Knowledge, there is no civil, criminal
 or administrative suit, action, proceeding, investigation, review or inquiry threatened, against the
 Company or any of its properties or rights, nor is there any judgment, decree, injunction, rule or
 order of any Governmental Entity or arbitrator outstanding against the Company or any of its
 properties or rights (the foregoing collectively referred to as “Proceedings”). To Selling Parties’
 Knowledge, none of the Proceedings is reasonably likely, either individually or in the aggregate,
 to have a Material Adverse Effect or to prevent, impair or materially delay the ability of the
 Company to consummate the transactions contemplated by this Agreement and the other Seller
 Documents. To Selling Parties’ Knowledge, there is no meritorious basis for any such civil,
 criminal, or administrative suit, action or other Proceeding.
{00863216.DOCX;2 }
                                                     11
       Case 8-20-08049-ast           Doc 67    Filed 03/02/23   Entered 03/02/23 17:31:14




                     Section 3.7   Personal Property.

                        (a)     Set forth on Schedule 3.7(a) hereto is a true and correct list of all
tangible personal property owned or leased or licensed by the Company (the “Personal
Property”), except for items having a value of less than $5,000, which do not, in the aggregate,
have a total market value of more than $25,000, and sets forth with respect to all such listed items,
all leases and licenses related thereto. The Company has good and marketable title to, or hold by
valid and existing lease or license, all of the Personal Property, except with respect to assets
disposed of in the Ordinary Course of Business, free and clear of all Liens.

                       (b)     The Personal Property together with any Company Leased Property
has been used in the Ordinary Course of the Business. Except as set forth on Schedule 3.7(b)
hereto, to the Selling Parties’ Knowledge, each item of Personal Property is free from material
defects and is in reasonably good operating condition and repair (subject to normal wear and tear
and regular maintenance). To the Selling Parties’ Knowledge, the Personal Property has been
maintained by the Company in all material respects in accordance with normal industry practice
and has been reasonably suitable for use in the Ordinary Course of the Business.

                 Section 3.8 Real Property. The Company does not own, and has not at any time
 owned, any real property. Schedule 3.8 hereto sets forth a complete and correct list, in all material
 respects of all real property leased, subleased, licensed, operated or occupied by the Company
 (collectively the “Company Leased Property”), the location thereof, and the leases, licenses or
 other agreements pursuant to which the Company leases, subleases, licenses, operates or occupies
 the Company Leased Property (collectively, the “Company Leases”). Except as set forth in
 Schedule 3.8 hereto, neither the Company, nor, to the Selling Parties’ Knowledge, any other party
 is in default under any of the Company Leases (nor, to the Selling Parties’ Knowledge, does there
 exist any condition which, upon the passage of time or the giving of notice or both, would cause
 a default thereunder). Except as set forth in Schedule 3.8 hereto, no Company Leased Property is
 occupied by a party other than the Company, and, to the Selling Parties’ Knowledge, no party has
 a right to occupy such property other than the Company. The Company has not assigned, leased,
 subleased or granted to any Person any rights in any Company Lease. Other than the Company
 Leases, there are no other agreements or arrangements whatsoever relating to the use or
 occupancy by the Company of any of the Company Leased Property. The Company has not
 transferred, mortgaged or assigned any interest in any of the Company Leases. To the Selling
 Parties’ Knowledge, (i) there is no pending or threatened condemnation or similar Proceeding
 affecting any Company Leased Property or any portion thereof, (ii) each Company Leased
 Property is supplied with utilities and other services sufficient to operate the Business conducted
 at such Company Leased Property, and (iii) the Company has not received written notice from
 any Governmental Entity that the operations of the Company or the Business on the Company
 Leased Property, or the Company Leased Property, violate in any material manner any applicable
 building code, zoning requirement, or classification or statute relating to the particular property
 or such operations. The Company Leased Property is, to the Selling Parties’ Knowledge, in
 reasonably good operating condition and repair and has been used in the Ordinary Course of the
 Business at the Company Leased Property.

                Section 3.9 Customer List. Neither the Company nor any other Person, has sold,
 assigned, leased or licensed or transferred to any Person any list of past, present or prospective
{00863216.DOCX;2 }
                                                    12
       Case 8-20-08049-ast          Doc 67       Filed 03/02/23   Entered 03/02/23 17:31:14




 customers, suppliers or licensees of the Business. No Person (other than the Company) is entitled
 to use any such list.

                     Section 3.10 Tax Matters.

                       (a)    The Company has timely filed all Tax Returns required to be filed
by the Company in the manner provided by Law. All such Tax Returns are true, correct and
complete in all material respects. The Company has timely paid all Taxes due, whether or not
shown as being due on any Tax Returns. All Taxes that the Company is or was required by Law
to collect or withhold have been duly withheld or collected, and, to the extent required by Law,
paid to the proper Tax authority. Except as has been disclosed on Schedule 3.10(a) hereto:

                              (i)  No claim for unpaid Taxes has become a Lien of any kind
against the property of the Company or is being asserted against the Company, except for Liens
for Taxes not yet due.

                              (ii)    No audit, examination, investigation, deficiency or refund
litigation or other Proceeding in respect of Taxes of the Company is pending (or to the Selling
Parties’ Knowledge, threatened or being conducted by a Tax authority), and neither the Company
nor any Selling Member has received written notice of the commencement of any audit,
examination, deficiency litigation or other Proceeding with respect to any such Taxes.

                             (iii) No material issues have been raised in any written notice
received by the Company or any Selling Member from any Tax authority in connection with the
examination of any of the Tax Returns filed by the Company after January 1, 2011.

                             (iv)   No extension or waiver of the statute of limitations on the
assessment of any Taxes has been granted to the Company and is currently in effect.

                               (v)     The Company (A) has not been a member of an affiliated
group within the meaning of Code Section 1504(a) or any similar group under state, local or
foreign law filing a consolidated federal income Tax Return; (B) has no liability for the Taxes of
any Person under Treasury Regulation Section 1.1502-6 (or any similar provision of state, local,
or foreign law), as a transferee or successor, by contract (other than contracts entered into in the
ordinary course of business, the primary purposes of which were not the sharing of Taxes), or
otherwise; and (C) is not a party to, bound by, or has any obligation under, or potential liability
with regards to, any Tax sharing arrangement, Tax indemnification agreement or similar contract
or arrangement.

                               (vi)    The Company has never entered into or been a party to (A)
a transaction subject to registration pursuant to Code Section 6111 as a “reportable transaction”
within the meaning of Code Section 6111(b)(2) or as a “tax shelter” as defined in former Code
Sections 6111(c) or (d), (B) a transaction subject to the list requirements of Code Section 6112,
(C) a tax shelter within the meaning of Code Section 6662(d), or (D) a “listed transaction” as set
forth in written guidance or a written notice issued by the Internal Revenue Service (the “IRS”).
No Tax Returns of the Company contain or was required to contain a disclosure statement under
Sections 6011 or 6662 of the Code (or any predecessor statute) or any similar provision of state,
local or foreign Law.
{00863216.DOCX;2 }
                                                    13
       Case 8-20-08049-ast       Doc 67      Filed 03/02/23     Entered 03/02/23 17:31:14




                           (vii) No power of attorney has been granted by or with respect to
the Company which remains in effect with respect to any matter relating to Taxes.

                             (viii) No member of the Company is a party to any agreement,
plan, contract or arrangement that would result, separately or in the aggregate, in the payment of
any “excess parachute payments” within the meaning of Section 280G of the Code.

                             (ix)    The Company has no deferred intercompany gain or loss
arising as a result of a deferred intercompany transaction within the meaning of Treasury
Regulation Section 1.1502-13 (or similar provision under state, local or foreign law) or any excess
loss accounts within the meaning of Treasury Regulation Section 1.1502-19.

                               (x)    The Company is not and has never been a United States real
property holding corporation (as that term is defined in Section 897(c)(2) of the Code) during the
applicable period specified in Section 897(c)(1)(ii) of the Code.

                               (xi)    The Company is not and has never been subject to a Tax
ruling that has continuing effect.

                                 (xii) The Company will not be required to include any item of
income in, or exclude any item of deduction from, taxable income for any taxable period (or
portion thereof) ending on or after the Effective Date as a result of any: (A) adjustment under either
Section 481(a) or 482 of the Code (or an analogous provision of state, local or foreign law) by
reason of a change in accounting method or otherwise for any period ending on or prior to the
Effective Date; (B) “closing agreement” as described in Code section 7121 (or any corresponding
or similar provision of state, local or foreign income Tax law) executed on or prior to the Effective
Date; (C) intercompany transaction or excess loss account described in Treasury Regulations under
Code Section 1502 (or any corresponding or similar provision of state, local or foreign income
Tax law) existing on or prior to the Closing Date; (D) installment sale or open transaction
disposition made on or prior to the Effective Date; or (E) prepaid amount received on or prior to
the Effective Date.

                              (xiii) Other than as a result of the transactions contemplated by
this Agreement, the net operating losses, if any, of the Company are not limited under Section 382
of the Code and any excess credits, net capital losses, and foreign tax credits of the Company are
not limited under Section 383 of the Code.

                           (xiv) No claim has ever been made by an authority in a jurisdiction
where the Company does not file Tax Returns that the Company is or may be subject to taxation
by that jurisdiction.

                              (xv) All “non-qualified deferred compensation plans” (as such
term is defined under section 409A(d)(1) of the Code and the guidance issued thereunder) of the
Company under which the Company makes, is obligated to make or promises to make any
payments or other awards (each, a “409A Plan”) (A) meet and have met the requirements of Code
Sections 409A(a)(2), (3), and (4) of the Code, and (B) are, and at all times were, operated in
accordance with such requirements, are operated in good faith compliance with the transitional
relief and all guidance and regulations provided by the Internal Revenue Service under section
{00863216.DOCX;2 }
                                                 14
       Case 8-20-08049-ast       Doc 67     Filed 03/02/23     Entered 03/02/23 17:31:14




409A of the Code, and (C) no 409A Plan has been funded by an off-shore arrangement described
in Section 409A(b)(1) of the Code.

                               (xvi) The Company does not own any interest in any entity that
is treated as a “disregarded entity” for federal tax purposes.

                               (xvii) The Company has not distributed stock of another entity, or
had its equity distributed by another entity, in a transaction that was purported or intended to be
governed, in whole or in part, by Section 355 or 361 of the Code.

                               (xviii) The Selling Parties have delivered or made available to
Buyer true and correct copies of all income and other material Tax Returns including the K-1
statements which the Company has distributed to its Members, examination reports, and
statements of deficiencies filed by, assessed against, or agreed to by the Company since January
1, 2015.

                              (xix) The Company is currently taxed as a “partnership” for
federal income tax purposes. The Company has never elected to be treated as an association
taxable as a corporation pursuant to Treasury Regulation Section 301.7701-3(c) or otherwise.

                      (b)    The representations and warranties in this Section 3.10 (other than
those in Sections 3.10(a)(ix), (xi), (xii) and (xvii)) shall only be construed and interpreted as
applying to Taxes and associated liabilities occurring in Pre-Closing Tax Periods.

                 Section 3.11 Employees. Schedule 3.11 hereto sets forth the name, current
 annual compensation rate (including bonus and commissions), title, current base salary rate,
 accrued but unpaid bonus and commissions, accrued sick leave, accrued vacation benefits and
 accrued severance pay of each Employee of the Company other than those who ceased to be
 employees or consultants prior to December 31, 2016. Schedule 3.11 hereto further lists all such
 Employees, as well as agents and independent contractors, covered by an employment non-
 competition, non-solicitation, consulting or severance agreement with the Company, and the
 Company has provided to Buyer current and complete copies of each such agreement, as well as
 copies of any confidentiality or other agreement covering any proprietary Intellectual Property
 applicable to any such Person. Schedule 3.11 hereto further lists the policies and practices of the
 Company concerning Reimbursable Expenses, and the amounts of Reimbursable Expenses that
 have been submitted to the Company but have not been reimbursed as of the Closing Date. The
 Company is not a party to or otherwise bound by any collective bargaining agreement, contract
 or other agreement or understanding with a labor union or labor organization, nor is the Company
 the subject of any Proceeding asserting that it has committed an unfair labor practice or seeking
 to compel the Company to bargain with any labor union or labor organization, nor is there pending
 or, to the Selling Parties’ Knowledge, threatened, any labor strike, dispute, walkout, work
 stoppage, slowdown or lockout involving the Company. To the Selling Parties’ Knowledge, the
 Company is in compliance in all material respects with all applicable Laws respecting
 employment and employment practices, independent contractor arrangements, terms and
 conditions of employment and wages and hours and occupational safety and health. Except as
 disclosed in Schedule 3.11 hereto, there is no action, suit or legal, administrative, arbitration,
 grievance or other Proceeding pending or, to the Selling Parties’ Knowledge, threatened and, to
{00863216.DOCX;2 }
                                                15
       Case 8-20-08049-ast        Doc 67     Filed 03/02/23     Entered 03/02/23 17:31:14




 Selling Parties’ Knowledge, there is no investigation pending or threatened against the Company
 relating to the employment practices of the Company or any of the applicable Laws described in
 this Section 3.11. Except as set forth on Schedule 3.11, the Selling Parties have not received any
 written notice, and, to the Selling Parties’ Knowledge, no Employee of the Company (other than
 those who ceased to be employees or consultants prior to December 31, 2016) intends or is
 considering terminating his or her employment with the Company before the Closing or does not
 intend to accept employment with Buyer on the Closing Date or if he intends to accept
 employment with Buyer is considering terminating his/her employment with Buyer thereafter.

                 Section 3.12   Employee Benefits.

                         (a)     A copy of each bonus, deferred compensation, pension, retirement,
profit-sharing, thrift, savings, employee membership ownership, membership bonus, membership
purchase, membership option, employment, retention, deal-sharing, termination, severance, exit,
change of control, compensation, medical, health or other welfare plan, agreement, policy or
arrangement that covers or covered employees, directors, managers, former employees, former
directors or former managers of the Company (the “Compensation and Benefit Plans”) has been
provided to Buyer prior to the Closing Date. For each Compensation and Benefit Plan, copies of
the following documents (to the extent applicable) have also been provided to Buyer prior to the
Closing Date: (i) any amendments since the last restatement of such plan; (ii) any trust agreement
or other funding agreement; (iii) the most recent Form 5500 annual report, including all
attachments; (iv) the most recent annual actuarial valuation report; and (v) the most recent IRS
determination letter, and any outstanding request for such a letter. The Compensation and Benefit
Plans existing as of the Effective Date are listed on Schedule 3.12(a) hereto.

                          (b)   All of the Compensation and Benefit Plans are in compliance in all
material respects with all applicable Laws including but not limited to the Code, the Employee
Retirement Income Security Act of 1974, as amended (“ERISA”), the Health Insurance Portability
and Accountability Act of 1996, as amended by P.L. 111-5 Division A (“HIPAA”), and the Family
and Medical Leave Act. Each Compensation and Benefit Plan that is an “employee pension benefit
plan” within the meaning of Section 3(2) of ERISA (a “Pension Plan”), that is intended to be
qualified under Section 401(a) of the Code and is not a standardized prototype plan has received a
favorable determination letter from the IRS, has applied for such letter in a timely fashion, or has
a remaining period of time within which to apply for such a letter, and the Company is not aware
of any circumstances likely to result in revocation of any such favorable determination letter, the
refusal to issue such a favorable determination letter or any material costs under the IRS’s
Employee Plans Compliance Resolution System. There are no pending or, to the Selling Parties’
Knowledge, threatened claims or litigation relating to any of the Compensation and Benefit Plans.
The Company has not engaged in a transaction with respect to any Compensation and Benefit Plan
that, assuming the taxable period of such transaction expired as of the Closing Date, would subject
it to fiduciary liability payment of additional benefits or a material tax or penalty imposed pursuant
to either Section 4975 of the Code or Section 502 of ERISA.

                      (c)    As of the Closing Date, except as set forth on Schedule 3.12(c)
hereto, the Company does not maintain or contribute to an employee pension benefit plan subject
to Title IV of ERISA or Section 412 of the Code.

{00863216.DOCX;2 }
                                                 16
       Case 8-20-08049-ast           Doc 67     Filed 03/02/23   Entered 03/02/23 17:31:14




                      (d)     Except as set forth on Schedule 3.12(d) hereto, the Company does
not have any obligations for retiree health and life benefits under any Compensation and Benefit
Plan. The Company may amend or terminate any such plan under the terms of such plan at any
time without incurring any material liability thereunder. Except as set forth on Schedule 3.12(d)
hereto, the Company does not have any obligation to provide group continuation coverage to
former employees or their dependents as required by Section 600 et seq. of ERISA and Section
4980B of the Code.

                         (e)    Except as set forth on Schedule 3.12(e) hereto, neither the execution
of this Agreement by the Company or the Selling Members nor the consummation of the
transactions contemplated by this Agreement will (i) entitle any employees of the Company to
severance pay, (ii) accelerate the time of payment or vesting or trigger any payment of
compensation or benefits or forgiveness of indebtedness under, increase the amount payable or
trigger any other material obligation pursuant to, any of the Compensation and Benefit Plans, or
(iii) result in any breach or violation of, or a default under, any of the Compensation and Benefit
Plans.

                       (f)     Except as set forth on Schedule 3.12(f) hereto, all annual reports
required to be filed under any Laws applicable to the Compensation and Benefits Plans have been
timely filed with the respective Governmental Entity with which such reports are required to be
filed, including, without limitation Form 5500 and Form 11-K.

                      (g)     To the Selling Parties’ Knowledge, all Compensation and Benefit
Plans covering current or former non-U.S. employees or former employees of the Company
comply in all material respects with applicable Laws. The Company does not have any material
unfunded liabilities with respect to any Compensation and Benefit Plan that covers such
employees.

                        (h)     Except as set forth on Schedule 3.12(h), the Company (x) does not
participates, maintains or contributes to, or has any liability or obligation under or with respect to,
any single or multi-employer Compensation and Benefit Plan governed by or subject to Title IV
of ERISA (whether by reason of being a member of an affiliated group of companies, one of which
maintains such a plan, or otherwise), and (y) has not participated, maintained, contributed or
incurred any liability or obligation with respect to any such plan.

                     Section 3.13 Intellectual Property.

                        (a)     Schedule 3.13(a) hereto sets forth all of the Intellectual Property
owned, in whole or in part, including jointly with others, by the Company (collectively, the
“Owned Intellectual Property”) including, without limitation a complete and accurate list of all
United States and foreign (i) patents and patent applications; (ii) Trademark registrations and
applications and material unregistered Trademarks; (iii) copyright registrations and applications,
indicating for each, the applicable jurisdiction, registration number (or application number) and
date issued (or date filed), and (iv) Software. Schedule 3.13(a) hereto lists all actions that must be
taken by Buyer within one hundred eighty (180) days from the Effective Date, including the
payment of any registration, maintenance, renewal fees, annuity fees and taxes or the filing of any
documents, applications or certificates for the purposes of maintaining, perfecting or preserving or
{00863216.DOCX;2 }
                                                    17
       Case 8-20-08049-ast       Doc 67     Filed 03/02/23     Entered 03/02/23 17:31:14




renewing any Intellectual Property of the Company. Schedule 3.13(a) separately lists all Owned
Intellectual Property that is owned in part or jointly owned with any other Person.

                       (b)     License Agreements.

                                  (i)     Schedule 3.13(b)(i) hereto sets forth a complete and
accurate list of all license, service or similar agreements (written or oral) granting to the Company
any material right to use or practice any rights under any Intellectual Property (other than off-the-
shelf software that is subject to “shrink-wrap” or similar license and is commercially available and
is not a material component of any product or service marketed, distributed or commercially
exploited by the Company) (collectively, the “License Agreements”).

                                (ii)    The Company has not licensed Software or granted other
rights in to use or practice any rights under any Owned Intellectual Property.

                             (iii) No Person has received from the Company, or has the right
to use, any Owned Intellectual Property.

                             (iv)    Except as set forth on Schedule 3.13(b)(iv) hereto, there is
no outstanding or, to the Selling Parties’ Knowledge, threatened dispute or disagreement with
respect to any License Agreement. Except as set forth in Schedule 3.13(b)(iv) hereto, the
Company is not in breach of, and has not failed to perform under, any of the License Agreements.

                       (c)     Ownership; Sufficiency of Intellectual Property Assets. The
Company owns or possesses adequate licenses or other rights to use and practice, free and clear of
all Liens (other than Permitted Liens), rights, claims, conditions, restrictions, limitations and
interests of any Governmental Entity, orders and arbitration awards, and without payment of any
kind to any Person, all of the Owned Intellectual Property. The Company is not engaged in the
wrongful use of any confidential information or trade secrets or patentable inventions of any
current or former employee or consultant of the Company or any other person, firm or entity and
to Selling Parties’ Knowledge no such employee, consultant, person, firm or entity, has alleged
that the Company is engaged in such wrongful use or that members of the Company do not own
the Owned Intellectual Property. Except as set forth in Schedule 3.13(c) hereto, the Owned
Intellectual Property identified in Schedule 3.13(a) hereto, together with the unregistered
copyrights of the Company, if any, and rights under the licenses granted to the Company under the
License Agreements, if any, constitute all the material Intellectual Property rights used in the
operation of the Business, other than “shrink wrap” software licenses, and, to the Selling Parties’
Knowledge, are all the Intellectual Property rights necessary to operate the Business after the
Effective Date in the same manner as the Business has been operated by the Company.

                       (d)     No Infringement. To Selling Parties’ Knowledge, none of the
products or services manufactured, distributed, marketed, sold, licensed or performed by the
Company, nor any of the Owned Intellectual Property used in the conduct of the Business, infringe
upon, violate or constitute the unauthorized use of any rights owned or controlled by any Person,
including any Intellectual Property or proprietary rights (including, without limitation, patents,
design patents, Trademarks, common law marks, domain names, trade dress, industrial property
and copyrights) of any Person.

{00863216.DOCX;2 }
                                                 18
       Case 8-20-08049-ast          Doc 67    Filed 03/02/23    Entered 03/02/23 17:31:14




                       (e)    No Pending or Threatened Infringement Claims. Except as set forth
on Schedule 3.13(e) hereto, there is no pending litigation and no written notice or other claim has
been received by the Company (i) alleging that the Company has engaged in any activity or
conduct that infringes upon, violates or constitutes the unauthorized use of any of the Intellectual
Property or proprietary rights of any Person, or (ii) challenging the ownership, use, validity or
enforceability of any Owned Intellectual Property, or the Intellectual Property exclusively licensed
by or to the Company. The Company has not received any writing requesting, inquiring or
demanding the licensing of any other Person’s Intellectual Property or proprietary rights.

                       (f)    No Infringement by Third Parties. To Selling Parties’ Knowledge,
no third party is misappropriating, infringing, diluting, or violating any Owned Intellectual
Property or Intellectual Property exclusively licensed to the Company, and no such claims have
been brought against any Person by the Company.

                        (g)     Schedule 3.13(g) hereto sets forth a list of all websites of the
Business or of, or maintained by, the Company (the “Websites”). With respect to such Websites,
except as set forth on Schedule 3.13(g) hereto, the Company (i) itself or through contractors,
operates and manages each Website, (ii) has the right to modify each Website, and to make links
and hyperlinks therefrom to other internet sites, and (iii) owns or possesses the perpetual, world-
wide, royalty-free, fully assignable right to operate each Website as presently conducted,
including, without limitation, the fully assignable right to operate such Website with its current
host on its current server as presently operated and to use, enhance, and create derivative works of
or from and maintain all source code and other Intellectual Property and proprietary rights
necessary to operate, develop, modify, make derivative works of or from, support and maintain
each Website. Without limiting the foregoing, except as set forth on Schedule 3.13(g) hereto, the
Company owns or possesses the perpetual, world-wide royalty free, fully assignable right to use,
display, perform, publish, disseminate, transmit and distribute the content and other information
displayed, published, performed, disseminated, transmitted or distributed on or through each
Website, and to disseminate, transmit, distribute, market, sell or license the information, products,
and services disseminated, transmitted, marketed, sold or licensed on or through each Website.

                     Section 3.14 Financial Statements ; Accounts Receivable

                       (a)    Annexed hereto as Schedule 3.14(a) are the (i) compiled
consolidated financial statements of the Company as at and for the twelve month periods ended
December 31, 2016, 2015, and 2014, together with a report thereon by Company’s accountants
(collectively, the “Annual Financial Statements”), (ii) unaudited internal interim consolidated
financial statements of the Company as at and for the three-month period ended March 31, 2017
(the “Interim Financial Statement”), and (iii) unaudited internal interim consolidated financial
statements of the Company and its Subsidiaries as at and for the one-month periods ended April
30, 2017, and May 31, 2017 (the “Additional Interim Financial Statement”), provided, however
that the Additional Interim Financial Statement shall be provided to Buyer no later than June 15,
2017, including in each of clauses (i), (ii) and (iii), balance sheets and a statement of income and
retained earnings (the Annual Financial Statements, the Interim Financial Statement and the
Additional Interim Financial Statement, collectively the “Financial Statements”). Except as set
forth therein or in Schedule 3.14(a) hereto, the Annual Financial Statements have been prepared
on an accrual basis using consistent accounting practices for periods and dates presented, in all
{00863216.DOCX;2 }
                                                  19
       Case 8-20-08049-ast            Doc 67   Filed 03/02/23   Entered 03/02/23 17:31:14




material respects in accordance with the Statements on Standards for Accounting and Review
Services issued by the American Institute of Certified Public Accountants throughout the periods
indicated. The Financial Statements present fairly the consolidated financial position of the
Company as of the dates indicated and present fairly, in all material respects, the consolidated
financial condition of the Company for the periods then ended. The Interim Financial Statement
and the Additional Interim Financial Statement have been prepared in all material respects on a
basis consistent with the Annual Financial Statements, except that the Interim Financial Statement
and the Additional Interim Financial Statement do not contain notes and other presentation items
required by GAAP, may be subject to normal audit or year-end adjustments and have not been
audited, reviewed, compiled, or otherwise tested by the Company’s independent auditor. The
balance sheet included in the Interim Financial Statement and the Additional Interim Financial
Statement presents fairly, in all material respects, the financial condition of the Business as at the
end of the three-month period ended March 31, 2017 and the one-month periods ended April 30,
2017 and May 31, 2017, respectively. The statement of income and retained earnings included in
the Interim Financial Statement and the Additional Interim Financial Statement present fairly in
all material respects the results of operations of the Business for the three-month period ended
March 31, 2017 and the one-month periods ended April 30, 2017 and May 31, 2017

                        (b)     Accounts Receivable. Except as indicated on Schedule 3.14(b), all
accounts receivable of the Company are reflected properly on the Books and Records, represent
bona fide, current and valid obligations arising from sales actually made or services actually
performed in the Ordinary Course of Business. Such accounts receivable are not subject to any
material setoffs or counterclaims, are current and collectible within nine (9) months from the
invoice relating to the applicable account receivable, and will be collected within such period in
accordance with their terms at their recorded amounts, subject only to the allowance for doubtful
accounts set forth in the Balance Sheet included in the most recent Interim Financial Statement as
adjusted for the passage of time through the Closing Date consistent with the past custom and
practice of the Company. Except as set forth therein or in Schedule 3.14(b) hereto, the Company
has not received written notice from any obligor of any material accounts receivable that such
obligor is refusing to pay or contesting payment of which has not been resolved prior to the Closing
Date, other than in the Ordinary Course of Business under any Contract with any obligor of any
accounts receivable.

                 Section 3.15   Absence of Certain Changes.

                       (a)    Except as set forth on Schedule 3.15(a) hereto, since January 1,
2017, (x) the Company has conducted the Business only in, and has not engaged in any transaction
other than according to, the Ordinary Course of Business, (y) the Company has not entered into
any Contracts that are materially less favorable to the Company than Contracts entered into in the
Ordinary Course of Business, and (z) there has not occurred:

                                (i)      any Material Adverse Effect;

                               (ii)   any damage, destruction or other casualty loss with respect
to any material asset or property owned, leased or otherwise used by the Company, whether or not
covered by insurance;

{00863216.DOCX;2 }
                                                  20
       Case 8-20-08049-ast      Doc 67     Filed 03/02/23     Entered 03/02/23 17:31:14




                              (iii) any declaration, setting aside or payment of any dividend, or
other distribution (whether in cash, membership interest or property) in respect of the equity
interest, or any repurchase, redemption or other reacquisition of any equity interest or other
securities of the Company;

                              (iv)   any change in the accounting principles, practices or
methods of the Company;

                            (v)    any change in any material Tax election or any settlement or
compromise of any material Tax claim or liability; or

                                 (vi)    any agreement or commitment to take any of the actions
referred to in clauses (iii) through (v) above.

                       (b)   Without limiting the foregoing provisions of Section 3.15(a), since
the date of the most recent Annual Financial Statement, except as set forth in Schedule 3.15(b)
hereto, the Company has not:

                               (i)    incurred any obligation or liability, absolute, accrued,
contingent or otherwise, whether due or to become due, except current liabilities for trade or
business obligations incurred in the Ordinary Course of Business, none of which are, individually
or in the aggregate, material;

                               (ii)    mortgaged, pledged or subjected to any Lien (other than
Permitted Liens), any of the rights, assets or property, tangible or intangible of the Company;

                                (iii) sold, transferred, leased to others or otherwise disposed of
any assets, properties or rights of the Company, except for inventory sold, supplies consumed, and
minor amounts of obsolete equipment replaced, in each case in the Ordinary Course of Business;

                              (iv)    to Selling Parties’ Knowledge, been subject to or
encountered any labor union organizing activity, had any actual or, to Selling Parties’ Knowledge,
threatened employee strike, work stoppage, slow down or lockout, or, to Selling Parties’
Knowledge, had any material adverse change in its relations with its employees, consultants,
customers, distributors or suppliers or any governmental regulatory authority or self-regulatory
authority;

                                (v)   transferred or granted any rights under, or entered into any
settlement regarding the breach or infringement of, any license, copyright, Trademark, patent, or
other Intellectual Property of the Company, or modified any existing rights with respect thereto;

                            (vi)   made any change in excess of 2% in the rate of
compensation, commission, bonus or other direct or indirect remuneration payable, or paid or
agreed or orally promised to pay, conditionally or otherwise, any bonus, extra compensation,
pension or severance or vacation pay, to any employee, consultant, salesman, representative or
agent of the Company;


{00863216.DOCX;2 }
                                               21
       Case 8-20-08049-ast        Doc 67     Filed 03/02/23    Entered 03/02/23 17:31:14




                            (vii) instituted, settled or agreed to settle any litigation, action or
Proceeding before any Governmental Entity;

                                (viii) received any written notice or other information from any
member, distributor, salesman, representative, vendor, supplier, customer or group of customers,
that it (they) intend(s) to cease doing business with the Company, including, without limitation,
any written notices of material change in revenues, costs or method of distribution;

                                (ix)   made any purchase commitments materially in excess of the
normal, ordinary and usual requirements of the Business or at any price materially in excess of the
current market price or upon terms and conditions more onerous than those that are usual and
customary in the trade or made any change in its selling, pricing, advertising or personnel practices
inconsistent with its prior or prudent business practices;

                              (x)     taken any action to accelerate any payment of or taken any
action to adversely change the terms of, any accounts receivable of the Company, nor delayed
the payment of, or taken any action to adversely change the terms of the accounts payable of the
Company;

                             (xi)   entered into any transaction, contract or commitment other
than in the Ordinary Course of Business, or paid or agreed to pay any brokerage, finder’s fee, or
other compensation in connection with, or incurred any severance pay obligation by reason of, this
Agreement or the transactions contemplated hereby;

                                (xii)   amended any Compensation and Benefit Plans; or

                               (xiii) entered into any agreement or made any commitment to take
any of the types of actions described in any of clauses (i) through (xii) of this Section 3.15(b).

              Section 3.16 Bank Accounts. Schedule 3.16 hereto sets forth a list of all bank
and savings accounts, securities accounts, certificates of deposit and safe deposit boxes of the
Company and those persons authorized to sign thereon as of the date of this Agreement.

                 Section 3.17   Compliance with Law.

                        (a)      Except as set forth in Schedule 3.17(a) hereto, since January 1,
2013, the Business has not been, and is not being, conducted in violation of any law, ordinance,
regulation, treaty, judgment, order (whether temporary, preliminary or permanent), decree,
arbitration award, license or permit of any Governmental Entity (each a “Law” and collectively,
“Laws”), except for violations or possible violations that, individually or in the aggregate, are not
material or are not reasonably likely to prevent, materially delay, materially burden or materially
impair the Selling Parties’ ability to consummate the transactions described in this Agreement or
materially impair the ability of Buyer, following the Closing, to conduct the Business in the manner
in any jurisdiction in which it is now being conducted. No action or demand or, to the Selling
Parties’ Knowledge, review, by any Governmental Entity with respect to the Company or affecting
any of its properties or assets is pending or, to the Selling Parties’ Knowledge, threatened, nor has
any Governmental Entity provided written notice to the Company of an intention to conduct the
same or that an investigation of the Company is being conducted. To the Selling Parties’
{00863216.DOCX;2 }
                                                 22
       Case 8-20-08049-ast         Doc 67     Filed 03/02/23       Entered 03/02/23 17:31:14




Knowledge, no material change is required in the processes, properties or procedures of the
Company in connection with any such Laws, and the Company has not received any written notice
of any material noncompliance with any such Laws that has not been cured as of the Closing Date.

                         (b)     Except as set forth on Schedule 3.17(b) hereto, the Company has in
full force and effect all material approvals, authorizations, certificates, filings, franchises, licenses,
and permits of or with all Governmental Entities (collectively, “Permits”) necessary to own, lease
or operate the properties and other assets of the Company and to carry on, the Business. All such
Permits are set forth on Schedule 3.17(b) hereto. There is no continuing default under, or violation
of, any such Permit, and each such Permit is in full force and effect. The execution, delivery, and
performance of this Agreement, and the consummation of the transactions described in this
Agreement will not result in a violation of or default under and will not cause the revocation or
cancellation of any such Permit. The Company has not received any written notice that, and there
are no facts which have, or reasonably should have, led it or the Selling Members to believe that
any of the Permits are not currently in good standing.

                        (c)      The Company has kept in all material respects all required records
and has filed in all material respects with Governmental Entities all required notices, supplemental
applications and annual or other reports required for the operation of the Business and in all
material respects in accordance with applicable Law. To the Selling Parties’ Knowledge, neither
the ownership nor use of the assets or properties of the Company, nor the conduct, production or
operations of the Business, conflicts with the rights of any Person. Neither the ownership nor use
of the assets or properties of the Company, nor the conduct, production or operations of the
Business violates, or, with the giving of notice or the passage of time, or both, will violate, conflict
with or result in a default, right to accelerate or loss of rights under, any terms or provisions of (a)
the certificate of incorporation, bylaws, articles of organization or operating agreement or other
governing documents of the Company, or (b) any Permit held by the Company, or any Material
Contract or material commitment to the Company is a party, that is material to the Ordinary Course
of the Business.

                Section 3.18 Environmental Matters. Except as disclosed in Schedule 3.18
hereto: (i) the Company has complied in all material respects with all applicable Environmental
Laws; (ii) the Company has no material liability under any Environmental Law for any Hazardous
Substance disposal or contamination on the properties currently owned or operated by the
Company; (iii) the Company has no material liability under any Environmental Law for any
Hazardous Substance disposal or contamination on the properties formerly owned or operated by
the Company; (iv) the Company has no liability under any Environmental Law for any Hazardous
Substance disposal or contamination on any property owned or operated by any other Person; (v)
the Company is not in violation of or has any liability under any Environmental Law for any release
or threat of release of any Hazardous Substance; (vi) the Company has not received any written
notice, demand, letter, claim or request for information alleging that it may be in violation of or
liable under any Environmental Law; (vii) the Company is not subject to any orders, decrees,
injunctions or other arrangements with any Governmental Entity or an indemnitor of any third
party indemnitee for any liability under any Environmental Law or relating to Hazardous
Substances; (viii) to the Selling Parties’ Knowledge, there are no circumstances or conditions
involving the Company that could reasonably be expected to result in any material claims, liability,
investigations, costs or restrictions on the ownership, use, or transfer of any of its property pursuant
{00863216.DOCX;2 }
                                                   23
       Case 8-20-08049-ast        Doc 67     Filed 03/02/23     Entered 03/02/23 17:31:14




to any Environmental Law; (ix) to the Selling Parties’ Knowledge, none of the Company Leased
Properties contains any underground storage tanks, asbestos-containing material, lead-based paint,
or polychlorinated biphenyls in violation of any Environmental Law or that would reasonably be
expected to result in liability to the Company under any Environmental Law; and (x) the Company
has not engaged in any activities involving the generation, use, handling or disposal of any
Hazardous Substances in violation of any Environmental Law or that would reasonably be
expected to result in any material liability under any Environmental Law. Except as disclosed in
Schedule 3.18 hereto, there have been no environmental investigations, studies, audits, tests,
reviews or other analyses conducted by or for the Company, or, to the Selling Parties’ Knowledge,
by someone other than the Company, relating to any property or facility now or previously owned
or leased by the Company that have not been delivered to Buyer.

                 Section 3.19   Contracts and Commitments.

                      (a)    Schedule 3.19(a) hereto contains a true and correct list of all of the
following current Contracts and documents to which the Company is bound or which pertain to
any of the Business (together with all other Contracts required to be listed on a Schedule to this
Agreement and/or delivered or made available to Buyer, the “Material Contracts”):

                              (i)    service, management, consulting or similar types of
Contracts involving receipts by the Company in excess of $25,000 in any 12-month period during
term of any such Contract;

                              (ii)    sale, maintenance, supply, purchase, distribution, dealer, and
distributor Contracts involving receipts in excess of $25,000 in any 12-month period during term
of any such Contract;

                              (iii) sale, maintenance, supply, purchase, distribution, dealer, and
distributor Contracts involving payments in excess of $25,000 in any 12-month period during term
of any such Contract;

                              (iv)    Government Contracts and Government Bids (as used
herein, “Government Contract” means any Contract that (x) is between the Company and a U.S.
or other Governmental Entity or (y) is entered into by the Company as a subcontractor (at any tier)
in connection with a Contract between another Person and a U.S. or other Governmental Entity,
and, “Government Bid” means any offer by the Company to sell goods or to provide services
prior to the Closing Date which, if accepted, would result in a Government Contract);

                                 (v)      covenants not to compete or other covenants (x) limiting or
restricting the development, manufacture, marketing, distribution or sale of any of the products or
services of the Company or any future line extension of such products or services into other forms,
or (y) limiting or restricting the ability of the Company to enter into any market or line of business
or to compete with any other Person, or any other covenant restricting or prohibiting the Company
from transacting business or dealing in any manner with any other Person;

                               (vi)  Contracts with any Affiliate of the Company or with any
director, officer, shareholder, manager or employee of the Company or any Affiliate of the
Company;
{00863216.DOCX;2 }
                                                 24
       Case 8-20-08049-ast       Doc 67     Filed 03/02/23     Entered 03/02/23 17:31:14




                             (vii) advertising Contracts requiring expenditures or fees in
excess of $20,000 in any twelve-month period after the Closing Date;

                              (viii) management, employment, service, consulting, retention,
severance or other similar type of Contract whereby the Company is provided with services;

                               (ix)    Contracts relating in whole or in part to the Intellectual
Property of the Company (including any Contract under which the Company is the licensee or
licensor of any such Intellectual Property, but excluding any Contracts related to “shrink wrapped”
Software) that are material to the Business;

                               (x)    internet or website related agreements relating to the
Business (including, without limitation, all interactive service, portal, web site management,
hosting, server, content licensing, advertising, branding, and link or hyperlink agreements) and
development agreements, except for click through or similar type agreements;

                              (xi)    leases, subleases or licenses under which the Company holds
any leasehold or other interest or right to the use of any real property, or pursuant to which the
Company has assigned, leased, subleased or granted to any Person any rights therein;

                               (xii) mortgage, pledge, security agreement, deed of trust, loan
agreement, credit agreement, indenture, conditional sale or title retention agreement, equipment
financing obligation or other instrument or agreement granting a Lien (other than a Permitted
Lien) upon any of the properties or assets of the Company;

                             (xiii) Contracts regarding the release, transportation or disposal of
Hazardous Substances, or the clean-up, abatement or other action relating to Hazardous Substances
or Environmental Laws;

                               (xiv) Contracts establishing or creating any partnership, joint
venture, limited liability company, limited liability partnership or similar entity;

                               (xv) Contracts to make any capital expenditures or capital
additions or improvements with commitments in excess of $10,000 in any twelve-month period
after the Closing Date or in excess of $50,000 in the aggregate over the term of any such Contract;

                              (xvi) Contracts relating to the storage or warehousing of any
inventory or products of the Company, or relating to the charter or purchase of transportation or
shipping services;

                              (xvii) guarantees or other Contracts in respect of any Indebtedness
of any Person other than with respect to the deposit of third party checks;

                                (xviii) Contracts providing for the indemnification of the Company
or of any current or former director, officer or employee of the Company (other than such
provisions as are set forth in the Certificate of Incorporation, Articles of Organization, operating
agreement or similar charter documents of the Company);

{00863216.DOCX;2 }
                                                25
       Case 8-20-08049-ast       Doc 67      Filed 03/02/23     Entered 03/02/23 17:31:14




                              (xix) any agreements, arrangements or commitments by or
relating to the Company under which the Company indemnifies any other Person or is required to
carry insurance for the benefit of any other Person (other than credit agreements, leases, supply
agreements and other Contracts otherwise scheduled as Material Contracts);

                              (xx) all other Contracts, commitments and purchase orders (other
than short-term purchase orders for supplies and services and sales orders of inventory, for cash),
in each case: other than those (A) made in the Ordinary Course of Business on customary terms
and conditions and consistent with past practices, and (B) involving payments or receipts by the
Company of less than $25,000 in any single case or series of related orders; and

                              (xxi) any other Contracts to which the Company is a party or by
which it or any of the Business is bound that is material to the Business or the Company and the
Subsidiaries.

                       (b)     Each Material Contract is a valid and binding obligation of the
Company, in full force and effect and enforceable in accordance with its terms, subject to the
effects of bankruptcy, insolvency, fraudulent conveyance, reorganization, moratorium and other
similar Laws relating to or affecting creditors’ rights generally and general principles of equity.

                        (c)     Except as set forth on Schedule 3.19(c), neither the Company nor,
to the Selling Parties’ Knowledge, any other party to any Material Contract, is in violation of or in
default under any Material Contract, nor, to the Selling Parties’ Knowledge, has any event
occurred, or circumstance or condition exist, that (with or without notice or lapse of time or both)
would reasonably be expected to (i) result in a violation of, or default under, any Material Contract,
(ii) give any party the right to cancel or terminate or modify any Material Contract, or (iii) give
any party to any Material Contract the right to seek material damages or other remedies. Except as
set forth in Schedule 3.19(c) hereto, there have been no oral or written modifications of, or
amendments or waivers with respect to, any of the terms of any of the Material Contracts. To the
Selling Parties’ Knowledge, except for any consents required thereunder which are properly so
indicated on Schedule 3.19(a) hereto, (x) each Material Contract will be unaffected by the sale of
or other transfer of the Interests and the transactions described in this Agreement and the other
Seller Documents, and (y) following the Closing, the Company will be entitled to the full benefits
thereof, provided the Company continues to abide by the terms thereof.

                 Section 3.20 Insurance. Schedule 3.20 hereto sets forth: (a) the policies of
insurance presently in force covering the Company specifying with respect to each such policy,
the name of the insurer, type of coverage, term of policy, limits of liability and annual premium;
(b) the losses of the Company, by year, by type of coverage, since January 1, 2015 based on
information received from the insurance carrier(s) of the Company; (c) all outstanding insurance
claims by the Company for damage to or loss of property or income which have been referred to
insurers or which the Company believes to be covered by commercial insurance and (d) general
comprehensive liability policies carried by the Company since January 1, 2015, including excess
liability policies, if any. The Company has heretofore delivered or made available to Buyer true
and correct copies of the policies and agreements set forth on Schedule 3.20 hereto. The Company
has not received any written notice regarding termination of insurance policies set forth on
Schedule 3.20 and the invoiced premiums with respect thereto covering all periods up to and
{00863216.DOCX;2 }
                                                 26
       Case 8-20-08049-ast        Doc 67    Filed 03/02/23     Entered 03/02/23 17:31:14




including the date of the Closing have been or will be paid prior to Closing. Such policies have
been maintained in the Ordinary Course of Business, such insurance policies are, to Selling Parties’
Knowledge, valid, outstanding and enforceable policies, provide (in the Selling Parties’ opinion)
adequate insurance coverage for the assets and operations of the Business, will remain in full force
and effect through the respective dates set forth on Schedule 3.20 hereto without the payment of
additional premiums, and will not in any way be affected by, or terminate or lapse by reason of,
the transactions described in this Agreement. Affiliate Transactions.

                        (a)   Except as set forth in Schedule 3.21(a) hereto, the Company has
not purchased goods or services from, or sold goods or services to, or otherwise engaged in any
transaction with, any Person (i) that is an Affiliate of the Company, or (ii) with respect to which
any Affiliate of the Company, or any member of the immediate family of any such Affiliate,
owns more than 10% of the voting equity of such Person. All such transactions were entered into
in the Ordinary Course of Business and on terms and conditions that are no less favorable to the
Company than would be obtained in a comparable arm’s length transaction with a Person that is
not an Affiliate of the Company.

                        (b)    Except as set forth in Schedule 3.21(b) hereto, no member,
employee, officer, director or agent of the Company has any interest in any property, real or
personal, tangible or intangible, used in or pertaining to the Business.

                 Section 3.22   Distributors, Suppliers and Customers.

                         (a)    Set forth in Schedule 3.22(a) hereto is a list of names and addresses
of the ten (10) largest suppliers (measured by dollar volume of purchases) of the Company and the
percentage of the business which each such supplier represented during the twelve (12) month
periods ended December 31, 2015 and December 31, 2016. Set forth in Schedule 3.22(a) hereto
is a list of names and addresses of the ten (10) largest customers (measured by dollar volume of
purchases) and all other customers that accounted for more than $50,000 in revenue of the
Company and the percentage of the business which each such customer represented during the
twelve (12) month periods ended December 31, 2015 and December 31, 2016. Except as set forth
on Schedule 3.22 (a), neither any Selling Party nor the Company has received any written notice,
and to the Selling Parties’ Knowledge, there is no reason to believe that (u) any customer has
expressed any concern about the performance by the Company of its services or the cost of such
services, (v) any customer has ceased, or will cease (either before or after the Closing), to use the
products or services of the Company, (w) any customer has materially reduced or will materially
reduce (either before or after the Closing) the use of products or services of the Company, (x) any
customer intends or is considering reevaluating the use of the products or services of the Company,
either before or after the Closing, (y) the Company is at risk of any of its customers not renewing
its agreement or arrangement with the Company, or reducing the services or products it obtains
from the Company, on account of performance, prices or otherwise or (z) the Company is not
performing all of its contractual obligations to each of its customers as required and in accordance
with such the applicable Contract. To the Selling Parties’ Knowledge, no unfilled customer order
or commitment obligating the Company to perform services will result in a loss to the Company
upon completion of performance.


{00863216.DOCX;2 }
                                                 27
       Case 8-20-08049-ast        Doc 67      Filed 03/02/23      Entered 03/02/23 17:31:14




                         (b)    To Selling Parties’ Knowledge, the relationships of the Company
with its distributors, suppliers, customers, and licensors or sublicensors of rights with respect to
Intellectual Property are reasonably good commercial working relationships.

                Section 3.23 Products Liability and Warranty Liability. Except as set forth in
Schedule 3.23 hereto, the Company does not provide any product warranties with respect to the
products or services sold by the Company. Except as set forth in Schedule 3.23 hereto, the
Company has not received any written complaints of any damages to any Person relating to the
products or services of the Company with respect to which the Company has any liability. The
Selling Parties do not know of any facts that indicate the Company has any material liability for
warranty claims or returns with respect to any of its products or services. Schedule 3.23 hereto
sets forth a description of all product or service warranty claims in excess of $10,000 per such
warranty claim, with respect to products and services of the Company since January 1, 2011.

                 Section 3.24 Absence of Certain Business Practices. Neither the Company nor
any officer, or employee of the Company, nor any other agent, person or entity acting on its behalf,
has, directly or indirectly, given or agreed to give any gift or similar benefit to any client, customer,
governmental employee or other person or entity who is or may be in a position to help or hinder
the business of the Company (or assist the Company in connection with any actual or proposed
transaction) which (a) subjects the Company to any damage or penalty in any civil, criminal or
governmental litigation or Proceeding, (b) if not given in the past, would have had an adverse
effect on the assets, properties, business or operations of the Company, or (c) if not continued in
the future, adversely affects the assets, or operations of the Company or which subjects the
Company to suit or penalty in any private or governmental litigation or Proceeding. There are no
situations with respect to the Company which involved or involves (i) the use of any corporate
funds for unlawful contributions, gifts, or other unlawful expenses related to political activity, (ii)
the making of any direct or indirect unlawful payments to government officials or others from
corporate funds or the establishment or maintenance of any unlawful or unrecorded funds, (iii) the
receipt of any illegal discounts or rebates or any other violation of antitrust laws or (iv) to the
Selling Parties’ Knowledge, any investigation by any Government Entity.

                Section 3.25 Records. The Books and Records are, and at all times were,
prepared in the Ordinary Course of Business and appropriately reflect the operations and
transactions of the Company in all material respects.

                 Section 3.26   Intentionally Omitted.

                Section 3.27 Brokers and Finders. Except for the fees set forth on Schedule 3.27,
which are the sole responsibility of the Selling Parties, none of the Selling Parties nor any of their
respective officers, directors, trustees or employees has employed any broker or finder or incurred
any liability for any brokerage fees, commissions or finders’ fees in connection with the
transactions described in this Agreement.

               Section 3.28     Inventory.    Except as listed on Schedule 3.28 the Company
maintains no inventory.

               Section 3.29 Privacy. The Company is not in breach of any contractual or
regulatory obligation to secure or otherwise safeguard Personal Data it receives in connection with
{00863216.DOCX;2 }
                                                   28
       Case 8-20-08049-ast        Doc 67     Filed 03/02/23      Entered 03/02/23 17:31:14




the operation of its business and the Websites. The Company has at all times taken commercially
reasonable measures to ensure that all Personal Data is protected against loss and unauthorized
access, use, modification, disclosure or other misuse, and, except as set forth in Schedule 3.29, to
Selling Parties’ Knowledge, there has been no unauthorized access to or other misuse of such
data. The Company has made all notifications to customers or individuals required to be made by
the Company by any Privacy and Security Laws arising out of or relating to any event of access to
or acquisition of any Personal Data by an unauthorized Person, including third parties and
employees of the Company acting outside of the scope of their authority or authorization in a
manner which is otherwise unlawful. True and correct copies of all applicable current internal and
customer or user-facing privacy policies of the Company (“Company Privacy Policies”) have
been provided or made available to Buyer. The Company has complied in all material respects
with all Privacy and Security Laws in connection with the operation of the Business of the
Company and the Websites. No Personal Data disclosures, representations or covenants made to
any customer, or contained in any Company Privacy Policy, have been inaccurate or in violation
of any Privacy and Security Laws. There is no complaint to, or audit of, or Proceeding, or written
claim or, to the Selling Parties’ Knowledge, investigation currently pending against the Company
by (i) any Person, or (ii) any Governmental Entity, with respect to the collection, use or disclosure
of Personal Data. The negotiation, execution and consummation of the transactions described in
this Agreement, and any disclosure and/or transfer of information in connection therewith, will not
breach or otherwise cause any violation of any Privacy Policy or Privacy and Security Laws. To
the Selling Parties’ Knowledge, the Company has not received any complaints or other notices
from any source of any failures to meet the requirements of the Privacy and Security Regulations
or Transaction Regulations.

               Section 3.30 Full Disclosure. No representation or warranty by the Company in
this Agreement and no statement contained in the schedules hereto or any certificate or other
document furnished or to be furnished to the Company pursuant to this Agreement contains any
untrue statement of a material fact, or omits to state a material fact necessary to make the
statements contained therein, in light of the circumstances in which they are made, not misleading.
Except as set forth on Schedule 3.30 the contents of the data room in which the Selling Parties
were providing information to the Buyer and its representatives are true, complete and accurate;
provided, however, that the Company and the Selling Members make no representations and
warranties with respect to (i) information or documents containing any projections, forward
looking statements, budgets, or pro forma information and (ii) documents in the data room that
have been redacted or provided in limited form.

                                ARTICLE 4
          REPRESENTATIONS AND WARRANTIES OF THE SELLING MEMBERS

                 Section 4.1    Ownership of Interest. Such Selling Member is the legal and
beneficial owner of the Interests set forth by its name on Schedule 3.5, and at the Closing such
Interests shall be free and clear of all Liens. Upon the delivery of such Interests, Buyer will acquire
the beneficial and legal, valid and marketable title to such Interests.

                Section 4.2    Authority. Such Selling Member has the legal power, right and
authority to enter into and perform this Agreement and each other Seller Document to which it is
a party, and to perform each of its obligations hereunder and thereunder. This Agreement and the
{00863216.DOCX;2 }
                                                  29
       Case 8-20-08049-ast           Doc 67    Filed 03/02/23    Entered 03/02/23 17:31:14




other Seller Documents to which such Selling Member is a party have been duly executed and
delivered by such Selling Member, and such Agreement and such Seller Documents constitute a
valid and binding obligation of such Selling Member, enforceable in accordance with their terms
subject to the effects of bankruptcy, insolvency, fraudulent conveyance, reorganization,
moratorium and other similar Laws relating to or affecting creditors’ rights generally and general
principles of equity. The execution, delivery and performance of this Agreement and such Seller
Documents by such Selling Member (a) except as set forth on Schedule 3.3(b) hereof, require no
action by or in respect of, or filing with, or consent of, any Governmental Entity or any other
Person and (b) do not contravene, or constitute a default under, any provision of applicable Law
or of any agreement, judgment, injunction, order, decree or any other instrument binding upon
such Selling Member.

                Section 4.3      Litigation. There is no Proceeding pending against such Selling
Member, or, to its actual knowledge, threatened against or affecting such Selling Member or any
of its properties or rights, nor is there any judgment, decree, injunction, rule or order of any
Governmental Entity or arbitrator outstanding against or affecting either such Selling Member or
any of its properties or rights, except such that are not, individually or in the aggregate, reasonably
likely to prevent, materially delay or materially impair (a) its ability to consummate the
transactions described in this Agreement, (b) Buyer’s ability to acquire ownership of the Interests,
free and clear of all Liens, or (c) the ability of Buyer, following the Closing, to conduct the
Business.

               Section 4.4     Brokers and Finders. Except for the fees set forth on Schedule 3.27,
which are the sole responsibility of the Selling Parties, such Selling Member has not employed
any broker or finder or incurred any liability for any brokerage fees, commissions or finders’ fees
in connection with the transactions described in this Agreement.

                                              ARTICLE 5

                        REPRESENTATIONS AND WARRANTIES OF BUYER

                 Buyer hereby represents and warrants to the Selling Members that:

                     Section 5.1   Organization; Authority; Due Execution.

                       (a)     Buyer is a limited liability company duly organized, validly existing
and in good standing under the laws of its jurisdiction of organization and has all requisite
corporate power and authority to own and operate its properties and assets and to carry on its
business as presently conducted and is qualified to do business and is in good standing as a foreign
corporation in each jurisdiction where the ownership or operation of its properties or conduct of
its business requires such qualification, except where the failure to be so qualified or in good
standing, when taken together with all other such failures, will not prevent, materially delay or
materially impair Buyer’s ability to consummate the transactions described in this Agreement.

                      (b)   Buyer has all requisite corporate power and authority to enter into
this Agreement and each agreement, document and instrument to be executed or delivered by it in
connection with this Agreement (collectively, the “Buyer Documents”), to perform its obligations
hereunder and thereunder, and to consummate the transactions described in this Agreement and
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                                                   30
       Case 8-20-08049-ast           Doc 67    Filed 03/02/23    Entered 03/02/23 17:31:14




thereby. The execution, delivery and performance of this Agreement and the other Buyer
Documents to be executed by Buyer as the case may be and the consummation by Buyer as the
case may be of the transactions described in this Agreement and thereby have been duly and validly
authorized and no other corporate proceedings on the part of Buyer or their respective members
are necessary with respect to any such matter. This Agreement and the other Buyer Documents to
be executed by Buyer as the case may be have been duly executed and delivered by Buyer as
applicable and constitute the valid, binding and enforceable obligations of to be executed Buyer
as the case may be, subject to the effects of bankruptcy, insolvency, fraudulent conveyance,
reorganization, moratorium and other similar Laws relating to or affecting creditors’ rights
generally and general principles of equity.

                     Section 5.2   Consents; No Violation.

                       (a)    No notices, reports or other filings are required to be made with, nor
are any consents, registrations, approvals, permits or authorizations required to be obtained by
Buyer from any Governmental Entity or any other Person in connection with the execution and
delivery of this Agreement or the other Buyer Documents to be executed by Buyer and the
consummation by Buyer of the transactions described in this Agreement and thereby except those
that the failure to make or obtain will not, individually or in the aggregate, prevent, materially
delay or materially impair Buyer’s ability to consummate the transactions described in this
Agreement.

                        (b)     The execution, delivery and performance of this Agreement and the
other Buyer Documents do not, and the consummation of the transactions described in this
Agreement and thereby will not, constitute or result in: (i) (with or without notice, lapse of time or
both) a breach or violation of, or a default under, Buyer’s certificate of incorporation or bylaws or
other governing documents, or (ii) (with or without notice, lapse of time or both) a breach or
violation or a conflict with, or a default under, or the termination of, or the acceleration under, any
Contract, debt, obligation, governmental or non-governmental permit or license to which Buyer is
a party or to or by which it is subject or bound; except, in the case of clause (ii) of this Section
5.1(b), for any violation, default or acceleration, that, individually or in the aggregate, will not
prevent, materially delay or materially impair Buyer’s ability to consummate the transactions
described in this Agreement.

                 Section 5.3 Litigation. There is no civil, criminal or administrative suit, action,
 proceeding, investigation, review or inquiry pending or, Buyer’s knowledge, threatened against
 or affecting Buyer or any of its respective properties or rights, nor is there any judgment, decree,
 injunction, rule or order of any Governmental Entity or arbitrator outstanding against or affecting
 Buyer or any of its respective properties or rights such that will not, individually or in the
 aggregate, prevent, materially delay or materially impair Buyer’s ability to consummate the
 transactions described in this Agreement.

                Section 5.4 Compliance with Law. Buyer is not in violation of any Law, except
 for violations or possible violations that, individually or in the aggregate, will not prevent,
 materially delay or materially impair Buyer’s ability to consummate the transactions described in
 this Agreement.

{00863216.DOCX;2 }
                                                   31
       Case 8-20-08049-ast      Doc 67     Filed 03/02/23     Entered 03/02/23 17:31:14




                 Section 5.5 Brokers and Finders. Buyer and Seller and their respective officers,
 directors, trustees or employees can employ a broker or finder and incur a liability for any
 brokerage fees, commissions or finders’ fees in connection with the transactions contemplated by
 this Agreement.

                  Section 5.6 Availability of Funds. Buyer has sufficient cash and/or available
 credit facilities to pay the Purchase Price, all post-Closing payments that may reasonably be
 expected to be due and payable after the Closing pursuant to the terms of this Agreement, and any
 other amounts payable pursuant to this Agreement and to consummate the transactions
 contemplated by this Agreement.

                 Section 5.7 Independent Investigation. The Buyer has conducted its own
 independent investigation, review and analysis of the Company and the Interests. The Buyer
 acknowledges and agrees that: (a) in making its decision to enter into this Agreement and to
 consummate the transactions contemplated hereby, it has relied solely upon its own investigation,
 the contents of the data room in which the Selling Parties were providing information to the Buyer
 and its representatives (except for (i) information or documents containing any projections,
 forward looking statements, budgets, or pro forma information and (ii) documents in the data
 room that have been redacted or provided in limited form) and the express representations and
 warranties (including the schedules associated therewith) of the Selling Members and the
 Company set forth in this Agreement, and in any documents, certificates or other items delivered
 by the Selling Members or the Company in connection with the Closing; and (b) neither the
 Company, the Selling Members nor any other Person has made any representation or warranty as
 to the Company or the Interests, except as expressly set forth in this Agreement, and in any
 documents, certificates or other items delivered by the Selling Members or the Company in
 connection with the Closing.


                                           ARTICLE 6

    CERTAIN COVENANTS AND AGREEMENTS OF THE, SELLING MEMBERS AND
                              BUYER

               Section 6.1     Expenses and Finder’s Fees. Except as provided in Sections 3.27
and 5.5 concerning brokers and finders’ fees and in Article 7 and except for the Transaction
Expenses, whether or not the Closing is consummated, all costs and expenses incurred in
connection with this Agreement and the transactions contemplated by this Agreement shall be paid
by the Party incurring such expense; provided, however, any legal or other professional fees
incurred by the Company related to or arising from the transactions contemplated by this
Agreement, including the negotiation and drafting of this Agreement, that remain outstanding as
of the Closing Date shall be the responsibility of the Selling Members.

              Section 6.2    Public Announcements. The Parties agree that no public release,
announcement or any other disclosure to the public concerning any of the transactions
contemplated hereby shall be made or issued by any Party without the prior written consent of
Buyer and the Selling Member Representative (which consent of either party shall not be
unreasonably withheld, conditioned or delayed), except to the extent such release, announcement
{00863216.DOCX;2 }
                                                32
       Case 8-20-08049-ast        Doc 67     Filed 03/02/23      Entered 03/02/23 17:31:14




or disclosure may be required by applicable law or regulation (including the regulations relating
to exchanges upon which the shares of Buyer or its Affiliates are listed or traded), in which case
the Party required to make the release, announcement or disclosure shall allow Buyer or the Selling
Member Representative, as the case may be, reasonable time to comment on such release,
announcement or disclosure in advance of such issuance or disclosure.

                 Section 6.3    Tax Matters. The following provisions shall govern certain Tax
matters:

                       (a)      Straddle Period. In the case of any Tax period that includes (but does
not end on) the Closing Date (a “Straddle Period”), the amount of any Taxes based on or
measured by income, receipts, sales or payroll of the Company which relate to the Pre-Closing
Tax Period shall be determined based on an interim closing of the books as of the close of business
on the Closing Date (and for such purpose, the taxable period of any partnership or other pass-
through entity in which the Company holds a beneficial interest shall be deemed to terminate at
such time); provided, however, that any Taxes attributable to transactions outside the ordinary
course of business after the Closing Date shall relate to the portion of the Straddle Period beginning
after the Closing Date and the amount of Taxes of the Company not based on or measured by
income, receipts, sales or payroll of the Company for a Straddle Period which relate to the Pre-
Closing Tax Period shall be deemed to be the amount of such Tax for the entire taxable period
multiplied by a fraction, the numerator of which is the number of days in the taxable period ending
on the Closing Date and the denominator of which is the number of days in such Straddle Period.

                       (b)    Certain Taxes and Fees. All transfer, documentary, sales, use,
stamp, registration and other such Taxes, and all conveyance fees, recording charges and other
fees and charges (including any penalties and interest) incurred in connection with consummation
of the transactions contemplated by this Agreement shall be paid by the Selling Members when
due, and each Selling Member will, at its own expense, file all necessary Tax Returns and other
documentation with respect to all such Taxes, fees and charges, and, if required by applicable law,
Buyer will, and will cause the Company and its Affiliates to join in the execution of any such Tax
Returns or other documentation.

                         (c)      Cooperation on Tax Matters. Buyer, the Company, and the Selling
Members shall cooperate fully, as and to the extent reasonably requested by any other Party, in
connection with the filing of Tax Returns and any audit, litigation, refund claim or other
Proceeding with respect to Taxes. Such cooperation shall include the retention and (upon any other
Party’s request) the provision of records and information which are reasonably relevant to any
such filing, audit, litigation, refund claim or other Proceeding and making employees available on
a mutually convenient basis to provide additional information and explanation of any material
provided hereunder. The Company and the Selling Members agree to retain all books and records
with respect to Tax matters pertinent to the Company relating to any taxable period beginning
before the Effective Date until the expiration of the statute of limitation (and, to the extent notified
by Buyer or the Selling Members, any extensions thereof) of the respective taxable periods, and to
abide by all record retention agreements entered into with any Tax authority.

                       (d)    Pre-Closing Tax Periods. The Selling Member Representative shall
prepare or cause to be prepared and timely file or cause to be timely filed all Tax Returns for the
{00863216.DOCX;2 }
                                                  33
       Case 8-20-08049-ast         Doc 67     Filed 03/02/23       Entered 03/02/23 17:31:14




Company for all periods ending on or prior to the Effective Date that are filed after the Closing
Date. All such returns shall be correct and complete in all material respects and prepared in
accordance with applicable Law. The Selling Member Representative shall permit Buyer to review
and comment on each such Tax Return at least thirty (30) days prior to filing. The Selling Member
Representative shall make such revisions to such Tax Returns as are reasonably requested by the
Buyer. To the extent permitted by applicable Law, each Selling Member shall include any income,
gain, loss, deduction or other tax items for such period on its Tax Returns in a manner consistent
with the Schedule K-ls prepared or caused to be prepared by the Selling Member Representative
for such periods. Buyer shall prepare (or cause to be prepared) and file (or cause to be filed) each other
Tax Return required to be filed by the Company after the Closing Date for a taxable period beginning
on or before the Closing Date (each a “Buyer Prepared Return”). Each Buyer Prepared Return
(A) shall be prepared in a manner consistent with the prior practice of the Company unless
otherwise required by applicable Law, (B) shall be provided to the Selling Member Representative
for review and comment at least thirty (30) days before the due date for filing such Buyer Prepared
Return, and (C) the Selling Member Representative shall have the right to review and comment on
each such Buyer Prepared Return before filing. Buyer shall make such revisions to any Buyer
Prepared Returns as are reasonably requested by the Selling Member Representative.

                      (e)     Accrual Basis. The Sellers shall use their reasonable best efforts to
cause the Tax Returns for all taxable periods commencing on or after January 1, 2016 to be
prepared on an accrual basis and not on a cash basis.

                        (f)     Tax Contests. The Company shall promptly notify the Selling
Member Representative in writing upon receipt by the Company or any of its Affiliates of a written
notice of any pending or threatened action with respect to Taxes for which any of the Selling
Members may have liability pursuant to this Agreement or otherwise, provided, however, that no
failure or delay by the Company to provide such notice shall reduce or otherwise affect the
obligation of the Selling Members hereunder, except to the extent that they are actually prejudiced
thereby. After the Closing Date, except as set forth in this Section 6.3(f), the Company shall
control the conduct, through counsel of its own choosing, of any audit, claim for refund, or
administrative or judicial proceeding involving any asserted Tax liability or refund with respect to
the Company (each a “Tax Contest”). In the case of a Tax Contest after the Closing Date that
relates solely to Pre-Closing Tax Periods, the Selling Member Representative may elect to control
the conduct of such Tax Contest, but the Company shall have the right to participate in such Tax
Contest at its own expense and the Selling Member Representative shall not settle or otherwise
resolve such Tax Contest without the prior written permission of the Buyer, which consent shall
not be unreasonably withheld, delayed, or conditioned; provided that, if the Selling Member
Representative fails to assume control of the conduct of any such Tax Contest within thirty (30)
days following the receipt by the Selling Member Representative of notice of such Tax Contest
from the Company, then the Company shall have the right to assume control of such Tax Contest.
In the case of any Tax Contest relating to any Pre-Closing Tax Period that is not controlled by the
Selling Member Representative pursuant to this Section 6.3(f), (i) the Selling Member
Representative shall have the right to participate in such Tax Contest at its own expense and (ii)
the Company shall not settle or otherwise resolve such Tax Contest without the prior written
permission of the Selling Member Representative, which consent shall not be unreasonably
withheld, delayed, or conditioned. The provisions of this Section 6.3(f), rather than those of
Section 7.1(e), shall apply in the case of any Tax Contest.
{00863216.DOCX;2 }
                                                   34
       Case 8-20-08049-ast        Doc 67     Filed 03/02/23      Entered 03/02/23 17:31:14




                        (g)     Buyer Tax Acts. Following the Closing Date, neither Buyer, nor the
Company nor any Affiliate thereof may (i) file, amend or modify a Tax Return of the Company
for any taxable period ending on or before the Closing Date, except in accordance with Section
6.3(d), (ii) take any action that would extend the applicable statute of limitations for any Taxes or
Tax Return of the Company for any taxable periods ending on or before the Closing Date, (iii) file,
amend or revoke any Tax election on behalf of the Company for any taxable periods ending on or
before the Closing Date, (iv) surrender any right to claim a refund of Taxes relating to the Company
relating to any taxable periods ending on or before the Closing Date, or (v) make a voluntary
disclosure to a Governmental Entity with respect to any Tax or Tax Returns of the Company for
any taxable periods ending on or before the Closing Date, in each case, without the prior written
consent of the Selling Member Representative.

                       (h)     Tax Refunds. All refunds of Taxes of the Company for any Pre-
Closing Tax Period (including any portion of a Straddle Period ending on the Closing Date as
determined in accordance with the same principles provided for in Section 6.3(a)), whether in the
form of cash received or a credit against Taxes otherwise payable, shall be the property of the
Selling Members and all other refunds shall be the property of the Buyer. To the extent that Buyer,
the Company, or any of their Affiliates receives a refund after the Closing Date that is the property
of the Selling Members, Buyer shall pay to the Selling Member Representative for distribution to
the Selling Members the amount of such refund (and any interest received from the Governmental
Entity with respect to such refund). The amount due to the Selling Members shall be payable
twenty (20) days after receipt of the refund from the applicable Governmental Entity (or, if the
refund is in the form of direct credit, twenty (20) days after the filing of the Tax Return claiming
the benefit of such credit). Buyer shall, and shall cause its Affiliates, to take all actions necessary,
or reasonably requested by the Selling Member Representative, to timely claim any refunds that
will give rise to a payment under this Section 6.3(h).

                        (i)    Allocation of Purchase Price. The Parties agree to treat for U.S.
federal, state and local income tax purposes the purchase and sale of the Interests pursuant to this
Agreement in a manner consistent with Revenue Ruling 99-6, situation #2. For purposes of
determining (i) Buyer’s initial Tax basis in the assets of the Company immediately following the
Closing and (ii) the portion of the gain or loss recognized by the Selling Members upon the sale
of the Interests pursuant to this Agreement that is attributable to the Company’s “unrealized
receivables” and “inventory items” (as such terms are defined in Section 751 of the Code), Buyer
and each of the Selling Members agree to file all Tax Returns in accordance with the Purchase
Price Allocation (as hereinafter defined). Any adjustments to the Purchase Price pursuant to this
Agreement shall result in an adjustment to the Purchase Price Allocation to reflect the
proportionate change amongst those classes of assets (or assets that correspond to the liabilities),
including goodwill, that caused the adjustment to the Purchase Price. The Parties shall cooperate
in the preparation of a schedule allocating the Purchase Price (along with any liabilities of the
Company that are not corporations) to the assets of the Company that are not corporations (the
“Purchase Price Allocation”). Buyer shall file, in accordance with Section 1060 of the Code, a
Form 8594 reflecting the Purchase Price Allocation. The Parties shall report, act and file Tax
Returns (including Internal Revenue Service Form 8594) in all respects and for all purposes
consistent with the Purchase Price Allocation. The Parties shall, as applicable, timely and properly
prepare, execute, file and deliver all such documents, forms and other information as the other
Parties may reasonably request to prepare in connection with the Purchase Price Allocation. If,
{00863216.DOCX;2 }
                                                  35
       Case 8-20-08049-ast       Doc 67      Filed 03/02/23     Entered 03/02/23 17:31:14




however, the Parties are unable to complete such Purchase Price Allocation within one hundred
twenty (120) days following the Closing Date, or such later date as agreed to by the Parties, then
Buyer shall file IRS Form(s) 8594 and the Parties shall each file any other federal, state and local
income Tax Returns, allocating the Purchase Price (and any liabilities of the Company) in the
manner each believes is appropriate. The Parties shall promptly advise one another of the
existence of any Tax audit, controversy or litigation related to any allocation hereunder. None of
the Parties shall take any position (whether on any Tax Returns, in any Tax Contest or Proceeding
or otherwise) that is inconsistent with this Section 6.3(i) unless required to do so by Law.
Notwithstanding the foregoing, the Parties agree that (i) the amount allocated to any assets of the
Company that is not a corporation that were subject to depreciation or amortization by the
Company for income Tax purposes shall be equal to such the Company’s adjusted tax basis in such
assets for federal income tax purposes as of the Closing Date, and (ii) the amount allocable to the
Company’s accounts receivable shall equal the amount paid to the Selling Member Representative
with respect thereto pursuant to Section 1.5(f).

                        (j)      Transaction Tax Items. The Parties agree that, to the fullest extent
allowable by applicable Laws, all Transaction Tax Items shall be treated (but solely for Tax
purposes) as liabilities of the Selling Members that are being assumed by Buyer and, accordingly,
any federal, state or local income Tax deductions arising from any payment of such Transaction
Tax Items, including any deductions relating to unamortized deferred financing fees relating to
any Indebtedness, shall be claimed by the Selling Members, rather than by Buyer. Neither Buyer,
nor the Company (for any period following the Closing Date) nor any Affiliates thereof shall claim
any income Tax deduction for any payments made in connection with any Transaction Tax Items
on any Tax Return or take any position on any Tax Return or otherwise that is inconsistent with
the Selling Members claiming all available income Tax deductions with respect to the payment of
any Transaction Tax Items in computing their federal, state and local income Tax liabilities.

                 Section 6.4   Non-Competition, Non-Solicitation and Non-Disclosure.

                        (a)      Non-Competition, Non-Solicitation. Subject to the last paragraph
of Section 5 of any applicable Employment Agreements, each Selling Member agrees that it shall
not, and it shall take all commercially reasonable efforts to cause its Affiliates to not, whether or
not for compensation, directly or indirectly, individually or as an officer, director, shareholder,
member, manager, trustee, employee, consultant, advisor, partner, proprietor or otherwise, for a
period commencing on the Effective Date and ending thirty-six (36) months after the Effective
Date (the “Restricted Period”): (i) other than with respect to employment or other similar
arrangement with the Company, participate or engage in or provide any services to, or have any
direct or indirect interest in, any business whose operations, in whole or in part, are the same as,
similar to or are in competition with any of the business operations carried on by the Company
during their employment by the Company or that the Company contemplated (and which such
Selling Member should have known that the Company was contemplating) carrying on at the time
of the termination of her employment by the Company in New York, New Jersey, Pennsylvania,
or Connecticut; provided, however, that nothing in this Agreement shall preclude such Selling
Member from purchasing or owning up to five percent (5%) of the outstanding capital stock of
any company which has a class of securities registered under Section 12 of the Securities Act of
1934, as amended, or trading on a national securities exchange or quoted in an over-the-counter
market; (ii) encourage, solicit, or induce, or in any manner attempt to encourage, solicit, or induce,
{00863216.DOCX;2 }
                                                 36
       Case 8-20-08049-ast         Doc 67      Filed 03/02/23      Entered 03/02/23 17:31:14




any person or entity employed by, or providing consulting services to, the Company, the Buyer
and/or the Buyer’s parent and subsidiaries’ key employees or key consultants, to terminate such
person’s or entity’s employment or services (or in the case of a consultant, materially reduce such
services) with the Company, the Buyer and/or the Buyer’s parent and subsidiaries; (iii) hire any
person or entity who was employed by the Company, the Buyer and/or the Buyer’s parent and
subsidiaries’ key employees or key consultants within the six (6) month period prior to the date on
which such Selling Member ceases to be an employee of the Company; or (iv) encourage, solicit
or induce, or in any manner attempt to encourage, solicit or induce, any client, account, customer
or licensee of the Company and/or the Buyer or any other Person with whom the Company and/or
the Buyer has a business relationship to cease doing business with or reduce the amount of business
conducted with the Company and/or the Buyer, or in any way interfere with the relationship
between any such client, account, customer, licensee or business relation with the Company and/or
the Buyer. For the avoidance of doubt a key employee or key consultant is any person or company
who is compensated more than $100,000 a year or who has a title of Vice President or above or, if
a consultant, is providing similar services to a person who has a title of Vice President or above.
The Selling Members shall be entitled to rely on the representations of any person or entity with
respect to their title and compensation and whether or not they worked for the Buyer’s parent or
subsidiaries.

                          (b)    Non-Disclosure. Each Selling Member agrees that it shall not, and
it shall take all efforts to cause its Affiliates to not, use for itself or others, or publish, disclose or
otherwise reveal or divulge, any Confidential Information (as such term is defined below);
provided, that subsequent to the fifth anniversary of the Effective Date, such restriction shall apply
only if such use or disclosure is materially adverse to the Company. Each Selling Member shall,
and shall take all commercially reasonable efforts to cause its Affiliates to, (1) maintain all
Confidential Information in the strictest confidence and keep the same secret using at least the
same degree of care as it uses for its own confidential information, (2) retain all Confidential
Information in trust in a fiduciary capacity for the sole and absolute benefit of the Company, and
(3) refrain from using or allowing to be used any Confidential Information for its own benefit or
for the benefit of any third party, provided, however, that in the event disclosure of Confidential
Information is requested of a Selling Member (i) by a Governmental Authority under color of law
or applicable regulation, (ii) pursuant to subpoena or other compulsory process, or (iii) otherwise
as may be required by law, such Selling Member to the extent lawfully possible will give the
Company prompt prior written notice, which, to the extent possible, shall be at least five (5) days,
before its disclosure and will provide the Company with copies of any responsive materials. For
purposes of this Agreement, “Confidential Information” shall mean non-public information
concerning the financial data, strategic business plans, product development (or other proprietary
product data), customer lists, customer information, costs, pricing, materials, supplies, vendors,
products, services, information relating to governmental relations, discoveries, practices,
processes, methods, marketing plans, Intellectual Property and other material non-public,
proprietary and confidential information of the Company or relating to the Business, that, in any
case, is not otherwise generally available to the public and has not been disclosed by the Company
to others not subject to confidentiality agreements. Confidential information does not include
information that (i) becomes known to a Selling Member from a source other than the Company
or Affiliate thereof; provided, that, such source has not entered into a confidentiality agreement
with the Company or Affiliate thereof with respect to such information or obtained the information
from an entity or person who is a party to a confidentiality agreement with the Company with
{00863216.DOCX;2 }
                                                    37
       Case 8-20-08049-ast       Doc 67     Filed 03/02/23     Entered 03/02/23 17:31:14




respect to such information, (ii) is proven by competent evidence by a Selling Member that it was
independently conceived or discovered by such Selling Member without reference to or use of the
Confidential Information, or (iii) has become publicly known and made generally available
through no wrongful act of a Selling Member.

                        (c)     Enforcement. If any Selling Member commits a breach, or threatens
to commit a breach, of any of the provisions of Section 6.4(a)-(b), (such person committing or
threatening to commit a breach, the “Breaching Party”), then the Company shall have the right
and remedy to have such provisions of this Section specifically enforced by any court having
equity jurisdiction, it being acknowledged and agreed that any such breach or threatened breach
will cause irreparable injury to the Company and that money damages will not provide an adequate
remedy at law; and in connection therewith the right to seek, without notice to such Breaching
Party and without the need to post any bond, a temporary restraining order, an injunction and any
other equitable relief. Such right of injunctive relief shall be cumulative only in addition to the
right of the Company to recover from such Breaching Party the liquidated damages as set forth in
Section 6.4(d) below.

                       (d)    Severability. The provisions of this Section are severable, and if any
provision or any part of any provision of this Section is found to be invalid or unenforceable, the
balance of that provision and the other provisions hereof shall be given full force and effect and
remain fully valid and enforceable.

                        (e)      Blue-Penciling. If any one, or any part, of the covenants contained
in this Section 6.4 is held to be unenforceable because of the duration of such provision or the area
covered thereby, the parties agree that the court making such determination shall have the power
to reduce the duration and/or area of such provision and, in its reduced form, said provision shall
then be enforceable.

                        (f)    Venue. The parties hereto intend to and hereby confer jurisdiction
to enforce the covenants contained in this Section 6.4 upon the courts of any state or other
jurisdiction within the geographical scope of such covenants. In the event that the courts of any
one or more of such states or other jurisdictions shall hold such covenants wholly unenforceable
by reason of the breadth of such scope or otherwise, it is the intention of the parties hereto that
such determination not bar or in any way affect in the courts of any other states or other
jurisdictions within the geographical scope of such covenants the right of the Company or the right
of the Selling Members, as applicable, to the relief for breaches of such covenants in such other
states, the above covenants as they relate.

                Section 6.5   Expense Accounts. Except as expressly consented to by Buyer in
writing, the Company shall cause all of its managers, directors, officers, employees and consultants
to submit all claims for Reimbursable Expenses incurred prior to the Closing to be submitted to
the Company prior to the Closing and shall cause all travel, entertainment and other Reimbursable
Expenses incurred by their managers, directors, officers, employees and consultants that the
Company is obligated to reimburse or that the Company has in the past typically reimbursed to be
reimbursed prior to the Closing.



{00863216.DOCX;2 }
                                                 38
       Case 8-20-08049-ast           Doc 67    Filed 03/02/23     Entered 03/02/23 17:31:14




                Section 6.6 Method of Accounting. During the period of time following the
 Closing in which the Selling Members may be entitled to receive certain post-Closing payments,
 including the Earn-Out Payments, Buyer shall cause the Company to prepare the Financial
 Statements in accordance with generally accepted accounting principles for purposes of
 calculating such post-Closing payments.

                Section 6.7    Proceedings. The Selling Members shall be responsible for the fees
and expenses of all Proceedings set forth on Schedule 3.6 and the Selling Members shall be
entitled to any and all recoveries from all such Proceedings.

               Section 6.8     Key Employment Agreements. The Selling Members shall use their
good faith efforts to deliver Employment Agreements duly executed by any key employee of the
Company who has an annual compensation package of over $100,000 per year, in a mutually
agreed upon form (the "Employment Agreements").

                 Section 6.9      Schedule Updates. The disclosures in any Schedule to the
representations and warranties in Article 3 shall qualify the other representations and warranties
in Article 3 to the extent it is readily apparent from a reading of the disclosure that such disclosure
is applicable to such other representations and warranties in Article 3. At any time during the thirty
(30) day period from and after May 31, 2017, the Selling Member Representative shall have the
right to deliver to Buyer a supplement or amendment to any Schedule to the representations and
warranties in Article 3 (each, a “Schedule Supplement”), and such Schedule Supplement shall be
deemed to be the final Schedules to the representations and warranties in Article 3; provided,
however, that no Schedule Supplement shall be deemed to update any original Schedule to the
representations and warranties in Article 3 if such Schedule Supplement sets forth any event or the
existence of any fact or condition which would result in (a) a reduction of the Company’s EBITDA,
taken as a whole, for the twelve month period ending May 31, 2017, by more than $500,000 or (b)
Losses to the Company of more than $500,000.

                 Section 6.10      Business Plan. Intentionally Omitted.

                                               ARTICLE 7

                                          INDEMNIFICATION

                     Section 7.1   Indemnification.

                         (a)    Indemnification by the Selling Members. Subject to the limits set
forth in this Article 7, from and after the Closing, the Selling Members agree, jointly and severally,
to indemnify, defend and hold Buyer and its Affiliates (including, after the Closing, the Company)
and their respective officers, directors, managers, members, shareholders, employees, agents and
representatives (the “Buyer Indemnified Persons”) harmless (except with respect to claims for
indemnification arising from breaches of representations and warranties set forth in Article 4 or
claims for breaches of covenants contained in this Agreement made by a Selling Member, in which
case, such Selling Member shall severally indemnify the Buyer Indemnified Parties with respect
to such Selling Member’s breaches) from and in respect of Losses that they incur or suffer arising
out or by reason of, in connection with or due to (i) any breach of any representation or warranty
of the Company or any Selling Member contained in this Agreement or any other Seller Document,
{00863216.DOCX;2 }
                                                      39
       Case 8-20-08049-ast       Doc 67     Filed 03/02/23     Entered 03/02/23 17:31:14




(ii) any breach of any covenant or agreement of the Company or any Selling Member contained in
this Agreement or any other Seller Document, (iii) any of the Excluded Liabilities, (iv) any and all
claims of third parties with whom the Company or its agents have had discussions with respect to
the disposition of the Company or its Business in connection with or arising out of such
discussions, (v) any and all claims relating to the matters set forth on Schedule 3.6 or any other
civil, criminal or administrative suit, action, proceeding, investigation, violation or other
Proceeding to the extent based upon or arising from any act, transaction, circumstance, sale or
providing of works, material, product or services, state of facts or other condition which occurred
or existed, before the Closing Date, whether or not then known, due or payable, or with respect to
the operation of the Business prior to Closing, the employment of the Employees prior to Closing
or the ownership (or leasing of), operation or use of the assets of the Business prior to the Closing
(each to the extent in excess of the amounts covered by the Company’s insurance policies), (vi)
any and all claims relating to the Owned Intellectual Property, including, without limitation, that
such Owned Intellectual Property infringes upon, violates or constitutes the unauthorized use of
any of the Intellectual Property or proprietary rights of any Person with respect to the period prior
to the closing, (vii) any and all Taxes of any Selling Member whether or not relating to or arising
out of the Business; (viii) any and all Taxes of the Company for any Pre-Closing Tax Periods
(including the portion of any Straddle Period relating to the Pre-Closing Tax Period, as determined
under Section 6.3(a)), (ix) any and all Benefit Liabilities of Company relating to the period prior
to the Closing; (x) any liabilities with respect to environmental matters (including Losses relating
to any remediation for environmental matters disclosed in Schedule 3.18 with respect to the period
prior to the Closing) incurred by the Company); (xi) with respect to services provided by Company
before the Closing (A) any claim based on a warranty with respect to services rendered before the
Closing and (B) any warranties issued before Closing relating to such services (whether expressed
or implied by operation of Law); (xii) the operation of the Company prior to the Closing; (xiii)
the Company having failed to duly qualify or obtain a license to do business in all of the
jurisdictions in which the nature of the Company’s activities required such qualification or
licensing with respect to the period prior to the Closing; and (xiv) any Losses or other amounts
(including with respect to disability and unemployment) with respect to Employees of the
Company (other than to the extent arising out of their employment by Buyer) with respect to the
period prior to the Closing.

                        (b)     Subject to the limits set forth in this Article 7, from and after the
Closing, Buyer and the Company, jointly and severally, agree to indemnify, defend and hold the
Selling Members, and their respective agents and representatives (the “Seller Indemnified
Persons”) harmless from and in respect of any and all Losses that they incur or suffer arising out
of or by reason of or in connection with or due to (i) any breach of any representation or warranty
of Buyer set forth in this Agreement or any other Buyer Document, (ii) the failure to perform any
of the covenants or agreements of Buyer set forth in this Agreement or any other Buyer Document,
and (iii) the operation of the Company following the Closing Date.

                       (c)     Certain Limitations. Anything in this Article 7 to the contrary
notwithstanding:

                               (i)      neither the Buyer Indemnified Persons, on the one hand, nor
Seller Indemnified Persons, on the other hand, shall be entitled to recover pursuant to Section
7.1(a) or 7.1(b), as the case may be, in respect of breaches of representations and warranties (other
{00863216.DOCX;2 }
                                                 40
       Case 8-20-08049-ast       Doc 67      Filed 03/02/23     Entered 03/02/23 17:31:14




than the representations and warranties set forth in Sections 3.1 (Organization; Authority; Due
Execution), 3.5 (Capitalization) , 3.10 (Tax Matters), 3.17(b) Permits, 4.1 (Ownership of
Interest) and 4.2 (Authority), and Buyer’s representations and warranties set forth in Section
5.1(b) (Authority) (all such representations and warranties being herein called “Specified
Representations”)) from the respective other Party hereunder for any Losses, except to the extent
that the aggregate amount of any such Losses indemnifiable hereunder exceeds $75,000 (the
“Basket”), at which point, either the Buyer Indemnified Persons or the Seller Indemnified Persons,
as the case may be, will be obligated to indemnify the Party seeking indemnification for all such
Losses in excess of the Basket, subject to the other clauses of this Section 7.1(c);

                              (ii)    (a) neither the Buyer Indemnified Persons, on the one hand,
nor Seller Indemnified Persons, on the other hand, shall be entitled to recover for Losses (other
than for Losses on account of breaches of the Specified Representations) in an aggregate amount
in excess of the Cap and (b) neither the Buyer Indemnified Persons, on the one hand, nor Seller
Indemnified Persons, on the other hand, shall be entitled to recover for Losses, including Losses
on account of breaches of the Specified Representations, in an aggregate amount in excess of twice
the Cap.

                               (iii) none of the foregoing limitations on indemnification in
clauses (i) and (ii) of this Section 7.1(c) shall apply to any claim based on fraud or intentional
misrepresentation or willful ignorance;

                              (iv)   solely for purposes of calculating the amount of Losses
incurred arising out of or relating to any breach of a representation, warranty, covenant or
agreement (and not for purposes of determining whether or not such a breach has occurred) any
reference to “Material Adverse Effect” or any other materiality qualifications in such
representation, warranty, covenant or agreement shall be disregarded; and

                                (v)    the amount which an Indemnifying Party is required to pay
to, for or on behalf of any Indemnified Party pursuant to this Article 7 shall be adjusted (including,
retroactively) by any insurance proceeds and any indemnity, contribution, or other similar payment
actually recovered by or on behalf of such Indemnified Party in reduction of the related
indemnifiable loss (the “Indemnifiable Loss”). Amounts required to be paid, as so reduced, are
hereinafter sometimes called an “Indemnity Payment.” If an Indemnified Party shall have
received or shall have had paid on its behalf an Indemnity Payment in respect of an Indemnifiable
Loss and shall subsequently receive insurance proceeds or other payment in respect of such
Indemnifiable Loss, then the Indemnified Party shall pay to the Indemnifying Party the amount of
such insurance proceeds or other payment or, if lesser, the amount of the Indemnity Payment. To
the extent that any Indemnified Party is entitled to indemnification pursuant to this Article 7, the
Indemnifying Party shall have rights of subrogation respecting, any rights and remedies (including
rights of indemnity, rights of contribution and other rights of recovery) that any Indemnified Party
may have to insurance policies or similar contracts with respect to which such Indemnified Party
is a beneficiary.

                             (vi)    Buyer may set off any amount to which it may be entitled
from the Selling Members under this Article against amounts payable to the Selling Members
pursuant to Sections 1.3 and 1.4 (provided, however that neither the exercise of, nor the failure to
{00863216.DOCX;2 }
                                                 41
       Case 8-20-08049-ast        Doc 67     Filed 03/02/23      Entered 03/02/23 17:31:14




exercise such right to setoff will constitute an election of remedies or limit Buyer in any manner
in the enforcement of any other remedies that may be available to it).

                              (vii) The Buyer Indemnified Persons and the Seller Indemnified
Persons shall in good faith use commercially reasonable efforts to mitigate Losses in connection
with any claim under Section 7.1(a) and Section 7.1(b), respectively.

                              (viii) Any Losses for which any Indemnified Party is entitled to
indemnification under this Article 7 shall be determined without duplication of recovery to the
extent such Indemnified Party has been indemnified or reimbursed for such Loss under any other
provision of this Agreement; and

                        (d)     Survival.

                                 (i)     The representations, warranties and covenants of the Parties
contained in this Agreement, any other Seller Document or Buyer Document, as the case may be,
or in any instrument delivered pursuant hereto or thereto will survive the Closing and will remain
in full force and effect thereafter, except that the representations and warranties of the Parties shall
expire twelve (12) months following the Closing; provided, that: (i) such representations and
warranties shall survive beyond such period with respect to any breach thereof if written notice
thereof shall have been duly given within such period, (ii) the representations and warranties set
forth in Sections 3.10 (Tax Matters) and 3.12 (Employee Benefits) shall survive the Closing
until one (1) month following the lapse of the applicable statute of limitations, and (iii) the
representations and warranties set forth in Sections 3.1 (Organization; Authority; Due
Execution), 3.5 (Capitalization), 4.1 (Ownership of Interest), 4.2 (Authority) and 5.1(b)
(Authority) shall survive indefinitely. None of the foregoing limitations on survival shall apply in
the case of fraud, intentional misconduct or intentional misrepresentation.

                               (ii)     Subject to Section 7.1(d)(i) above, all other claims for
indemnification with respect to Losses incurred by the Buyer Indemnified Parties pursuant to
Section 7.1(a) shall be asserted within a period of three (3) years following the Closing (and if not
asserted within such period shall lapse); provided, however, (1) any claims for indemnification
with respect to Losses incurred by the Buyer Indemnified Parties pursuant to Sections 7.1(a)(vii)
or (viii) may be asserted indefinitely and (2) any claims for indemnification with respect to Losses
incurred by the Buyer Indemnified Parties pursuant to Section 7.1(a)(v) shall be asserted within a
period of four (4) years following the Closing (and if not asserted within such period shall lapse).

                        (e)     Notice and Opportunity to Defend. The following shall apply:

                              (i)     If there occurs an event (a “Covered Proceeding”) which a
Party asserts is an indemnifiable event pursuant to Section 7.1(a) or 7.1(b), the Party or Parties
seeking indemnification (the “Indemnified Party”) shall notify the other Party or Parties obligated
to provide indemnification (the “Indemnifying Party”) promptly. If such event involves any claim
or the commencement of any action or proceeding by a third person, the Indemnified Party shall
give such Indemnifying Party prompt written notice of such claim or the commencement of such
action or proceeding; provided, however, that the failure to provide prompt notice as provided
herein will relieve the Indemnifying Party of its obligations hereunder only to the extent that such
failure prejudices the Indemnifying Party hereunder. In case any such action shall be brought
{00863216.DOCX;2 }
                                                  42
       Case 8-20-08049-ast           Doc 67    Filed 03/02/23    Entered 03/02/23 17:31:14




against any Indemnified Party and after such Indemnified Party has notified the Indemnifying
Party of the commencement thereof, the Indemnifying Party shall be entitled to assume the defense
thereof, with counsel reasonably selected by the Indemnifying Party and reasonably approved by
the Indemnified Party after notice from the Indemnifying Party to the Indemnified Party. The
Indemnifying Party and the Indemnified Party agree to cooperate fully with each other and their
respective counsel in connection with the defense, negotiation or settlement of any such action or
asserted liability.

                               (ii)    If the Indemnifying Party agrees to assume the defense of a
Covered Proceeding, the Indemnified Party shall have the right to participate at its own expense
in the defense of such action or asserted liability. If the Indemnifying Party is otherwise entitled to
control the settlement of a Covered Proceeding (subject to the requirements and limitations of this
Section 7.1), the Indemnifying Party will be entitled to control such settlement only if (A) the
terms of such settlement require no more than the payment of money (for example, such settlement
does not require the Indemnified Party to admit any wrongdoing or take or refrain from taking any
action), (B) the full amount of such monetary settlement is fully paid by the Indemnifying Party,
and (C) the Indemnified Party receives as part of such settlement a legally binding and enforceable
unconditional satisfaction and release of all claimed liabilities or obligations in form and substance
reasonably satisfactory to the Indemnified Party.

                 Section 7.2 Exclusive Remedy. From and after the Closing, Buyer Indemnified
 Persons and Seller Indemnified Persons’ sole and exclusive remedy, whether in any individual,
 corporate or any other capacity, with respect to any and all Losses arising under this Agreement
 or the transactions contemplated hereby, regardless of the legal theory under which such liability
 or obligation may be sought to be imposed, whether sounding in contract or tort, or whether at
 law or in equity, or otherwise, shall be pursuant to the provisions of this Article 7.

                Section 7.3 Payments. Any amounts owed to the Buyer by the Selling Members
 (or any one or more of the Selling Members) pursuant to the terms of this Agreement, including
 but not limited to, Section 1.2, Section 1.5, Section 1.6, Article 7, shall be paid to the Buyer as
 a payment by the Selling Members in cash or available funds to an account designated by the
 Buyer within five (5) Business Days of the final determination of such payment.



                                               ARTICLE 8

                                              DEFINITIONS

                Section 8.1 Definitions. For purposes of this Agreement, the following terms
 used in this Agreement shall have the meanings ascribed to them below:

                     “409A Plan” has the meaning ascribed to such term in Section 3.10(a)(xv).

               “Additional Interim Financial Statement” has the meaning ascribed to such term
in Section 3.14(a).


{00863216.DOCX;2 }
                                                   43
       Case 8-20-08049-ast           Doc 67     Filed 03/02/23    Entered 03/02/23 17:31:14




               “Affiliate” of any Person means another Person that directly or indirectly, through
one or more intermediaries, controls, is controlled by, or is under common control with, such first
Person.

                 “Agreement” has the meaning ascribed to such term in the Preamble.

                 “Annual Financial Statements” has the meaning ascribed to such term in Section
3.14(a).

                     “Basket” has the meaning ascribed to such term in 7.1(c)(i).

                “Books and Records” means all operating data and records of the Company which
are necessary to and used in the operation of the Business or that are located at the Company’s
primary offices, in each case including all books of account, ledgers, general, financial, accounting,
tax, warranty, shipping records, invoices, management letters from accountants, purchase and sales
records and information, customers’ records, records pertaining to customer requirements,
equipment maintenance and warranty information, customer and prospect lists, correspondence,
catalogues, promotion materials, customer contacts, customer invoices, customer returns and
vendor product information, credit and collection records, and all other files, records, literature
and other documents of the Company, whether in written, electronic or other form.

                 “Breaching Party” has the meaning ascribed to such term in Section 6.4(c).

              “Business” means the business activities, operations and affairs of the Company
currently conducted.

              “Business Day” means any day other than a Saturday, a Sunday or a day on which
commercial banking institutions in New York, New York are authorized or obligated by law or
executive order to be closed.

                 “Buyer” has the meaning ascribed to such term in the Preamble.

                 “Buyer Documents” has the meaning ascribed to such term in Section 5.1(b).

                 “Buyer Indemnified Persons” has the meaning ascribed to such term in Section
7.1(a).

                 “Buyer Prepared Return” has the meaning ascribed to such term in Section
6.3(d).

               “Cap” means fifty percent of an amount equal to (i) all amounts paid by Buyer
pursuant to Article 1 less (ii) all amounts paid to Buyer by the Selling Members pursuant to Article
1.

                     “Closing” has the meaning ascribed to such term in Section 2.1.

                 “Closing Accounts Receivable” has the meaning ascribed to such term in Section
1.5(f).
{00863216.DOCX;2 }
                                                    44
        Case 8-20-08049-ast         Doc 67    Filed 03/02/23    Entered 03/02/23 17:31:14




                 “Closing Balance Sheet” has the meaning ascribed to such term in Section 1.5(a).

                 “Closing Date” has the meaning ascribed to such term in Section 2.1.

                 “Closing Date Calculation” has the meaning ascribed to such term in Section
1.5(a).

                 “Closing Payment” has the meaning ascribed to such term in Section 1.2(a)

                 “Closing Working Capital” has the meaning ascribed to such term in Section
1.5(a).

                “Code” means the Internal Revenue Code of 1986, as amended. All citations to
the Code or to the regulations promulgated thereunder shall include any amendments or any
substitute or successor provisions thereto.

                 “Company” has the meaning ascribed to such term in the Preamble.

                 “Company Leased Property” has the meaning ascribed to such term in Section
3.8.

                 “Company Leases” has the meaning ascribed to such term in Section 3.8.

                 “Company Privacy Policies” has the meaning ascribed to such term in Section
3.29.

              “Compensation and Benefits Plans” has the meaning ascribed to such term in
Section 3.12(a).

                 “Confidential Information” has the meaning ascribed to such term in Section
6.4(b).

               “Consent” means any consent, approval, authorization, waiver, permit, grant,
franchise, concession, agreement, license, exemption or order of, registration, certificate,
declaration or filing with, or report or notice to, any Person, including but not limited to any
Governmental Entity.

              “Contracts” or “Contract” means all contracts, agreements, leases, licenses,
franchises, purchase orders, sale, license or service orders, instruments, commitments,
arrangements and understandings (in each case, whether written or oral and including all
amendments thereto) to which the Company is a party or by which the Company is bound or under
which the Company or the Business has any rights or is entitled to any benefits but excluding
therefrom any licenses for “shrink-wrapped-off-the-shelf software”.

                 “Covered Proceeding” has the meaning ascribed to such term in Section 7.1(e).

                     “Disputed Item” and “Disputed Items” has the meaning ascribed to such term in
Section 1.5(d).

{00863216.DOCX;2 }
                                                  45
       Case 8-20-08049-ast           Doc 67    Filed 03/02/23   Entered 03/02/23 17:31:14




               “Earn-Out Payment(s)” means either or both of the Period 1 Earn-Out Payment
and the Period 2 Earn-Out Payment, as applicable and to the extent earned hereunder.

               “EBITDA” means earnings before interest, taxes, depreciation and amortization;
provided, however that the calculation of EBITDA shall not include any corporate or
administrative overhead costs of Buyer or its affiliates that is allocated to the Company.

                 “Effective Date” has the meaning ascribed to such term in the Preamble.

              “Employees” mean current and former employees and consultants of the
Company, including leased and temporary employees, involved in whole or in part in the Business.

                 “Employment Agreements” has the meaning ascribed to such term in Section 6.8.

                “Environmental Law” means any Law, permit, authorization, policy, opinion,
common law or agency requirement applicable to the Company relating to: (i) the protection,
investigation or restoration of the environment, health and safety, or natural resources or exposure
to any harmful or hazardous material, (ii) the handling, use, presence, disposal, release or
threatened release of any chemical substance or waste water, or (iii) noise, odor, wetlands,
pollution, contamination or any injury or threat of injury to persons or property, including, without
limitation, the Comprehensive Environmental Response, Compensation and Liability Act of 1980,
as amended, the Resource Conservation and Recovery Act, the Occupational and Safety and
Health Act (solely to the extent related to Hazardous Substances), Clean Water Act and the Oil
Pollution Act.

                 “ERISA” has the meaning ascribed to such term in Section 3.12(b).

                     “Excluded Earnings” has the meaning ascribed to such term in Section 1.6(a).

               “Excluded Liabilities” means any and all of the debts, liabilities, claims and
obligations of one or more members of the Company, whether fixed, contingent or otherwise, in
each case to the extent existing or accrued or required to be accrued at or as of the Closing, or
made, asserted or arising after the Closing but based upon or arising from any act, transaction,
circumstance, sale or providing of goods or services, state of facts or other condition which
occurred or existed on or prior to the Closing, whether or not then known, due or payable,
including, without limitation, the following (but excluding the Qualified Accounts Payable):

                              (i)    any claims, liabilities or obligations against or of the
Company under or arising out of any actual or claimed equity option, equity purchase, equity-
based incentive, profit-sharing or similar plan(s), program(s), agreement(s) or arrangement(s)
and/or under any and all qualified or non-qualified equity options, grants or awards and/or any
other agreement, arrangement or understanding to make a payment to any manager, officer or
employee in connection with the sale of the Interests or any transaction described in this
Agreement;

                             (ii)     any and all claims, liabilities and obligations against or of
the Company by, of or to any of its present or former direct or indirect shareholders, including any

{00863216.DOCX;2 }
                                                   46
       Case 8-20-08049-ast        Doc 67      Filed 03/02/23      Entered 03/02/23 17:31:14




arising out of any action by the Company in connection with any of the transactions described in
this Agreement;

                              (iii) any and all claims, liabilities and obligations in respect of
brokerage or finder’s fees payable by the Company and all investment banking, legal, accounting
and other consulting or similar costs and expenses incurred by the Company in connection with
the negotiation, execution and/or consummation of this Agreement and/or any of the transactions
described in this Agreement;

                             (iv)   any and all Transaction Expenses, Indebtedness of the
Company and Payables (other than Qualified Accounts Payable) and any and all other liabilities
and obligations of the Company to the Selling Member or any Affiliate(s) of the Selling Member
(whether current or long-term);

                             (v)    any and all claims, liabilities and obligations against or of
the Company as a guarantor, co-obligor or surety of or with any other Person, or arising by reason
of the Company being an Affiliate of a Selling Member or against or of any Affiliate of a Selling
Member;

                               (vi)     any and all claims, liabilities and obligations for or in respect
of any and all foreign, federal, state and local Taxes of or imposed on the Company for any Pre-
Closing Tax Period);

                           (vii) any and all claims, liabilities and obligations against or of
the Company on account of Proceedings;

                                (viii) any and all claims, liabilities and obligations against or of
the Company with respect to any Compensation and Benefits Plans arising out of any events
occurring, or circumstances or state of facts existing, prior to the Closing Date, it being agreed and
understood that the Company or the Buyer, and not the Selling Member, shall be responsible for
all Compensation and Benefits Plans arising out of any events occurring, or circumstances or state
of facts existing, after the Closing Date so long as such event is not triggered by the Closing; or

                                 (ix)    any and all claims, liabilities and obligations against or of
the Company based on or arising from the presence of any Hazardous Substance on any of the
Company Leased Property in violation of applicable Environmental Law, or any Hazardous
Discharge on or prior to the Closing Date in violation of applicable Environmental Law, and/or
the failure to obtain any license or permit required in connection with any Hazardous Substance
or Hazardous Discharge in order to comply with applicable Environmental Law or the retention,
disposal, treatment or use thereof, and/or arising out of any, in each case, based on or arising from
any act, transaction, state of facts or other condition which occurred or existed before the Closing
Date in violation of applicable Environmental Law, on, from, involving or by any of the Company
Leased Property, or the Company, or any of its Affiliates, and/or any demand of any government
agency or authority or other Person prior to, on or after the Closing Date which is based upon or
in any way related to any discharge of any Hazardous Substance, the presence, use, disposal or
treatment of a Hazardous Substance in violation of applicable Environmental Law prior to the
Closing Date, on, from, involving or by any of the Company Leased Property, the Company or
any of its Affiliates.
{00863216.DOCX;2 }
                                                   47
       Case 8-20-08049-ast        Doc 67     Filed 03/02/23      Entered 03/02/23 17:31:14




                 “Financial Statements” has the meaning ascribed to such term in Section 3.14(a).

                 “First Earn-Out Period” has the meaning ascribed to such term in Section 1.3(a).

                 “GAAP” means U.S. generally accepted accounting principles, consistently
applied.

                 “Government Bid” has the meaning ascribed to such term in Section 3.19(a)(iv).

                 “Government Contract” has the meaning ascribed to such term in Section
3.19(a)(iv).

                “Governmental Entity” means (a) any supranational, federal, state, local,
municipal, foreign or other government; (b) any governmental or quasi-governmental entity of any
nature (including any governmental agency, branch, department, official or entity and any court or
other tribunal); or (c) any body, authority or agency exercising or entitled to exercise any
administrative, executive, judicial, legislative, police, regulatory or taxing authority, including any
arbitral tribunal.

              “Hazardous Discharge” means the use, management, handling, transport,
treatment, generation, storage, spill, escape, seepage, leakage, spillage, emission, release,
discharge, remediation or clean-up of any Hazardous Substance on or about any of the Company
Leased Property or caused by the Company.

               “Hazardous Substance” means any substance that is: (a) listed, classified or
regulated in any concentration pursuant to any Environmental Law, (b) any petroleum product or
by-product, asbestos-containing material, lead-containing paint or plumbing, polychlorinated
biphenyls, radioactive materials or radon, or (c) any other substance which may be the subject of
regulatory action by any Governmental Entity pursuant to any Environmental Law.

                 “HIPAA” has the meaning ascribed to such term in Section 3.12(b).

                “Indebtedness” means, without duplication, and in each case whether fixed,
contingent or otherwise, and to the extent existing or accrued or required to be accrued at or as of
the Closing, (a) any indebtedness for borrowed money or issued in substitution for or exchange of
indebtedness for borrowed money, (b) any indebtedness evidenced by any note, bond, debenture
or other debt security, including “overdraft”, (c) all indebtedness for the deferred purchase price
of property or a business represented by a note, or earn-out or contingent purchase payment
obligation, (d) all indebtedness created or arising under any conditional sale or other title retention
agreement with respect to property acquired (even though the rights and remedies of the seller or
lender under such agreement in the event of default are limited to repossession or sale of such
property), (e) all indebtedness secured by a purchase money mortgage or other Lien to secure all
or part of the purchase price of the property subject to such mortgage or Lien, (f) all obligations
under leases which shall have been or must be, in accordance with GAAP, recorded as capital
leases, (g) any credit extended in the nature of banker’s acceptances or letters of credit, (h) any
obligations (including, but not limited to, interest, fees, penalties and other expenses) under any
interest rate swap agreements or instruments, (i) all interest, fees and other expenses owed with
respect to the indebtedness referred to above, and (j) all indebtedness and liabilities referred to
{00863216.DOCX;2 }
                                                  48
       Case 8-20-08049-ast        Doc 67     Filed 03/02/23     Entered 03/02/23 17:31:14




above which is directly or indirectly guaranteed, and, with respect to (a) to (j) above, all premiums,
penalties, charges, fees, expenses and other amounts that are or would be due (including with
respect to early termination) in connection with the payment and satisfaction in full of such
obligations.

                 “Indemnifiable Loss” has the meaning ascribed to such term in Section 7.1(c)(vi)

                 “Indemnified Party” has the meaning ascribed to such term in Section 7.1(e)(i).

                 “Indemnifying Party” has the meaning ascribed to such term in Section 7.1(e)(i).

                 “Indemnity Payment” has the meaning ascribed to such term in Section 7.1(c)(v).

                “Independent Auditor” means a mutually agreeable independent nationally
recognized accounting firm who has not then provided services to any Party in the previous two
(2) years (a “Neutral Firm”) that will agree to act as Independent Auditor. If: (i) Buyer and the
Selling Member Representative are unable to agree on the selection of an Independent Auditor
within fifteen (15) days of the conclusion of the period described above, then each of Buyer, on
the one hand, and the Selling Member Representative, on the other hand, shall select one Neutral
Firm and those two Neutral Firms together shall appoint a Neutral Firm as Independent Auditor
hereunder, and such appointment shall be conclusive and binding on all of the Parties; or (ii) if any
Party does not select a Neutral Firm within ten (10) days of written demand therefor by the other
Party, then the Neutral Firm selected by the other Party shall act as the Independent Auditor.

                “Intellectual Property” means any know-how, proprietary rights or other
intellectual property, including without limitation, trade secrets, inventions, formulae, processes,
patents (including all reissues, divisions, continuations and extensions thereof), patent
applications, Trademarks, Trademark registrations, Trademark applications, service marks,
service mark registrations, service mark applications, copyrights, copyright registrations,
copyright applications, web sites and home pages, uniform resource locators, domain names, all
rights to, and all intellectual property used or necessary to, create, publish, modify or maintain,
any website or home page, customer and vendor information, lists and data bases, customer files,
customer lists, mailing and subscription lists, supplier lists, information not known to the general
public, literary works, whether or not copyrightable, ideas, concepts, designs, drawings,
discoveries, product and service developments, inventions, improvements, processes, logos,
software, source codes and materials, object codes and materials, algorithms, techniques,
technology, technical information, research material, prototypes and models.

                 “Interests” has the meaning ascribed to such term in the Preamble.

                 “Interim Financial Statement” has the meaning ascribed to such term in Section
3.14(a).

                 “IRS” has the meaning ascribed to such term in Section 3.10(a)(vi).

                 “Law” or “Laws” has the meaning ascribed to such term in Section 3.17(a).


{00863216.DOCX;2 }
                                                 49
       Case 8-20-08049-ast       Doc 67     Filed 03/02/23     Entered 03/02/23 17:31:14




                 “License Agreements” has the meaning ascribed to such term in Section
3.13(b)(i).

                “Liens” means, with respect to any property or asset, all liens, mortgages, pledges,
security interests, conditional sales agreements, purchase options, rights of first refusal or other
encumbrance of like nature in respect of such property or asset.

               “Losses” means any and all losses, damages, costs, deficiencies and reasonable
expenses (including reasonable fees and expenses of counsel incident to any of the foregoing, or
incurred in investigating or attempting to avoid the same or to oppose the imposition thereof, or in
enforcing any of the obligations of any Indemnifying Party), excluding punitive damages.

              “MAC” has the meaning ascribed to such term in the definition of “Government
 Healthcare Program Contractor”.

                “Material Adverse Effect” means any change or effect (or any development that
is reasonably likely to result in any change or effect) that (a) is materially adverse to the assets,
Business, financial condition, or results of operations of the Company, or (b) would materially and
adversely impair the ability of the Selling Members to consummate the transactions described in
this Agreement; provided however, that “Material Adverse Effect” does not include material
adverse changes or effects on the assets, Business, financial condition or results of operations of
the Company caused by events, conditions or circumstances that generally affect the economy or
the industry in which the Company operate and do not affect the Company disproportionately.

                 “Material Contracts” has the meaning ascribed to such term in Section 3.19(a).

               “Medicaid” means the need-based health care program established under Title XIX
of the Social Security Act.

               “Medical Waste” means any solid or liquid waste that is generated in the diagnosis,
treatment, or immunization of human beings or animals, in research pertaining thereto, or in the
production or testing of biologicals, including, without limitation, blood soaked bandages; culture
dishes and other glassware; discarded surgical gloves; discarded surgical instruments; discarded
syringes and needles used to give shots or draw blood; blood and blood products; cultures, stocks,
swabs used to inoculate cultures; removed body organs or other body tissue; human body waste;
and discarded lancets.

               “Medicare” means the health care program for individuals sixty five (65) years of
age and over, certain disabled individuals, and certain individuals with end-stage renal disease
established under Title XVIII of the Social Security Act.

               “Medicare Advantage” means the health insurance program for certain
individuals sixty five (65) years of age and over established under Part C of Title XVIII of the
Social Security Act usually in the form of a coordinated care program and generally administered
by non-governmental entities.

                 “Minimum Working Capital” has the meaning ascribed to such term in Section
1.4(c).
{00863216.DOCX;2 }
                                                 50
       Case 8-20-08049-ast           Doc 67    Filed 03/02/23    Entered 03/02/23 17:31:14




                “Net Revenue” means, for any particular period, the sum of (i) the gross revenues
generated by the Company and its Subsidiaries for services rendered or products sold less (ii)
amounts paid by the Company and its Subsidiaries to physicians and other medical professionals
and practices in connection with services that resulted in payments to the Company and its
Subsidiaries less (iii) amounts that the Company and its Subsidiaries paid to any Person for
payments of commissions and sharing of administrative fees in connection with services that
resulted in payments to the Company (iv) less the costs incurred by the Buyer in connection with
the acquisition of the Interests.

            “Neutral Firm” has the meaning ascribed to such term in the definition of
 “Independent Auditor”.

                     “Objection Notice” has the meaning ascribed to such term in Section 1.5(c).

             “OCR” means the Office for Civil Rights of the United States Department of
Health and Human Services.

              “OIG” means the Office of the Inspector General of the United States Department
of Health and Human Services.

            “Ordinary Course of Business” means the ordinary course of business of the
Company consistent with past custom and practice (including with respect to frequency and
amount).

                  “Owned Intellectual Property” has the meaning ascribed to such term in Section
3.13(a).

                  “Party” or “Parties” has the meaning ascribed to such term in the Preamble.

               “Payables” means all accounts payable, accrued expenses and other amounts
payable of the Company, in each case whether fixed, contingent or otherwise, whether invoiced or
not, and to the extent existing or accrued or required to be accrued at or as of the Closing Date,
determined in accordance with GAAP or consistent with the Company’s existing method of
accounting and income tax reporting.

                  “Pension Plan” has the meaning ascribed to such term in Section 3.12(b).

                  “Period 1 Earn-Out Payment” has the meaning ascribed to such term in Section
1.3(a).

                     “Period 1 Earn-Out Calculation” has the meaning ascribed to such term in
Section 1.3(c).

                     “Period 2 Earn-Out Calculation” has the meaning ascribed to such term in
Section 1.3(c).

                  “Period 2 Earn-Out Payment” has the meaning ascribed to such term in Section
1.3(b).
{00863216.DOCX;2 }
                                                    51
          Case 8-20-08049-ast      Doc 67    Filed 03/02/23    Entered 03/02/23 17:31:14




                 “Permits” has the meaning ascribed to such term in Section 3.17(b).

                 “Permitted Liens” means: (a) inchoate Liens for current taxes not yet due and
payable and (b) minor Liens that have arisen in the Ordinary Course of Business (including
mechanics’, workers’, landlords’, warehousemen’s, bailees’, licensor’s and other statutory liens
(or other liens arising by operation of law) incurred in the Ordinary Course of Business for amounts
not in default or being contested in good faith, and deposits or pledges to secure obligations under
workmen’s compensation or similar laws), which in each case and in the aggregate, are not
substantial in amount, do not materially detract from the value of the assets subject thereto or
materially impair the operations of the Business.

                “Person” means an individual, corporation, partnership, limited liability company,
trust or unincorporated organization or a Governmental Entity, or any other entity.

                 “Personal Data” means Protected Health Information, as defined in HIPAA.

                 “Personal Property” has the meaning ascribed to such term in Section 3.7(a).

                “Pre-Closing Tax Period” means any taxable period or portion thereof ending on
or prior to the Closing Date.

                “Privacy and Security Laws ” shall mean Laws regarding collecting, accessing,
using, disclosing, electronically transmitting, securing, sharing, transferring and storing Personal
Data including federal, state or foreign laws or regulations regarding (a) data privacy and
information security, (b) data breach notification (as applicable), (c) unfair or deceptive practices
relating to data privacy and security and (d) trespass, computer crime and other Laws governing
unauthorized access to or use of electronic data.

                “Privacy and Security Regulations” means HIPAA, Title XIII HITECH, and the
related regulations contained in 45 C.F.R. Parts 160 and 164.

                 “Proceedings” has the meaning ascribed to such term in Section 3.6.

                 “Protected Health Information” has the meaning set forth in 45 C.F.R. § 160.103.

                 “Purchase Price” has the meaning ascribed to such term in Section 1.1.

                 “Purchase Price Allocation” has the meaning ascribed to such term in Section
6.3(i).

                 “Qualified Accounts Payable” has the meaning ascribed to such term in Section
1.4(a).

                     “Refundable Payment by a Client” has the meaning ascribed to such term in
Section 1.6(a).

               “Reimbursable Expenses” mean any and all expenses, including those related to
automobiles, telephones, memberships, travel and entertainment, of managers, directors, officers,
{00863216.DOCX;2 }
                                                 52
       Case 8-20-08049-ast         Doc 67     Filed 03/02/23       Entered 03/02/23 17:31:14




employees and consultants of the Company that the Company is obligated to reimburse or are of
the type that the Company has generally reimbursed.

                 “Required Payment” has the meaning ascribed to such term in Section 1.6(a).

                 “Resolution Period” has the meaning ascribed to such term in Section 1.5(d).

                 “Restricted Period” has the meaning ascribed to such term in Section 6.4(a).

                 “Second Earn-Out Period” has the meaning ascribed to such term in Section
1.3(a).

               “Seller Documents” means this Agreement and each other agreement, document
or instrument to be executed or delivered by the Company, any Selling Member, or the Selling
Member Representative pursuant to this Agreement, including the Kelly Employment Agreement.

                 “Seller Indemnified Persons” has the meaning ascribed to such term in Section
7.1(b).

              “Selling Member” or “Selling Members” has the meaning ascribed to such term
in the Preamble.

                     “Selling Member Representative” has the meaning assigned to it in the
Preamble.

                 “Selling Party” or “Selling Parties” has the meaning ascribed to such term in the
Preamble.

              “Selling Parties’ Knowledge” means the actual knowledge of the Selling
Members, after due inquiry with the appropriate Company personnel.

                “Software” means any and all (i) computer programs, including any and all
software implementations of algorithms, models and methodologies, whether in source code or
object code, (ii) databases and compilations, including any and all data and collections of data,
whether machine readable or otherwise, (iii) descriptions, testing scripts, schematics, flow-charts
and other work product used to design, plan, organize and develop any of the foregoing, and (iv)
all documentation, including user manuals, training materials and functional specifications or
similar documentation included as part of any License Agreement, relating to any of the foregoing.

                 “Specified Representations” has the meaning ascribed to such term in Section
7.1(c)(i).

                 “Straddle Period” has the meaning ascribed to such term in Section 6.3(a).

                 “Subsidiary” or “Subsidiaries” of any Person means another Person, an amount
of the voting securities, other voting rights or voting membership or partnership interests of which
is sufficient to elect at least a majority of its board of directors or other governing body (or, if there
are no such voting interests, fifty percent (50%) or more of any class or series of capital stock or
{00863216.DOCX;2 }
                                                   53
       Case 8-20-08049-ast           Doc 67    Filed 03/02/23    Entered 03/02/23 17:31:14




other partnership, joint venture, membership or other equity interest of which) is owned directly
or indirectly by such first Person.

                “Tax” or “Taxes” means all taxes, including (i) all federal, state, local, provincial
or foreign income or franchise taxes; (ii) all gross receipts, ad valorem, value-added, goods and
services, excise, real property, personal property, sales, use, transfer, withholding, employment,
unemployment, insurance, social security, business license, business organization, environmental
(including Taxes under Code section 59A), workers compensation, profits, license, lease, service,
service use, severance, stamp, occupation, windfall profits, customs, duties, franchise, net worth,
commercial profits and other taxes imposed by any Governmental Entity; (iii) any interest,
penalties, assessments or additions to tax resulting from, attributable to or incurred in connection
with any items listed in clauses (i) or (ii) of this paragraph; and (iv) any liability in respect of any
items described in clauses (i), (ii) and/or (iii) payable by reason of contract, assumption, transferee
liability, operation of law or Treasury Regulations section 1.1502-6(a) (or any predecessor or
successor thereof or any similar provision under law or otherwise).

                “Tax Benefit” means any actual reduction in Taxes payable for any year (or period)
or increase in Tax refunds received for any year (or other period).

                 “Tax Contest” has the meaning ascribed to such term in Section 6.3(f).

               “Tax Return” means any return, declaration, report, statement or information
return required to be filed with any Governmental Entity with respect to Taxes, including all
required Schedules and other attachments thereto, and any amendments thereof.

                “Trademarks” means all trademarks and service marks (whether registered or
unregistered), trade names and designs, together with all goodwill related to the foregoing owned
by or licensed to the Company.

                “Transaction Expenses” means the sum of the fees and expenses of third parties
(such as accountants, lawyers, consultants or other outside advisors) incurred by the Company
arising or resulting from the transactions described in this Agreement, which remain outstanding
as of the Closing Date.

                 “Transaction Regulations” means 45 C.F.R. Parts 160 and 162.

              “Transaction Tax Items” means any payments relating to (i) the repayment of
Indebtedness, (ii) any Transaction Expenses, (iii) any Payables and (iv) any indemnification
payments made by the Selling Members under this Agreement.

                     “UCC” has the meaning ascribed to such term in Section 1.4(b).

                 “Websites” has the meaning ascribed to such term in Section 3.13(g).




{00863216.DOCX;2 }
                                                   54
       Case 8-20-08049-ast        Doc 67        Filed 03/02/23   Entered 03/02/23 17:31:14




                                                ARTICLE 9

                                        MISCELLANEOUS

                 Section 9.1 Waiver. Any failure of any of the Selling Parties to comply with
 any of their obligations or agreements herein contained may be waived only in writing by Buyer.
 Any failure of Buyer to comply with any of its obligations or agreements herein contained may
 be waived only in writing by the Selling Member Representative. No waiver granted hereunder
 shall be deemed a waiver of any subsequent breach or default of the same or similar nature.

                 Section 9.2 Notices. All notices, requests, demands and other communications
 provided for hereunder shall be in writing and directed to each applicable party at the address
 set forth hereafter or at such other address as to which such party may inform the other parties
 in writing in compliance with the terms of this Section:

If to Selling Parties, then to:                         [___]

with a copy (which shall not constitute notice) to:     [___]


                 (a)    If to Buyer, then to:           Physicians Healthcare Network
                                                        Management, LLC
                                                        c/o Robinson Brog Leinwand et al.
                                                        875 Third Avenue
                                                        9th Floor
                                                        New York, New York 10022

with a copy (which shall not constitute notice) to:     Robinson Brog Leinwand et al.
                                                        875 Third Avenue
                                                        9th Floor
                                                        New York, New York 10022
                                                        Attention: A. Mitchell Greene, Esq.

Notices shall be deemed properly delivered and received (i) if personally delivered, upon receipt
thereof, (ii) five (5) days after having been sent by registered or certified mail, return receipt
requested, postage prepaid; or (iii) if sent by a commercial overnight courier for delivery on the
next Business Day, on the first Business Day after deposit with such courier for delivery. In this
Section, “notice” includes any demand or request permitted or required under this Agreement.




{00863216.DOCX;2 }
                                                   55
       Case 8-20-08049-ast           Doc 67     Filed 03/02/23    Entered 03/02/23 17:31:14




                     Section 9.3   Appointment of Selling Member Representative.

                        [___] is hereby appointed, authorized and empowered to act as a
 representative, for the benefit of the Selling Members (the “Selling Member Representative”),
 as the exclusive agent and attorney-in-fact to act on behalf of each Selling Member, in connection
 with and to facilitate the consummation of the transactions contemplated hereby, which shall
 include the power and authority:

                           (a)     to interpret the terms and provisions of this Agreement;

                    (b)     to execute and deliver such waivers and consents in connection with
this Agreement and the consummation of the transactions contemplated hereby as the Selling
Member Representative, in her sole discretion, may deem necessary or desirable;

                        (c)    to enforce and protect the rights and interests of the Selling Members
arising out of or under or in any manner relating to this Agreement, and each other agreement,
document, instrument or certificate referred to herein or therein or the transactions provided for
herein or therein (including, payments following the Closing, if any, pursuant to Sections 1.3, 1.4
and 1.5, and in connection with any and all claims for indemnification brought under Article 7
hereof) and to take any and all actions which the Selling Member Representative believes are
necessary or appropriate under this Agreement for and on behalf of the Selling Members;

                      (d)    to negotiate and compromise any dispute that may arise under this
Agreement or the related agreements, and to sign any releases or other documents with respect to
any such dispute; and

                       (e)     to make, execute, acknowledge, deliver and receive all such other
agreements, guarantees, orders, receipts, endorsements, notices, requests, instructions, certificates,
stock powers, letters and other writings, and, in general, to do any and all things and to take any
and all action that the Selling Member Representative, in its sole and absolute discretion, may
consider necessary or proper or convenient in connection with or to carry out the transactions
contemplated by this Agreement and all other agreements, documents or instruments referred to
herein or therein or executed in connection herewith and therewith.

Buyer shall have the right to rely upon all actions taken or omitted to be taken by the Selling
Member Representative pursuant to this Agreement, all of which actions or omissions shall be
legally binding upon the Selling Members. The grant of authority provided for herein (i) is coupled
with an interest and shall be irrevocable and survive the bankruptcy or liquidation of any Selling
Member; and (ii) shall survive the consummation of the transactions contemplated by this
Agreement. All decisions and actions by the Selling Member Representative, including without
limitation any agreement between the Selling Member Representative and the Buyer relating to
indemnification obligations of the parties under this Agreement, including the defense or
settlement of any claims and the making of payments with respect hereto, shall be binding upon
all of the Selling Members, and no Selling Member shall have the right to object, dissent, protest
or otherwise contest the same. The Selling Members shall indemnify the Selling Member
Representative with respect to any action taken or suffered by the Selling Member Representative
in reliance upon any notice, direction, instruction, consent, statement or other documents believed
by it to be genuinely and duly authorized, nor for any other action or inaction with respect to the
{00863216.DOCX;2 }
                                                    56
       Case 8-20-08049-ast           Doc 67    Filed 03/02/23    Entered 03/02/23 17:31:14




indemnification obligations of the parties under this Agreement, including the defense or
settlement of any claims and the making of payments with respect thereto, except to the extent
resulting from the Selling Member Representative’s own willful misconduct or gross negligence.
The Selling Member Representative may, in all questions arising under this Agreement and the
Exhibits, rely on the advice of counsel, and for anything done, omitted or suffered in good faith
by the Selling Member Representative, the Selling Member Representative shall not be liable to
the Selling Members.

                     Section 9.4   Governing Law; Consent to Jurisdiction and Waiver of Jury Trial.

                       (a)     This Agreement shall be governed by and construed in accordance
with the internal substantive laws, and not the choice of law rules, of the State of New York.

                       (b)     Each of the Parties irrevocably submits to the exclusive jurisdiction
of the United States District Court for the Southern District of New York located in New York
County, State of New York, or if such court does not have jurisdiction, the state courts of the State
of New York located in New York County for the purposes of any suit, action or other proceeding
arising out of this Agreement or any transaction contemplated hereby. Each of the Parties hereto
irrevocably and fully waives the defense of an inconvenient forum to the maintenance of such suit,
action or proceeding. Each of the Parties further agrees that service of any process, summons,
notice or document to such Party’s respective address listed above in one of the manners set forth
in Section 9.2 hereof shall be deemed in every respect effective service of process in any such suit,
action or proceeding; provided that with respect to this Section 9.4(b) only, any such notice solely
sent in accordance with Section 9.2 shall be deemed given only if and when actually received by
the other Party. Nothing herein shall affect the right of any Person to serve process in any other
manner permitted by Law. Each of the Parties hereto irrevocably and unconditionally waives any
objection to the laying of venue of any action, suit or proceeding arising out of this Agreement or
the transactions contemplated hereby in either of the courts named in this subsection and hereby
further irrevocably and unconditionally waives and agrees not to plead or claim in any such court
that any such action, suit or proceeding brought in any such court has been brought in an
inconvenient forum. The Parties hereto hereby irrevocably and unconditionally waive trial by jury
in any legal action or proceeding relating to this Agreement or any other agreement entered into
in connection therewith and for any counterclaim with respect thereto. Notwithstanding the
preceding, the Parties may subsequently agree in writing that any such proceeding may be brought
and maintained in any other court sitting in the United States that has jurisdiction.

                        (c)   The Parties further agree that should any dispute arise between the
parties pursuant to this Agreement, the losing party in any action shall be responsible for paying
the winning party’s reasonable attorney fees.

                 Section 9.5 Counterparts. This Agreement may be executed in two (2) or more
 counterparts, each of which shall be deemed an original but all of which together shall constitute
 one and the same instrument. Execution and delivery of this Agreement by delivery of a facsimile
 or electronically recorded copy in .pdf file or similar format bearing a copy of the signature of a
 Party shall constitute a valid and binding execution and delivery of this Agreement by such Party.
 Such copies shall constitute enforceable original documents.

{00863216.DOCX;2 }
                                                   57
       Case 8-20-08049-ast       Doc 67      Filed 03/02/23     Entered 03/02/23 17:31:14




               Section 9.6 Headings. The section headings contained in this Agreement are for
 reference purposes only and shall not affect in any way the meaning or interpretation of this
 Agreement.

                Section 9.7 Entire Agreement. This Agreement, including the Exhibits and
 Schedules hereto and the documents referred to herein, embodies the entire agreement and
 understanding of the Parties in respect of the subject matter contained herein other than the
 Confidentiality Agreement. This Agreement supersedes all prior agreements and understandings
 between the Parties with respect to the subject matter hereof other than the Confidentiality
 Agreement.

               Section 9.8 Amendment and Modification. This Agreement may be amended
 or modified only by written agreement of the Selling Member Representative and Buyer.

                 Section 9.9 Binding Effect; Benefits. This Agreement shall inure to the benefit
 of and be binding upon the Parties and their respective successors and permitted assigns; nothing
 in this Agreement, express or implied, is intended to confer on any Person other than the Parties
 and their respective successors and permitted assigns (and, to the extent provided in Section 7.1,
 the other Buyer Indemnified Parties and Seller Indemnified Parties) any rights, remedies,
 obligations or liabilities under or by reason of this Agreement.

                 Section 9.10 Joint Drafting. The Parties have participated jointly in the
 negotiation and drafting of this Agreement. In the event an ambiguity or question of intent or
 interpretation arises, this Agreement shall be construed as if drafted jointly by the Parties and no
 presumption or burden of proof shall arise favoring or disfavoring any Party by virtue of the
 authorship of any of the provisions of this Agreement.

                 Section 9.11 Severability. Whenever possible, each provision of this Agreement
 shall be interpreted in such manner as to be effective and valid under applicable Law, but if any
 provision of this Agreement is held to be prohibited by or invalid under applicable Law, such
 provision shall be ineffective only to the extent of such prohibition or invalidity, without
 invalidating the remainder of such provision or the remaining provisions of this Agreement so
 long as the economic or legal substance of the transactions described in in this Agreement is not
 affected in any manner materially adverse to any Party. Upon such determination that any term
 or other provision is invalid, illegal or incapable of being enforced, the Parties shall negotiate in
 good faith to modify this Agreement so as to effect the original intent of the Parties as closely as
 possible to the fullest extent permitted by applicable Law in an acceptable manner to the end that
 the transactions described in this Agreement are fulfilled to the extent possible.

                 Section 9.12 Interpretation. When a reference is made in this Agreement to an
 Article, Section, Schedule, or Exhibit, such reference will be to an Article or Section of, or a
 Schedule or Exhibit to, this Agreement unless otherwise indicated. Whenever the words
 “include,” “includes” or “including” are used in this Agreement, they will be deemed to be
 followed by the words “without limitation.” The words “hereof,” “herein” and “hereunder” and
 words of similar import when used in this Agreement will refer to this Agreement as a whole and
 not to any particular provision of this Agreement. All terms used herein with initial capital letters
 have the meanings ascribed to them herein and all terms defined in this Agreement will have such
{00863216.DOCX;2 }
                                                 58
       Case 8-20-08049-ast        Doc 67     Filed 03/02/23      Entered 03/02/23 17:31:14




 defined meanings when used in any certificate or other document made or delivered pursuant
 hereto unless otherwise defined therein. The definitions contained in this Agreement are
 applicable to the singular as well as the plural forms of such terms and to the masculine as well
 as to the feminine and neuter genders of such term. Unless otherwise indicated, any agreement,
 instrument or statute defined or referred to herein, or in any agreement or instrument that is
 referred to herein, means such agreement, instrument or statute as from time to time amended,
 modified or supplemented, including (in the case of agreements or instruments) by waiver or
 consent and (in the case of statutes) by succession of comparable successor statutes and references
 to all attachments thereto and instruments incorporated therein. References to a Person are also
 to its successors and permitted assigns.

                 Section 9.13 Assignability. This Agreement shall not be assignable by any Party
 hereto without the prior written consent of the other Parties; provided that Buyer (a) may grant a
 security interest in its rights under this Agreement to its lenders as security for Buyer’s obligations
 to such lenders (and such lenders may exercise their rights and remedies with respect to such
 security interest), (b) may assign its rights under the Agreement to any Affiliate of Buyer and (c)
 may assign its rights to indemnity, in whole or in part, to any Person that acquires an interest in
 Buyer or a material portion of its assets or the Business. Notwithstanding any assignment by
 Buyer described in clauses (b) and (c) of the proviso in the previous sentence of this Section,
 Buyer shall remain liable under this Agreement jointly and severally with the assignee. No such
 assignment shall be a novation of Buyer’s obligations under this Agreement.

                 Section 9.14 Attorneys’ Fees. If any Party hereto defaults in the performance of
 any of its obligations under this Agreement or if any dispute arises between Parties hereto
 concerning the meaning or interpretation of any provision of this Agreement, then the defaulting
 Party or the Party not prevailing in such dispute, as the case may be, shall pay any and all costs
 and expenses incurred by the other Party or Parties on account of such default and/or in enforcing
 or establishing its rights hereunder, including, without limitation, court costs (including costs of
 any trial or appeal therefrom), and reasonable attorneys’ fees and disbursements.

                Section 9.15 Specific Performance. The Parties agree that irreparable damage
 would occur in the event that any of the provisions of this Agreement were not performed in
 accordance with their specific terms or were otherwise breached. It is accordingly agreed that
 each Party shall be entitled to an injunction or injunctions to prevent breaches of this Agreement
 (without any obligation of such Party to post any bond or other surety in connection therewith)
 and to enforce specifically the terms and provisions of this Agreement in addition to any other
 remedy to which such Party may be entitled at law or in equity.

                 Section 9.16 Continuing Counsel. The Buyer hereby acknowledges that [___]
 has acted as counsel to the Company with respect to this Agreement and the transactions
 contemplated hereby. The following provisions apply to the attorney-client relationship between
 [___] and the Company following the Closing. The Buyer hereby agrees that (a) it will not seek
 to disqualify [___] from acting and continuing to act as counsel to the Selling Members or the
 Selling Member Representative either in the event of a dispute hereunder or in the course of the
 defense or prosecution of any claim relating to this Agreement or the transactions contemplated
 hereby, and (b) the Company has a reasonable expectation of privacy with respect to their
 communications (including any communications using the Company’s computer and email
{00863216.DOCX;2 }
                                                  59
       Case 8-20-08049-ast       Doc 67    Filed 03/02/23     Entered 03/02/23 17:31:14




 systems and servers) with [___] prior to the Closing to the extent that such communications relate
 to this Agreement or the transactions contemplated hereby. The Buyer agrees that it will respect
 the confidentiality and privileged nature of all such communications between [___] and the
 Company, and the Buyer agrees that it will not seek discovery of any such communications or
 otherwise claim any right of access or use to any such communications to the extent so privileged.
 The Selling Parties hereby acknowledge that Robinson Brog Leinwand Greene Genovese &
 Gluck PC has acted as counsel to the Buyer with respect to this Agreement and the transactions
 contemplated hereby. The Selling Parties hereby agree that they will not seek to disqualify
 Robinson Brog Leinwand Greene Genovese & Gluck PC from acting and continuing to act as
 counsel to the Buyer or the Company either in the event of a dispute hereunder or in the course
 of the defense or prosecution of any claim relating to this Agreement or the transactions
 contemplated hereby.



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       Case 8-20-08049-ast            Doc 67       Filed 03/02/23        Entered 03/02/23 17:31:14




IN WITNESS WHEREOF, the parties hereto have duly executed this Membership Interests
Purchase Agreement as of the date first above written.



                                                              PHYSICIANS HEALTHCARE NETWORK
                                                                  MANAGEMENT SOLUTIONS, LLC



                                                  By: _____________________________
                                                      Name:
                                                      Title:


                                                                          OBJECTTECH HOLDINGS, LLC




                                                  By: ________
                                                      Name: Arvind Walia
                                                      Title: Member



                                                       _______________________________
                                                       [___]


                                                       ________________________________
                                                       [___]


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                                                       [___]




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       Case 8-20-08049-ast            Doc 67       Filed 03/02/23        Entered 03/02/23 17:31:14




                          ASSIGNMENT OF MEMBERSHIP INTEREST


            FOR VALUE RECEIVED, the undersigned (“Assignor”) hereby sells, assigns,
transfers, grants and conveys unto PHYSICIANS HEALTHCARE NETWORK MANAGEMENT
SOLUTIONS, LLC, a Delaware limited liability company, all of Assignor’s right, title and interest
in OBJECTTECH HOLDINGS, LLC., a New York limited liability company (the “Company”),
standing in her name on the books said Company, together with all of her rights, powers and
obligations arising thereunder and does hereby irrevocably constitute and appoint the Secretary of
the Company as attorney-in-fact to transfer said interest on the books of the Company with full
power and substitution in the premises.

           IN WITNESS WHEREOF, the undersigned has executed this instrument as of the __,
day of June, 2017.




                                                              ______
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                                                              [___]




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       Case 8-20-08049-ast            Doc 67       Filed 03/02/23        Entered 03/02/23 17:31:14




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                                                              _____
                                                              ________________________

                                                              [___]




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       Case 8-20-08049-ast            Doc 67       Filed 03/02/23        Entered 03/02/23 17:31:14




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                                                              _____________________________

                                                              [___]




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Case 8-20-08049-ast   Doc 67   Filed 03/02/23   Entered 03/02/23 17:31:14




              EXHIBIT C
Case 8-20-08049-ast   Doc 67   Filed 03/02/23   Entered 03/02/23 17:31:14




HEALTH NETWORK
   MANAGEMENT                                                   Product
       SOLUTION                                                 Description




 This document provides a detailed description of the
AllRad Direct’s Health Network Management Solution
  including usage examples and screen shots of actual
                               product functionality.
          Case 8-20-08049-ast                         Doc 67            Filed 03/02/23                 Entered 03/02/23 17:31:14




                                                                              Health Network Management Solution



                                                              Table of Contents
Introduction .................................................................................................................................................. 2
Product Overview ......................................................................................................................................... 2
Functionality ................................................................................................................................................. 3
   Scheduling Referrals ................................................................................................................................. 3
   Information Management and Reporting................................................................................................. 4
   Product Management Functionality ......................................................................................................... 5
Technology and Architecture ........................................................................................................................ 5
   Compliance and Security .......................................................................................................................... 6
   Application ................................................................................................................................................ 7
   Network .................................................................................................................................................... 7
   Database ................................................................................................................................................... 7
Benefits ......................................................................................................................................................... 8
       Providers ............................................................................................................................................... 8
       Patients ................................................................................................................................................. 8
       Payers .................................................................................................................................................... 8
Usage Example ............................................................................................................................................ 10
   PCP One Healthcare Network ................................................................................................................. 10
Summary ..................................................................................................................................................... 11




5/7/2017                                                          Copyright Protected                                                             Page |1
      Case 8-20-08049-ast           Doc 67      Filed 03/02/23       Entered 03/02/23 17:31:14




                                                    Health Network Management Solution



Introduction
The Healthcare Industry is changing at an astounding rate. The days of fee for service appear to be
rapidly becoming a thing of the past and value based reimbursement models are rapidly evolving as the
future of revenue generation. The new focus on capitation based revenue models demands creative
new technology solutions that are able to track, monitor, and integrate all patient encounters and
clinical outcomes in the totality of the healthcare environment. Performing a diagnosis and prescribing
a treatment plan are no longer sufficient for providers to receive full remuneration. Providers are now
being required to follow-up and proactively intervene throughout the entire treatment program, until
the patient issue has been fully remediated.

CMS is mandating these changes to how providers are reimbursed, however it is clear that private
carriers are well on the way to initiating similar value based population wellness models. Existing billing,
PM, and EMR systems alone are not adequate to provide the necessary metrics and connectivity
required to deliver the quality of healthcare envisioned by these new revenue models. A new and more
open and connected solution is required.


Product Overview
AllRad Direct, AllRad, understands the changing needs of the healthcare community and we have
developed a technology solution that delivers a connected clinical network which meets the emerging
needs for patient tracking, monitoring, and scheduling. Our solution enables you to manage the welfare
of your patients by connecting you to a network of providers (hospitals, labs, pharmacies, physical
therapists, specialists, long term care facilities, etc.) allowing you to view and manage the continuity and
coordination of care for your patients. Our solution can be seamlessly integrated with payer systems
and provider’s PM and EMR systems through easy to configure application programming interfaces
API’s. We have also included API’s for extending functionality as new requirements are identified.

The AllRad solution provides state of the art technology to ensure that patients, providers, and payers
have complete access and insight into every aspect of the diagnosis, treatment, and follow-up for each
patient. The data base has been designed to facilitate population wellness management solutions of the
future by consolidating and storing clinical assessments, diagnostic laboratory and imaging results,
prescribed treatment regimens and care plans and their clinical outcomes for each patient.

Provider profitability will be based on their success in delivering high-quality and effective care to their
patients. Providers already realize that it is a financial necessity to be able to improve patient outcomes
and healthcare experiences. Fortunately, AllRad Health Network Management Solution has been
designed with this objective in mind.

In addition to our comprehensive connectivity with a wide range of ancillary healthcare providers and
payers our solution provides secure online portals for patients, providers, and payers along with


5/7/2017                                    Copyright Protected                                  Page |2
      Case 8-20-08049-ast          Doc 67     Filed 03/02/23       Entered 03/02/23 17:31:14




                                                  Health Network Management Solution

management dashboards for providers and patients. Our portals facilitate patient payments, status and
historical reporting, and every type of scheduling and referral transaction.

Figure 1. Product Overview:




Functionality
AllRad’s Health Network Management Solution delivers the tools that are required to help providers
transition to the emerging population wellness revenue models which are being mandated by
HCFA/CMS and an increasing number of private payers. While Accountable Care Organizations (ACO)
and Revenue Cycle Management (RCM) Companies are the primary target markets for this product
medical groups and primary care physicians (PCP) can also greatly benefit from owning AllRad’s Solution.

Scheduling Referrals
Our solution has comprehensive scheduling functionality. The entire scheduling process is automated and
facilitated with elaborate workflow management tools and user portals and dashboards.

Referrals can be entered manually by the referring physician’s administrative team through the provider
portal or via Fax or e-mail. If the referring provider has the capability, our system can accept automated
requests from their PM or EHR systems via EDI, secure FTP, or HL7 interface.

The system automatically calls the patient and notifies them of the need to schedule an appointment.
Patients may elect to accept the first available appointment, or request to be included in the scheduling
call with the referred facility/service. Where acceptable, the system will schedule an appointment;



5/7/2017                                  Copyright Protected                                 Page |3
        Case 8-20-08049-ast        Doc 67      Filed 03/02/23       Entered 03/02/23 17:31:14




                                                   Health Network Management Solution

notify the patient and the referring provider, and mark the request as scheduled. The patient is also able
to indicate their location and equipment preference.

The system has a scheduler portal and dashboard with work queues and alert mechanisms to ensure that
all referral requests are scheduled in a timely manner, patients are notified, and any required pre-
authorizations, demographics, or clinical documentation is complete and provided to the referred
facility/service.

The system also manages the tracking, monitoring, and billing for each scheduled patient encounter. In
addition to the request work queue the system provides follow-up queues for identifying patient no-
shows that require re-schedule, completed appointments that require follow-up for results, and billing
and billing follow-up queues. These queues are all equipped with customizable alerts to ensure that
patients keep their appointments, referring providers receive all the requested clinical documentation
requested from the referred facility/service, and that billing is done quickly, efficiently, and accurately.
The automated workflow along with the built-in automation ensures that ACO’s, Billers, and Private
Practices are able to manage the entire referral process in the most cost effective manner, while also
collecting the data necessary to meet value based reporting needs for utilization management and review
to ensure that they are profitable and that their patients receive the highest quality care at the lowest
possible cost.

The built in workflow includes an automated quality assurance and audit process that ensures data
integrity, accuracy, and completeness, user efficiency, and system and process compliance. The system
provides enhanced transparency to the entire process by providing the capability for schedulers,
providers, and payers to add annotations to each patient record. In the event that a patient is called and
does not answer the phone; the scheduler is able to quickly note that a call was made and a message left
on the answering machine simply by selecting the appropriate annotation message on the patient status
screen.

Information Management and Reporting
Information management and reporting are crucial components to any health network management
solution. AllRad delivers industry leading capabilities for information management and case reporting
required for value based revenue models. Our solution provides complete data for all of the following
areas:

        Referring Provider data,
        Patient demographic, insurance, and clinical data,
        Referred Facility/Service Provider data,
        Billing and Payment Data,
        Clinical Data from Referred Facility/Service,
        Patient Employer data, and
        Agreements between referring and referred facilities.



5/7/2017                                   Copyright Protected                                  Page |4
      Case 8-20-08049-ast          Doc 67      Filed 03/02/23      Entered 03/02/23 17:31:14




                                                  Health Network Management Solution

These extensive data resources are utilized by our reporting engine to deliver a rich variety of
customizable reports and the capability to generate ad-hoc and analytical reports. In addition to the
reporting provided by the system payers, providers, and patients can access the real-time information
on any patient, request, or billing based on our strict security and access requirements.

Our system produces utilization reports to support value based revenue systems. Providers use our
reporting capability to ensure that they have received the maximum revenue for their services and the
quality of the care they are providing.

Product Management Functionality
In addition to the robust scheduling, reporting, billing, and quality control functionality the AllRad
system provides tools to the technical and administrative teams to ensure that the system is finely
tuned and delivers world class performance. The technical tool kit that is delivered with the system
enables your technical team to optimize the network and data bases, manage security and access
control, and balance the application over multiple servers. The administrative tool kit allows you to
quickly modify the wording of alerts and annotation messages. Portals, dashboards, and portions of
user screens are able to be modified to meet changing business conditions.


Technology and Architecture
The AllRad Health Network Management Solution uses state of the art technology to deliver industry
leading innovation for ACO’s and Healthcare Practices. The Microsoft based technology enables easy
integration with most PM, RCM, and EHR solutions being used today. Figure 2 below provides an
overview of the basic architecture of our solution.




5/7/2017                                   Copyright Protected                                 Page |5
      Case 8-20-08049-ast          Doc 67      Filed 03/02/23      Entered 03/02/23 17:31:14




                                                  Health Network Management Solution
Figure 2.




Compliance and Security
The Health Network Management solution is a fully compliant healthcare application that protects
patient, provider, and payer information using a sophisticated and proprietary security system.
Providers and Payers are able to access only the data that they are authorized to view. Strict system
controls prevent individual users from updating or viewing data without the proper advance clearance
from the system. The access control and system security manual outlines best practices for keeping the
security current and fully compliant. Audits are performed annually on the latest releases of our
software by independent third parties to ensure that the product remains fully compliant and addresses
any changes in compliance regulations from the federal or state governments or commercial providers.

Encryption of messages containing clinical or patient data is an important feature of our product. The
automated encryption of all communication with data requiring encryption ensures that organizations
using our solution will always remain compliant with data encryption requirements.

Our team of professional technicians will work with users of our Health Network Management Solution
to install intrusion detection safe guards on all application components to ensure that potential attacks
on the system are thwarted before they can even access the system or data.




5/7/2017                                   Copyright Protected                                 Page |6
      Case 8-20-08049-ast          Doc 67     Filed 03/02/23       Entered 03/02/23 17:31:14




                                                  Health Network Management Solution


Application
All of the applications in this system are written in C# in the .NET 4.5 environment. The applications
have been designed to support customization and add-ons by providing Application Programming
Interfaces (API) in areas where our clients have expressed interest in attaching third party products or
proprietary solutions. For example there is an API to validate addresses, if you wish to add another layer
of quality assurance by utilizing a commercial solution to ensure that the patient demographic data is
correct.

Network
Our solution has been designed to operate seamlessly with many products in use today in the
Healthcare industry. PM, EHR, and RCM systems can all be interfaced with our health network
management solution through the use of HL7 interfaces. We also communicate with these systems
using a secure File Transfer Protocol (FTP) in case the 3rd party systems do not support HL7 interfaces.
Electronic Data Interchange (EDI) is also an available option for system owners who wish to enhance the
automation of their overall systems and processes.

Database
The AllRad system utilizes the SQL Server database for all data storage. The SQL Server database
solution is the industry leader for healthcare applications. There are many tools available to make
owning and maintaining these types of databases cost effective. There are many data recovery and
disaster recovery options available for this database system.




5/7/2017                                  Copyright Protected                                 Page |7
      Case 8-20-08049-ast          Doc 67      Filed 03/02/23      Entered 03/02/23 17:31:14




                                                   Health Network Management Solution



Benefits
The major benefit of using this system is the ease of managing, and billing referral requests; however
AllRad believes that with the advent of value based revenue models, this system will be a critical success
factor for all PCPs and ACOs as they try to provide their utilization reporting and measure the quality of
their services. This system will also be the basis for measuring the overall health of patient populations.

The following benefits are delivered to the various groups using the system; providers, patients, and
payers.

Providers
Providers using the system will be able to meet CMS requirements for Utilization Management and
Utilization Review. They will also receive productivity improvements in their offices.

     Automate, streamline, and dramatically reduce the cost of managing scheduling and referrals
      for the following
           o Specialists,
           o Lab and Imaging orders,
           o SNF, Long Term Care, and Hospitals,
           o Prescriptions, and
           o Physical Therapy
     Support reporting for population health management
     Enhance the quality and effectiveness of patient care and deliver documented improvements
      for treatment outcomes through coordination of references and results at the point of care.

Patients
This system also provides benefits to the patients of providers who utilize this system. While the biggest
benefit is the convenience this system delivers, the list below provides details on the specific benefits.

     Simplifies and Automates scheduling of referred services for patients
     Ensures that patients do not neglect to follow prescribed treatment or diagnosis procedures in a
      timely manner
     Reduces risk of complications or failure of treatment or diagnosis
     Simplifies and expedites the payment process, eliminating the laborious and redundant
      paperwork submission process.

Payers
Although this system is not designed to meet specific payer needs, it does provide benefits to payers
because of the improved operational performance on the part of the provider’s billing staff or BPO. The
improved accuracy and completeness of clinical documentation is the largest benefit; however the
following benefits often accrue to payers also.

     Reduced re-work due to missing or inaccurate demographic data or clinical documentation
     Reduced cost of operations


5/7/2017                                   Copyright Protected                                  Page |8
     Case 8-20-08049-ast       Doc 67     Filed 03/02/23    Entered 03/02/23 17:31:14




                                             Health Network Management Solution


    Expedited claims processing
    Enables value based wellness data audits
    Improved cost management for the population care through network utilization




5/7/2017                              Copyright Protected                           Page |9
      Case 8-20-08049-ast           Doc 67      Filed 03/02/23      Entered 03/02/23 17:31:14




                                                   Health Network Management Solution



Usage Example
The example of system usage described below is a hypothetical scenario based on the experience of
current system users.

PCP One Healthcare Network
Patient P came to Dr. D, a primary care physician, working in the PCP One Healthcare Network (PCP-1).
PCP-1 is a medical practice which belongs to an ACO that uses the AllRad Health Network Management
Solution.

Patient P has several symptoms that lead Dr. D to suspect that P may have a cardio pulmonary
condition. Dr. D orders that P go to a hospital and have a stress test and several blood tests. He also
asks P to return for further diagnosis when the results of the tests are complete.

Dr. D enters the test requests into his EHR system and at the end of the day they are automatically input
into the AllRad solution at the ACO office. The ACO call center staff uses the AllRad solution next
morning to automatically notify P that they need to schedule an appointment with the hospital for the
blood work and the stress test. When P is contacted, the call center makes the appointments with the
hospital that P requests at a time that is convenient to P. The system notifies Dr. D and P of the
appointment times and confirms with the hospital that P has accepted the appointments. The system
then automatically checks to see if P needs to have these tests pre-authorized based on the data that
was provided by Dr. D’s EHR system.

P forgets to go to his appointment so the system issues an alert that P did not show up for his
appointments at the hospital, which the system knew because it did not receive confirmation from the
hospital that P kept the appointment. The alert goes to both P and Dr. D along with the ACO scheduling
staff. The staff contacts P and reschedules the appointments for the tests.

This time P makes his appointments and the hospital sends the test results to the system, again as an
automated feed from their EHR system. The test results are stored with P’s patient data and also
automatically forwarded to Dr. D.

The ACO billing staff sends out bills to P’s insurance carrier for the tests and when they receive
payments they pay the Hospital. Any residual is automatically billed to P.

The data from all of these interactions is used for financial reporting and also to support the
requirements for value based payments or penalties.




5/7/2017                                   Copyright Protected                                    P a g e | 10
      Case 8-20-08049-ast         Doc 67      Filed 03/02/23      Entered 03/02/23 17:31:14




                                                 Health Network Management Solution



Summary
 The AllRad Health Network Management Solution is poised to be the industry standard platform for the
new network based value based wellness management healthcare business model. With state of the art
technology, and functionality that meets the current and known future needs of Health Network
Management defined by HCFA/CMS, AllRad’s solution delivers a secure, compliant, versatile, and
dynamic platform to ensure providers maximize revenues, minimize costs, and deliver the highest
quality patient care in the new population wellness management environment. By providing
customized portals and dashboards for providers, patients, and payers in a cloud based environment the
AllRad solution simplifies, automates, and reduces the cost of scheduling, monitoring, tracking, and
reporting on the complex network of ancillary services involved in the diagnosis and treatment of
patient healthcare issues.

Most importantly, the AllRad solution has been designed to meet both known and unknown future
requirements driven by a population wellness management business model. The solution is easily
scalable to meet the needs of rapidly growing IPA’s and ACO’s. It is fully compliant and secure with
intrusion detection, access control, and encryption as integral design features of the solution.
Innovative API’s are available to ensure seamless integration with current PM and EMR systems and
Business Intelligence Systems that will deliver the reporting and metrics necessary to meet the
requirements from HCFA/CMS and private payers going forward.




5/7/2017                                  Copyright Protected                               P a g e | 11
Case 8-20-08049-ast   Doc 67   Filed 03/02/23   Entered 03/02/23 17:31:14




              EXHIBIT D
Case 8-20-08049-ast   Doc 67   Filed 03/02/23   Entered 03/02/23 17:31:14




                                        Health Network
                                        Management Solution
                                        Innovation in Healthcare Networking
              Case 8-20-08049-ast   Doc 67   Filed 03/02/23   Entered 03/02/23 17:31:14




Presentation Contents
 Introduction
 Solution Overview
 Solution Capabilities and Benefits
   Healthcare Provider
   Payer
   Patient

 Technical Overview
 Summary
                         Case 8-20-08049-ast   Doc 67   Filed 03/02/23   Entered 03/02/23 17:31:14




Introduction
   The Healthcare Industry is changing at an astounding rate. The days of fee for service appear to be rapidly becoming
    a thing of the past and value based reimbursement models are rapidly evolving as the future of revenue generation.
    The new focus on capitation based revenue models demands creative new technology solutions that are able to track,
    monitor, and integrate all patient encounters and clinical outcomes in the totality of the healthcare environment.
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    remuneration. Providers are now being required to follow-up and proactively intervene throughout the entire treatment
    program, until the patient issue has been fully remediated.

   CMS is mandating these changes to how providers are reimbursed, however it is clear that private carriers are well on
    the way to initiating similar value based population wellness models. Existing billing, PM, and EMR systems alone are not
    adequate to provide the necessary metrics and connectivity required to deliver the quality of healthcare envisioned by
    these new revenue models. A new and more open and connected solution is required.
                            Case 8-20-08049-ast      Doc 67    Filed 03/02/23    Entered 03/02/23 17:31:14




Solution Overview
   AllRad Direct (AllRad) understands the changing needs of the healthcare community and we have developed a technology
    solution that delivers a connected clinical network which meets the emerging needs for patient tracking, monitoring, and
    scheduling. Our solution enables you to manage the welfare of your patients by connecting you to a network of providers
    (hospitals, labs, pharmacies, physical therapists, specialists, long term care facilities, etc.) allowing you to view and manage the
    continuity and coordination of care for your patients. Our solution can be seamlessly integrated with payer systems and provider’s
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    extending functionality as new requirements are identified.

   The AllRad solution provides state of the art technology to ensure that patients, providers, and payers have complete access and
    insight into every aspect of the diagnosis, treatment, and follow-up for each patient. The data base has been designed to
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    laboratory and imaging results, prescribed treatment regimens and care plans and their clinical outcomes for each patient.

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    Health Network Management Solution has been designed with this objective in mind.

   In addition to our comprehensive connectivity with a wide range of ancillary healthcare providers and payers our solution provides
    secure online portals for patients, providers, and payers along with management dashboards for providers and patients. Our
    portals facilitate patient payments, status and historical reporting, and every type of scheduling and referral transaction.
                         Case 8-20-08049-ast   Doc 67   Filed 03/02/23   Entered 03/02/23 17:31:14




Solution Overview - Continued
AllRad’s Health Network Management Solution delivers the following critical capabilities to network participants.
  Referrals
      Specialists
      Imaging and Labs
      Hospitals, Surgery Centers, and Long Term Care Facilities
      Physical Therapy
      Pharmacies
  Patient Scheduling and Pre-Authorization
  Billing and Follow-up
      Insurance both primary and secondary
      HCFA and EOB features
  Payer Management
      Contracts and Fee Schedules
      Claim Submission
      PPO management
  Alerts and Notifications
      Patients
      Providers
  Robust Reporting Capabilities
                          Case 8-20-08049-ast       Doc 67        Filed 03/02/23         Entered 03/02/23 17:31:14




Solution Overview - Continued
                                                                                                                 Connectivity
                                                                                                                 ❑ Practice
 Security                                                                                                          Management
 ❑ Intrusion Detection                                                                      Patient              ❑ EMR
                                 Patient                                                    Referral
 ❑ Access Control                                                                                                ❑ Payer Systems
                                Alerts and                     Diagnos                     Schedulin
 ❑ Encryption                   Notificatio                                                                      ❑ Other
                                                                  tic                          g
                                    ns
                                                               Imagin
                                                Physic                         Primary
                                                                   g
                                                  al                            Care                   Billing
                                                               Services
                      Clinical                  Therap                         Physici
                     Documenta                    y                              ans
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                     Manageme                                                       Special
                       nt and
                                        Labs
                                                            IPA’s and                 ty                 Patient
                     Reporting                                ACO’s                                    Demographi
                                                                                    Practic
                                                                                                           cs
                                                                                      es
                                                                                                       Maintenanc
                          Patient             HCFA/                                                         e
                         Payments              CMS                             Hospita
                                               And                              ls and
 Architecture                                 Other                            Medical
                                                                                                  Result
 ❑ .NET 4.5                                                                                      Tracking
                                              Payers          Pharmac          Centers
 ❑ SQL Server                                                   ies                                and           User Access
                                                                                                 Reporting       ❑ Web Portals
 ❑ HL7
 ❑ Secure FTP                                                                                                    ❑ Customized Dashboards
 ❑ EDI                                 Payer                                       Patient Portal                ❑ Electronic Communications
 ❑ Cloud                               Portal                                                                    ❑ Consolidated Reporting
 ❑ API’s                                                 Provider Portal and                                     ❑ HCFA/CMS Metrics
                                                             Dashboard
                  Case 8-20-08049-ast   Doc 67   Filed 03/02/23   Entered 03/02/23 17:31:14




Capabilities and Benefits - Provider
Capabilities
❑ Automatically Schedule Referred Patients
❑ Pre-authorize patients prior to scheduling
❑ Provider Portal
   o Management and Status Reporting
   o Schedule Change Management
   o Payment Tracking and Reporting
❑ Data Collection and Storage
  o Patient Demographics
  o Patient Procedure and Clinical Documentation
  o Billing and Payment Processing and Reporting
                   Case 8-20-08049-ast   Doc 67   Filed 03/02/23   Entered 03/02/23 17:31:14




Capabilities and Benefits - Provider
Benefits
 Automate, streamline, and dramatically reduce the cost of managing
  scheduling and referrals for the following
   Specialists,
   Lab and Imaging orders,
   Prescriptions, and
   Physical Therapy

 Support reporting for population health management
 Enhance the quality and effectiveness of patient care and deliver
  documented improvements for treatment outcomes through
  coordination of references and results at the point of care.
                Case 8-20-08049-ast   Doc 67   Filed 03/02/23   Entered 03/02/23 17:31:14




Capabilities and Benefits - Patient
Capabilities
 Automatically Schedules Patient Procedures
   Contacts patients via fax, e-mail, mail, and phone
   Enables patient call in and real time scheduling with provider
 Patient Portal
   Medical History Request and Reporting
   Payments and Payment Reporting
   Appointment Request and Scheduling/Re-scheduling
   Demographic Data and Insurance Coverage Maintenance
 Automated notifications and reminders of appointments
 Automated Alerts when schedules are changed
                  Case 8-20-08049-ast   Doc 67   Filed 03/02/23   Entered 03/02/23 17:31:14




Capabilities and Benefits - Payer
Capabilities
 Gathers and Maintains Demographic Data
 Gathers and Consolidates Clinical Documentation
 Provides easy access to data for claims or value based wellness metrics
 Maintain PPO fee schedules and networks


Benefits
  Reduces re-work due to missing or inaccurate demographic data or clinical
   documentation
  Reduces cost and expedites claims and value based wellness penalties audits
  Manage cost for the care by utilizing the network
                            Case 8-20-08049-ast     Doc 67   Filed 03/02/23   Entered 03/02/23 17:31:14




Technology Overview
The AllRad Health Network Management Solution is built on a Microsoft technology platform which delivers a highly versatile and
dynamic architecture to ensure the highest levels of security, compliance, reliability, and performance. The architecture is designed to
be a cloud based SaaS solution to support any scalability, performance, and availability requirements. The following are the key
components of the architecture:

Components
  SQL Server
  .NET 4.5
  HL7 interfaces
  EDI and Secure FTP file transfer and communications
  Fully HIPAA compliant
                     Case 8-20-08049-ast   Doc 67    Filed 03/02/23   Entered 03/02/23 17:31:14




Technology Overview
   Practice                                                                                           Payer
 Management                                                                                           Systems
   Systems
                                             Security Layer
                                             ❑ Intrusion
                                               Detection
                                             ❑ Access Control
                                             ❑ Encryption


      Network                                       SQL                           Application
      Architecture                                  Server                        Architecture
      ❑ HL7                                                                       ❑ .NET 4.5
      ❑ EDI                                                                       ❑ C#
      ❑ Secure FTP                                                                ❑ API’s




  Electronic
 Management
                                                                                                  Patient, Provider, and
   Records
                                                                                                      Payer Portals
                         Case 8-20-08049-ast   Doc 67   Filed 03/02/23   Entered 03/02/23 17:31:14




Summary
The AllRad Health Network Management Solution is poised to be the industry standard platform for the new network based
value based wellness management healthcare business model. With state of the art technology, and functionality that meets
the current and known future needs of Health Network Management defined by HCFA/CMS, AllRad’s solution delivers a
secure, compliant, versatile, and dynamic platform to ensure providers maximize revenues, minimize costs, and deliver the
highest quality patient care in the new population wellness management environment. By providing customized portals and
dashboards for providers, patients, and payers in a cloud based environment the AllRad solution simplifies, automates, and
reduces the cost of scheduling, monitoring, tracking, and reporting on the complex network of ancillary services involved in
the diagnosis and treatment of patient healthcare issues.


Most importantly, the AllRad solution has been designed to meet both known and unknown future requirements driven by a
population wellness management business model. The solution is easily scalable to meet the needs of rapidly growing IPA’s
and ACO’s. It is fully compliant and secure with intrusion detection, access control, and encryption as integral design
features of the solution. Innovative API’s are available to ensure seamless integration with current PM and EMR systems and
Business Intelligence Systems that will deliver the reporting and metrics necessary to meet the requirements from
HCFA/CMS and private payers going forward.
